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                              Exhibit 4
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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            and Expert Witness Testimony 2017-present




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1. Introduction

1.1.   I have been asked by the law firm of Cozen O’Connor to render my expert opinion on
       questions relating to Al Rajhi Bank (“ARB”) and related persons and entities in
       connection with international terrorist finance in the period leading up to the 9/11 attacks.
       The narrative below is submitted to assist the Court as it considers the issues raised in this
       case. I have separated each section by topic, to make my Expert Report more easily
       followed. I am being compensated at an hourly rate of $950 for my study and testimony
       in this case.

1.2.   The ten questions I have been asked to provide my opinions on are set forth below:

       1.2.1. Question 1: Was terrorist financing, and more specifically terrorist financing
              through purported charitable organizations, an area of concern in the international
              banking industry before September 11, 2001?

       1.2.2. Question 2: Were there incidents in which purported charities were implicated in
              money laundering for criminal activities, including the financing of terrorism
              and/or specific attacks, before September 11, 2001?

       1.2.3. Question 3: Was it an obligation of international banking institutions to adopt and
              implement effective anti-money laundering and counter-terrorism financing
              protocols to prevent the financing of terrorism and other illicit financial activity
              through purported charities prior to September 11, 2001?

       1.2.4. Question 4: Is there evidence that al Qaeda relied on sympathetic financiers and
              financial institutions to raise and move money prior to September 11, 2001?

       1.2.5. Question 5: Is there evidence that ARB and its principals had unique relationships
              with jihadists and al Qaeda affiliated persons and entities before September 11,
              2001?

       1.2.6. Question 6: Is there evidence that ARB and its principals had unique relationships
              with Al-Haramain Islamic Foundation (“Al-Haramain”), the Muslim World
              League (“MWL”), the International Islamic Relief Organization (“IIRO,”) and the
              World Assembly of Muslim Youth (“WAMY”) before September 11, 2001?

       1.2.7. Question 7: Did ARB adhere to Know Your Customer, Anti-Money Laundering,
              and Counter-Terrorism Financing best practices and international standards with
              respect to the opening and maintenance of accounts for Al-Haramain, MWL,
              IIRO, WAMY, and the Saudi-based Suleiman Abdel Aziz Al Rajhi Charitable
              Foundation (“SAAR Foundation”) before September 11, 2001?

       1.2.8. Question 8: Did ARB ignore money laundering and terrorist financing red flags
              with respect to the accounts it maintained for Al-Haramain, MWL, IIRO,
              WAMY, and the Saudi-based SAAR Foundation before September 11, 2001?



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         1.2.9. Question 9: Is there evidence that al Qaeda received support and benefited from
                the accounts ARB maintained for Al-Haramain, MWL, IIRO, WAMY, and the
                SAAR Foundation before September 11, 2001? If so, what was the nature of that
                support and when was it provided and how was ARB involved in providing it?

         1.2.10. Question 10: Has ARB produced evidence showing that individual transactions it
                 carried out for Al-Haramain, MWL, IIRO, WAMY, and the SAAR Foundation
                 before September 11, 2001 were earmarked for “use in specific schemes or
                 attacks not directed at the United States?”

1.3.     Material Reviewed for This Expert Report. To prepare this Expert Report, I have
         reviewed:

         1.3.1. The First Amended Complaint in this case.

         1.3.2. Pleadings in this case, including the Memorandum of Law in Support of
                Plaintiffs’ Second Motion to Compel the Production of Documents from ARB
                and Exhibits thereto.

         1.3.3. Documents produced by ARB in response to discovery requests from the
                Plaintiffs, relating to its relationships to charities that allegedly engaged in the
                financing of terrorism through transactions undertaken through ARB, including:

                  •   Correspondence between ARB and the Saudi Arabian Ministry of Islamic
                      Affairs and between ARB and its regulator, the Saudi Arabian Monetary
                      Authority (“SAMA”);

                  •   Documents pertaining to ARB’s accounts of Al-Haramain, a Saudi-based
                      charity which ceased operating internationally after becoming the subject of
                      global sanctions due to its systemic involvement in terrorist finance;

                  •   ARB accounts of the IIRO, some of whose components were sanctioned
                      globally due to their involvement in terrorist finance;

                  •   Accounts of the Afghanistan Taliban at ARB;

                  •   Payments from the cofounder and head of ARB, Suleiman Abdul Aziz Al
                      Rajhi1 (“SAAR”), and by his personally-funded Foundation, the SAAR
                      Foundation, to Al-Haramain and its principals through accounts at ARB and
                      to WAMY through accounts at ARB;

                  •   Payments by SAAR and the SAAR Foundation to third-parties, including
                      payments through ARB’s correspondent banking relationship with Chase

1
 The name of the family is sometimes provided with a capitalized “Al” and sometimes without the capital, as “al.” I
have generally retained the spelling used in original source documents and otherwise refer to the last name of family
members as “Al Rajhi,” with capitalization, reflecting the use of the capitalized letter in the name of the bank in
English.

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                      Manhattan Bank in New York through the use of a “Payable Through
                      Account” that ARB maintained there;

                  •   ARB’s Branch Instruction Manual of January 1, 1997 and its Anti-Money
                      Laundering Unit Procedure Guide of November 1998;

                  •   Other documents produced by ARB and persons and entities engaged in
                      transactions with ARB produced in discovery in this and related matters,
                      including documents produced by IIRO and other Saudi-based charities and
                      documents by U.S. persons and entities related to the SAAR Foundation.

         1.3.4. A transcript of the ARB Rule 30(b)(6) Witness Deposition of James Galloway
                (“Galloway”) of May 11, 2023 (“Galloway Deposition”) and exhibits to that
                deposition; a transcript of the Witness Deposition of Saudi Arabia’s Minister of
                Islamic Affairs, Saleh Bin Abdulaziz Al Ash Sheikh of March 23-24, 2021 (“Ash
                Sheikh Deposition”), and exhibits to that deposition; and a transcript of the
                Witness Deposition of Abdullah bin Sulaiman Al Rajhi (“Abdullah Al Rajhi”) of
                September 27, 2023, and exhibits to that deposition.

         1.3.5. Analytic reports prepared by the CIA based on information available to the CIA
                prior to the 9/11 attacks, which I understand to have been declassified and
                released under Presidential Executive Order 14040 (“EO 14040”) issued by
                President Biden on September 3, 20212 or in response to Plaintiffs’ subpoena
                relating to ARB, as modified, and other documents created by the U.S.
                government and released under EO 14040.

         1.3.6. Material I have previously written regarding terrorist finance, including my
                Congressional testimony on terrorist finance.

        1.3.7. Government reports, and testimony and reports relating to Congressional
               hearings, including the Report of the 9/11 Commission (“9/11 Commission”) and

2
 In issuing EO 14040 on September 3, 2001, President Biden stated the purpose of the declassifications to be as
follows: “Many Americans continue to seek full accountability for the horrific attacks of September 11, 2001 (9/11),
including 9/11 survivors and victims' family members. As the 20th anniversary of 9/11 approaches, the American
people deserve to have a fuller picture of what their Government knows about those attacks. Although the
indiscriminate release of classified information could jeopardize the national security—including the United States
Government's efforts to protect against future acts of terrorism—information should not remain classified when the
public interest in disclosure outweighs any damage to the national security that might reasonably be expected from
disclosure. The significant events in question occurred two decades ago or longer, and they concern a tragic moment
that continues to resonate in American history and in the lives of so many Americans. It is therefore critical to
ensure that the United States Government maximizes transparency, relying on classification only when narrowly
tailored and necessary. Thus, information collected and generated in the United States Government's investigation of
the 9/11 terrorist attacks should now be disclosed, except when the strongest possible reasons counsel otherwise.”
Declassification Reviews of Certain Documents Concerning the Terrorist Attacks of September 11, 2001, September
3, 2021, https://www.federalregister.gov/documents/2021/09/09/2021-19578/declassification-reviews-of-certain-
documents-concerning-the-terrorist-attacks-of-september-11-2001 Although declassified, these reports still include
areas that are blacked-out, or “redacted.” I assume that the blacked-out material has been redacted due to the CIA’s
determination that despite the public interest in disclosure, that material should remain classified to protect other
national security interests, such as keeping sources and methods secret.

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              the Monograph on Terrorist Financing produced by 9/11 Commission staff
              (“Monograph”) and the Congressional hearings, Congressional research,
              appendices and staff reports cited in this Expert Report.

       1.3.8. Documents issued by governments and official or intergovernmental bodies, such
              as the U.S. Department of State (“State” or “State Department”), the U.S.
              Department of the Treasury (“Treasury” or “Treasury Department”), the Federal
              Bureau of Investigation (“FBI”), the U.S. Department of Justice (“Justice” or
              “Justice Department”), the White House, the U.S. Congress, the United Nations
              (“UN”), the Financial Action Task Force (“FATF”), the Basel Committee on
              Banking Supervision (“Basel Committee”), NATO and other governmental
              entities.

       1.3.9. Publicly available information issued by other governments and governmental
              bodies prior to 9/11 and after 9/11, including the Government of Saudi Arabia,
              that I found to be material to the questions posed.

       1.3.10. Court records from cases involving allegations of terrorist finance relating to
               persons or entities material to answering the questions posed.

       1.3.11. Coverage by public media material to terrorist finance risk, in particular by
               charities, both prior to 9/11 and after 9/11.

       1.3.12. Public testimony and publications from other experts in terrorist finance, money
               laundering policy and enforcement issues.

       1.3.13. A more complete list of materials used in this Expert Report is attached at
               Appendix 1 to this Expert Report.

1.4.   Methodology. To respond to those questions, I have applied an all-source source analysis
       methodology as I employed during my years of work for the U.S. government and as a
       consultant to the U.S. government, as well as in my previous work as an expert. All-
       source analysis is terminology used in the U.S. Intelligence Community for the
       methodology for collection and analysis of information from multiple sources and
       disciplines but is essentially interchangeable with the term comparative analysis used in
       other contexts outside of the Intelligence Community. Starting with the questions to be
       addressed, I collect information available to me regarding the subject area of the inquiry.
       Using my experience and education, I then consider, analyze, compare, and weigh the
       whole body of the sources to systematically build out a response to the inquiries based on
       the available record. In the process, I consider a mixture of primary source information;
       information that can be a combination of primary and secondary sources; academic and
       analytic research, government reports; scholarly literature, and other available
       information, together with my own experience and education, and human reason.

       1.4.1. For this opinion, the all-source information includes documents produced by ARB
              and by others in discovery in this case. The documents produced by ARB provide
              important information that I relied on in forming my opinions in this Expert
              Report. However, they are clearly incomplete. For example, they include no

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                  audits for the relevant period (that is prior to the September 11 attacks); no
                  internal (or external) reports on anti-money laundering assessments or evaluations
                  by ARB or persons acting on behalf of ARB concerning ARB’s compliance with
                  its AML processes and procedures, as required by ARB’s own applicable policies
                  and procedures; no statistical compilations of ARB’s reporting of any suspicious
                  activities or any other AML metric for ARB’s AML compliance department; and
                  no documentation produced by ARB’s AML compliance department of any kind
                  regarding Al-Haramain, IIRO, the SAAR Foundation, IIRO, MWL, WAMY, or
                  any other entity material to this litigation, during the pre-9/11 period (or after).3

         1.4.2. Based on these gaps, and other gaps I discuss over the course of this Expert
                Report, I cannot conclude that all documents maintained by ARB relevant to
                helping me answer the questions posed in this Expert Report have been provided
                by ARB to the plaintiffs. For example, in the Galloway Deposition, Galloway
                testified that there were audits by ARB, internal and external, of its
                implementation of its AML policies and procedures systemically and at the
                branch levels. No such audits have been provided to me, and based on my review
                of pleadings filed in this case, it appears none have been produced by ARB to the
                plaintiffs despite having been requested by the plaintiffs under the discovery
                process. Having those documents produced would have been helpful to me to
                ensure that the evidentiary record on which I am basing my opinions contains all
                materially important evidence. The absence of the audits from the record raises
                the question of the extent to which the audits referred to by Galloway in the
                Galloway Deposition took place, and if they did, the extent to which I can rely on
                his characterization of the contents of documents that are not available to the
                plaintiffs or to me in my capacity as an Expert.4 I discuss this issue in my
                response to Question 7, regarding whether ARB adhered to Know Your
                Customer, Anti-Money Laundering and Counter Terrorist Financing best
                practices and international standards with respect to the opening and maintenance
                of accounts for Al-Haramain, MWL, IIRO, WAMY, and the SAAR Foundation
                prior to the 9/11 attacks.

         1.4.3. Despite the material gaps in the documentation provided by ARB in response to
                the discovery requested by the plaintiffs, all of my opinions offered herein are
                expressed to a reasonable degree of certainty based on the record to which I have
                had access to date. In particular, the additional information provided by the U.S.
                government under EO 14040 and the documents produced by ARB, which were

3
  I understand that to reduce the burden on ARB from the discovery process, as directed by the judge overseeing the
discovery in this case, the plaintiffs have confined discovery requests for account opening and maintenance
documents to cover the two Da’Wah Organizations whose branches or operations became subject to international
sanctions, Al-Haramain and IIRO. Accordingly, I have not had access to such information for WAMY and MWL
accounts at ARB.
4
  In the Galloway Deposition, Galloway testified that he had not seen specific documents relating to audits of any of
the Al-Haramain or IIRO accounts. pp. 106-109. Even if there were no audit material relating to the accounts of
those specific entities, a review of any of the audits undertaken by ARB of its branch operations, or of any aspect of
its compliance with Saudi banking regulations and its own policies and procedures during the relevant period could
be material to understanding the extent to which ARB complied with its AML obligations more generally.

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                 not available to me at the time I prepared my first Expert Report in a related case
                 before this court, have provided further detail that is consistent with and further
                 strengthens the evidentiary basis for opinions I have previously rendered
                 regarding the actions of charities discussed in this Expert Report.

        1.4.4. I reserve my right to reconsider and/or revise my opinions based on any additional
               information that may later be made available to me in connection with this case
               by any person or entity.5

        1.4.5. In writing this Expert Report, I incorporate and reaffirm as may be relevant the
               substance of my findings and analysis from the previous Expert Reports I have
               written relating to and filed with this court in “In Re Terrorist Attacks on
               September 11, 2001,” 03-MDL-1570 (GBD) (SN), subject to the caveat that I
               now also rely on additional information that was not available to me at the time I
               wrote those reports. This additional information includes in particular, the
               government documents from the CIA and FBI declassified and released under EO
               14040 and in response to plaintiffs’ ARB subpoena to the CIA, which contain
               extensive information on terrorist finance issues material to the 9/11 attacks, and
               which were not available to me until the spring of 2022. As stated, this additional
               information also includes documents produced to the plaintiffs’ lawyers by ARB
               and by others as a result of discovery in this case, and depositions taken by
               plaintiffs’ lawyers in this case.

1.5.    My Background in Terrorist Finance.

        1.5.1.     Initial Work on Cross-Border Financial Crime and Terrorist Issues, U.S. Senate,
                   1985-1994. As set forth in my CV, I worked as counsel for Senator John F.
                   Kerry in the U.S. Senate from 1985 until 1994, when I became Deputy Assistant
                   Secretary of State for International Law Enforcement. During the years I worked
                   with Senator Kerry, we focused on cross-border threats to U.S. security in a
                   series of investigations, beginning in 1985 with information we received that
                   turned out to relate to what later became known as the Iran-Contra affair. During
                   this period, Senator Kerry became the chairman of the Senate Subcommittee on
                   Terrorism, Narcotics, and International Operations, in which I assisted him in
                   investigations (and exposure of) the Middle Eastern Bank, BCCI, the Bank of
                   Credit and Commerce International, which was involved in serious corruption,
                   fraud, narcotics money laundering, and the handling of terrorist funds.6




5
  In particular, I note that the documents produced by ARB and others within the discovery process undertaken in
this matter include account records that are not maintained chronologically, dating errors, and documents which
appear incomplete on their face. These characteristics of the document production, as well as redactions made in the
versions provided to me with English translations, have made it difficult for me trace particular account openings
and transactions. In such cases, my assessments could change based on additional information.
6
  “The BCCI Affair, A Report to the Committee on Foreign Relations United States Senate by Senator John Kerry
and Senator Hank Brown,” December 1992 102nd Congress 2d Session Senate Print 102-140.
https://www.hsdl.org/?view&did=449738

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                    1.5.1..1. Over the course of these investigations, we found that as of the mid-
                              1980’s, there was no international system to protect against money
                              laundering, terrorist finance, fraud or any other form of cross-border
                              crime. Accordingly, we sought to build one. We developed ideas and
                              principles that beginning in 1989 became incorporated into the FATF
                              created by the G-7 that year, and its money laundering and counter-
                              terrorist finance standards, which are now global norms.

                    1.5.1..2. In the same period, as we investigated BCCI, we found that the bank was
                              being used in the Middle East (and elsewhere) to carry out terrorist
                              finance, and that the bank had close ties to several of Saudi Arabia’s most
                              prominent intelligence officials. As summarized in a section of the
                              Senate’s report on BCCI, “The BCCI Affair,” of which I was the
                              principal author, “BCCI's support of terrorism and arms trafficking
                              developed out of several factors. First, as a principal financial institution
                              for a number of Gulf sheikhdoms, with branches all over the world, it was
                              a logical choice for terrorist organizations, who received payment at
                              BCCI-London and other branches directly from Gulf-state patrons, and
                              then transferred those funds wherever they wished without apparent
                              scrutiny. Secondly, BCCI's flexibility regarding the falsification of
                              documentation was helpful for such activities. Finally, to the extent that
                              pragmatic considerations were not sufficient of themselves to recommend
                              BCCI, the bank's pan-third world and pro-Islam ideology would have
                              recommended it to Arab terrorist groups.”7

                    1.5.1..3. Our report did not cover the specifics of support for terrorism by
                              particular governments, government officials, government agencies, or
                              state-sponsored religious entities, as these topics were not the primary
                              focus of our investigation of BCCI’s criminal conduct, including its
                              involvement in terrorist finance. That said, government support for
                              political Islam, and its potential consequences for terrorist activity, was
                              already an area of concern for me and for others working on terrorism
                              issues in the Senate at the time. These concerns initially arose in
                              connection with Saudi support to Palestinian terrorists during the First
                              Intifada (1987-1993) as well as the arming of the Afghan Mujahadin
                              against the Soviets. In particular, we were concerned that the 1979 attack
                              on the Grand Mosque, which attacked the religious legitimacy of the
                              Saudi ruling family, had led the Saudi Arabian government to defend
                              itself through exporting an extreme interpretation of Islam called
                              Wahabism globally, allying itself with Islamic extremism and thereby
                              avoiding becoming a further target of it. Because the religious/political
                              concept of holy war, or jihad, could be applied to a range of potential
                              targets and contemporary political conflicts, not just the Soviets in
                              Afghanistan, we were concerned that Gulf State support for “pan-third
                              world and pro-Islam ideology” was creating a potential ideological,

7
    The BCCI Affair, id., p. 66.

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                           religious, and in practice, economic, foundation for supporting terrorism.

        1.5.2.     Service as Deputy Assistant Secretary of State for International Law
                   Enforcement, 1994-1999. During this period, I was the senior U.S. diplomat
                   focused on cross-border financial crime within the State Department. My
                   primary work was to build international capabilities to combat financial crime
                   threats, including terrorist finance. I came to work most closely during this
                   period with the White House’s counter-terrorism and transborder threats official,
                   Richard A. Clarke (“Clarke). During this period, Clarke headed what was known
                   as the “Transnational Threats” (“TNT”) office at the National Security Council
                   in the White House (“NSC”), which coordinated and directed U.S. intelligence,
                   law enforcement, military, diplomatic and financial regulatory efforts to build an
                   integrated U.S. (and global) response to transnational threats, including
                   terrorism. Towards the end of this period, Clarke became increasingly focused
                   on the threat posed to the United States by Osama Bin Ladin (“bin Ladin”),8 who
                   the U.S. indicted for the first time in 1998 for terrorist activity aimed at killing
                   Americans. By necessity, my work in this role required extensive analysis and
                   understanding of terrorist financing modalities and the ideologies that support
                   them.

                 1.5.2..1. During this period, a central goal of my work was to build an
                           international consensus sufficient to require all countries to put into
                           place effective measures to criminalize money laundering and other
                           forms of cross-border crime, including terrorist finance, and to impose
                           regulatory controls requiring financial institutions, wherever located, to
                           take effective measures that ensured they would not facilitate such
                           crimes. At this time, there were many countries that had still failed to
                           build out these capabilities, including essentially all of the countries of
                           the Middle East.9

                 1.5.2..2. By 1996, I became concerned about the risk of a major terrorist event
                           threatening the United States, and the United States homeland in
                           particular. While I was in my position at the State Department, I was
                           consulted about the threat by then-Senator John Kerry, as he was writing
                           a book about international crime published in 1997. After we talked
                           about the growing terrorist threat to the U.S. homeland, he wrote, five
                           years period to the 9/11 attacks: “It will take only one mega-terrorist
                           event in any of the great cities of the world to change the world in a
                           single day.”10 This reference in Senator Kerry’s book did not specify an

8
  I refer to Osama Bin Ladin as “bin Ladin” or “Bin Ladin” throughout this Expert Report, except when an original
document has a different spelling of his name in which case I use the spelling set forth in that document throughout
the discussion of that document, such as “Usama” for “Osama” for his first name, or “Bin Laden” for his last name.
9
  In this period, Middle Eastern countries generally lagged behind much of the world in putting measures in place to
counter the risk of serious financial crimes being facilitated by banks. Some countries had no controls; those that
did, generally had no visible enforcement of the controls. During the Clinton Administration, we came to see this as
a significant national security risk, for our country and for the world.
10
   John F. Kerry, The New War, Simon & Schuster (1997), p. 111.

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                            attack from Islamic extremists. We knew then that there was also other
                            extremists who might undertake such an action, including domestic
                            ones, as reflected in the Oklahoma City bombing carried out on April
                            19, 1995 by domestic terrorist Timothy McVeigh. But Islamic
                            extremism of the kind represented by al Qaeda as a mutation of Saudi
                            state-sponsored fundamentalism and political Islam, was very much on
                            our minds, given the first World Trade Center attack of February 26,
                            1993, and a range of intelligence indicators in the Middle East and North
                            Africa (“MENA”) region, as well as sub-Saharan Africa, and portions of
                            South East Asia.

                 1.5.2..3. During 1998 and 1999, as part of a process directed by the NSC,
                           President Clinton asked interagency teams to travel overseas to warn
                           countries that they would face the risk of no longer having open access
                           to the United States if they failed to take steps to criminalize money
                           laundering and related activities like terrorist finance. As the head of
                           multi-agency team of U.S. officials acting at the direction of the White
                           House, I visited countries in the Mediterranean and Middle East,
                           including Cyprus, Israel, Lebanon, and Syria, to communicate the
                           warnings, and to require them to take action to combat the use of their
                           financial systems by criminals and terrorists. Other U.S. officials with
                           whom I worked closely in developing and implementing U.S. policies
                           addressing these threats travelled to Saudi Arabia and other Gulf states
                           who were members of a regional body, the Gulf Cooperation Council, to
                           issue similar warnings.

                 1.5.2..4. By the time I left the U.S. government in late 1999, we had made
                           substantial progress in securing commitments and action from some
                           countries, including Cyprus, Israel, and Lebanon, while others, such as
                           Syria and the Gulf States, had taken no action in response to our
                           warnings that they needed to put effective measures in place to combat
                           the threat of money laundering and terrorist finance.11 I was not
                           personally involved in the visits to the Gulf States; however, I knew
                           people who were. I learned from them that they remained deeply
                           concerned that no progress was being made in those countries to address
                           the risks, and that they were increasingly frustrated by the failure of the
                           Gulf States to take any action against a terrorist finance threat that they
                           knew was serious and that was imperiling U.S. national security.

        1.5.3.    Post-9/11 Work Pertaining to Terrorist Finance and Financial Crime. After I
                  left the U.S. government, I continued to provide advice and expertise to
                  governments and to international institutions. This included providing assistance
                  regarding money laundering, illicit finance, and terrorist finance and sponsorship
                  to the U.S. intelligence community, the Treasury Department, the Justice

11
   As of 1995, Saudi Arabia was one of the few Gulf States whose financial regulator had imposed know-your-
customer obligations on its banks, but we did not see enforcement of the regulations in practice.

                                                       11

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                   Department, the NSC, the U.S. House of Representatives, the U.S. Senate, the
                   IMF, World Bank, and the UN, as well as to the governments of Russia and
                   Indonesia in connection with the development of their domestic money
                   laundering laws and regulations. Shortly after the September 11, 2001 terrorist
                   attacks (“September 11 attacks” or “9/11 attacks” or “9/11”), the Senate
                   Committee on Banking, Housing and Urban Affairs asked me to testify in
                   connection with Congressional consideration of a legislative response to the
                   September 11 attacks to address money laundering and terrorist finance. My
                   testimony on terrorist finance was given to the Senate on September 26, 2001,
                   and became part of the record relied upon by the Congress in connection with its
                   consideration of the USA-PATRIOT Act (“Patriot Act”).12 Title III of the Patriot
                   Act incorporated a broad panoply of provisions to combat financial crime and
                   terrorist finance and support whose adoption I had advocated during my time in
                   the Clinton Administration. Over the years following the September 11 attacks, I
                   was then asked by both the U.S. Senate and the U.S. House of Representatives to
                   testify on terrorist finance and support issues, as well as asked by numerous
                   organizations and publications, including prominent U.S. and foreign academic
                   journals, to provide my expertise on terrorist finance and support and
                   transnational criminal issues. I list my Congressional testimony, publications and
                   lectures, together with my CV, as Appendix 2 to this Expert Report.

          1.5.4.   Other Work that Provides Background for My Expertise. From late 1999 through
                   mid-2008, I practiced law at Alston & Bird L.L.P. During that period, I provided
                   both domestic and non-US clients legal and advisory services on money
                   laundering and terrorist finance enforcement and regulation in the United States
                   and globally. I rendered advice to financial institutions regarding their
                   obligations to counter money laundering and terrorist finance, both statutory and
                   regulatory, as well as to assist clients in developing and implementing their own
                   internal policies and procedures to ensure they were adopting global best
                   practices and complying with them. I was also asked to handle matters pertaining
                   to the application of UN and U.S. sanctions regarding terrorist funds,
                   administered in the U.S. by the Office of Foreign Assets Control (“OFAC”) of
                   the Treasury. I also provided informal assistance to the UK liquidator of BCCI in
                   connection with the liquidator’s ongoing efforts to secure compensation for
                   BCCI’s depositors. From time to time, I provided informal advice to the UN,
                   IMF, OECD, and World Bank on terrorist finance, money laundering and other
                   topics involving transnational financial crime.

                   1.5.4..1. From mid-2008 until mid-2013, I provided consulting services at the
                             international consulting and strategic communications firm of APCO
                             Worldwide. During this period, I continued to work on legal and
                             regulatory issues pertaining to money laundering and terrorist finance,
                             and to related topics such as combatting the laundering of the proceeds
                             of corruption, for foreign and domestic clients of that firm, including for


12
     Public Law 107–56—Oct. 26, 2001

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                            international bodies such as the IMF, the OECD, the UN and World
                            Bank.

                 1.5.4..2. From September 2013-January 2017, I served in front-office of the U.S.
                           Department of State’s Bureau for Near Eastern Affairs, which is
                           responsible for managing and implementing the foreign policy of the
                           United States in relation to the Middle East, specifically, the countries of
                           Algeria, Bahrain, Egypt, Iran, Iraq, Israel, Jordan, Kuwait, Lebanon,
                           Libya, Morocco, Oman, Qatar, Saudi Arabia, Syria, Tunisia, the United
                           Arab Emirates, and Yemen. During that time I served as the Senior
                           Coordinator for the Resettlement of the anti-Iranian government, the
                           Mujahedin-e Khalq, formerly designated by the U.S. government as a
                           terrorist group, and as the Special Envoy for Libya. In these capacities, I
                           participated in daily discussions at the Bureau about counter-terrorism
                           issues concerning the Middle East. I also participated in senior
                           interagency meetings on counter-terrorism issues chaired by the
                           National Security Council and provided advice to the Secretary of State
                           and the White House as relevant on terrorism issues pertaining to Iran,
                           Iraq, and North Africa. As part of my work, from time to time, I was
                           required to sign-off on specific U.S. government operations to counter
                           terrorists.

                 1.5.4..3. Since my departure from the U.S. government I have returned to private
                           legal practice and consulting, while also undertaking academic and
                           public policy work at the Middle East Institute, as reflected in my profile
                           there.13 My current legal and consulting practices continue to include
                           work on law enforcement and financial regulatory issues, sanctions,
                           money laundering, and on matters pertaining to the Middle East,
                           including compliance for Middle Eastern banks.

                 1.5.4..4. I qualified as an Expert Witness regarding ARB and its relationship to
                           terrorist finance in the case of Al Rajhi Banking and Investment
                           Corporation and The Wall Street Journal Europe SPRL, HQ02X00924
                           for the High Court of Justice, Queen’s Bench Division in 2004.

                 1.5.4..5. Further information on my background and experience is provided as
                           Appendix 2 to this Expert Report.




13
  My public profiles are available on the Middle East Institute website at https://wwww.mei.edu/experts/jonathan-
m-winer and on my law firm websites, https://www.winerlegal.com and https://mosaiqlaw.com/about-us/ and on my
consulting firm website, https://apcoworldwide.com/people/jonathan-winer/

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2. Framework: Al Qaeda14 and Its Support from Religious Charities

2.1.     To provide context to the opinions I am expressing in this Expert report, I begin with the
         following information to provide the framework for my assessments of the relationships
         involving al Qaeda, particular Saudi-based international charities that have been found to
         be involved in terrorist finance, and sanctioned or closed as a result, and the financial
         institutions, such as ARB, which handled their accounts.

         2.1.1.    The information in this Section 2 of this Expert Report is not limited to the
                   information that was publicly known prior to 9/11, but includes findings arising
                   from information developed following the attacks.

         2.1.2.    By contrast, my answers to each of the ten questions discussed in Sections 3-12
                   of this Expert Report are based on contemporaneous information regarding
                   terrorist financing and charities relating to events prior to the September 11
                   attacks; incidents involving charities and terrorist finance that occurred prior to
                   the September 11 attacks; the obligations of financial institutions such as ARB
                   prior to 9/11 to undertake sufficient due diligence to avoid implicating
                   themselves in handling funds used in support of terrorism; and the actual role of
                   ARB prior to 9/11 in relationship to charities and other customers of ARB who
                   provided support to al Qaeda and/or other terrorist groups.

         2.1.3.    As appropriate, I have also relied on documents or information created after 9/11
                   and incidents which took place after 9/11 which are material to events that took
                   place prior to 9/11. For example, the CIA prepared a number of analyses after
                   9/11 which describe events that led up to the September 11 attacks, and which
                   include its assessments of ARB’s role in terrorist finance, based in large part on
                   information about events that took place prior to 9/11. This type of process, in
                   which information regarding pre-9/11 events was considered and analyzed, was
                   also the basis for various findings by the 9/11 Commission, whose work I have
                   also relied upon. I have also taken note of actions and decisions undertaken by
                   the U.S. government, the Saudi government, other governments, and the United
                   Nations after 9/11, that I found material to the actions which led to 9/11, as well
                   as information cited by those governments after 9/11 material to events which
                   took place before 9/11.

2.2.     Al Qaeda, founded by a Saudi, bin Ladin, in 1988, spent about $30 million a year in
         direct expenditures to run its operations. In addition to these funds, it relied on spending
         by Islamic charities many times that amount per year to indoctrinate, recruit, train, house,
         transport, equip, and arm Islamic fighters and terrorists, and to operate al Qaeda and




14
   There are multiple spellings in English of bin Ladin’s terrorist organization. I use “al Qaeda” or “Al Qaeda”
except when the text of a document I am discussing uses a different spelling, such as the CIA’s adoption of the
spelling as “Al Qa’ida” or “al Qa’ida.”

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         affiliated and associated terrorist groups. This support enabled al Qaeda to develop the
         ability to carry out terrorism on a global basis by the time it carried out the 9/11 attacks.15

2.3.     Saudi Arabia was the most significant souce of funding for al Qaeda in the years leading
         up to 9/11, and the epicenter for terrorist finance globally.16

2.4.     Islamic charities, most of which were founded by Saudi Arabians and/or headquartered in
         Saudi Arabia, played the most important role in providing the resources al Qaeda
         needed.17 Those charities included the International Islamic Relief Organization
         (“IIRO”),18 the Muslim World League (“MWL”),19 the World Assembly of Muslim
         Youth (“WAMY”),20 and Al-Haramain,21 whose foreign offices were forced to be closed
         in 2004 by Saudi Arabia, with those refusing to close then subjected to sanctions by the
         UN 1267 Committee.22 Soon thereafter, Saudi Arabia closed Al-Haramain in its
         entirety.23

2.5.     The funds and support from the charities assisted al Qaeda and its affiliates in essentially
         every aspect of their terrorist activities.24 The charities that helped al Qaeda were engaged

15
   Final Report, National Commission on Terrorist Attacks Upon the United States (“9/11 Commission Report”)
(2004), p. 55, 170-172, 371-372, 382-383. Notably, several of these references directly address as a prime example
of the use of charities to fund terrorism Al-Haramain’s involvement in terrorist financing on behalf of al Qaeda.
16
   9/11 Commission Report, p 171; David D. Aufhauser, General Counsel, Department of Treasury, Testimony to
Senate Judiciary Committee, June 26, 2003. Notably, the 9/11 Commission said "Saudi Arabia has long been
considered the primary source of al Qaeda funding, but we have found no evidence that the Saudi government as an
institution or senior Saudi officials individually funded the organization. (This conclusion does not exclude the
likelihood that charities with significant Saudi government sponsorship diverted funds to al Qaeda.)" “Saudi-Based
Financial Support for Terrorist Organizations,” (“Saudi Financial Support”) Central Intelligence Agency, November
14, 2002, CIA_000143-158.
17
   9/11 Commission Report, p. 55. The CIA has estimated that half of more of al-Qaida’s pre-9/11 budget was raised
in Saudi Arabia, CIA_000147, see also CIA_000150 and CIA_000148-155; see also “Saudi Financial Support,” id,
CIA_000150; “Islamic Terrorists: Using Nongovernmental Organizations Extensively (“Islamic Terrorists”), April
9, 1999, CIA_000210-000236
18
   9/11 Commission Report, id.; CIA_000149; CIA 000220-221
19
   “Saudi Financial Support,” CIA_000150, id, “Islamic Terrorists,” April 9, 1999, CIA_000210; CIA_000213;
CIA_000221; CIA_000223
20
   “Funding Islamic Extremist Movements: The Role of Islamic Financial Institutions,” (“Funding Islamic
Extremists”) Central Intelligence Agency Office of Transnational Issues, based on information available as of
November 20, 1997, CIA_00721-000804 at CIA_000744.
21
   CIA_000150-151
22
   Security Council ISIL (Da'esh) and Al-Qaida Sanctions Committee Amends 29 Entries to Its Sanctions List,”
Press Release, UN Security Council, SC/15190, https://press.un.org/en/2023/sc15190.doc.htm. The Al-Haramain
offices cited for providing financing, material, technological, and other support to Al-Qaida included its offices in
Afghanistan, Albania, Bangladesh, Bosnia and Herzegovina, Ethiopia, Kenya, The Netherlands, Pakistan, Tanzania,
the Union of the Comoros. Saudi Arabia ultimately ordered that all of Al-Haramain’s offices be closed, including its
headquarters in Saudi Arabia, and Al-Haramain to be dissolved as an entity. See “Saudis Are Shutting Down A
Charity Tied to Terrorists,” New York Times, June 3, 2004, https://www.nytimes.com/2004/06/03/world/saudis-
are-shutting-down-a-charity-tied-to-terrorists.html
23
   “Country Report on Terrorism - Saudi Arabia,” Released by the Office of the Coordinator for Counterterrorism,
U.S. Department of State, April 27, 2005, https://2001-2009.state.gov/p/nea/ci/sa/80177.htm
24
   UN Security Council Letter dated 1 December 2003 from the Chairman of the Security Council Committee
established pursuant to resolution 1267 (1999) concerning Al-Qaida and the Taliban and associated individuals and
entities addressed to the President of the Security Council, enclosing Second report of the Monitoring Group

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         in two principal types of activities which made them especially suitable for partnering
         with al Qaeda. The first of these was religious propagation activities of a form of Islam,
         Wahhabism, which in the period prior to the 9/11 attacks included the dissemination and
         teaching of texts justifying armed conflict, violent jihad, and the killing of non-
         believers.25 The second type of activities were relief efforts aimed at Muslims in need,
         especially in conflict zones. While these included genuine humanitarian activities, these
         relief activities also were used to recruit terrorists, to provide space for their training and
         operations, and to provide a cover so that al Qaeda operatives could undertake terrorist
         activities under the guise of being relief workers. Funds from the relief agencies were
         also used to help al Qaeda and other terrorist groups by purchasing weapons and other
         things the terrorists needed, or were given to al Qaeda and affiliated groups for their own
         direct spending. The funds and support included indoctrinating potential fighters and
         terrorists, by providing materials in mosques and madrassas that taught Muslims it was
         proper to kill non-believers (that is, Christians, Jews, those not believing in God, as was
         the case for the Soviet state during the period of the USSR, and Muslims viewed as
         apostates for having different views of Islam). This propagation process helped to recruit
         jihadists and terrorists. The charities then facilitated the transport to and support for
         jihadists and terrorists in combat zones; bought weapons for jihadists and terrorists;26
         provided storage facilities for weapons for jihadists and terrorists; provided training
         camps for jihadists and terrorists where they were taught how to use weapons and make
         bombs; disseminated terrorist training manuals to jihadists and terrorists; provided food,
         housing and medical care to jihadists and terrorists; provided cover to people engaged in
         terrorism, such as by providing fake work papers to jihadists and terrorists; provided
         office space for al Qaeda and its agents to do business as they engaged in such activities
         as weapons purchases; and raised funds for and transmitting funds to al Qaeda and to


established pursuant to resolution 1363 (2001) and extended by resolutions 1390 (2002) and 1455 (2003), on
sanctions against Al-Qaida, the Taliban, and individuals and entities associated with them (“Second Report”),
S/2003/1070, ¶¶ 34-35, https://documents-dds-
ny.un.org/doc/UNDOC/GEN/N03/600/46/PDF/N0360046.pdf?OpenElement
25
   MWL played an important part in the publication of materials used to indoctrinate Muslims to carry out acts of
violence and to become participants in armed conflict against governments they viewed to be persecuting Muslims
and in terrorist acts against governments and civilians alike in pursuit of their political and religious objectives. The
calls to arms were explicit. See e.g. “Every Muslim should be committed to liberate the land of Islam totally from
any Shirk (polytheism) or Kufr (disbelief) or any system other than the system of Allah. The Fuqaha said, ‘When the
enemy occupies the land of Islam, Jihad becomes obligatory (wajib) on every Muslim.” MWL Journal (September
1998); “A child should be made aware that participating in Jihad is worship in itself and running away from the
battle field is a great sin. Taking part in the battle fought in Allah’s Cause can be done by sacrificing one’s life and
wealth.” MWL Journal (February 1994). “Jihad . . . becomes mandatory for the Muslims when an enemy threatens,
when he violated the frontiers of Dar-ul-Islam. It becomes the duty of every able-bodied Muslim male to rise to the
defense of the frontiers of Dur-ul-Islam, and of the honor of Muslim women, and the lives of Muslim men, women,
and children.” MWL Journal (December 1980); “Jihad [takes] many forms [including] making real sacrifice even of
their own life,” referencing threats to Muslims in Afghanistan, Burma, Cambodia, Cyprus, Palestine, the Philippines,
and Vietnam from “Zionism, Communism, Free Masonry, Qadianism, Bahaism, and Christian missionaries,” MWL
Journal (April 1980); “[E]very Muslim must make a sacrifice with money or with life for Allah and his religion,” Al
Alam Al Islami (June 29, 1992; “Jihad is an obligation anytime and anywhere . . . whatever you are able of the
mental and physical strength . . .This incudes weapons, machines, artillery, machine guns, rifles, airplanes, ground
and sea craft, castles, trenches, defense tools, opinion, and politics. By these the Muslims advance and defend
themselves against the evil of their enemies,” Al Alam Al Islami (April 20, 1992).
26
   9/11 Commission Report, p. 55, “Islamic Terrorists” id, CIA_000210-211.

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         those working with it.27

2.6.     Al Qaeda used the infrastructure it was able to develop with the support of the charities
         that I have summarized above to train Muslims to become terrrorists and to succeed in
         carrying out terrorist attacks. The terrorist training manuals and activities supported by
         such charities included weapons training, training in land mines, bomb making, how to
         carry out guerilla warfare, how to kill unarmed people and how to carry out chemical
         weapons attacks.28 The terrorist activities engaged in by both al Qaeda and its affiliated
         terrorist groups included terrorist activities in conflict zones and elsewhere, such as
         Europe and the United States, as well as violent resistance to non-Muslim forces in areas
         of civil conflict. The charities’ support to al Qaeda affiliates included, for example,
         providing training camps and guesthouses in areas in which the charities and al Qaeda
         were active, including Afghanistan, Chechnya, Pakistan, the Sudan, Somalia and Kenya,
         for the use of al Qaeda and for these affiliates.29 The infrastructure provided by or made
         possible by the charities also enabled al Qaeda to recruit and select candidates for major
         terrorist operations against Western targets such as the United States and to provide them
         the specific training they needed to carry out such attacks. These skills and others
         developed and taught at the training camps provided the foundation for the planning and
         operational activities necessary for al Qaeda to succeed in striking the United States.

2.7.     The records created by charities that are involved in supporting armed conflict,
         extremism, and terrorism, generally do not document such expenditures and activities.
         Lawful, public, authorized uses of charities do not include providing support for violence.
         Record-keeping by any charity involved in support for such acts of violence or for any
         form of serious crime necessarily omits and seeks to hide evidence of such support that
         might be used by outsiders to the detriment of the charity engaged in supporting
         extremism and terrorism. Documenting terrorist activities in the books of a charity is
         counter to the interests of both the charities supporting terrorist groups and to the interests
         of the terrorist groups themselves. Any such documentation increases the risk that the
         donor as well as the recipient could be exposed to indictment, arrest, civil liability,
         sanctions, or having their commercial activities closed down. While terrorists, like others

27
   “Central Intelligence Agency Report on NGOs With Terror Links,” 1996, “1996 CIA Report,” handwritten
notation, Jan ‘98, no further date specified, Exhibit 95, Index of Evidence Supporting Plaintiffs’ Averment of Facts
in Support of Their Claims Against the Kingdom of Saudi Arabia and the Saudi High Commission for Relief of
Bosnia & Herzegovina available, text available online as Exhibit J Case 1:03-md-01570-GBD-SN Document
3826-6 Filed 12/01/17 Page 37 of 99, https://www.docketbird.com/court-documents/In-Re-Terrorist-Attacks-On-
September-11-2001/Exhibit-EX1JT4B1/nysd-1:2003-md-01570-03826-006 and except for first paragraph at
https://en.wikisource.org/w/index.php?title=CIA Report on NGOs With Terror Links&action=edit. The report is
also referenced in the UNSC Second Report, id, at p. 15, as a “recently published report by the United States Central
Intelligence Agency.” See also “Islamic Terrorists,” id, CIA_00210-236, and “Funding Islamic Extremists,” id,
CIA_000744..
28
   “Various documents also established that Arnaout worked with others -- including members of al Qaida -- to
purchase rockets, mortars, rifles, and offensive and defensive bombs, and to distribute them to various mujahideen
camps, including camps operated by al Qaida,” “Treasury Designates Benevolence International Foundation and
Related Entities as Financiers of Terrorism,” U.S. Department of the Treasury Press Release, 11/19/2002.
https://home.treasury.gov/news/press-releases/po3632
29
   These conclusions reflect the analytic reporting of the CIA as of April 9, 1999, reflected in its finished analysis on
“Islamic Terrorists,” id., produced by the CIA’s counterterrorist center (“CTC), CIA_000210-236..

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         engaged in illegal activity, generally do their best to avoid documenting their “sources
         and methods,” charities facilitating criminal conduct and seeking to cover it up can leave
         behind a crumbs of evidence which provide clues to what they are actually doing:

         2.7.1. For example, a charity may send faxes for military equipment in which other
                documents govering the same transactions describe the goods as “wheat,” or
                “satellite telephones,” as was documented with one charity, Third World Relief
                Agency (“TWRA”), operating in Bosnia in the mid-1990s, in connection with
                proceedings of the International Court for Criminal Justice.30

         2.7.2. In another example, which is especially material to this case, information
                contained in records maintained by charities and/or banks which indicates
                deception is relevant to assessing whether that institution has been manipulating
                its record keeping or omitting information to conceal activities related to terrorist
                finance. Such information may also provide corroboration for findings made by
                government agencies tasked with understanding terrorist finance, such as the CIA.

2.8.     Information available on charities that provided material support to al Qaeda and other
         terrorist groups prior to 9/11 shows a recurrent pattern of deficient controls, missing
         funds, false invoicing, and other schemes to make accurately reconstructing how they
         actually spent their funds impossible. I have found that few audits of such charities for
         the period prior to 9/11 have been available in connection with this and related cases. The
         few limited audits that have emerged show recurrent patterns of gross abuse, as one
         would expect of charities whose personnel intentionally were expending charitable funds
         for prohibited purposes, such as buying weapons and providing direct support to terrorist
         groups. Based on audits I have reviewed from some of the charities, and comparing them
         with other information available to me, such as CIA reports, reports of other
         governmental bodies such as NATO, and reports from individuals who were inside al
         Qaeda, charities that provided support to al Qaeda hid what they were doing through false
         or misleading their documentation of expenditures, such as by listing military and
         terrorist support activities as expenses for legitimate activities. Notably, based on the
         documents produced by ARB that I have reviewed, SAAR himself and other members of
         the Al Rajhi family and those associated with them, undertook actions to create false or

30
   Expert Report Concerning the Area – Financial Investigations – relating to the judicial assistance request, ref. no.
INV/10289/T09-PH (245), dated 8/27/2002 of the “Office of the Prosecutor (OTP) of the International Court of
Criminal Justice for the former Yugoslavia relating to the “Third World Relief Agency” TWRA), Vienna/Austria,
MR/GER049960, Exhibit 231 Affirmation of Sean Carter Transmitting Evidence in Support of Plaintiff’s
Memorandum of Law in Opposition to the Motion to Dismiss of the Kingdom of Saudi Arabia and Saudi High
Commission for Relief of Bosnia & Herzegovina, hereafter “ICCJ Expert Report.” I take note that the ICCJ Expert
Report also found several transactions from SAAR and other persons with the family name “Al Rajhi” making
contributions to TWRA during the period of the Bosnian conflict during which TWRA was found to have been
providing military support to Islamic fighters there. The contributions, totaling just over $200,000, are characterized
in the report as having been made through Austrian banks in 1993 and 1994 by “Suleiman Al-Rajhi” and by “Saleh
Alaabdulaziz [sic] Al Rajhi and Brothers,” also spelled “Saleh Alabdulaziz Al Rajhi and Brothers,” at
MR/GER049979 and MR/GER049980. According to an online profile maintained about him at Alrahhibmb.com,
which according to the website stands for “Al Rajhi Business Management Board,” the late Saleh Abdul Aziz Al
Rajhi was the eldest of the brothers who founded Al Rajhi bank, and the co-founder of the bank together with his
brother Suleiman. “About Saleh Abdul Aziz Al-Rajhi,” https://www.alrajhibmb.com/about_us.htm

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        misleading documentation of their charitable activities for the purpose of concealing
        them from persons concerned about terrorism, as I will discuss later in this Expert Report.
        These documents also corroborate some of the information relied on by the CIA in its
        findings on terrorist finance relating to the charities and to its bankers, including the
        defendant, ARB.

2.9.    The records provided to me from ARB show that it provided accounts to or had
        relationships with a number of charities which each provided significant material support
        to al Qaeda without which it would not have achieved its global capabilities.31 Prior to the
        9/11 attacks, such support included:

        2.9.1.    IIRO supported terrorist finance activities through its field offices in many
                  countries. IIRO provided funding for terrorist infrastucture, provided jobs and
                  safe haven to al Qaeda and al Qaeda operatives, and funded and built local
                  support for affiliated terrorist groups. Two of IIRO’s branches and a senior
                  official of one of its major Saudi Arabian offices were specifically designated for
                  terrorist sanctions by the U.S. and the UN. That other offices of IIRO were not
                  designated should not be interpreted to mean that no other IIRO office was
                  similarly implicated. To the contrary: U.S. government assessments indicate the
                  bin Laden used other offices of the IIRO to support al Qaeda’s activities, and that
                  they too were suspectible to abuse.32

        2.9.2.    MWL provided funding to al Qaeda and bin Ladin and incubated others who
                  provided such funding.33 As stated by a former member of al Qaeda who knew
                  bin Ladin well, MWL incubated and housed other charities and their key
                  personnel as they supported terrorism, by providing funding to them that they

31
   One of the most extensive discussions of the relationship of the support of terrorism by a number of charities,
including those discussed in this Expert Report, is set forth in “Second report of the Monitoring Group established
pursuant to resolution 1363 (2001) and extended by resolutions 1390 (2002) and 1455 (2003), on sanctions against
Al-Qaida, the Taliban and individuals and entities associated with them,” UN Security Council, November 3, 2003,
distributed December 2, 2003, S/2003/1070, https://documents-dds-
ny.un.org/doc/UNDOC/GEN/N02/225/80/PDF/N0222580.pdf?OpenElement
32
   9/11 Commission Report, id.; “Saudi Financial Support,” id., CIA_000149; “Islamic Terrorists,” id, CIA_000210,
CIA 000220-221; “Usama Bin Ladin s [sic] Finances: Some Estimates of Wealth, Income, and Expenditures,”
Central Intelligence Agency, November 17, 1998, CIA_000325; CIA_000330; “Usama Bin Ladin: Some Saudi
Financial Ties Probably Intact,” (“UBL Saudi Financial Ties”) Central Intelligence Agency, Office of Transnational
Issues,” January 11, 1999, CIA_000807-84, see CIA_000808, CIA_000811, CIA_000817-818. See also FBI-CIA
Joint “Assessment of Saudi Arabian Support to Terrorism and the Counterintelligence Threat to the United States,”
December 2004, referring to “Turki Bin Fahd Jiluwi, an important al-Qa’ida donor who hails from a minor line in
the Saudi royal family.” According to the assessment, Bin Jiluwi was a “key leader of the Eastern Province office”
of IIRO,” and was also suspected of embezzling more than $3 million from the organization, indicative of its poor
controls. FBI/CIA “Assessment of Saudi Arabian Support to Terrorism and the Counterintelligence Threat to the
United States,” December 2004, p.5, EO14040-003419. The head of that branch of IIRO, Abd Al Hamid Sulaiman
Al-Mujil, was designated for sanctions for using his position “to bankroll the al Qaida network in Southeast Asia.”
In sanctioning him, the U.S. Treasury stated that “Al-Mujil has a long record of supporting Islamic militant groups,
and he has maintained a cell of regular financial donors in the Middle East who support extremist causes,” “Treasury
Designates Director, Branches of Charity Bankrolling Al Qaida Network,” August 3, 2006,
https://home.treasury.gov/news/press-releases/hp45
33
   “UBL Saudi Financial Ties,” id, CIA_000822-823

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                  were able to use to build the capacity of al Qaeda and associated organizations to
                  carry out jihad locally and globally, including against the United States. As
                  described by the al Qaeda insider, MWL was the “mother” of the other charities
                  helping al Qaeda.34

        2.9.3.    WAMY, through its network of subsidiaries and affiliates, provided funds to al
                  Qaeda and to associated Islamic terrorist organizations and separatist
                  movements. It channeled donated funds to al Qaeda and these organizations and
                  movements; provided them financial and logistical support; helped recruit and
                  facilitate the movement of Islamic fighters and terrorists into conflict zones;
                  provided weapons to al Qaeda, as well as Islamic soldiers and terrorists involved
                  in affiliated or associated activities and causes; recruited young Muslims to join
                  terrorist and separatist organizations and causes, including to become martyrs for
                  Islam; served as a distribution channel for transmitting information and
                  documents to and from al Qaeda and within and among Islamic terrorist
                  organizations and associated separatist movements; disseminated hate speech
                  against Christians and Jews designed to advance al Qaida’s radical Islamist
                  ideology throughout the Muslim world and legitimize violent jihad against
                  “infidels;” and urged young Muslims to take up arms against secular, non-
                  Islamist societies.35

        2.9.4. Al-Haramain, through various offices on three continents (Africa, Asia, and
               Europe), participated in “the financing, planning, facilitating, preparing or
               perpetrating of acts or activities by, in conjunction with, under the name of, on
               behalf or in support of Al-Qaida,” as described by the UN when it imposed
               sanctions on various offices of Al-Haramain that continued to operate after Saudi
               Arabia in 2004 ordered Al-Haramain to cease all of its foreign operations and
               close all of its foreign branches.

                 2.9.4..1. In August 2002, the CIA found that people working for Al-Haramain in
                           at least twenty countries in Africa, Asia and Europe had supported
                           Islamic terrorist and militant groups, and that its “officials had provided
                           financial and logistical support to Bin Ladin and other Islamic radicals by
                           diverting funds and supplies from legitimate activities.”36

                 2.9.4..2. In November 2003, the conclusions reached by the UN Experts in the 2nd
                           UN Monitoring Report about Al-Haramain were similarly devastating,
                           linking the charity to acts of terrorism in Bosnia and Herzegovina,

34
   Interview of al-Fadl, Exhibit 141, PEC-KSA002135-2143, 01-1535-cr(L)
35
   “Terrorism Finance: Custodial Interviews Providing Leads into Al-Qa’ida Financial Network,” (“Terrorism
Finance,”) August 7, 2002, CIA_000313; UBL Saudi Financial Ties,” id, CIA_000826-827
36
   “Security Council ISIL (Da'esh) and Al-Qaida Sanctions Committee Amends 29 Entries to Its Sanctions List,”
Press Release, UN Security Council, SC/15190, February 2, 2023, https://press.un.org/en/2023/sc15190.doc.htm.
The Al-Haramain offices cited for providing financing, material, technological, and other support to Al-Qaida
included its offices in Afghanistan, Albania, Bangladesh, Bosnia and Herzegovina, Ethiopia, Kenya, The
Netherlands, Pakistan, Tanzania, the Union of the Comoros. See also “Al-Haramain: Support for Extremists and
Terrorists,” Central Intelligence Agency,” August 28, 2002, CIA-SUB_0007-00019.

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                            Indonesia, and Kenya, the last of which was an apparent reference to al
                            Qaeda’s bombing of the U.S. Embassy in Nairobi.37

                 2.9.4..3. The following January, the Saudi government joined the U.S. government
                           in sanctioning four branches of Al-Haramain.38 Later, the Saudi
                           government issued a 104-page white paper which characterized Al-
                           Haramain as “one of the biggest terror-financing operations in the world
                           and the funding organ and channel for the Nairobi, Kenya and Dar es
                           Salaam bombings in 1998.” In the white paper, the Saudi government
                           referred to Al-Haramain as “the charity front Al-Haramain Islamic
                           Foundation, notoriously tied to Osama bin Laden, the Taliban and Al
                           Qaeda’s terror campaigns.” 39 In this assessment, the Saudi view reflected
                           that of the Treasury Department in its June 2, 2004 designation of Al-
                           Haramain. In a statement issued that day, the Treasury Department stated
                           “[w]hen viewed as a single entity, AHF is one of the principal Islamic
                           NGOs providing support for the al Qaida network and promoting militant
                           Islamic doctrine worldwide. . . numerous AHF field offices and
                           representatives operating throughout Africa, Asia, Europe and North
                           America appeared to be providing financial and material support to the al
                           Qaida network. Terrorist organizations designated by the U.S. including
                           Jemmah Islammiya, Al-Ittihad Al-Islamiya, Egyptian Islamic Jihad,
                           HAMAS and Lashkar E-Taibah received funding from AHF and used
                           AHF as a front for fundraising and operational activities."40

                 2.9.4..4. The United Nations concluded that Al-Haramain, when viewed as a
                           single entity, was one of the “principal NGOs acting throughout the
                           world providing support for the Al-Qaida network.”

2.10.    It is not possible to determine an exact dollar amount of the material support given by
         these charities for terrorism.41 The charities did not accurately report support they

37
   2nd UN Monitoring Report, id., ¶¶45-51.
38
   “Treasury Announces Joint Action with Saudi Arabia Against Four Branches of Al-Haramain In The Fight
Against Terrorist Financing,” January 22, 2004, https://home.treasury.gov/news/press-releases/js1108
39
   “White Paper on Saudi Arabia and Counterterrorism,” Government of Saudi Arabia, in English, undated, p. 13
and p. 86. Apart from its reference to Al-Haramain’s support for terrorism in the period prior to the 9/11 attacks, the
Saudi White Paper generally references events from the date of the terrorist bombings in Riyadh May 12, 2003 to
April 5, 2016, with internal references suggesting it was issued by Saudi Arabia’s Embassy in Washington, with the
support of its Ministry of Foreign Affairs, sometime after that date, likely mid-2016. The White Paper includes as
appendices opinion pieces published in U.S. media by its then Foreign Minister and Ambassador to the United
States. The White Paper describes in some detail Saudi Arabian actions to counter extremism, terrorism, and
terrorist finance from roughly September 2003 onward.
40
   “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” Treasury Department, June 2, 2004,
https://home.treasury.gov/news/press-releases/js1703
41
   Terrorist finance is by its nature covert, and this makes the development of global metrics regarding the total
funds raised and used to support al Qaeda more difficult. As stated in Congressional testimony by then Under
Secretary of the Treasury Stuart Levey, “Scientific metrics are simply not available in our line of work. Al Qaida
does not release financial statements, and we will never know precisely how much money intended for terrorists
never reached their hands due to our efforts. We therefore find ourselves discussing proxies for the ultimate

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         provided for terrorism. The limited information provided about the bookkeeping
         maintained by various Islamic charities, including these charities and other Islamic
         charities, provides evidence of incomplete and dishonest records, as I have discussed in
         expert reports previously submitted to this court in a related case.42

2.11.    In practice, the offices, activities, and funds of the charities could be, and were actually
         used simultaneously for, both humanitarian and terrorist purposes. While some of the
         humanitarian assistance provided by these charities was unrelated to providing support
         for jihad and terrorism, overall, the two types of activities - humanitarian and terrorist -
         were inextricably intermingled in the international operations of the principal Islamic
         NGOs who contributed to supporting Bin Ladin, al Qaeda, and similarly-minded terrorist
         organizations in the days, months, and years that preceded the 9/11 attacks.

2.12.    In addition to using charities to support his terrorist activities, Bin Ladin used financial
         institutions to assist him in his work to build al Qaeda. ARB was one of the financial
         institutions that was extensively implicated in facilitating terrorist transactions for al
         Qaeda and other extremist groups.43

2.13.    The summary above provides the framework for helping to understand the the answers I
         provide over the remainder of this Expert Report, given the focus of the ten questions on


questions: how many donors and facilitators have been captured; how many channels for moving terrorist funds
have been designated and blocked; or how many countries are equipped to monitor and interdict illicit financing
channels. Each of these benchmarks points to only one aspect of the problem, though, and imperfectly at that. Most
revealing, to my mind, is intelligence reporting that although anecdotal speaks to the difficulty with which terrorists
are raising, moving, and storing money. The information available to us is encouraging. We are seeing terrorist
groups avoiding formal financing channels and instead resorting to riskier and more cumbersome conduits like bulk
cash smuggling. And, most importantly, we have indications that terrorist groups like al Qaida and HAMAS are
feeling the pressure and are hurting for money.” Testimony of Stuart Levey, Under Secretary Office of Terrorism
and Financial Intelligence U.S. Department of the Treasury Before the House Financial Services Subcommittee on
Oversight and Investigations, May 4, 2005, https://home.treasury.gov/news/press-releases/js2427 One important
implication of Levey’s testimony is that terrorists find it more difficult to obtain the funds they need to carry out
terrorist attacks when traditional banking channels are closed to them. When a bank becomes a conduit for terrorist
funding, the result is to promote the terrorist activity that follows from the use of the funds. Similarly, when a bank
maintains sufficient controls to prevent such funding, terrorists are forced to adopt alternatives that are “riskier,” less
efficient, and therefore, less likely be help the terrorists achieve their goals.
42
   Expert Report of Jonathan M. Winer, March 10. 2020, and Rebuttal Report of Jonathan M. Winer, February 2,
2021, In re Terrorist Attacks on September 11, 2001, 03-MDL-1570 (GBD) (SN). In these reports, I addressed
auditing deficiencies pertaining to IIRO, WAMY, and the support of MWL for multiple charities that were engaged
in supporting terrorism. I also addressed the involvement of Al-Haramain in terrorist finance and other support for
terrorism, but not its record-keeping practices. I address issues relating to Al-Haramain’s financial record-keeping
and support for terrorism later in this Expert Report. At the time, I did not have the benefit of the additional
information on the involvement of these charities in supporting terrorism, bin Ladin, his associates, and al Qaeda,
contained in the material declassified and released by President Biden under EO 14040 and in response to Plaintiffs’
ARB subpoena, and also had not reviewed documents produced by ARB in this case.
43
   See e.g. ARB-00013809-815, for bin Laden account in foreign (non-Saudi) currency as of October 20, 1991, and
for its overall role in funding terrorism and al Qaeda, CIA_000723; CIA_000743-744; CIA_000783; CIA_000809;
CIA_000811; CIA_000826; CIA_000830-831; CIA-SUB_0002-006; CIA-SUB_0024; CIA-SUB_0027; CIA-
SUB_0032; CIA-SUB_0001-0006. The phrase “conduit for terrorist transactions” was applied by the CIA to Al
Rajhi bank at CIA-SUB_0002.


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        facts and circumstances as they were known or took place prior to the September 11
        attacks. Having a grasp of this framework is especially important for answering these ten
        questions given the close, unique, relationship between ARB; its cofounder and chief
        executive, SAAR; the charity he established, the SAAR Foundation, which undertook
        banking transactions through ARB; and charities that were deeply involved in providing
        funds and other support for terrorism, including Al-Haramain and IIRO, which each
        maintained many bank accounts at ARB, as discussed in detail in later sections of this
        Expert Report.

3. Question 1: Was terrorist financing, and more specifically terrorist financing through
   purported charitable organizations, an area of concern in the international banking
   industry before September 11, 2001?

3.1.    Yes, terrorist financing through purported charitable organizations was an area of concern
        to the international banking industry before September 11, 2001. Prior to the 9/11 attacks,
        the UN and its member states, which include every country in the world other than
        Palestine and the Vatican, undertook a series of actions focusing on terrorist finance.
        When taking these steps, the UN’s member states expressly specified the threat posed by
        charities being used for that purpose. UN member states made commitments to apply
        anti-money laundering standards to cover terrorist finance and to put those standards into
        place as part of their regulation of banks and other financial institutions.

3.2.    On January 16, 1997, the UN, acting as a body, took formal notice of the problem of the
        financing of terrorism through charities. On that date, the UN General Assembly, which
        had previously adopted a Declaration on Measures to Eliminate International Terrorism
        on December 9, 1994, and issued a Resolution on that topic on December 11, 1995,
        issued a new Resolution on “Measures to eliminate international terrorism,” stating that
        the General Assembly, which includes every member state of the UN, was “[d]eeply
        disturbed by the persistence of terrorist acts, which have taken place worldwide.” The
        Resolution “strongly” condemned “all acts, methods and practices of terrorism as
        criminal and unjustifiable, wherever and by whomsover comittted,” and called upon all
        States to take further measures to prevent terrorism. The measures the UN and its
        member states agreed should be taken to combat terrorism included the commitment to
        “take steps to prevent and counteract, through appropriate domestic measures, the
        financing of terrorists and terrorist organizations, whether such financing is direct or
        indirect through organizations which also have or claim to have charitable, social or
        cultural goals…”44

        3.2.1.    The inclusion of this language in a statement by the UN reflects the international
                  recognition as of January 16, 1997 that terrorist financing through “charitable,
                  social or cultural” entities was already a significant problem.

        3.2.2.    In subsequent UN resolutions, the General Assembly reiterated the call to States
                  to take effective actions to combat terrorist finance, citing the January 16, 1997

44
   UN Resolution Adopted by the General Assembly [on the report of the Sixth Committee (A/51/631)], Fifty-first
session, Agenda Item 151, January 16, 1997.

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                   Resolution that expressly referred to it taking place through “charitable”
                   organizations, and the need to combat that. These resolutions included a further
                   iteration of 52/165 “Measures to eliminate international terrorism,” on January
                   19, 1998. 45

         3.2.3.    The UN General Assembly acted again on January 26, 1999 to cite its prior
                   statements about the need to combat terrorism by referring to the previous
                   resolutions, and moved the ball forward further by authorizing the prompt
                   development of a comprehensive international convention to provide a common
                   set of requirements for its member states to stop terrorist financing, as a
                   necessary addition to the existing international instruments dealing with
                   international terrorism. 46

         3.2.4.    This new international legal instrument to combat terrorist financing was
                   negotiated quickly, and adopted by the UN General Assembly on December 9,
                   1999 in resolution 54/109, and given the formal title of “International
                   Convention for the Suppression of the Financing of Terrorism” (“Terrorist
                   Finance Convention”). 47

         3.2.5.    The Terrorist Finance Convention was promptly signed by a number of
                   countries, including countries with major financial centers, such as the United
                   States, the United Kingdom, France, and Germany, with a few months of its
                   adoption by the UN General Assembly, which includes all of the UN’s member
                   states. Other countries which had experienced serious terrorist incidents at home,
                   such as Algeria, Egypt, Russia, and Sri Lanka also signed the Terrorist Finance
                   Convention in 2000.48

         3.2.6.    The Terrorist Finance Convention consisted of 28 articles. The most detailed and
                   lengthy article, Article 18, specified a number of specific measures governments
                   signing the instrument were required to take, including in their regulation of
                   banks and other financial institutions, to counter terrorist finance risk. These
                   included in pertinent part:

                  3.2.6..1. (1) (b) Measures requiring financial institutions and other professions
                            involved in financial transactions to utilize the most efficient measures
                            available for the identification of their usual or occasional customers. . .
                            and to pay special attention to unusual or suspicious transactions and
                            report transactions suspected of stemming from a criminal activity.


45
   UN Resolution Adopted by the General Assembly [on the report of the Sixth Committee (A/51/631)], Fifty-
second session, Agenda Item 152, January 19, 1998.
46
   UN Resolution Adopted by the General Assembly [on the report of the Sixth Committee (A/51/631)], Fifty-third
session, Agenda Item 152, January 26, 1999.
47
   Terrorist Finance Convention, Adopted by the General Assembly of the United Nations in resolution 54/109 of
December 9, 1999, https://www.un.org/law/cod/finterr.htm
48
   Dates of signing and ratification of the convention are maintained by the UN and accessible at its treaties website
at https://treaties.un.org/Pages/ViewDetails.aspx?src=IND&mtdsg_no=XVIII-11&chapter=18

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                3.2.6..2. (i) Adopting regulations prohibiting the opening of accounts the holders
                          or beneficiaries of which are unidentified or unidentifiable, and measures
                          to ensure that such institutions verify the identity of the real owners of
                          such transactions;

                3.2.6..3. (ii) With respect to the identification of legal entities, requiring financial
                          institutions, when necessary, to take measures to verify the legal
                          existence and the structure of the customer by obtaining, either from a
                          public register or from the customer or both, proof of incorporation,
                          including information concerning the customer’s name, legal form,
                          address, directors and provisions regarding the power to bind the entity;

                3.2.6..4. (iii) Adopting regulations imposing on financial institutions the
                          obligation to report promptly to the competent authorities all complex,
                          unusual large transactions and unusual patterns of transactions, which
                          have no apparent economic of obviously lawful purpose . . .

                3.2.6..5. 2(b) Feasible measures to detect or monitor the physical cross-border
                          transportation of cash and bearer negotiable instruments. . .49

3.3.    Forty-five UN member states signed the Terrorist Finance Convention during the first
        eighteen months after it was opened for signature, prior to the 9/11 attacks. These
        included a number of EU countries, such as Denmark, France, Germany, Italy, the
        Netherlands and Spain, whose financial institutions were in the Eurozone; the United
        Kingdom, and the United States, representing the three most commonly used currencies
        in the world for international banking, and they included Switzerland, whose currency,
        the Swiss Franc, depends on universal acceptance by international financial institutions.
        They also included countries that had significant terrorist incidents prior to 9/11, such as
        Chile, Comoros, Costa Rica, Greece, Egypt, India, Israel, Russia, and Sri Lanka.50

3.4.    The UN was not the only international body to address the need for banks to be alert to,
        and prevent, their use for terrorist finance. In 1996, the world’s premier standard setting
        body for bank regulators, the Basel Committee, expressly addressed this issue, stating
        that banking regulators throughout the world, and the governments of the member states
        in which they were headquartered, needed to have in place effective measures to prevent
        the use of banks to facilitate terrorism and to report cases involving serious crimes
        (expressly including terrorism), to law enforcement agencies.51




49
   Terrorist Finance Convention, id
50
   “International Convention for the Suppression of the Financing of Terrorism,” December 9, 1999
https://treaties.un.org/Pages/ViewDetails.aspx?src=IND&mtdsg_no=XVIII-11&chapter=18
51
   “The Supervision of Cross-Border Banking.” Report by a working group comprised of members of the
Basle [sic] Committee on Banking Supervision and the Offshore Group of Banking Supervisors,” Basel Committee,
Basle [sic], October 1996, p. 14, https://www.bis.org/publ/bcbs27.pdf. The Basel Committee referred to terrorism as
an example of serious crime, and unlike the UN did not expressly address the risks of charities as a subset of the
need to combat terrorist finance.

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3.5.    Major international media attention described the magnitude of the problem of charities
        being used to finance terrorism prior to the 9/11 attacks, highlighting the factual basis for
        why banks shoud be concerned about the phenomenon as an area of risk. For example,
        some eighteen months prior to the 9/11 attacks, the New York Times published an article
        stating that the United States had developed a list of more than 30 charities and relief
        groups that U.S. government agencies were examining for links to terrorism, including at
        least two headquartered in the United States. The article specified that charities and relief
        groups had been linked to a recent plot to bomb historic and tourist sites in Jordan, the
        1993 bombing of the World Trade Center, terrorist attacks in Egypt against tourists and
        government officials, as well as to lethal attacks on U.S. embassies in Kenya and
        Tanzania in 1998. The article named the two U.S. charities as the Holy Land Foundation
        and the Global Relief Foundation.52 Both of these charities later were subject to U.S.
        sanctions for having financed terrorism after the 9/11 attacks.53

3.6.    The status of the express adoption to apply global countering terrorist finance standards
        to domestic banks was noted by the State Department in its annual International
        Narcotics Control Strategy Report issued on March 1, 2001, discussing the obligations
        countries had under the Terrorist Finance Convention. This State Department report also
        described the implications of the commingling of funds for terrorism and for
        humanitarian purposes as making terrorist finance more difficut for governments to
        investigate, stating: “Hizballah, HAMAS, Bin Ladin's al-Qa'ida, and others also need
        funds for media campaigns, to buy political influence, and even to undertake social
        projects--largely with the aim of maintaining membership and attracting sympathetic
        supporters. Indeed, for many terrorist groups, the planning and execution of violent
        attacks probably comprise a small part of their total budget. It is much more difficult to
        investigate the financial dealings of a terrorist organization if most of its funds are
        earmarked for legitimate political, social, and humanitarian activities.”54

3.7.    Given the terrorist finance concerns expressed in the UN resolutions and reflected in the
        UN Terrorist Finance Convention, as well as the work of the Basel Committee, and the
        kind of press coverage described above prior to the 9/11 attacks, any bank operating
        internationally, that is, having correspondent banking accounts with money center banks
        to enable transactions in major international currencies such as the U.S. dollar, the Euro,
        and the British pound, needed to be aware of the risks of terrorist finance through
        charities.55 Any bank found to have facilitated terrorist finance faced significant

52
   “Some Charities Suspected of Terrorist Role,” New York Times, February 19, 2000,
https://www.nytimes.com/2000/02/19/world/some-charities-suspected-of-terrorist-role.html
53
   “Shutting Down the Terrorist Financial Network December 4, 2001," designating the Holy Land Foundation as a
terrorist financier and subjecting it to sanctions, U.S. Department of the Treasury, December 4, 2001,
https://home.treasury.gov/news/press-releases/po841 and “Treasury Department Statement Regarding the
Designation of the Global Relief Foundation,” October 18, 2002, https://home.treasury.gov/news/press-
releases/po3553
54
   INCSR 2000, U.S. Department of State, overview, describing terrorist finance under national laws in Azerbaijan,
Cyprus, Egypt, Gibraltar, Guernsey, Ireland, Isle of Man, Hersey, Paraguay, Peru, Spain, St. Kitts, Turkey, and the
United States https://2009-2017.state.gov/j/inl/rls/nrcrpt/2000/959.htm
55
   I further address press coverage of the phenomenon in my response to Question 2, about instances in which
purported charities were implicated in money laundering and/or terrorist finance prior to 9/11.

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         reputational, legal and regulatory risks for failing to meet the requirements of its own
         domestic laws, the risk of potential civil liability, and the potential of having their ability
         to do business curtailed in major currencies, should major financial center banks
         providing them correspondent banking services find them to be associated with terrorist
         finance, and to have inadequate controls in place.

         3.7.1. By way of example, the defendant in this case, ARB, faced the threat of being
                sanctioned by the United States for financing terrorist groups, including al Qaeda,
                as reflected in a CIA report produced to facilitate U.S. decision making on that
                issue.56 While the U.S. government ultimately did not choose to take this action,
                the CIA report and other documents that I discuss later in this Expert Report make
                clear that the U.S. was considering doing this as an option to respond to the threat
                perceived from ARB’s acting as a “Conduit for Terrorist Finance.”

         3.7.2. ARB eventually lost one or more correspondent banking relationships with major
                international western banks which were terminated due to concerns about its lack
                of controls, first by HSBC and then, according to media reports, by JPMorgan
                Chase. In the case of HSBC, the terminations explicitly were related to concerns
                about Al Rajhi Bank’s involvement with charities alleged to have engaged in
                terrorist finance.57

         3.7.3. While these terminations took place years after the 9/11 attacks, they provide
                examples of the risks for any international bank pre-9/11 which failed to meet its
                anti-money laundering and terrorist finance obligations, including those relating
                to charities.

3.8.     Paying attention to the risk of terrorist finance through charities was not merely a topic of
         concern for banks and other financial institutions prior to 9/11. As discussed in greater
         detail in my response to Question 2, international banks, that is, banks engaging in
         activities in more than one country, were obligated not to handle funds relating to all
         serious crimes, including terrorism, as of 1996. This pre-9/11 obligation was reflected in

56
   CIA_SUB_0001-0005.
57
   The chronology relating to HSBC’s terminations in 2005 and 2010 of its relationship with Al Rajhi bank is set
forth in detail in “U.S. Vulnerabilities to Money Laundering, Drugs, and Terrorist Financing: HSBC Case History,”
Majority and Minority Staff Report, Permanent Subcommittee on Investigations, U.S. Senate, July 17, 2912,
https://www.hsgac.senate.gov/wp-content/uploads/imo/media/doc/PSI%20REPORT-
HSBC%20CASE%20HISTORY%20(9.6).pdf The Senate Committee’s detailing of links between Al Rajhi bank to
terrorist-linked charities and charitable contributions are set forth at pp. 194-202. Bloomberg, reported the apparent
closure of JP Morgan Chase bank’s relationship with Al Rajhi bank after the U.S. bank found Al Rajhi could not
provide essential information on the sources of funds it was transmitting through JP Morgan’s dollar clearing
operations as of 2013, “JPMorgan Said Cut Tie to Saudi Bank Amid Focus on Control,” February 19, 2014,
https://www.bloomberg.com/news/articles/2014-02-19/jpmorgan-said-cut-tie-to-saudi-bank-amid-focus-on-
control#xj4y7vzkg. Evidence in this matter shows that Chase Manhattan, a bank that was merged into JP Morgan
Chase in 2000, maintained a Payable Through Account in New York prior to the 9/11 attacks, whose use was linked
to a person who had previously provided support for two of the 9/11 terrorist hijackers. I discuss this evidence in my
response to Question 8. See “History of JPMorgan Chase & Co,” p. 19, available at
https://web.archive.org/web/20110927133631/http://www.jpmorganchase.com/corporate/About-
JPMC/document/shorthistory.pdf

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         both international standards, and in domestic laws and regulations governing banks,
         including banks based in Saudi Arabia.

4. Question 2: Were there incidents in which purported charities were implicated in money
   laundering for criminal activities, including the financing of terrorism and/or specific
   attacks, before September 11, 2001?

4.1.     Yes. There were incidents in which purported charities were implicated in criminal
         activity and/or terrorist finance years before the 9/11 attacks, and taking place in many
         different countries. These included, for example, the attacks on the United States, at its
         Embassies in Nariboi, Kenya and Dar es Salaam, Tanzania, on August 8, 1998, which
         killed more than 200 people,58 discussed further below. There were also pre-9/11
         allegations of charities being linked to the first attack on the World Trade Center in New
         York on February 26, 1993.59 These incidents also included purported charities providing
         support to terrorist activity in such countries as Afghanistan, Albania, Bosnia, Chechnya,
         Ireland, India, Israel, Kenya, Kosovo, the Philippines, Tanzania, and Uganda, as I detail
         later in this section of this Expert Report.

4.2.     The use of charities to fund terrorism was studied extensively by the Central Intelligence
         Agency during the 1990’s. The CIA’s Counterrorist Center issued a 16-page finished
         Intelligence Report on April 9, 1999, which provided considerable detail on the
         phenomenon, especially as it related to countries in which: 1) Muslims were in conflict

58
    For the Embassy attack, see contemporaneous media accounts such as the reporting of the Voice of America
“Nairobi Bomb Investigation,” VOA, August 22, 1998, at https://irp.fas.org/news/1998/08/980822-bomb.htm and
“Assault on a U.S. Embassy, a Plot Both Wide and Deep,” Washington Post, November 23, 1998,
https://www.washingtonpost.com/archive/politics/1998/11/23/assault-on-a-us-embassy-a-plot-both-wide-and-
deep/ddf5cb00-15e9-4dfa-9cd7-41fb2b592cb5/. See also the pre-9/11 indictment, and conviction of Wadih al Hage,
who at the time of the Embassy attack was a director of a local charity, “Help Africa People,” which was used by
Hage and others involved in the attacks on the Embassies who worked for bin Ladin. U.S. v. Bin Ladin, May 8,
2000, https://www.nonproliferation.org/wp-content/uploads/2016/05/us indictment against bin laden.pdf. For a
profile highlighting El Hage’s activities in Kenya, including his involvement with charities, see Frontline’s A
Portrait of Wadih El Hage, Accused Terrorist, published January 31, 2001, and last updated September 12, 2001,
https://www.pbs.org/wgbh/pages/frontline/shows/binladen/upclose/elhage.html
59
   "Some Charities Suspected of Terrorist Role; U.S. Officials See Muslim Groups Linked to bin Laden and Others,"
Judy Miller, New York Times (February 19, 2000),
https://archive.nytimes.com/www.nytimes.com/library/world/global/021900terror-charity.html The article’s lead
was clear on the involvement of charities in providing funds for bin Laden’s terrorist activities directed at the United
States: “Government officials investigating a decade of international terrorist attacks say they have found a
common thread, Islamic charities and relief organizations that they suspect are being used to move men, money and
weapons across borders. American officials said Osama bin Laden, the Saudi exile charged with masterminding the
1998 bombings of American Embassies in East Africa, relied on at least nine of the groups in his recent operations.
Other charities and relief groups, the Americans said, have been linked to a recent plot to bomb historic and tourist
sites in Jordan, the 1993 bombing of the World Trade Center and terrorist attacks in Egypt against tourists and
Government officials.” Apart from any foreign funds, a Brooklyn-based Islamic charity also provided support for
the 1993 bombing through money coming from the Alkifah Refugee Center in Brooklyn. (For a copy of one of the
checks involved see https://www.investigativeproject.org/documents/14-al-kifah-check-to-islamic-association-
for.gif and “The New Face of Terrorism,” New York Times, January 4, 2000,
https://www.nytimes.com/2000/01/04/opinion/the-new-face-of-terrorism.html As stated in the article, “[f]or
instance, the World Trade Center bombing was financed through money coming from the Alkifah Refugee Center in
Brooklyn. And the system of funneling money through charities has improved greatly since then.”

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    with or opposed to non-Muslim governments, such as in Afghanistan, Azerbaijan,
    Bosnia, Chechyna, Israel; (2) sought to change local governments which they viewed to
    be insufficiently fundamentalist, such as in Algeria, Egypt, Indonesia, the Philippines; or
    (3) sought to attack U.S. and other western interests, such as in Kenya, Somalia, Sudan,
    Tanzania, and the United States. The April 9, 1999 CIA report contained many important
    insights into how the NGOS were implicated in terrorism, which accord with key
    assessments I have reached over the course of my career working in terrorist financing,
    and accordingly I will quote pertinent excerpts from the report at some length:

    4.2.1. “Many Islamic terrorist and extremist groups – including all of the nine Islamic
           groups that the US State Department officially has designated as terrorist
           organizations—rely on nongovernmental organizations (NGOs) for funding, and
           their exploitation of these organizations is likely to grow.”

              •   “NGOs also provide an easily exploitable international network for
                  logistics support, which for many terrorists is more valuable than the funds
                  they may receive through NGOs.”

    4.2.2. “Although there are more than 6,000 Islamic NGOs and charities, only a few
           dozen support terrorists. Those that do generally fall into three basic categories:”

              •   “Large, internationally active organizations headquartered in the Persian
                  Gulf countries, which provide official support to the NGOs. These
                  organizations are most often exploited by individual employees
                  sympathetic to terrorist causes without the knowledge of the organization’s
                  leaderships. The illict activity tends to take place at local branch offices
                  rather than at headquarters locations.”

              •   “Private NGOs, some of which are headquartered outside the traditional
                  Muslim world. Several offices of these NGOs exist solely to support a
                  militant cause, such as the Afgan or Bosnian murjahedin, making them
                  somewhat more susceptible to extremist penetration.”

              •   “NGOs closely affiliated with a state sponsor of terrorism and operating as
                  a foreign policy or intelligence tool of the state. State ties to NGOs are
                  often well known, leading some state sponsors to penetrate smaller, locally
                  run NGOs to avoid detection.”

    4.2.3. “The availability of funds, cover, and logistics networks makes NGOs an
           appealing resource for terrorist groups. NGOs typically are awash in money – the
           Muslim World League’s budget is more than $26 million annually, and the annual
           budget of the International Relief Organization [comment: from the context, I
           understand this to mean the IIRO] has never dipped below $50 million – and
           tapping into the funds offers terrorists some independence from traditional state
           sponsors, who often attempt to control such groups for their own purposes. The
           logistical support NGOs offer includes cover employment, false documentation,

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                  travel facilitation, training, and in some cases, weapons. Most Islamic terrorist
                  groups maintain relationships with several NGOs, which protects them from the
                  closure of any one organization. Terrorists typically penetrate NGOs by finding
                  individual sympathizers who divert resources in support of the group, but in a few
                  instances, entire NGO offices including senior management positions, are staffed
                  by extremists. The use of legitimate NGOs has proven so successful that some
                  terrorist groups and the state sponsors of terrorism have created their own NGOs
                  to hide their terrorist activities.”

         4.2.4. “Most efforts by Persian Gulf states to curb terrorist use of NGOs by restricting
                the collection of funds within their borders have been ineffective, largely because
                the steps taken do not address the diverse of resources at the branch offices. . .” 60

4.3.     The April 9, 1999 report stated that the NGOs principally had a “double agenda” of
         providing humanitarian relief to need Muslims, but also to “spread the Islamic faith as
         they interpret it.” Of importance to answering this question, the CIA report further stated
         “Islamic NGOs also consider the defense of Muslims involve in armed conflicts part of
         their ‘humanitarian’ duties – explaining why many Islamic NGOs provided support,
         including weapons, to the Afghan and Bosnian mujahedin forces in the 1980s and 1990s,
         respectively.”61

4.4.     The April 9, 1999 report discussed how the IIRO and other MWL affiliates had
         “provided terrorists with funding and cover employment, documentation, and training,
         according to [redacted] press reporting.62 It also differentiated Saudi state-sponsored
         charities implicated in the support of terrorism from “private organizations—some also
         are headquartered in the Persian Gulf countries—that either have opened offices in areas
         of military conflict involving Muslims or have grown out of such conflicts.” It
         specifically listed the Pakistan-based Maktab al-Khidamat (“MAK”), co-founded by bin
         Laden, as the premier example of this type of NGO, and noted other charities of this type
         operating in Bosnia and other Balkan countries, as well as in Pakistan.63

4.5.     The CIA Intelligence Report described the Islamic NGOs as providing “a dependable,
         and seemingly endless, resource base” for terrorist groups such as al Qaeda.64 It described

60
   “Islamic Terrorists: Using Nongovernmental Organizations Extensively, Intelligence Report, DCI Counterterrorist
Center, April 9, 1999, CIA_000210-211
61
   Id, CIA_000213
62
   Id
63
   Id, CIA_000214. I note that later CIA assessments, including its joint Assessment of Saudi Arabian support to
Terrorism and the Counterintelligence Threat to the United States, issued December 2004, EO 14040 003414-
003442, revised these earlier judgments to determine that there was “evidence that official Saudi entities, chiefly the
Ministry of Islamic Affairs and associated nongovernmental organizations (NGOs), provide financial and logistical
support to individuals in the United States and around the world, some of whom are associated with terrorism-
related activity.” EO 14040-003416, The joint assessment further found that “the Saudi Government and many of its
agencies have been infiltrated and exploited by individuals associated with or sympathetic to al Qa-ida,” Id. Finally,
it revealed that there was an active FBI investigation of the IIRO’s U.S. affiliate, the Success Foundation, which
“appear to be connected to a number of individuals and organizations associated with subjects of al-Qa’ida
investigations.” EO 14040-003438
64
   Id, CIA_000215

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        links between the Egyptian terrorist group al-Gama’at al-Islamiyya and Islamic NGOs
        providing support, but redactions in the document limit any further information regarding
        the details of that support. The CIA report described incidents in which MAK provided
        safehaven to World Trade Center bomber Ramzi Yousef, in addition to bin Laden’s
        brother-in-law, Muhammad Jamal Khalifah, providing Yousef and his co-conspirators
        funding and logistics support as they were plotting to blow up the 12 US airlines in East
        Asia.65 Other incidents described in the CIA report, and familiar to me as a result of my
        career working in counterterrorism and terrorism financing, include:

        4.5.1. Bin Laden using relationships with employees in several Al-Haramain offices to
               divert resources to support his terrorist agenda.

        4.5.2. The exploitation by terrorists of the UN High Commission for Refugees
               (UNHCR) accrediting Islamic charitable NGOs to travel more freely across
               borders.

        4.5.3. The use of MAK to provide financial and logistics support for the Egyptian
               terrorist group Al-Gama’at al-Islamiyya, for Hamas in Israel, and for Algerian
               extremists.

        4.5.4. The use of the NGO Africa Help in Nairobi, Kenya “as a front for al-Qa’ida
               activities,” and its likely use to provide identity documents to al Qaeda members
               as a cover for their travel between Afghanistan, Sudan, and Somalia in the mid-
               1990s. Separately the CIA report notes the de-registration of four NGOs
               following the US Embassy bombings in August 1998 in Nariboi and Dar es
               Salaam.

        4.5.5. The use of the Yemen-based office of Mercy International by its director,
               described as a “member” of al Qaeda, to provide documents and identity cards to
               support terrorist operations in Somalia in 1994.

        4.5.6. The use of the Azerbaijan office of the Kuwaiti Revival of Islamic Heritage
               Society to employ associates of bin Laden and provide false documentation to
               extremists.

        4.5.7. The use of Qatari NGOS in the West Bank to funnel money to Hamas.66

4.6.    Other CIA reporting, set forth in a January 11, 1999 report on bin Ladin and his financial
        ties, listed the use of the Al-Haramain office in Nariboi as a front for the Al-Ittihad Al-
        Islami, described by the CIA as a bin Ladin-backed Islamic insurgent group engaged in
        politically motivated violence in Somalia and Ethiopia.67



65
   Id, CIA_000216
66
   Id, CIA_000216-224
67
   CIA_000819

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4.7.   The April 9, 1999 CIA Intelligence Report, like the January 11, 1999 report, generally
       redacted its sources, except for a references to “press reporting.” It cited “press reporting”
       as part of its sourcing for statements that several MWL affiliate organizations, including
       the IIRO specifically, provided terrorists with funding and cover employment,
       documentation, and training.68 It cited press reporting regarding the use of the MAK to
       facilitate the travel and training of Arab volunteers to fight with the muhahidin in
       Afghanisan, and that it providing World Trade Center bomber Yusef with safe haven, and
       that its US-based office was “a focal point for Yousef and his co-conspirators.”69 It also
       cited press reporting for the use of MAK to support Al-Gama’at al-Islamiyya, Hamas,
       and Algerian terrorists.70 I note this because where there was press reporting, the
       information was publicly available, and was available to any bank undertaking due
       diligence for a bank in the same way that it was available to the CIA for use as an open
       source. Open source information of this kind was indeed the principal category of source
       that was not redacted from the declassified version of this CIA report, and declassified
       CIA reports generally.

4.8.   There was meaningful public coverage of charities being implicated in terrorism before
       9/11, both generically, as reflected in the decisions of the UN to specifically reference it
       in UN resolutions and actions, and in particular incidents. When I testified before
       Congress on September 26, 2001, two weeks after the 9/11 attacks, I stated the following
       about what was publicly known prior to the 9/11 attacks:

       4.8.1. “Before you is a chart displaying a portion of Osama bin Laden’s financial
              network. Every one of the more than 100 boxes on this chart reflects a publicly
              reported financial link of bin Laden, residing in more than 20 separate countries,
              in the Americas, Asia, Africa, Europe and the Middle East. Public information
              demonstrates terrorist funds moving through Islamic charities, travel agents,
              construction businesses, fisheries, import-export businesses, stock markets,
              chemical companies, and a number of banks. All of this is public record, and far
              from complete. There simply isn’t room on a single chart to include everything
              connected to bin Laden and related terrorist groups.”

       4.8.2. “[T]he U.S. needs to secure domestic and international action against those
              entities that have wittingly or unwittingly provided support to terrorism, as the
              President committed himself to doing in his announcement Monday. These
              include a number of Islamic charities, some of which are prominent and otherwise
              do many good works. We will need to work with other governments, including
              many in the Middle East, to cleanse charities that have supported terrorism
              unwittingly and to protect them from abuses by terrorists. Other charities, who
              have systematically supported terrorism, should be closed down, with their assets




68
   Id, CIA_000213, CIA_000216
69
   Id, CIA_000214
70
   Id, CIA_000219

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                  seized and made available to assist terrorism’s victims.”71

4.9.     The information I relied on when I testified before the U.S. Senate in the immediate
         aftermath of the 9/11 attacks was not classified information from the CIA. It was
         information that was publicly available to anyone (such as me), who was paying attention
         to widely disseminated public information. And as reflected in the CIA reports I have
         quoted from above, the information that was publicly known and what the CIA had from
         its intelligence sources were well-aligned.

4.10.    Publicly-reported incidents in which purported charities were implicated in criminal
         activity or terrorist finance before the 9/11 attacks included:

         4.10.1. Afghanistan. During the 1990’s, Maktab al-Khidamat (“MAK”), a Pakistani-
                 based non-profit, organized charitable activities directed at the Afghan resistance
                 to the Soviet invasion of Afaghanistan. In so doing, it also organized other
                 charities undertaking this work, which included training and arming fighters. The
                 MAK was ostensibly a charity, but in practice, was providing support to a pan-
                 Islamic war effort against the Soviets which bin LadIn then turned into an agenda
                 of terrorism targeting the United States, and sometimes other countries, under al
                 Qaeda.72 Prior to the 9/11 attacks, reporting by a prominent human rights
                 organization also referred generally to the problem of charities being used to
                 provide arms to fighters in Afghanistan, who in turn would abuse human rights.73
                 In its annual report, Patterns of Global Terrorism, the State Department referred in
                 April 2000 to bin Ladin’s and al Qaeda’s siphoning off of funds from unspecified

71
   Testimony of Jonathan M. Winer, Hearing on the Administration's National Money Laundering Strategy for 2001,
Senate Banking Committee, September 26, 2001, available at:
https://irp.fas.org/congress/2001_hr/092601_winer.html
72
   “Newsmaker Bio : Osama bin Laden,” August 22, 1998, ABC News,
https://abcnews.go.com/International/story?id=82412&page=1. Immediately after 9/11, MAK was designated for
global sanctions by the UN. The organization was listed on October 6, 2001 for “participating in the financing,
planning, facilitating, preparing or perpetrating of acts or activities by, in conjunction with, under the name of, on
behalf or in support of”, “supplying, selling or transferring arms and related materiel to” or “otherwise supporting
acts or activities of” Al-Qaida and Usama bin Laden. The UN described its role as follows: “Makhtab al-Khidamat,
also known as the Afghan Service Bureau, is the pre-cursor organization to Al-Qaida (QDe.004) and provided the
basis for its infrastructure. It was created in the 1980s by Abdullah Azzam (deceased) and Usama bin Laden
(deceased) to establish guest houses near the Afghan border and paramilitary camps to prepare militants for the
Afghan conflict. Makhtab al-Khidamat helped channel fighters and money to Afghanistan, and established offices
worldwide under the alias Al Kifah. Disagreements between Azzam and Bin Laden in the late 1980s resulted in the
creation of Al-Qaida by Bin Laden. After Azzam was killed in 1989, Bin Laden continued to utilize Makhtab al-
Khidamat and the Al Kifah branches before absorbing them into Al-Qaida.” Notably, the UN also lists other
sanctioned Islamic charities as linked to it, including “The Rabita Trust,” listed on October 17, 2001; The Global
Relief Foundation, listed on October 12 2002, the Al-Haramain Foundation (Pakistan), listed on January 26, 2004,
and the Al-Haramain: Afghanistan Branch, listed July 6, 2004.
https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/makhtab-al-khidamat
73
   “Following the reported cut-off of official Saudi assistance in 1998, significant funds continued to flow to the
Taliban from private Saudi sources. Some of this money has been raised by Saudi individuals dedicated to the
Taliban cause; much of the rest comes in the form of charitable activity, some of which may be allocated to military
purposes. “Crisis of Impunity: The Role of Pakistan, Russia, and Iran in Fueling the Civil War in Afghanistan,”
Human Rights Watch, July 1, 2001, https://www.hrw.org/report/2001/07/01/crisis-impunity-role-pakistan-russia-
and-iran-fueling-civil-war-afghanistan#P482_139627

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                 charities to support its terrorist activities in Afghanistan and elsewhere.74

        4.10.2. Albania. In mid-August 1998 it was publicly reported the U.S. had temporarily
                closed its Embassy in Tirana, Albania, due to a concerns raised by anti-U.S.
                declarations by Islamic extremists and by press reports of a CIA role in the arrest
                and extradition to Egypt of four suspected radicals. The U.S. reporting on the
                closure stated that Albania's largest newspaper, Koha Jone, said the country,
                Europe's poorest nation, had become a fertile ground for Islamic extremists taking
                advantage of easy access and lax law enforcement, to carry out criminal activity,
                including arms trafficking and money laundering “[u]nder the guise of religion, or
                as charitable humanitarian associations [to] engage in criminal economic
                activities to make money to finance their organizations operating in other states."
                The reporting quoted Albanian authorities as stating Egyptians it had deported
                were connected with a charitable organization, the Islamic Revival Foundation,
                whose apartment contained stamps to produce fake documents and a loaded
                Kalashnikov.75 Other reporting, in the Washington Post in late August 1998,
                described a broader pattern in Albania involving Islamic charities being tied to
                terrorism. According to the Post, Albanian officials found “terrorists used Islamic
                charitable foundations in Albania ‘to cover their secret activities . . .
                [and]relations and links with other Islamic organizations outside Albania,” and
                that members of these organizations ‘facilitated people coming from the Middle
                East’ who went on to plan or commit terrorist acts elsewhere.”76

        4.10.3. Bosnia. As of 1996, contemporaneous reports found that hundreds of millions in
                dollars in weapons had been funnelled into Bosnia by Islamic charities. One such
                charitable organization, the Third World Relief Agency, publicly supported a
                chicken farm, a women’s sewing factory, and a news agency, while covertly
                smuggling in massive shipments of arms for fighters, as found by European police
                and German investigators, in violation of the UN arms embargo. Notably,
                according to the public reporting, the funds were tied to the activities of bin Ladin
                in Bosnia, and those involved were also in contact with one of the central figures
                in the 1st World Trade Center bombing in 1993.77


74
    “Patterns of Global Terrorism, 1999, “ issued April 2000, U.S. Department of State, p. 113, https://1997-
2001.state.gov/global/terrorism/1999report/patterns.pdf
75
    “U.S. Closes Embassy In Albania,” Chicago Tribune, August 15, 1998, https://www.chicagotribune.com/news/ct-
xpm-1998-08-15-9808150097-story.html
76
    “Albania Expands Crackdown On Arabs,” Washington Post, Augustu 29, 1998,
https://www.washingtonpost.com/archive/politics/1998/08/29/albania-expands-crackdown-on-arabs/da907bf6-a693-
4f63-b379-3b375ef88a90/ Separately, there was press reporting in November 1998 that bin Ladin ran a terrorist
network in Albania which carried out operations in Kosovo. According to the reporting, the then-head of the
Albanian secret service stated then that the network was run by bin Ladin as a staging area to send fighters to
Kosovo. The reporting stated that bin Ladin personally visited Albania between 1996 and 1997. See “Written
Question to the Commission,” E-3308/01, by Konstantinos Hatzidakis (PPE-DE), November 28, 2001, citing
specific pubic reporting in the 1998 period regarding al Qaeda activities in Albania at that time. https://eur-
lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX%3A92001E003308
77
   “How Bosnia’s Muslims Dodged Arms Embargo,” Washington Post, September 22, 1996,
https://www.washingtonpost.com/archive/politics/1996/09/22/how-bosnias-muslims-dodged-arms-

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         4.10.4. Chechnya. By the late 1990s, there was recurrent reporting that bin Ladin was
                 providing financial support to Chechen terrorists, in connection with the Chechen
                 resistance movement against Russia, in both media reports and by the U.S.
                 Department of State in its annual reports on global terrorism.78 It was later found
                 that a principal mechanism for funding the Chechens with arms was the Saudi
                 charity, Al-Haramain, which the Russians stated wired $1 million to Chechen
                 rebels in 1999 and arranged to help them buy 500 heavy weapons from the
                 Taliban.79 The CIA found that Bin Ladin used the IIRO office in Baku,
                 Azerbaijan to obtain travel documents for Islamic fighters (“mujahedin”) to fight
                 in Chechnya.80

         4.10.5. Ireland/UK. During the 1990’s, an Irish charity, Noraid, was recurrently
                 implicated in providing financial support to the Irish Republican Army, which
                 was then engaged in a series of terrorist bombings and other military activity
                 directed at the British government, including attacks on civilians.81 While

embargo/b2d78043-3e34-46d9-babc-c4c335236aeb/ “European police backed by anti-terrorist squads raided the
office here of a seemingly obscure organization, the Third World Relief Agency, headed by a one-time Sudanese
diplomat named Elfatih Hassanein. Since then, poring over several van loads of documents, they have pieced
together one of the untold stories of the Bosnian war: how Bosnia's Muslim-led government evaded a United
Nations arms embargo and purchased hundreds of millions of dollars worth of black-market weapons. In the
documents and in the bank accounts of the Third World Relief Agency, Austrian investigators have tracked $350
million they say flowed from Muslim governments and radical Islamic movements to Bosnia. At least half was used
to purchase weapons illegally and smuggle them to the Bosnian government army, according to Western intelligence
estimates. . . . militants in the terrorist underworld are also believed to have used the relief agency to get money to
the Bosnian government, including the wealthy Saudi Arabian emigre Osama Binladen, a suspected sponsor of
militant Islamic groups around the Middle East. Binladen, a resident of Sudan until last year, is reportedly now in
Afghanistan, where he has issued statements calling for attacks on U.S. forces in the Persian Gulf. Investigators say
the agency also had ties to Sheik Omar Abdel Rahman, a radical Egyptian cleric who was convicted of planning
several terrorist bombings in New York and is linked to the group that carried out the World Trade Center bombing
in February 1993.” As previously mentioned, the audit undertaken by German investigators who reviewed TWRA
records found contributions from SAAR and his brothers to TWRA, as well as evidence that the charity was actively
involved in procuring weapons to be used by the Muslim side in the Bosnian conflict. This example captures how
unrestricted “charitable” giving from Gulf State donors could be rapidly transformed into military support for armed
conflict.
78
   Patterns of Global Terrorism, U.S. Department of State, January 15, 1998; https://1997-
2001.state.gov/global/terrorism/1998Report/sponsor.html; “Chaos in the Caucasus,” October 7, 1999,
https://www.economist.com/special/1999/10/07/chaos-in-the-caucasus; “Export of holy terror to Chechnya from
Pakistan and Afghanistan,” Vinod Anand, Strategic Analysis, 24:3, 539-551, June 2000,
https://www.tandfonline.com/doi/abs/10.1080/09700160008455231, noting the presence of al Qaeda in Chechnya
and the funding of Chechen extremism coming from “public collections and donations and contributions from Arab
countries.
79
   “How Jihad Made Its Way to Chechnya,” Washington Post, April 25, 2003,
https://www.washingtonpost.com/archive/politics/2003/04/26/how-jihad-made-its-way-to-chechnya/5b941796-
ed50-4f65-9a2b-18a90155e571/. The article cited a memo quoting reported messages exchanged between Arab
commanders in Chechnya and Al-Haramain's director in Saudi Arabia. "Today, Al-Haramain has $50 million for the
needs of the mujaheddin," one message from the charity read.” As discussed later in this Expert Report, the U.S.
branch of Al-Haramain was also alleged to have raised funds for and provided them to Chechen militants.
80
   CIA_00818
81
   “IRA Thrives On Income From Rackets, Investigators Say,” New York Times, February 12, 1994,
https://www.washingtonpost.com/archive/politics/1994/02/12/ira-thrives-on-income-from-rackets-investigators-
say/01900ed9-f6b5-4463-aba9-b720cd25c976/; “Irish Nationalism Effort Hurt by Split Into Factions in American
Camp : Northern Ireland: The hijacking of the NORAID office last July reduced the flow of dollars to Ireland and

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                  terrorism by groups seeking to end UK sovereignty over Northern Ireland is an
                  entirely separate political cause from the other examples set forth in this section,
                  the Northern Island case provides a good example of a purported charity financing
                  terrorism outside the context of Islamic extremism.

         4.10.6. India. There was an attempted attack on two U.S. diplomatic missions in India on
                 January 7, 1999 by a man carrying four pounds of explosives who was reported to
                 have told Indian police that he intended to blow up the U.S. consulates in Calcutta
                 and Madras and was working for the IIRO.82 Separately, prior to 9/11, the
                 intelligence service of Pakistan, ISI, was reported to be using charitable “fronts,”
                 largely funded with donations from Saudi Arabia, to finance armed insurgency in
                 Kashmir, according to a RAND study.83

         4.10.7. Israel. Prior to 9/11, there was regular reporting of charities funding terrorist
                 bombings and other military activities by Hamas against Israeli civilians by
                 governments and the media. These included specific references in Patterns of
                 Global Terrorism published annually by the U.S. Department of State to a pattern
                 of support by charities for terrorism, and recurring articles in the major media as
                 of the mid-1990’s.84

         4.10.8. Kenya. After the August 8, 1998 attack organized by al Qaeda against the U.S.
                 Embassy in Kenya, which killed 213 people, local authorities in Kenya, as well as
                 U.S authorities, recognized apparent involvement of local charities in supporting
                 this terrorist attack, and this information became public prior to the 9/11 attacks,
                 as reflected in a lengthy New York Times account published on January 9,
                 1999.85 As described online on a website maintained by the Public Broadcasting


raised doubts that the cause could ever win much support in the United States,” Associated Press, February 11,
1990. https://www.latimes.com/archives/la-xpm-1990-02-11-mn-895-story.html, “FBI Claims Odd Trio of Brink’s
Suspects Stole Millions to Aid IRA,” November 14, 1993, https://www.latimes.com/archives/la-xpm-1993-11-14-
mn-56960-story.html; “For Irish, a Mix of Pride and Discomfort Over the I.R.A.,” New York Times, March 13,
1996, https://www.nytimes.com/1996/03/13/nyregion/for-irish-a-mix-of-pride-and-discomfort-over-the-ira.html
82
    “Attacks on U.S. Mission Foiled, Indian Police Say,'' Los Angeles Times, January 21, 1999, Page A4,
https://www.latimes.com/archives/la-xpm-1999-jan-21-mn-178-story.html
83
    “Pakistan's Role in the Kashmir Insurgency,” RAND, published by Jane’s, September 1, 2001.
https://www.rand.org/blog/2001/09/pakistans-role-in-the-kashmir-insurgency.html
84
    “Patterns of Global Terrorism, 1997,” U.S. Department of State, which noted that in a year featuring multiple
horrific terrorist suicide bombings in public places in Tel Aviv and Jerusalem, the Palestinian Authority closed down
17 Hamas social and charitable institutions that were alleged to have channeled money to the group's terrorist wing.
https://1997-2001.state.gov/global/terrorism/1997Report/mideast.html See e.g. “U.S. Probing Chicago Connection
To Hamas,” Chicago Tribune, November 16, 1994 https://www.chicagotribune.com/news/ct-xpm-1994-11-16-
9411170294-story.html and “Bread or Bullets: Money for Hamas - A special report.; U.S. Muslims Say Their Aid
Pays for Charity, Not Terror,” New York Times, August 16, 1995, https://www.nytimes.com/1995/08/16/us/bread-
bullets-money-for-hamas-special-report-us-muslims-say-their-aid-pays-for.html;
85
   “Before Bombings, Omens and Fears,” New York Times,. January 9, 1999,
https://archive.nytimes.com/www.nytimes.com/library/world/africa/010999africa-bomb.html Notably, the article
describes in some detail how the CIA sent a counter-terrorism team to Kenya to meet with persons working for Al-
Haramain who had been arrested by the Government of Kenya due to their alleged ties to terrorism before the
bombing, and described the CIA’s mistakes in not following up adequately on the allegations of involvement by the
Al-Haramain personnel.

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                  System news magazine, Frontline, the FBI described the involvement of charities
                  in supporting the attack as follows: “Sometime in 1993 to early 1994, individuals
                  associated with al-Qaeda, a terrorist organization founded by Usama Bin Ladin
                  and Muhammed Atef, began to locate to Kenya, primarily to the Nairobi and
                  Mombasa areas. Some were "mujahedin" or "holy warriors" who, like Usama Bin
                  Ladin himself, had fought against the former Soviet Union after the Soviet
                  invasion of Afghanistan in 1979... One commonality amongst the above
                  individuals is the fact that at one time or another, all were associated with Kenya
                  based non-governmental organizations (NGO's), organizations ostensibly created
                  for the purposes of humanitarian relief and aid work. A chapter of one NGO, Help
                  Africa People, allegedly founded in Germany, was established in Nairobi by El-
                  Hage. At one time, Help Africa employed [bin Ladin associate] Harun. Odeh
                  [another bin Ladin associate] was given an identity card for Help Africa People to
                  show his wife and her family as an indication of his employment. Aside from
                  their NGO work, many of these individuals, who the FBI believes may be part of
                  the original core group of the Usama Bin Ladin cell in East Africa, also set up
                  other businesses; commercial fishing and clothing companies were common to
                  many of them. To the casual observer, these individuals would have appeared to
                  live ordinary lives.”86 Eventually, it was established that Al-Harimain had deep
                  involvement in the bombings of the U.S. Embassies, with the result multiple
                  branches of the charity became subject to sanctions by the UN.87 One of the
                  participants in the al Qaeda Kenya bombing terrorist attack, Ali Mohammed, pled
                  guilty on October 20, 2000, and explained explicitly how Al Qaeda also used a
                  local charity to provide al Qaeda members with identity documents.88

86
   Declassified Summary, “U.S. Department of Justice Federal Bureau of Investigation,” Washington, D.C. 20535
November 18,1998, made available on Frontline website, that includes material created in January 2001, and
updated to September 12, 2001, https://www.pbs.org/wgbh/pages/frontline/shows/binladen/bombings/summary.html
87
   The following quotation from the UN Security Council website describes the extensive history of Al-Haramain’s
Kenyan branch in relation to the Kenyan and Tanzania Embassy attacks. “As early as 1997, the Kenyan branch of
AHF [Al-Haramain] was involved in plotting terrorist attacks against Americans. As a result, a number of
individuals connected to AHF in Kenya were arrested and later deported by Kenyan authorities. In August 1997, an
AHF employee indicated that the planned attack against the United States Embassy in Nairobi would be a suicide
bombing carried out by crashing a vehicle into the gate of the Embassy. A wealthy AHF official outside East Africa
had agreed to provide the necessary funds. Also in 1997, AHF senior activists in Nairobi decided to alter their (then)
previous plans to bomb the United States Embassy in Nairobi and instead sought to attempt to assassinate United
States citizens. During this period, an AHF official indicated that he had obtained five hand grenades and seven
“bazookas” from a source in Somalia. These weapons were to be used in a possible assassination attempt against a
United States official. Wadih el-Hage, a leader of the Al-Qaida cell in East Africa and personal secretary to Usama
bin Laden, visited the Kenya offices of AHF before the 1998 attacks on the United States Embassies in Nairobi and
Dar Es Salaam. El-Hage possessed contact information for a senior AHF official who was head of AHF’s Africa
Committee, the overseeing authority for AHF’s offices in Kenya and Tanzania. AHF (Kenya) was deregistered in
1998, following its alleged links with Al-Qaida and the United States embassy bombings in Kenya and Tanzania,
which killed over 200 people. However, in 1999, AHF (Kenya) successfully contested deregistration in the courts
and resumed operations the following year, in 2000.” Al-Haramayn Foundation (Kenya), narrative to explain
designation, al Qaeda sanctions, UN Security Council website,
https://www.un.org/securitycouncil/sanctions/1267/aq sanctions list/summaries/entity/al-haramayn-foundation-
%28kenya%29
88
   Court transcript of Guilty Plea, Ali Mohammed, U.S. v. Ali Mohammed, S(7) 98 Cr. 1023 (LBS), SDNY, October
20, 2000, available at https://cryptome.org/usa-v-mohamed.htm According to contemporaneous press accounts, five
charities were closed by Kenyan authorities in the aftermath of the Nairobi terrorist bombing of the U.S. Embassy

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         4.10.9. Kosovo. As contemporaneously reported, U.S. forces raided a house in April 2000
                 rented by a Saudi charity, the Saudi Joint Relief Committee (“SJRC”) due to fears
                 of a possible terrorist attack on the US office in the province. At the time, it was
                 reported that U.S. officials believed the charity was linked to bin Ladin, described
                 as “the man suspected of being behind the attacks on the US embassies in Kenya
                 and Tanzania.” Those named in the report included Jelaidan, one of Bin Ladin
                 and Al Qaeda’s principal terrorist financiers.89 The reported links of the SJRC to
                 bin Ladin and his associates is notable. The SJRC was formed out of the MWL.
                 MWL accounts held at ARB were used to establish its financing at the outset of
                 the SJRC’s activities in Kosovo.90 Moreover, Jelaidan himself had accounts at
                 ARB.91

         4.10.10. The Philippines. Bin Ladin’s brother-in-law, Mohammed Jamal Khalifah,
                  provided support for terrorist groups and activity, including that of World
                  Trade Center bomber Ramzi Yousef. Yousef, a serial terrorist bomber who
                  planned terrorist bombings (and carried several out) targetting Iran, Pakistan,
                  and the Philippines, as well as the United States, was also one of the two
                  masterminds of what became known as Bojinka plot, an effort to blow up as
                  many as ten airplanes simultaneously in a precursor of the 9/11 attacks that was
                  uncovered in early January 1995 by Philippine law enforcement. In the same


due to their suspected involvement in providing support for those involved in the attack: “Five non-governmental
organisations (NGOs) considered security risks by the Kenyan Government have been shutdown. The NGO
coordinating chief warned that other NGOs were under investigation and would be shut down if compelling
evidence to do so surfaced. The five relief organizations were: Help Africa's People, the Al-Haramain Foundation,
the International Islamic Relief Organization, the Ibrahim Bin Abdul Aziz al Ibrahim Foundation, and Mercy Relief
International. Another sixteen Muslim NGOs have also been asked to stop all activities. (The Monitor, September
10; IRIN Weekly Round Up, September 18), cited by Horn of Africa: The Monthly Review, 09-10/98, University of
Pennsylvania, https://www.africa.upenn.edu/Hornet/hoa0998.html
89
   “US fears terrorist attack in Kosovo,” April 3, 2000, BBC News, http://news.bbc.co.uk/2/hi/europe/700435.stm.
The German report on TWRA describes Julaidan as under UN terrorist sanctions, and identifies his involvement in
terrorism as follows: “As part of the analysis six transactions were found in connection with one Wael JELAIDAN.
Among them were two transfers to the account of the TWRA with amounts of 3,999,998.55 USD and 1,999,987.75
USD. Also listed were four transfers from the aforementioned account to account number            1587 of Bank
Austria in Vienna to the amount of 7,058,973.20 USD. Mentioned in all four transfers from the account of the
TWRA are among other things “Debt repayment Hasan Cengic”. In this regard it was established that the person
Wa’el Hamza JULAIDAN date of birth 1/22/1958 Al-Madinah/Saudi Arabia Saudi Arabian passport no. A- 992535
can be found under different spellings on international sanction lists issued by the United Nations, the European
Union and the United States. . . Wael Hamza JULAIDAN is also on the so-called “Golden Chain List” as a
recipient of contributions to Al-Qaeda. This list was found according to the US authorities when actions were taken
against the Benevolence International Foundation in Sarajevo in March 2002. According to information from the
US, Wael Hamza JELAIDAN is the former general secretary of the organizations “Muslim World League” and the
“Rabita Trust” in Pakistan and is supposedly a partner and aid to Bin Laden. In the meantime the assets of
JULAIDAN and/or “Rabita Trust” have been frozen according to US information. This is confirmed also by the
9/11/2001 report of the U.S. Congress.” “Expert Report Concerning the Area – Financial Investigations -
relating to the judicial assistance request, ref. no. INV/10289/T09-PH (245), dated 8/27/2002 of the
“Office of the Prosecutor” (OTP) of the International Court of Criminal Justice for the former Yugoslavia relating to
the “Third World Relief Agency” (TWRA), Vienna/Austria, MR/GER049972-049973
90
   ARB-00000169
91
   ARB-0001183-1216; ARB-0001191-1192

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                     period, Yousef was also plotting to assassinate the Pope, who was due to visit
                     the Phillipines later that month. He also successfully planted a bomb on a
                     Philippine Airline airplane, which denonated and killed the occupant of the
                     seat where the bomb was planted. At the time of the Philippine bombing plots,
                     Khalifa led the IIRO’s offices in the Philippines, where he was reported to be
                     financing another terrorist group specializing in armed attacks, Abu Sayyaf.92
                     An April 9, 1999 CIA Intelligence Report, recently declassified under EO
                     14040, shows that as of that date, the CIA had concluded that Khalifiah
                     “directed the IIRO in the Philippines [and] provided funding and some logistics
                     support to Yousef and his associates in 1995 as they plotted to bomb at least 12
                     US airlines in East Asia.”93

                  4.10.10..1. There was additional public reporting of the use of the IIRO to carry
                            out terrorism in the Philippines by a major, and highly-regarded,
                            Philippines newspaper, the Philippine Daily Inquirer, based on police
                            and military intelligence reports which were cited as stating that the
                            IIRO had been set up in the Philippines for the purpose of being a “front
                            organization for funding terrorist activities . . . working with the Muslim
                            World League, an organization wholly financed by the Saudi Arabia
                            government.”94

         4.10.11. Tanzania. A former Tanzanian Al-Haramain director associated with bin Ladin
                  facilitated the August 7 1998 bombings of the United States Embassies in Dar
                  Es Salaam, Tanzania, and Nairobi, Kenya. As stated in the UN’s terrorist

92
   “Retracing The Steps Of A Terror Suspect,” Washington Post, June 5, 1995
https://www.washingtonpost.com/archive/politics/1995/06/05/retracing-the-steps-of-a-terror-suspect/8d0c4e23-
19e4-4dc5-80f0-f002029d2d9f/ For more on what was known in the mid-1990’s about the relationship between bin
Laden, Mohammed Khalifa, Ramzi Yousef and IIRO, see “Blowback,” The Atlantic, May 1996, which states:
“Muhammad Jamal Khalifa, Bin Laden's brother-in-law and a Saudi financier, was a prime conduit for funding
militant Islamic groups in the Philippines, Filipino officials assert; and, according to U.S. investigators, there is
evidence that during the mid-1990s, when Khalifa was the head of the Islamic Relief Agency -- a quasi-government
Saudi charity -- in the Philippines, he had contact with Ramzi Ahmed Yousef, alleged to be the mastermind of the
World Trade Center bombing in New York.
https://www.theatlantic.com/magazine/archive/1996/05/blowback/376583/ See also “Bin Laden's Finances Are
Moving Target,” Washington Post, August 28, 1998, describing Khalifah as running an Islamic charity in the
Philippines that was also supported by bin Laden, and implicated in Yousef’s efforts to blow up “a dozen jumbo
jets.” https://www.washingtonpost.com/wp-srv/inatl/longterm/eafricabombing/stories/binladen082898.htm
93
   “Islamic Terrorists: Using Nongovernmental Organizations Extensively,” Intelligence Report, DCI
Counterterrorist Center, April 9, 1999, CIA_000216.
94
   “Bin Laden Funds Abu Sayyaf Through Muslim Relief Group,” Philippine Daily Inquirer,” August 9, 2000. The
Philippine newspaper cited a military intelligence report as finding that the IIRO was being “utilized by foreign
extremists as a pipeline through which funding for the local extremists is being coursed.” It quoted a former member
of the Abu Sayyaf terrorist group at some length, who stated that the IIRO was being used by Bin Laden and his
brother in law, Muhammad Khalifa, to fund the purchases of arms and other logistical requirements of the terrorist
group under the guise of providing humanitarian assistance, with the latter received only “10 to 30 percent” of the
foreign funding for legitimate relief projects.” The former terrorist group member quoted in the article stated that
Bin Laden and Khalifa funded a three-month commando training course of recruited Abu Sayyaf members and said
that the public filings of IIRO about its humanitarian objectives were, in essence, a coverup for the actual extremists
goals of IIRO and Bin Laden in the Philippines, financed by “bank-to-bank” transactions to fund Abu Sayyah
through IIRO.

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                    designation of Al-Haramain’s Tanzania office, “[s]hortly before the attacks in
                    Kenya and Tanzania, a former [Al-Haramain] official in Tanzania met another
                    conspirator and cautioned the individual against disclosing knowledge of
                    preparations for the attacks. Around the same time, four individuals led by an
                    [Al-Haramain] official were arrested in Europe. They admitted maintaining
                    close ties with the Egyptian Islamic Jihad.” The UN also noted that the Saudi
                    charity to bin Ladin’s “personal secretary,” Waid el-Hage, visited the charity’s
                    Kenya office prior to the attacks on the U.S. Embassy in Tanzania.95

        4.10.12. Uganda. On September 25, 1998, the Washington Post reported that U.S.
                 intelligence officers had helped to stop an attempt the previous week by
                 Islamic extremists associated with bin Ladin to bomb the U.S. Embassy in
                 Uganda, allegedly aided by the Tawheed Islamic Association, a Kampala
                 charity, which a source interviewed for the article described as a kind of
                 “holding pen” for would-be terrorists.96

        4.10.13. The United States. Both the 1993 first World Trade Center Bombing in New
                 York City, and the 1998 bombings of the U.S. Embassies in Nairobi, Kenya and
                 Dar es Salaam, Tanzania, were publicly linked to support from charities. Public
                 reporting also described the alleged involvement of charities in aborted attacks
                 on U.S. facilities and people in Albania, India, and Uganda.97

4.11.   State Department Cables. The scope of the involvement of charities in supporting Bin
        Ladin and al Qaeda before 9/11 was broader than the incidents covered by the
        contemporaneous public reporting on it I have described above. To provide further
        context on this issue, I reference the contents of a post 9/11 January 28, 2003 State
        Department cable which largely tracks the information contained in the CIA’s August 28,
        2002 report “Al-Haramain: Support for Extremists and Terrorists,” but which contains
        additional material on the use of Al-Haramain before 9/11 to help Al Qaeda which is not
        contained in the declassified report.98 This material, which based on the style and
        information contained in the cable I assess to be authentic, includes the following
        statements which align with my own understandings based on my work and experience
        on these issues, described as information to be shared with the Government of Saudi

95
   Al-Haramayn Foundation Designation, UN Security Council, Sanctions Committee website,
https://www.un.org/securitycouncil/sanctions/1267/aq sanctions list/summaries/entity/al-haramayn-foundation-
%28tanzania%29
96
   “CIA Halted Plot To Bomb U.S. Embassy In Uganda,” Washington Post, September 25, 1998,
https://www.washingtonpost.com/archive/politics/1998/09/25/cia-halted-plot-to-bomb-us-embassy-in-
uganda/8c8fd38b-1c6f-4570-ba14-126601660bf6/
97
   “Nairobi Bomb Investigation,” VOA, August 22, 1998, id; “Assault on a U.S. Embassy, a Plot Both Wide and
Deep,” Washington Post, November 23, 1998, id; U.S. v. Bin Ladin, May 8, 2000, id; “A Portrait of Wadih El
Hage, Accused Terrorist, published January 31, 2001, and last updated September 12, 2001, id; "Some Charities
Suspected of Terrorist Role; U.S. Officials See Muslim Groups Linked to bin Laden and Others," Judy Miller, New
York Times (February 19, 2000), id; “The New Face of Terrorism,” New York Times, January 4, 2000, id.
98
   Cable 03 STATE 23994, “Terrorist Financing – Updated Non Paper on Al-Haramain,” January 28, 2003,
Secretary of State to Embassy Riyadh, https://wikileaks.wikimee.org/cable/2003/01/03STATE23994.html see also
link at https://wikileaks.org/plusd/cables/03STATE23994_a.html The original is in all capitals, and the material has
been reformatted here for clarity.

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        Arabia in total as a Non-Paper99 for the purpose of securing its help to address the threat
        posed by Al-Haramain’s support for terrorism, and referencing earlier briefings of Saudi
        officials which took place before 9/11, as follows:

        4.11.1. “On several occasions, from August 1998-November 2002, we have provided
                reports to and/or asked for assistance from the Mubahith related to the activities
                of Al-Haramain. Several of our reports and inquiries related to the possible
                involvement of Al-Haramain officials in Al-Qa'ida's bombings of US embassies
                in East Africa.”100

        4.11.2. “We also have provided leads on several other Al-Haramain officials who have
                been reported to have ties to Al-Qa'ida, including for example: Information in late
                1999 and late 2001 noting how al-Haramain employees in general helped Al-
                Qa'ida with financial and logistic support and the possibility that some funds were
                flowing from Al-Haramain through the remittance firm Al-Barakat to Al-Qa'ida's
                ally, Al-Ittihad Al-Islami (AIAI).”101

        4.11.3. “Al-Haramain ties to UBL, EIJ, and Al-Gama'at al-Islamiyyah: an unspecified
                branch office of Al-Haramain provided logistical support to the EIJ and UBL
                associates by diverting both funding and supplies from legitimate NGO activities.
                Al-Haramain was used as cover for the Bosnia-Herzogovina-based Egyptian
                terrorist group, Al-Gama'at al-Islamiyyah.”102

        4.11.4. “Al-Haramain may also have been funded directly by Usama bin Ladin. Elements
                of Al-Haramain were involved in trafficking arms in support of Islamic extremists
                in Bosnia-Herzogovina.”103

        4.11.5. “Al-Haramain ties to Somalia's Al-Ittihad al-Iislami (AIAI): As of April 1999, an
                unspecified branch of Al-Haramain had financial links to Kenya-based Al-Ittihad
                al-Islami (AIAI), a major terrorist group with links to Al-Qa'ida. AIAI has trained
                an armed militia which has been waging a ruthless campaign for control of the
                Gedo region in Somalia. An unspecified branch of Al-Haramain supported AIAI
                in Al Waq, Somalia by sending relief food to AIAI members in AIAI camps.”104

        4.11.6. “Al-Haramain staffed by UBS Associates and Others with Terrorist Ties: UBL
                associates have occupied key positions in Al-Haramain offices overseas. In 1997,
                Al-Haramain Kenya-branch employees were arrested and expelled for planning a
                terrorist attack against the United States. Some of this planning occurred within
                the Al-Haramain Office. Al-Haramain official, Salah A.Q. al-Thibani, ran the Al-

99
   In governments, a “non-paper” is an informal document, usually provided without explicit attribution, put forward
for discussion in a closed, that is, non-public, negotiation for the purposes of seeking agreement on a contentious
issue.
100
    Id
101
    Id
102
    Id
103
    Id
104
    Id

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                  Haramain-Albania office. Al-Thibani is a close associate of UBS operative Fahid
                  al-Shahri. Thibani was also founder of the IIRO.”105

           4.11.7. “Al-Haramain Funding of Islamic Jihad Movements in Yemen: As of March 1999,
                   an unspecified branch office of Al-Haramain supported the Islamic Jihad
                   movement and its associated facilities in Yemen.”106

4.12.      In summary, the many examples cited in this section of the use of charities to fund
           terrorism in many different countries involving different parts of the world provide the
           factual backdrop for the UN repeatedly citing the need to curtail the abuse of charities for
           supporting terrorism in its annual resolutions in 1997, 1998, and 1999, and its decision to
           adopt the UN Terrorist Finance Convention in 2000, to address this problem through the
           enhanced due diligence measures set forth in that instrument.

5. Question 3: Was it an obligation of international banking institutions to adopt and
   implement effective anti-money laundering and counter-terrorism financing protocols to
   prevent the financing of terrorism and other illicit financial activity through purported
   charities prior to September 11, 2001?

5.1.       Yes. From 1996 onward, international banking institutions had the obligation to adopt
           and implement effective anti-money laundering and counter-terrorism financing protocols
           to prevent the financing of terrorism and other illicit financial activity through purported
           charities. They were obligated to do this as a result of the international application of the
           international standards developed by the FATF, the universally recognized body for
           establishing minimum standards for anti-money laundering and countering-terrorist
           finance measures for governments, financial institutions, and others relevant to protecting
           against the ability of criminals and terrorists to move through funds through the
           international financial infrastructure.

5.2.       In 1990, the FATF carried out its initial work by developing and issuing a list of 40
           recommendations (the “Forty Recommendations”) that established a comprehensive plan
           for combating drug money laundering. At the time, there was discussion, but not yet
           agreement, on expanding the applicability of the Recommendations to other crimes,
           including terrorism. In 1996, under the U.S. presidency of the FATF, the organization
           amended the Forty Recommendations explicitly to cover all serious crimes, including
           terrorism. This action in turn obligated countries participating in FATF, and other
           countries whose banking systems linked to FATF countries, to implement these changes
           in their own domestic banking laws and regulations.

5.3.       Since its beginning, the mission of the FATF has been to harmonize anti-money
           laundering laws, regulations, practices, and enforcement globally to protect the banking
           system, and the world, from the threat posed by the use of financial institutions to launder
           criminal funds, including funds of, by, or for the benefit of terrorists. The FATF carries
           out this function through meetings of senior regulatory and enforcement officials from its

105
      Id
106
      Id

                                                    42

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         member states to develop standards, embodied in its Recommendations. The FATF then
         monitors member states’ progress in adopting the Forty Recommendations and the Eight
         Special Recommendations. Member countries complete self-assessments on an annual
         basis. Each member country is examined by the FATF in a mutual evaluation process.
         Other countries are evaluated through a similar process either at the regional or
         subregional level through organizations affiliated with the FATF, or by the FATF itself if
         they are not a member of the organization but are perceived to pose an especially high
         risk of vulnerability to the world financial system due to their vulnerability to or use by
         money launderers or terrorist financiers.

5.4.     The Forty Recommendations. Initially developed in 1990 and revised in 1996, the Forty
         Recommendations cover all areas of anti-money laundering, including the criminal
         justice system and law enforcement, the financial system and its regulation, and
         international cooperation. Both the 1990 version of the 40 Recommendations107 and the
         1996 update of the 40 Recommendations108 contained principles that imposed duties on
         member states to regulate their financial institutions so that the financial institutions
         would take appropriate actions to protect themselves against being used to launder
         money, including as of 1996, for all serious crimes, including funds relating to
         terrorism.109 Materially, these provisions included the following elements that were
         promulgated prior to the September 11 attacks, with numbering and wording taken from
         the 1996 revision in place prior to 9/11 and which also includes guidance in
         Recommendations 28, 29, 37, and 38 to member states regarding actions they should take
         relating to financial institutions:

         5.4.1. Recommendation 10. Financial institutions should not keep anonymous accounts
                or accounts in obviously fictitious names: they should be required (by law, by
                regulations, by agreements between supervisory authorities and financial
                institutions or by self-regulatory agreements among financial institutions) to
                identify, on the basis of an official or other reliable identifying document, and
                record the identity of their clients, either occasional or usual, when establishing
                business relations or conducting transactions (in particular opening of accounts or
                passbooks, entering into fiduciary transactions, renting of safe deposit boxes,
                performing large cash transactions).



107
    Original FATF 40 Recommendations (1990), financial institution provisions are set forth as Recommendations
12-22. https://www.fatf-gafi.org/content/dam/fatf-gafi/recommendations/FATF%20Recommendations%201990.pdf
108
    Updated FATF 40 Recommendations (1996), financial institution provisions are set forth as Recommendations
10-21. https://www.fatf-gafi.org/content/dam/fatf-gafi/recommendations/FATF%20Recommendations%201996.pdf
109
    The 1996 update of the 40 Recommendations specifies in Recommendations 4, 5, and 6, that each country should
criminalize money laundering to include offenses set forth in the Vienna Convention, pertaining to illicit drugs, and
one based on serious offenses, with the specifics of that determined on the basis of national law. These
recommendations also state that “the offence of money laundering should apply “at least to knowing money
laundering activity, including the concept that knowledge may be inferred from objective factual circumstances.”
Recommendation 6 further states that “[w]here possible, corporations themselves – not only their employes – should
be subject to criminal liability.” Updated FATF 40 Recommendations, id. Since the 9/11 attacks, the FATF 40
Recommendations have been repeatedly updated, but those updates are outside the scope of this Expert Report.


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           5.4.1..1. In order to fulfill identification requirements concerning legal entities,
                     financial institutions should, when necessary, take measures:

                    •    To verify the legal existence and structure of the customer by
                         obtaining either from a public register or from the customer or both,
                         proof of incorporation, including information concerning the
                         customer’s name, legal form, address, directors and provisions
                         regulating the power to bind the entity.

                    •    To verify that any person purporting to act on behalf of the customer
                         is so authorised and identify that person.

    5.4.2. Recommendation 11. Financial institutions should take reasonable measures to
           obtain information about the true identity of the persons on whose behalf an
           account is opened or a transaction conducted if there are any doubts as to whether
           these clients or customers are acting on their own behalf, for example, in the case
           of domiciliary companies (i.e., institutions, corporations, foundations, trusts, etc.
           that do not conduct any commercial or manufacturing business or any other form
           of commercial operation in the country where their registered office is located.)

    5.4.3. Recommendation 12. Financial institutions should maintain, for at least five
           years, all necessary records on transactions, both domestic or international, to
           enable them to comply swiftly with information requests from the competent
           authorities. Such records must be sufficient to permit reconstruction of individual
           transactions (including the amounts and types of currency involved if any) so as
           to provide, if necessary, evidence for prosecution of criminal behavior.

           5.4.3..1. Financial institutions should keep records on customer identification (e.g.,
                     copies or records of official identification documents like passports,
                     identity cards, driving licenses or similar documents), account files and
                     business correspondence for at least five years after the account is closed.

           5.4.3..2. These documents should be available to domestic competent authorities
                     in the context of relevant criminal prosecutions and investigations.

    5.4.4. Recommendation 14. Financial institutions should pay special attention to all
           complex, unusual large transactions, and all unusual patterns of transactions,
           which have no apparent economic or visible lawful purpose. The background and
           purpose of such transactions should, as far as possible, be examined, the findings
           established in writing, and be available to help supervisors, auditors and law
           enforcement agencies.

    5.4.5. Recommendation 15. If financial institutions suspect that funds stem from a
           criminal activity, they should be required to report promptly their suspicions to
           the competent authorities.

    5.4.6. Recommendation 17. Financial institutions, their directors, officers and
           employees, should not, or where appropriate, should not be allowed to, warn their

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              customers when information relating to them is being reported to competent
              authorities.

       5.4.7. Recommendation 18. Financial institutions reporting their suspicions should
              comply with instructions from the competent authorities.

       5.4.8. Recommendation 19. Financial institutions should develop programs against
              money laundering. These programs should include, as a minimum:

              5.4.8..1. The development of internal policies, procedures and controls, including
                       the designation of compliance officers at management level, and adequate
                       screening procedures to ensure high standards when hiring employees;

              5.4.8..2. An ongoing employee training program;

              5.4.8..3. An audit function to test the system.

       5.4.9. Recommendation 21. Financial institutions should give special attention to
              business relations and transactions with persons, including companies and
              financial institutions, from countries which do not or insufficiently apply these
              Recommendations. Whenever these transactions have no apparent economic or
              visible lawful purpose, their background and purpose should, as far as possible, be
              examined, the findings established in writing, and be available to help
              supervisors, auditors, and law enforcement agencies.

       5.4.10. Recommendation 22. Countries should consider implementing feasible measures
               to detect or monitor the physical cross border transportation of cash and bearer
               negotiable instruments, subject to strict safeguards to ensure proper use of
               information and without impeding in any way the freedom of capital movements.

       5.4.11. Recommendation 28. The competent authorities should establish guidelines
               which will assist financial institutions in detecting suspicious patterns of behavior
               by their customers. It is understood that such guidelines must develop over time,
               and will never be exhaustive. It is further understood that such guidelines will
               primarily serve as an educational tool for financial institutions’ personnel.

       5.4.12. Recommendation 37. There should be procedures for mutual assistance in
               criminal matters regarding the use of compulsory measures including the
               production of records by financial institutions and other persons, the search of
               persons and premises, seizure and obtaining of evidence for use in money
               laundering investigations and prosecutions and in related actions in foreign
               jurisdictions.

5.5.   In addition to these recommendations, the FATF issued interpretative notes to be relied
       on by those applying the recommendations, expressly including financial institutions
       such as banks. Included in the Interpretative note to Recommendations 11, and 15-18,



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           directed at financial institutions, are the following standards for applying them
           properly:110

           5.5.1. Interpretative Notes to the Forty Recommendations

                    5.5.1..1. Recommendations 11, 15 through 18. Whenever it is necessary in order to
                              know the true identity of the customer and to ensure that legal entities
                              cannot be used by natural persons as a method of operating in reality
                              anonymous accounts, financial institutions should, if the information is
                              not otherwise available through public registers or other reliable sources,
                              request information – and update that information – from the customer
                              concerning principle owners and beneficiaries. If the customer does not
                              have such information, the financial institution should request
                              information from the customer on whoever has actual control.

                    5.5.1..2. If adequate information is not obtainable, financial institutions should
                              give special attention to business relations and transactions with the
                              customer.

                    5.5.1..3. If, based on information supplied from the customer or from other
                              sources, the financial institution has reason to believe that the customer’s
                              account is being utilised in money laundering transactions, the financial
                              institution must comply with the relevant legislation, regulations,
                              directives, or agreements concerning reporting of suspicious transactions
                              or termination of business with such customers.

                    5.5.1..4. Recommendation 11. A bank or other financial institution should know
                              the identity of its own customers, even if these are represented by
                              lawyers, in order to detect and prevent suspicious transactions as well as
                              to enable it to comply swiftly to information or seizure requests by the
                              competent authorities. Accordingly Recommendation 11 also applies to
                              the situation where an attorney is acting as an intermediary for financial
                              services.

                    5.5.1..5. Recommendation 14. (a) In the interpretation of this requirement, special
                              attention is required not only to transactions between financial institutions
                              and their clients, but also to transactions and/or shipments especially of
                              currency and equivalent instruments between financial institutions
                              themselves or even to transactions within financial groups. As the
                              wording of Recommendation 14 suggests indeed “all” transactions are
                              covered, it must be read to incorporate these interbank transactions.

                    5.5.1..6. Recommendation 22. (a) To facilitate detection and monitoring of cash
                              transactions, without impeding in any way the freedom of capital
                              movements, members could consider the feasibility of subjecting all


110
      They are provided in pertinent part verbatim from the FATF website.

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                      cross-border transfers, above a given threshold, to verification,
                      administrative monitoring, declaration or record keep requirements.

              5.5.1..7. Recommendation 29. Recommendation 29 should not be read to require
                        the introduction of a system of regular review of licensing of controlling
                        interests in financial institutions merely for anti-money laundering
                        purposes, but to stress the desirability of suitability review for controlling
                        shareholders in financial institutions (banks and non-banks in particular)
                        from a FATF point of view. Hence, where shareholder suitability (or “fit
                        and proper”) tests exist, the attention of supervisors should be drawn to
                        their relevance for anti-money laundering purposes.

5.6.   Prior to 9/11, these recommendations from the FATF were required to be adopted in
       national laws and regulations and overseen and enforced by domestic regulators of banks
       and other financial institutions, with a process of monitoring then put into place both
       domestically and through international mutual assessments to ensure that the measures
       were being effectively implemented.

5.7.   A core question is whether it was expected that terrorist finance would be among the
       “serious crimes” covered by the FATF’s recommendations from 1996 on. The
       substantive answer is that members of FATF assessed that it was covered either by
       domestic laws already in place or as a money laundering offense. As stated in its 2000-
       2001 Annual Report, June 22, 2001:

              5.7.1..1. The FATF attempted to examine the ways that terrorist groups move or
                        conceal funds in order to support their operations. One purpose of this
                        examination was to see whether there were significant differences
                        between the methods used by terrorists and those used by organised crime
                        groups. Material discussed by the experts appeared to indicate that there
                        is little difference, first, in the source of funding for both types of groups.
                        Terrorists generate proceeds to support their activities through criminal
                        activity (and sometimes from contributions or donations) in virtually the
                        same way that organised crime does. The methods used for laundering
                        funds in both cases are also virtually the same. Moreover, many countries
                        consider that terrorist acts or even affiliations with such groups constitute
                        a serious crime. There is not agreement on whether anti-money
                        laundering laws could (or should) play a direct role in the fight against
                        terrorism. Some countries, for example, are not able to use anti-money
                        laundering legislation for tracking or restraining suspected terrorist
                        money if the source of the funds was a voluntary contribution and not a
                        criminal act. There are also differences between jurisdictions as to which
                        groups are classified as terrorist organisations. Certain of the FATF
                        experts were of the opinion that terrorist related money laundering is a
                        distinct sub-category of money laundering. Others held the opposite view




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                          and believed that terrorism can be adequately targeted under existing
                          laws.111

                 5.7.1..2. This question is therefore somewhat technical: the distinction is whether
                           it was necessary to specifically recommend to countries to make terrorist
                           finance a specific criminal offense on its own to ensure its incorporation
                           as a predicate offense for money laundering, or to consider it covered as a
                           money laundering offense regardless of being specified as an independent
                           crime as falling within the crime of terrorism generally.

                 5.7.1..3. The discussion within the FATF on these issues highlights the focus on
                           terrorist finance as a problem that every country had to address one way
                           or another, in the wake of the 1999 UN Terrorist Finance Convention,
                           and the need for financial institutions to meet the international standards
                           for taking the necessary measures to combat terrorist financing, given
                           their participation in cross-border financial transactions involving major
                           currencies such as the U.S. Dollar, the Euro, the British Pound, and the
                           Swiss Franc, authorized by countries that were signatories of the
                           Convention.

         5.7.2. In summary, in this pre-9/11 period, as the major international instrument to
                combat terrorist financing was being adopted, and the FATF was actively engaged
                in efforts to further define it, there was a general understanding internationally
                that one way or another, terrorist finance was an activity that should not be
                facilitated by banks, and that banks needed to take appropriate action to counter
                the risk of being used by terrorists and/or implicated in terrorist finance, through
                application of the relevant recommendations of the FATF to their policies and
                procedures.

6. Question 4: Is there evidence that al Qaeda relied on sympathetic financiers and financial
   institutions to raise and move money prior to September 11, 2001?

      6.1.Yes, there is evidence that al Qaeda relied on sympathetic financiers and financial
             institutions to raise and move money prior to September 11, 2001. This evidence
             includes the findings made by an international group of experts established by the UN
             which on November 3, 2003 issued its 2nd Monitoring report on the status of efforts to
             combat terrorist finance in the wake of the 9/11 attacks, which provided the first
             detailed findings made by the UN about the extent of the terrorist financing problem.
             In pertinent part, the UN Experts Monitoring Report on Sanctions against Al-Qaida,
             the Taliban and Individuals and Entities Associated with Them (“2nd UN Monitoring
             Report” found the following:

             6.1.1. “From its inception Al-Qaida has relied heavily on charities and donations
                    from its sympathizers to finance its activities. Charities provide Al-Qaida with

111
   Financial Action Task Force, Annual Report, 2000-2021, June 22, 2001, https://www.fatf-
gafi.org/content/dam/fatf-gafi/annual-reports/2000%202001%20ENG.pdf

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                    a very useful international channel for soliciting, collecting, transferring and
                    distributing the funds it needs for indoctrination, recruitment, training, and
                    logistical and operational support. These funds are often merged with and
                    hidden among funds used for other legitimate humanitarian or social
                    programmes. Al-Qaida supporters and financiers have also established front
                    charity networks whose main purpose is to raise and deliver funds to Al-
                    Qaida. The roots of these charity networks stem from the anti-Soviet jihad in
                    Afghanistan during the late 1980s. During that time Al-Qaida could draw on
                    the support of a number of State-assisted charities and other deep-pocket
                    donors that supported the anti-Soviet cause.”112

            6.1.2. “Today, Al-Qaida continues to rely heavily on those charities to facilitate and
                   mask the collection and movement of its funds. Activities range from
                   collection boxes at mosques and Islamic centres to direct fund-raising and
                   solicitations, the merging of funds for both legitimate relief purposes and
                   terrorism, the misuse or embezzlement of legitimate charitable funds, and the
                   creation of front charities to channel funds from community collections or
                   deep-pocket supporters. Al-Qaida has also benefited from, and relies heavily
                   on, the activities of legitimate charities that support the propagation and
                   teaching of more radical forms of Muslim fundamentalism.”113

6.2.    These and many related findings over the course of the eighty-three pages of the 2nd UN
        Monitoring Report summarize the material information available to the UN experts as of
        that date, based on reports from 83 countries received by the UN experts, supplemented
        by miscellaneous press reports, Parliamentary debates, statements by experts on
        terrorism, and other materials cited in the Report. Examples of the evidence relied on by
        the UN experts in the 2nd UN Monitoring Report are provided in their consideration of
        two Saudi charities, the IIRO and Al-Haramain, whose use, and their funding by
        sympathetic donors, are addressed at some length in the UN Monitoring Report. In
        pertinent part these include the following statements by the UN Experts:

        6.2.1. “One important example of the use by Al-Qaida of charities and the difficulties in
               dealing with this issue touches directly on the activities of one of the largest
               Islamic umbrella charities, the International Islamic Relief Organization (IIRO)
               headquartered in Jeddah, Saudi Arabia. Most of that organization’s activities, and
               the activities of its associated charities, relate to religious, educational, social and
               humanitarian programmes. But IIRO, and some of its constituent organizations,
               has also been used, knowingly or unknowingly, to assist in financing Al-
               Qaida.”114

        6.2.2. “The International Islamic Relief Organization has branch offices throughout the
               world, including 36 in Africa, 24 in Asia, 10 in Europe and 10 in Latin America,

112
    2nd UN Monitoring Report, id, ¶34, UN Security Council, November 3, 2003, distributed December 2, 2003,
S/2003/1070, https://documents-dds-ny.un.org/doc/UNDOC/GEN/N02/225/80/PDF/N0222580.pdf?OpenElement
113
    Id, ¶35
114
    Id, ¶40

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                  the Caribbean and North America. The bulk of its financial contributions come
                  from private donations in Saudi Arabia. An endowment fund (Sanabil al-Khair)
                  has been established to generate a stable income to finance its various activities.
                  The charity also works in close association with the Muslim World League. Many
                  prominent Middle East figures and financiers have associated themselves with
                  this mainstream Islamic charity.”115

         6.2.3. “Evidence produced recently in a Canadian court linked IIRO funding directly to
                Al-Jihad, a designated entity tied closely to Al-Qaida, and responsible for the
                bombing in 1998 of the American Embassies in Dar es Salaam and Nairobi. A
                recently published report by the United States Central Intelligence Agency also
                indicated that IIRO funds directly supported six Al-Qaida training camps in
                Afghanistan prior to 11 September 2001. After that date, Pakistan also identified
                and expelled some two dozen Al-Qaida supporters who had been working for the
                IIRO-sponsored organizations in Pakistan.”116

         6.2.4. “Allegations have surfaced in India and the Philippines that local IIRO officers
                and employees were directly implicated in Al-Qaida-related terrorist activities,
                including planned attacks against the American Consulates in Madras and
                Calcutta. The IIRO office in Zamboanga City, the Philippines, reportedly served
                during the early 1990s as the coordinating centre for secessionist Islamic
                activities, and as late as 1996 channeled money to the Abu Sayyaf group, another
                designated entity. That office was established and run by Mohammed Jamal
                Khalifa, the brother-in-law of Osama bin Laden. More recently, IIRO, which
                operates in the United States as the Islamic Relief Organization, was tied to
                Soliman S. Biheiri and the Safa group of charities now under investigation in the
                United States for funding Al-Qaida-related activities.”117

         6.2.5. “The Safa investigation has also highlighted the problematic issue of the use and
                mingling of charitable funds with investment and business funds. In that
                investigation, information was uncovered indicating that funds were provided by
                IIRO to Sana-Bell, Inc., a United States corporation for investment and business
                purposes. Those funds were subsequently transferred through various channels to
                Al-Qaida operatives, and to an Al-Qaida financier, Yassin al-Qadi, a designated
                individual. A number of the charities that have been implicated in Al-Qaida
                funding, and that have been designated by the Committee, have also been engaged



115
    Id, ¶41
116
    Id, ¶42
117
    Id, ¶43. This allegation in turn was closely linked to U.S. federal investigations of the U.S.-based component or
components of the SAAR Foundation, and those connected to it, including the IIRO. For a post-9/11 media account
which describes the backdrop to this investigation regarding the alleged involvement of these entities in terrorist
finance for al Qaeda, see “Trails Lead to Saudis,” National Review, May 21, 2003,
https://www.nationalreview.com/2003/05/trails-lead-saudis-matthew-epstein/ as well as the Affidavit of David
Kane, In The Matter Of Searches Involving 555 Grove Street, Herndon, Virginia, And Related Locations, (EDVA)
October 2003, (“Kane Affidavit”), FED-PEC 0001243-1369

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                in business ventures to supplement their revenues.”118

         6.2.6. “Attention has also centred on the Al-Haramain Islamic Foundation. On 11 March
                2002 the United States and Saudi Arabia jointly designated the Bosnia and
                Herzegovina and Somalia offices of Al-Haramain. A Saudi Arabia-based charity,
                Al-Haramain raises almost $30 million a year in donations. According to its web
                site, it has active branches in about 49 countries. It draws its support and funding
                from across the Middle East, and other Muslim centres. The Somalia and Bosnia
                branches had been directly implicated in Al-Qaida funding activities. Al-
                Haramain Somalia had funneled money to Al-Ittihad al-Islami, a designated
                terrorist group, by disguising the funds as contributions for an orphanage project
                and for Islamic school and mosque construction. The Bosnia office was linked to
                Al-Jemaah al-Islamiyah al-Masriyah and to Osama bin Laden.”119

         6.2.7. “Al-Haramain’s offices in Indonesia have also been implicated in the funding of
                the Bali bombing. Omar al-Farouq, the Al-Qaida senior representative in South-
                East Asia, who was arrested in June 2002, told interrogators that Al-Haramain
                was the “principal source” of funding for the Indonesian Islamic group suspected
                of carrying out that attack. Al-Haramain has also continued as a conduit for
                funding to the Jemaah Islamiyah, another designated entity. Many of the leaders
                of the Jemaah Islamiyah also reportedly continue as branch officers and members
                of Al-Haramain. The Government of the Russian Federation has also complained
                to Saudi Arabia about funding provided by Al-Haramain to Chechen rebels.”120

         6.2.8. “In May 2003, Saudi Arabia asked the Al-Haramain Islamic Foundation and all
                Saudi charities to suspend activities outside Saudi Arabia until a security
                clearance mechanism, to screen all personnel, could be implemented. This order
                applied to branches in Albania, Bosnia and Herzegovina, Croatia, Ethiopia,
                Kenya, Kosovo, Indonesia, Pakistan, Somalia and the United Republic of
                Tanzania.”121

         6.2.9. “Al-Haramain’s General Manager, Sheikh Aqeel al-Aqeel, is now under
                investigation in Saudi Arabia, regarding indications that other branches of Al-
                Haramain may also have been engaged in such activities. Al-Haramain has also
                been closed by authorities in Kenya after having been linked to those responsible
                for the bombing in 1998 of the United States Embassy there. It has also been
                asked to close its doors in Albania, Croatia and Ethiopia. In response to enquiries
                from the Group the Permanent Mission of Albania to the United Nations wrote on
                1 October 2003 that the Albanian Ministry of Finance had acted to freeze the bank
                accounts of the Al-Haramain Islamic Foundation. The Group has addressed
                similar enquiries to Croatia, Ethiopia, Indonesia, Kenya, Pakistan and the United


118
    Id, ¶44
119
    Id, ¶47
120
    Id, ¶46
121
    Id, ¶46

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                 Republic of Tanzania.122

        6.2.10. ”The Government of the Philippines indicated in its report submitted pursuant to
                resolution 1455 (2003) that Mohammed Jamal Khalifa, the brother-in-law of
                Osama bin Laden, had established numerous organizations, corporations and
                charitable institutions which served as conduits for funds to the Abu Sayyaf group
                as well as other extremist organizations.”123

        6.2.11. “The problem of charities also involves the problem of donors who use such
                charities to funnel money that supports Al-Qaida indoctrination, recruitment and
                logistical activities. It has proved particularly difficult to pierce the charity veil
                and uncover the deep-pocket donors, including the business entities that provide
                such funding. One important lead was provided by the so-called “golden chain”
                memorandum, found during raids on the offices of the Benevolence International
                Foundation in Sarajevo in March 2002. This subject continues to be under review
                by the Group. While a number of individuals are under suspicion or investigation,
                it has proved particularly difficult to establish that they were directly involved or
                knew that the funds they provided were being used for terrorism-related
                purposes.”124

6.3.    In conclusion, the 2nd UN Monitoring Report summarized the evidence available to it as
        of November 2003 about al Qaeda’s reliance on “sympathizers” and “deep-pocket
        donors” to charities that were deeply involved in supporting terrorist activities for al
        Qaeda and affiliated groups throughout the world, covering evidence that existed before
        the 9/11 attacks on the United States, and evidence which was found in its immediate
        aftermath of the 9/11 attacks on the United States relating to pre-9/11 events. The UN
        Monitoring Report’s conclusions on these points capture my own understandings on
        these key points, derived from my direct work on these issues in and out of government.

6.4.    Other evidence includes extensive contemporaneous (that is, pre-9/11) reporting and
        analysis from the CIA and more general statements by others in the U.S. government on
        al Qaeda’s reliance on donors, actions undertaken by the U.S. government prior to 9/11 to
        response to the problem posed by the “sympathizers” and the “donors,” as well as post-
        9/11 work which found additional evidence on what the sympathizers and donors were
        doing prior to the 9/11 attacks. The evidence which existed prior to the 9/11 attacks
        prompted visits by U.S. officials to Saudi Arabia before those attacks seeking Saudi
        Arabian action to address bin Ladin obtaining support from Saudi charities and through
        Saudi financial institutions, efforts which intensified after the attacks and finally met
        success in late 2003 and early 2004, when Saudi Arabia instituted greater controls on
        terrorist finance and charities operating within Saudi Arabia.125


122
    Id, ¶47
123
    Id, ¶55
124
    Id, ¶58
125
    White Paper on Saudi Arabia and Counterterrorism,” Government of Saudi Arabia, in English, id, pp 2-3, pp. 18-
25

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6.5.   Most of the evidence on which these governments relied on in making their assessments
       on this issue was classified. Some of this evidence has now been declassified in CIA and
       other U.S. government documents as a result of the release and declassification of this
       material under EO 14040. However, even these documents generally excise (“redact”)
       the underlying documentary, testamentary, or physical evidence on which they have
       based their assessments, to protect the government’s sources and methods.

6.6.   There is now additional corroborating evidence for the governmental assessments that Al
       Qaeda relied on sympathetic financiers and financial institutions to raise and move funds
       from discovery in this case. The documents produced over the course of the discovery
       process from ARB and others includes evidence of ARB handling accounts of charities
       found to have engaged in terrorist finance, in high-risk countries. The documents
       produced in discovery also provide evidence of ARB engaging in the kinds of practices
       consistent with those described by the CIA in its reports on terrorist finance, and its
       specific reporting in a number of those reports on ARB’s role as a conduit for terrorist
       funds for al Qaeda and others. This evidence comes in the form of ARB bank records,
       and documents provided by others connected to ARB, obtained through the discovery
       process, and discussed in this Expert Report in response to Questions 7, 8, and 9. These
       documents provide information regarding ARB’s adherence (or failure to adhere) to
       AML/CFT best practices and international standards prior to 9/11, ARB’s response (or
       failure to respond) to money launder and terrorist finance red flags prior to 9/11, and the
       support and benefits al Qaeda received from accounts ARB maintained for Al-Haramain,
       MWL, IIRO, WAMY, the SAAR Foundation, and others prior to 9/11.

6.7.   Assessments by the CIA

6.8.   Prior to the 9/11 attacks, Clarke, the White House’s senior coordinator on terrorism,
       tasked the CIA to produce finished intelligence on bin Ladin and his sources of support.
       While there may have been others also issuing these taskings, I was working with him at
       the time and knew of his focus on this topic. In response to the taskings, the CIA
       produced reports on this topic prior to 9/11. In addition, after 9/11, the CIA went back to
       the raw intelligence it had prior to 9/11, and produced additional finished analytic reports
       based on information that was available prior to 9/11. In considering each report as part
       of the basis on which I am answering this question, I will specify the date or period of
       when the information was generated, and the date when the report was issued, unless that
       information is unavailable.

       6.8.1. These reports were maintained as classified by the CIA for two decades after the
              9/11 attacks, but were then in large part declassified, with redactions, which I
              assess were largely to protect their sources and their methods, consistent with the
              requirements of EO 14040. Based on what I know about how the CIA builds its
              analytic reports, I understand that the sources included a mix of human
              intelligence, that is information provided by people; signals intelligence, that is,
              information generated from telephone calls or other electronic signals; financial
              intelligence, that is, information from financial or business records; and open
              source intelligence, such as press reporting, the last of which is the only type of


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                  intelligence source that is generally not redacted from the reports.

         6.8.2. The reports were all “finished intelligence,” meaning, that they were the end-
                products of a highly-developed process that has the goal of producing reports
                which can be relied on by senior U.S. policy makers, including the President. The
                intelligence process by which these reports were created ordinarily involves a
                series of steps. First is a tasking, or definition of the intelligence requirements or
                needs to protect U.S. national security. As mentioned, the White House prior to
                9/11 was heavily focused on bin Ladin, and issued taskings to better understand
                his activities and sources of support, including sources of funding for terrorism.
                Next is implementing the tasking through defining the collection requirements for
                various forms of raw intelligence that will be used to produce finished
                intelligence, and then allocating resources to meet them. U.S. intelligence
                agencies then work together, and sometimes with intelligence and other
                components of other U.S. governmental agencies such as the State Department,
                Treasury Department and Justice Department, to collect the raw information
                based on the requirements through gathering information from individuals
                (human intelligence), carrying out technical (and sometimes physical)
                surveillance (signals intelligence), gathering information from other governments,
                gaining access to business records, such as financial records, and adding open
                source information from public reporting to those non-public sources. The CIA
                then integrates this data so that its analysts have access to it, undertaking any
                needed processing to decrypt encrypted data and translate information from other
                languages. This work in turn leads to the creation and build out of databases, so
                that the databases contain all relevant source material. The CIA analysts then
                integrate, evaluate, and analyze the data to prepare the final intelligence products,
                weighing and evaluating the information they have, to produce finished
                intelligence, connect the dots, and draw conclusions about what it all means. This
                finished intelligence is then distributed to the government consumers, who may
                ask questions about it, seek further information or analysis, raise queries about the
                particular sourcing that went into the document, and/or use the finished
                intelligence as the foundation for policy decisions.

         6.8.3. As a result of this systematic process, over the decades, I have found CIA finished
                intelligence to be generally reliable, and evidence-based, relying on the evidence
                available to the CIA on a given topic at the time the finished analysis was
                produced.126 In cases where the CIA does not have enough evidence to be certain

126
    I am aware of the risks of the politicization of intelligence, and the CIA has internal mechanisms that have long
guarded against it. See e.g. “A message to analysts, Guarding Against Politicization,” Robert M. Gates, remarks
delivered by the Director of Central Intelligence made March 16, 1992 in the CIA
auditorium. https://www.cia.gov/static/Guarding-Against-Politicization.pdf The views expressed in 1992 by then-
CIA Director Gates reflected the approach taken by the CIA through my tenure in the State Department during the
1994-1999 period, as well as during my post-9/11 tenure from 2013-2017. Having carefully read the CIA’s now
declassified reporting on al Qaeda, Bin Ladin, and terrorist finance issues for the period prior to 9/11, I see no
evidence of politicization. Rather, I see great and recurrent caution to avoid the possibility of over-interpreting data
points, which I assume was enhanced by the difficult policy implications of any findings of Saudi state-sponsorship
or other forms of Saudi support for terrorism.

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                   about a topic, it typically provides caveats about its conclusions consistent with
                   the limitations of the evidence, use terms such as “possible,” “apparently,” or
                   “probably,” to limit or qualify a statement to ensure that it does not overstate the
                   evidence available to the CIA on the topic. In some cases, such caveats or
                   limitations may change over time, as new information confirms initial
                   assessments, or disproves them. Such changes are based on the acquisition of
                   additional information, from both public and classified sources, which are added
                   to the original information, for updated assessments, either because the CIA itself
                   believes an update is required due to the additional information, changes in
                   circumstances, or the passage of time, or as requested by policymakers.

          6.8.4. To organize my consideration of this material, I first discuss CIA reports on this
                 topic that were completed and disseminated prior to 9/11. I then discuss reports
                 which bear dates that are post-9/11, but which expressly state that they are solely
                 based on information the CIA had prior to 9/11, and which provide the time
                 periods the information arose. Then I discuss CIA reports that are undated, but
                 which specify that the time period for information used in the CIA reports is prior
                 to 9/11. Finally, I discuss CIA reports that are dated after 9/11, but which contain
                 facts or information pertaining to pre-9/11 activities and incidents. I then review
                 the contents of these government reports and compare the CIA’s conclusions with
                 information provided by discovery in this case, including documents provided by
                 ARB.

          6.8.5. The CIA reports released under EO 14040 and in response to plaintiffs’ ARB
                 subpoena include extensive information on al Qaeda’s reliance on sympathetic
                 financiers and financial institutions. Accordingly, the information I am
                 highlighting here necessarily constitutes a selective summary of the information,
                 rather than the entirety of the information provided in hundreds of pages of
                 finished intelligence and analysis relevant to this topic.

6.9.      Pre-9/11 Assessments by the CIA

          6.9.1. On November 17, 1998, the CIA’s Office of Transnational Issues (“OTI”),
                 prepared a report entitled: “Usama Bin Ladin s [sic] Finances: Some Estimates of
                 Wealth, Income, and Expenditures,” at the request of a “Richard” who worked at
                 “Global Is [sic] and Multilateral Affairs at the NSC,” which I understand to be a
                 reference to the NSC’s counter-terrorism coordinator, Richard Clarke, and the
                 title of his office before he secured a name change regarding his scope of work to
                 “Transnational Threats.”127

          6.9.2. While most of the CIA report described bin Ladin’s own wealth, it also contained
                 references to the use of financial institutions by bin Ladin. These references
                 included in pertinent part the following statements, each of which provided one or
                 more data-points relevant to answering this question:


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      CIA_000317

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               6.9.2..1. “Bin Ladin and Al-Qa’ida members control numerous bank accounts
                         worldwide. [redacted] the choice of financial institutions has been based
                         on personal contact with the bank, security concerns, and the bank’s
                         adherence to Islamic law.”128

               6.9.2..2. “The major sources of outside financial support probably are wealthy
                         family members, several of whom maintain contact with Usama or have
                         similar militant views; wealthy Gulf sponsors, and Islamic NGOs.”129

               6.9.2..3. “Gaining insight into Bin Ladin’s financial activities has been made
                         more difficult since May 1996 when he departed Sudan, a place where
                         his associates carried out financial decisions at offices of identified
                         commercial ventures, often via established financial institutions.”130

               6.9.2..4. Bin Ladin “has also been able to rely on major sources of funding during
                         his 15-year career as a mujahaddin, especially from wealthy Gulf
                         families; and he may continue to have access to his family’s wealth.”131

               6.9.2..5. “Bank Accounts. Bin Ladin and Al-Qa’ida members control numerous
                         bank accounts worldwide. [redacted] the choice of financial institutions
                         has been based on personal contact within the bank, security concerns,
                         and the bank’s adherence to Islamic law. For example, Bin Ladin’s
                         companies and Al-Qa’ida members made extensive use of the Islamic
                         banks in Sudan and probably still maintain some accounts there,
                         [redacted] NIF cadre – who probably remain sympathetic to Bin Laden’s
                         cause – dominate bank board and the top management positions.
                         [redacted] Bin Ladin, financial officer Madani Al-Tayyib, and other Al-
                         Qa’ida members held numerous accounts at Dubai Islamic Bank because
                         of Bin Ladin’s reported personal friendship with DIB Chairman, Saeed
                         Ahmed Lootah. Islamic financial institutions probably are key
                         repositories for Al-Qa’ida’s liquid funds because they conform to the
                         principals [sic] of Islamic law, which forbids the payment of interest;
                         they therefore operate in line with Bin Ladin’s aim of establishing
                         Islamic regimes throughout the Middle East [redacted] Because Islamic
                         banks are limited in number and have little presence in many developed
                         countries, a fatwa (religious opinion) was issued in Sudan that allowed
                         Bin Ladin to keep funds with non-Islamic institutions, [redacted]132”

               6.9.2..6. “Conventional Banks. Undoubtably, banks continue to be used by Bin
                         Ladin and his associates to facilitate fund movements. In some cases,
                         they use contacts inside the institutions to facilitate fund movements. In
                         some cases, they use contacts inside the institutions to facilitate

128
    CIA_000318
129
    Id.
130
    CIA_000320
131
    CIA_000321
132
    CIA_00322-323

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                          transactions—especially in the case of Islamic banks. [redacted] DIB
                          Chairman Saeed Ahmed Lootah authorizes--stamps and signs--some of
                          Bin Ladin’s letters of credit. In addition, Bin [L]adin may have
                          sympathetic bank personnel willing to conduct transactions at Al-
                          Shamal Islamic Bank, the Animal Resources Bank, and the Farmers’
                          Bank for Investment and Rural Development, all of which are in Sudan
                          and allegedly were capitali[z]ed partly by Bin Ladin.”133

                 6.9.2..7. “Gulf Sponsors. Bin Ladin probably maintains support from Gulf
                           sympathizers, including some prominent merchants and government
                           officials who reportedly contributed millions of dollars to his efforts
                           during the Afghan war, [redacted]”134

                 6.9.2..8. “Financial Support to Islamic NGOs. While Bin Ladin receives NGO
                           financial support diverted from Gulf sponsors, Bin Ladin also provides
                           funding to sp[e]cific offi[c]es of these organizations.”135

                 6.9.2..9. “Appendix. Islamic Banks Possibly Harboring Bin Ladin’s Wealth.
                           [redacted] . . . Islamic financial institutions, nevertheless may be key
                           repositories for Al-Qa’ida’s liquid funds. Of some 180 Islamic banks
                           operating worldwide, [redacted] a handful may house Bin Ladin-linked
                           accounts:”136

                 6.9.2..10.“[bullet] Dubai Islamic Bank (DIB) has served as a key financial
                           conduit for Al-Qa’ida and for Bin Ladin’s companies in Sudan,
                           [redacted] Bin Ladin and his companies maintained [redacted] accounts
                           at DIB. [redacted] DIB Chairman Saeed Ahmed Lootah is a close friend
                           of Bi Ladin’s. . .”137

                 6.9.2..11.“’Sheikh Rajhi’ [redacted] deposited [redacted] into a [redacted] bank
                           account controlled by Maktab al-Khidamat, an Islamic charity closely
                           associated with Usama Bin Ladin since the early 1980’s.”138

       6.9.3. On January 11, 1999, the CIA’s Office of Transnational Issues issued a 41-page
              report entitled “Usama Bin Ladin: Some Saudi Financial Ties Probably Intact.”
              This CIA Report covered a range of sources of financial support for Bin Ladin,
              reviewing his own funds, support from family members and “merchants, officially
              sponsored nongovernmental organizations (NGOs) and clerics based in Saudi
              Arabia.” This CIA Report contained numerous data points and information on the
              CIA’s understanding, prior to 9/11, based on the evidence and reporting it had
              obtained, of his reliance on sympathetic financiers and financial institutions to

133
    CIA_000326
134
    CIA_000329
135
    CIA_000336
136
    CIA_000337
137
    Id.
138
    CIA_000338

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               raise and move money prior to September 11, 2001.139

       6.9.4. As suggested by the above quotation from the first page of the CIA report, these
              sympathetic financiers included Saudi-based charities, such as the IIRO, Al-
              Haramain, MWL, WAMY and several other Saudi-backed Islamic charities.140

       6.9.5. Given the length of the CIA report, I will only provide examples of some of the
              data points it cites that are material to answering this question.

               6.9.5..1. “[redacted] foreign offices of several Saudi-based NGOs have been
                         infiltrated by al-Qa’ida operatives. [redacted] As a result, funds from
                         several Saudi NGOs continued to be diverted to al-Qa’ida and other
                         Islamic extremists. Saudi NGOs with the strongest links to Usama
                         include:”

               6.9.5..2. “ [bullet point] The International Islamic Relief Organization (IIRO)
                         funds a military camp associated with Usama [redacted]”

               6.9.5..3. “[bullet point] offices of Al Haramayn in Albania, Azerbaijan, Bosnia,
                         Kenya, and Tanzania, have been used by al-Qa’ida.”141

               6.9.5..4. “Several other Saudi-backed NGOs have questionable, though less
                         direct, ties to Usama Bin Ladin – including the Muslim World League,
                         the Iqra Foundation, the Saudi High Commission – Bosnia Herzegovina,
                         World Assembly of Muslim Youth, Stalk of Goodness, and Al-Waqf al-
                         Islami.”142

               6.9.5..5. “Usama may obtain financial support or be involved in commercial
                         ventures with some members of the Jeddah business community—many
                         of which have links to financial institutions:”143

               6.9.5..6. “[bullet point] [redacted] “al-Qa’ida members have held accounts at the
                         Al Rajhi Banking and Investment Company. [redacted two and a third
                         lines]”144

               6.9.5..7. “During [the 1980s and early 1990s], Usama also forged ties to Saudi-
                         based nongovernmental organizations (NGOs), wealthy Jeddah-based
                         businessmen, clerics, and government officials who were interested in
                         aiding Afghan and other Islamic causes.”145



139
    CIA_000807
140
    CIA_000808-809
141
    CIA_00808
142
    CIA_000809
143
    Id
144
    Id
145
    CIA_000810

                                                58

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                   6.9.5..8. The CIA report contains a chart entitled “Usama Bin Ladin: Possible
                             Saudi Contacts and Financial Links.” The chart shows four types of
                             relationships: family, Saudi-backed charities, Saudi business
                             community, and clerics.

                            6.9.5..8..1. The Saudi-backed charities were divided into two categories,
                                         those of “primary concern,” and those with “possible
                                         connections.” Those listed as of “primary concern” were
                                         IIRO, Al-Haramain (spelled “Al Haramyn”), Lajnat al-Bir al
                                         Islamiya (“Lajnat”), and Muwafaq Foundation (“Muwafaq”).
                                         Those listed as “possible connections” included the Muslim
                                         World League, Iqra Foundation, the Islamic Relief Agency
                                         office in Jeddah, the Saudi High Commission of
                                         Bosnia/Herzegovina, and Al-Waqfal al-Islami.

                            6.9.5..8..2. Five Saudi businessmen and one Saudi business family are
                                         listed. The businessmen are Salah al din Ahmad Idris, Khalid
                                         bin Mahfouz, Muhammad Abdul Yamani, Saleh Abduallah
                                         Jamel, and Ahmed Saleh Jamjoom. The family listed is the
                                         Al Rajhi family.

                   6.9.5..9. In a section of the January 11, 1999 CIA report entitled “Bin Ladin Ties
                             to Saudi NGOs,” the CIA report stated, in essence, that the problematic
                             Saudi charities were continuing to fund terrorism worldwide, had “poor”
                             internal oversight, controls and audits, and “are directed by and derive a
                             substantial portion of their budgets from Saudi princes and wealthy
                             merchant families, at least some of whom maintain a deeply
                             conservative outlook toward Islam, Israel and the West [redacted].”146

                   6.9.5..10.In the section of the January 11, 1999 CIA report entitled “Saudi-
                             Operated NGOs of Primary Concern,” the CIA described al Qaeda’s
                             penetration of Saudi NGOs in Afghanistan and Pakistan and how
                             funding for Arabs in Afghanistan (presumably, foreign fighters) was
                             being provided to al Qaeda by charities that included IIRO, Lajnat al-
                             Birr, and others, using accounts at local banks in Peshawar that were
                             reportedly branches at Mashreq Bank, Emirates Bank International, and
                             Habib Bank, the same banks handling bin Ladin’s funds. The CIA report
                             stated that “All-source intelligence suggests that several Saudi NGOs are
                             funding conduits for al-Qa’ida or have been penetrated by Usama’s
                             network,” and reports those of greatest concern were IIRO, Al-
                             Haramain, Lajnat, and Mawafaq. This section then provided a number of
                             data points on each of these organizations. Examples include its
                             statement that bin Ladin was using the IIRO to provide travel documents
                             for mujahedin to fight in Chechnya; that employees at Al-Haramain’s
                             offices in Albania, Azerbaijan, Kenya and possibly Tanzania had been

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      CIA_000816

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                             funded by or acted on behalf of bin Ladin; that Al-Haramain’s offices
                             had supported other terrorist groups, including providing financial and
                             logistical support to the Bosnian mujahedin and help to Egyptian
                             terrorists; and that the Iqra Foundation, established by Sheikh Saleh
                             Abdallah Kamel, the owner of a $4.5 billion Saudi banking and
                             construction conglomerate, was among a handful of organizations that
                             provided funding for a terrorist group carrying out a military insurgency
                             in Somalia backed by bin Ladin.147

                 6.9.5..11. In a section of the January 11, 1999 CIA report entitled, “Usama’s
                           Possible Links to the Saudi Business Community,” the CIA listed the
                           activities of three of the businessmen included on the chart, plus the Al
                           Rajhi family, in a section of the CIA report that contains seven to eight
                           inches of redactions in various bulleted subsections. Most of the section
                           on the Al Rajhi family is redacted, leaving only the following data
                           points:

                             6.9.5..11..1. “Members of the ultra-wealthy Al Rajhi family, which
                                           owns the Riyadh-based Al Rajhi Banking and Investment
                                           Company, probably are a source of financial support for
                                           Usama’s al-Qa’ida organization.”

                             6.9.5..11..2. “[A] “Shaykh Rajhi—[redacted]—deposited [redacted] into
                                           the [redacted] bank accounts of the Maktab al-Khidamat.”

                             6.9.5..11..3. [redacted] some Al-Rajhi branches in Saudi Arabia have
                                           been used by members of the al-Qa’ida organization.”
                                           There is a footnote to this sentence, but the footnote is also
                                           redacted. I infer it contained information on the source or
                                           sources for the statement.

        6.9.6. On April 9, 1999, the CIA’s Counterterrorist Center issued a sixteen page report
               that it called an “update and elaboration of a July 26, 1995 Intelligence Report,
               “International Islamic Charitable Organizations: Pursuing Multiple Agendas.”148
               The Intelligence Report is entitled “Islamic Terrorists: Using Nongovernmental
               Organizations Extensively.”149 The Scope Note on the report stated: “This
               assessment examines specific foreign-based nongovernmental organizations
               (NGOs) that provide terrorists with infrastructure support independent of the
               NGO’s legitimate, humanitarian, or charitable work.”150

        6.9.7. While most of this CIA report detailed the role of Islamic NGOs such as MWL,
               IIRO, MAK, and Al-Haramain in providing financial, logistical, and
               administrative support for Al Qaeda and other terrorist groups, it also addressed

147
    CIA_0008717-824
148
    To the best of my knowledge, I have not had access to the July 25, 1995 CIA Intelligence Report.
149
    CIA_000210
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    CIA_000212

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                 the role of sympathetic financiers in supporting terrorism. These references
                 included the following statements:

                 6.9.7..1. “Many prominent Saudi businessmen contribute generously to the IIRO
                           through their zakat contributions, including the Al Rajhi family, which
                           has an estimated wealth of $20 billion.”151

                 6.9.7..2. “Manilla has barred Muhammad Jamal Khalifa, the former head of the
                           IIRO’s branch office in the Philippines and brother-in-law to Usama Bin
                           Ladin, from reentry for his support to the terrorist Abu Sayyah Group.
                           Khalifah currently is attempting to continue his support to the ASG and
                           extremists elsewhere through his private companies, but his ties to the
                           IIRO appear to be severed, and the IIRO is continuing its own efforts to
                           rebuild its damaged reputation as a legitimate humanitarian
                           organization.”152

6.10.   Other Assessments by the CIA Based on Information Available Prior to 9/11

        6.10.1. The CIA’s Office of Transnational Issues issued an Intelligence Report entitled
                “Funding Islamic Extremists: The Role of Islamic Financial Institutions,” a 28-
                page report with four additional pages of Key Findings and a 49-page appendix, at
                a date that is not specified in the version released under EO 14040.153 There are
                no references in the document to the 9/11 attacks. The CIA report stated:
                “Information available as of 20 November 1997 was used in this report.”
                Accordingly, while I cannot provide the date of issuance of this CIA report, it
                appears to provide information solely describing facts, events, activities, data, and
                assessments relating to the pre-9/11 period as of November 20, 1997. I will
                therefore refer to it as the “November 20, 1997 CIA Report,” although the report
                may have been written at an unstated later date.

        6.10.2. The November 20, 1997 CIA report provided three pages of “Key Findings,” plus
                a fourth page that is redacted but which based on format appears to be part of the
                Key Findings of the CIA report. The unclassified information stated the following
                in pertinent part (with information less material to this section of this Expert
                Report omitted):

                    6.10.2..1.“Several Islamic financial institutions—those that ascribe to the
                              Koran’s principles against the payment of interest—regularly serve as

151
    CIA_000221
152
    CIA_000223. Later CIA and US government action reflect determinations that the IIRO's support for al Qaeda
encompassed senior leadership of the IIRO in Saudi Arabia. See FBI/CIA “Assessment of Saudi Arabian Support to
Terrorism and the Counterintelligence Threat to the United States,” in its entirety, EO 14040-003414 through
003442, and its references to the activities of Prince Turki bin Jalawi at 003419, and the Treasury Department
designation of the head of IIRO’s Eastern Province in Saudi Arabia, “Treasury Designates Director, Branches of
Charity Bankrolling Al Qaida Network,” August 3, 2006, https://home.treasury.gov/news/press-releases/hp45
August 3, 2006.
153
    CIA_000721-804

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                                 financial conduits and sources of financial support for a range of
                                 Islamic extremist groups, organizations, and political parties. Some of
                                 the extremists have been involved in terrorist activities. Our study of
                                 [redacted] on some 130 Islamic financial entities has revealed that
                                 Bank Al Taqwa and Dubai Islamic Bank demonstrated especially
                                 close ties to Algeria’s Islamic Salvation Front (FIS), Egypt’s Gama-at
                                 al Islamiyya (IG), the Palestinian Islamic Resistance Movement
                                 (HAMAS), Saudi exile Usama Bin Ladin’s terrorist Islamic Army
                                 and other Muslim Brotherhood-backed groups [redacted] extremist
                                 ties to the Saudi-owned Dar Al Maal Al Islami and Dallah Al Baraka
                                 groups and Al Rajhi Banking & Investment Company, [redacted]”154

                     6.10.2..2.“[bullet point] Bank Al Taqwa, based in Nassau, is one of the most
                               important financial conduits for the International Muslim
                               Brotherhood (MB) [redacted] Along with its affiliate in Geneva, the
                               bank has been a source of financial support for the Afghan and
                               Bosnian Mujahaddin, the IG, FIS, and Tunisia’s banned An Nahda
                               movement. The bank’s president has been a top MB financial officer
                               in Europe since at least the mid-1980s, [redacted]. Its board of
                               directors also includes a notable financial supporter of the IG and a
                               prominent radical cleric based in Qatar.”155

                     6.10.2..3.“[bullet point] Dubai Islamic Bank (DIB) is a key financial conduit
                               for Usama Bin Ladin’s Islamic Army, HAMAS, and Oman’s Muslim
                               Brotherhood, [redacted]. The bank’s chairman, Saeed Ahmed Lootah,
                               is a member of the MB and a close friend of Bin Ladin’s, [redacted]
                               Bin Ladin and his Sudan-based companies maintain several accounts
                               at DIB. The bank also is used by such nongovernment humanitarian
                               organizations (NGOs) as Human Appeal International—an alleged
                               financial conduit for HAMAS—and the Dar al-Birr Society, which
                               has financed the Bosnian Mujahaddin.156

                     6.10.2..4.“[bullet point] The religiously ultraconservative Al Rajhi family---
                               owners of the Al Rajhi Banking & Investment Company, with $8.6
                               billion of total assets—appears to be a key financial backer of the
                               Afghan Mujahaddin, [redacted] The family and the bank purportedly
                               also support NGOs who help finance the Bosnian Mujaheddin,
                               HAMAS, and other extremists.”157

                     6.10.2..5.“Arab Albanian Islamic Bank, Bahrain Islamic Bank, the Islamic
                               Bank of Yemen for Finance & Investment, and Qatar International

154
    CIA000_722. This language quoted as is from the unredacted portions of this first paragraph of the Key Findings
in this CIA report. Due to the CIA’s redactions, it is only partially intelligible, but clearly contains a reference to
“extremist ties” involving ARB and the other banks named in this portion of this first paragraph.
155
    Id.
156
    Id.
157
    CIA_000723

                                                          62

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                              Islamic Bank maintain financial ties to radical extremist groups and
                              suspect Islamic NGOs.”158

                     6.10.2..6.“In addition to providing the ability to bank in accordance with their
                               religious beliefs, Islamic activists—and militants—are attracted to
                               Islamic banks for two other reasons:”

                              6.10.2..6..1. “[bullet point] Top management affiliations with the
                                            MB, HAMAS, and NIF make Islamic banks a safe haven
                                            for extremist funds. [redacted] In addition, low-level
                                            bank employees at Islamic institutions—who are often
                                            hired on the basis of commitment to Islam—may turn a
                                            blind eye to money movements by extremist groups.
                                            Finally, a general lack of local regulatory scrutiny—as
                                            compared with regulation at conventional institutions—
                                            may offer additional confidence to extremists that their
                                            financial activities will not be closely examined.”159

                              6.10.2..6..2. “Because of a significant amount of cross-ownership
                                            among Islamic financial institutions, Islamic bank board
                                            of directors and management teams share common
                                            personnel that may result in influence over bank policy
                                            with regard to dealings with extremists.”160

                     6.10.2..7.This section of the November 20, 1997 CIA report was followed by a
                               description of 60 Islamic institutions being capitalized by the Dallah
                               Al Baraka Group and the Dar Al Maal Al Islami Trust; a statement
                               that DIB Chairman Lootah was a director of four other Islamic banks
                               in Bahrain and Bangladesh; and that Bank Al Taqwa adviser Sheikh
                               Youssef Al Qaradawi was director or religious supervisor of Islamic
                               financial institutions in Egypt, Kuwait, Malaysia and Qatar. The
                               remainder of the Key Findings section of the report is redacted.

       6.10.3. I found the entire November 20, 1997 CIA report, not just the “Key Findings” I
               have excerpted above, to be material to answering the question of whether there is
               evidence that al Qaeda relied on sympathetic financiers and financial institutions
               to raise and move money prior to September 11, 2001. Indeed, its Scope Note
               stated that the very purpose of the report was “to document reporting on this
               particular avenue for the financing of radical Islam and Islamic extremists and to
               assess its vulnerabilities.”161




158
    Id.
159
    CIA_000723-724
160
    CIA_000724
161
    CIA_000727

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                  6.10.3..1.     Notably, this CIA report expressly says that it is based on “reporting,”
                                 that is, the process by which the CIA collects intelligence, which I
                                 have described earlier in this Expert Report.

                  6.10.3..2.     Given this CIA report’s length, I will limit direct quotations from it to
                                 the information I found of greatest significance, and summarize the
                                 remaining information that I found also material to answering this
                                 question.

                  6.10.3..3.     The Scope Note to the report further stated that the report analyzed
                                 the financial and personal ties of Islamic radical movements to
                                 Islamic financial institutions, and found that a “handful” of them
                                 “appear to be actively engaged in financial militant groups,” and that
                                 in some cases, the banks’ executives had personal ties to Islamic
                                 extremists and activists.162

                  6.10.3..4.    In the opening section of the report, entitled “Islamic Financial
                                Institutions Ties to Extremists Groups,” the CIA stated that it had
                                examined approximately 130 Islamic financial entities, and then
                                singled out five as having “radical Islamic financial links.” These
                                were Al Taqwa, Dubai Islamic Bank, the Saudi owned Dar Al Maal
                                Al Islami and Dallah Al Baraka banking groups, and the Al Rajhi
                                Banking & Investment Company. It describes Al Taqwa and Dubai
                                Islamic Bank as standing out from other Islamic banks, based on the
                                evidence available at the time of the report, due to their apparently
                                witting involvement in the financial activities of terrorist groups. 163

                  6.10.3..5.     With respect to bin Ladin’s terrorist activities in particular, the report
                                 described Dubai Islamic Bank’s founder and chairman, Saeed Ahmed
                                 Lootah, as Bin Ladin’s “friend and banker,” and the bank itself as a
                                 “financial conduit” for both al Qaeda, referred to at the time by the
                                 CIA as “Usama Bin Ladin’s Islamic Army,” and to Hamas. The
                                 report explicitly links DIB’s support of bin Ladin, Hamas, and
                                 “militant Afghani and Bosnian extremist groups,” to Lootah’s
                                 “conspiracy theories regarding the intentions of the United States and
                                 other Western countries to control the Islamic world.”164

                  6.10.3..6.     Large portions of the section of the November 20, 1997 CIA report
                                 which focused on DIB and Lootah, entitled “Dubai Islamic Bank,”
162
    Id
163
    CIA_000728. As of 1997, the CIA had yet to conclude that ARB’s support of terrorist groups and al Qaeda was
witting, and this report states only that some of the support was “possibly” unwitting. By May 28 2003, in its report
on the Al Rajhi Bank entitled, “Al-Rajhi Bank: Conduit for Extremist Finance,: the CIA had accumulated additional
evidence, and as a result of its reporting and analysis, concluded that ARB’s support for terrorist finance was likely
witting and probable, consistent with the long-time support of Islamic extremists by senior members of the Al Rajhi
family, including its then chairman and cofounder, SAAR. I discuss the evolution of the CIA’s understanding of
ARB’s role further below in my detailed review of the substance of that 2003 report.
164
    CIA_000734

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                            remain redacted, amounting to roughly 56% of the text. Most of the
                            text in the section captioned “Financial Links [of DIB/Lootah] to
                            Usama Bin Ladin and the Islamic Army” is redacted, leaving only
                            five sentences visible. In addition to stating that Lootah is a “close
                            friend and business associate of Usama bin Ladin,” it specified that
                            the Islamic Army’s goal was to bring about the return of the
                            Caliphate. It then listed alleged ties of Lootah and DIB to other
                            Dubai-based individuals and firms that maintain financial links to bin
                            Ladin. Only one was named in the unredacted portions of this section
                            of the report, as a DIB customer who regularly did business and
                            financial dealings with Bin Ladin, one of his companies, and Islamic
                            army members.165

               6.10.3..7. The report profiled Bin Ladin’s relationships with financial institutions
                           in the section “Terrorist Financier Usama Bin Ladin: Background and
                           Islamic Financial Ties.” It stated that his choice of financial
                           institutions was based on personal contacts at the banks and security
                           concerns, and that his use of DIB was probably based on his
                           purported friendship with its chairman, Lootah.166

               6.10.3..8.   A later section of the November 20, 1997 CIA report stated that
                            Lootah “personally authorized, stamped, and signed” letters of credit
                            on behalf of bin Ladin companies in Khartoum, Sudan through DIB,
                            and stated that it was possible that Lootah did this routinely for larger
                            transactions. The report then added that “Lootah’s personal friendship
                            with Bin Ladin suggests greater personal service for this customer,” a
                            sentence followed by an inch and a half of redacted text, which based
                            on the formatting appears to be relate to the Lootah-bin Ladin
                            relationship.167

               6.10.3..9.   Two pages of the November 20, 1997 CIA report are devoted to the
                            links between ARB and financial support for Islamic extremism,
                            including the Afghan Mujahaddin in Pakistan, the MAK, and Islamic
                            groups in Bosnia during the Bosnian conflict. Assessing elements of
                            this portion of the CIA report is made more difficult by extensive
                            redactions within the section covering ARB, entitled “Al Rajhi
                            Banking & Investment Company.” However, the unredacted
                            elements still covered some basics of the ARB-Al Qaeda
                            relationship. At the outset of the section, after describing the Al
                            Rajhi family as “secretive and religiously ultraconservative,” the
                            CIA stated that “[t]he most compelling [redacted] information on
                            Islamic extremist links to the Al Rajhi family and ARABIC [ARB]
                            documents their financial support for the Afghan Mujahaddin in

165
    CIA_000734-735
166
    CIA_735
167
    CIA_000747

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                                  Pakistan via humanitarian organizations,” including through the
                                  MAK.168 The MAK has been described by the UN as co-founded by
                                  Bin Ladin and as a “pre-cursor” to al Qaeda that provided the
                                  essentials for military camps to train jihadists for battle in
                                  Afghanistan.169 The early support of ARB and the Al Rajhi family
                                  for the Afghan Mujahaddin was similarly a pre-cursor to their
                                  continuing support for the major Gulf State charities providing
                                  terrorist finance to extremist groups throughout the period covered
                                  by this Expert Report.

                  6.10.3..10. The ARB section of the November 20, 1997 CIA report further stated
                              that ARB “apparently has been a conduit for funding the Mujahaddin
                              since the early 1990s,” but then redacted any further information
                              concerning ARB’s support for the Mujahaddin, before referring to
                              “Al Rajhi financial support for several other Saudi NGOs that
                              purportedly divert funds to Islamic extremists:” followed by a
                              redaction of more than three inches of text which I understand, based
                              on my experience of reading classified CIA reports, likely provided
                              data points, analysis, and source information about that sentence.

                  6.10.3..11. The ARB section of the November 20, 1997 CIA report included a few
                               additional unclassified facts about ARB and the Al Rajhi family that
                               survived the extensive redactions. It stated that “the Al Rajhis were
                               routinely contacted” by officials at WAMY, which it described as “a
                               Saudi NGO where personnel often pursue an extremist agenda.” It
                               stated that “WAMY officials have couriered private Saudi donations
                               to Islamic groups in Afghanistan and Bosnia” and put Saudi donors
                               and foreigners in direct contact “for worthwhile Islamic causes” and
                               would sometimes broker requests to donors when WAMY had “an
                               ideological interest.” Unfortunately, this part of the ARB section of
                               the report is heavily redacted: there is no explanation in the
                               unclassified section regarding this activity by ARB other than a single
                               sentence preceded by a two-and-half inch redactions, which stated
                               “Al Rajhi financial ties to Islamists is inconclusive.”170 Following
                               another three inch redaction, the CIA report stated that the use of
                               ARB by extremists in some cases “probably denotes convenience
                               rather than Al Rajhi family involvement in financial radical groups,”
168
    CIA_000743
169
    “Makhtab al-Khidamat,” UN Sanctions Committee, providing summary of background on entities and persons
sanctioned by UN.
https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/makhtab-al-khidamat
170
    The information in this particular CIA report only includes data up to November 20, 1997, and its carefully
caveated assessments reflect both the date and caution about going beyond the data available to it at that time. Later,
as described further in this Expert Report, the CIA concluded that “Senior al-Rajhi family members have long
supported Islamic extremists and probably know that terrorists use their bank,” and that “Bank chairman Sulayman
and several other al-Rajhis have given money to suspicious individuals and organizations worldwide. Moreover.
Sulayman's tight control of ARABIC activities suggests be is witting that his bank is attractive to extremists.” CIA-
SUB_0001 and _0004

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                               as the bank “probably” was the only choice for transferring funds to
                               some regions, such as Jordan and the West Bank to Palestinians.171

                 6.10.3..12. The final unredacted reference to the Al Rajhi’s in the ARB section of
                              this CIA report stated, “[t]he Saudi Government undoubtably is aware
                              of Al Rajhi’s role in providing support to Muslim groups and
                              probably even sanctions some of the support.” The footnote to this
                              statement further explained that Saudi Arabia and some other Gulf
                              states had long been a source of financial support for Islamic causes,
                              with “at least some of these funds [then] diverted to militants and
                              terrorists.” The last unredacted sentence in this footnote stated “[t]he
                              difficulty of supervising overseas operations offers Riyadh a plausible
                              defense when NGO links to radical groups are brought to light.”172

                 6.10.3..13. The November 20, 1997 CIA report in the section “Ability to Bank in
                             Accordance with Religious Beliefs,” focused on ARB as being the
                             subject of sermons by a radical Saudi cleric, Salman al Awdah, who
                             preached that it was the only bank worthy of Muslim deposits due to
                             it following Islamic guidelines. The CIA report further stated that
                             “the Al Rajhi family subsequently became a major financial supporter
                             of Awdah.”173

                 6.10.3..14. After covering the use of other (non-ARB) Islamic banks for “Suspect
                             Financial Activities,” in places like Bosnia and Yemen, the
                             November 11, 1997 CIA report turned to the “Motivations for Using
                             Islamic Banks,” and characterized the core reason as providing them
                             safe havens including assurance that their funds and activities will not
                             be scrutinized by officials, with the secondary purpose being
                             ideological affinity, and a third being “sometimes, significant
                             financial support for local Islamic movements.”174

                 6.10.3..15. The concluding unredacted sections of this CIA report are almost
                             entirely redacted, but contain a few intelligible references to the
                             phenomenon of Islamic financial institutions support for terrorism
                             generally. For example, page 26 of the CIA report stated “Although
                             Gulf states acknowledge the problem of financial support to extremist

171
    CIA_000744. Regarding this assessment, I reiterate the points I make in the previous footnote. Documents
provided in discovery by ARB and others provide further information material to ARB’s involvement in Jordan and
the West Bank in providing funds to Palestinians, as described later in this Expert Report.
172
    CIA_000744
173
    CIA_000748. Al Awdah, sometimes spelled al-Ouda in English, has been described as an associate of Bin Ladin
and al Qaeda before 9/11, who supported their mission before his public rejection of both in 2007. See e.g. “Al
Qaeda and Affiliates: Historical, Perspective, Global Presence, and Implications for U.S. Policy, Congressional
Research Service, February 5, 2010, p. 2.
https://digital.library.unt.edu/ark:/67531/metadc505435/m1/1/high res d/R41070 2010Feb05.pdf and “Salman Al-
Odah: The chameleon cleric,” Arab News, February 22, 2021, https://www.arabnews.com/node/1479231/saudi-
arabia
174
    CIA_000746

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                            groups via Islamic banks, they probably will do little to tackle the
                            problem in the near term:” The colon was followed by redacted
                            material, and then a bullet point: “Gulf states are not likely to
                            scrutinize the financial activities of powerful and wealthy merchants
                            and royal family members owning shares in Islamic banks and
                            holding director positions on their boards.”175

       6.10.4. The Appendix to the November 20, 1997 CIA Report was formatted as a chart
               covering the entire range of Islamic banks reviewed in the CIA research. I read
               the chart to have been based on a mix of open source material such as public lists
               of banks and their ownership, corporate records, to which the CIA Report
               sometimes makes reference, and intelligence sources. Only some of these Islamic
               banks are shown to have links to “Islamic Fundamentalists, the Muslim
               Brotherhood, and Islamic Extremists,” and in some cases, the information about
               these links was redacted, and thus cannot be assessed. Leaving aside banks
               supporting other terrorist or extremist military activity for other terrorist groups,
               some of which may have been aligned with or supporting al Qaeda, ten of these
               institutions were directly linked in the declassified portions of the Appendix to
               Bin Laden and/or al Qaeda (and/or its precursors, MAK and the Islamic Army), as
               of November 20, 1997. I summarize the information in the chart about each of
               them:

                 6.10.4..1. Al Ameen Securities Company, Manama, Bahrain. “The African
                            Muslim Agency (AMA) – a Kuwait based NGO which employed a
                            suspect in the attempted assassination of President Mubarak—
                            maintains an account at the Karachi branch. The AMA has ties to
                            Usama Bin Ladin, according to an Algerian service.”176

                 6.10.4..2. Seh-In Islamic Bank, Bosnia-Herzegovina. Listed as owned by She-in
                            Bin Baz Kompanija, described as a Saudi cleric who owned as much
                            as 90% of the shares, and presiding over Saudi Arabia’s Ulama
                            Council, and close to then-Saudi King Fahd. “[F]unds Makhtab al-
                            Khidamat (MK), an NGO based in Peshawar, Pakistan closely linked
                            with the Afghan mujahaddin and purportedly funded by Usama Bin
                            Ladin [redacted] it funds a range of radicals [a]nd sends training
                            militants to Bosnia, Chechnya, Palestine, and elsewhere.”177

                 6.10.4..3. Qatar International Islamic Bank, Doha, Qatar. “Accounts at the bank
                            are used by a top financial officer of Usama Bin Laden’s Islamic Army
                            to transfer funds.”178

                 6.10.4..4. ARB in Riyadh, Saudi Arabia. “Used by some members of Usama Bin
                            Ladin’s Islamic Army to maintain accounts and transfer funds.

175
    CIA_000753
176
    CIA_000758
177
    CIA_000765
178
    CIA_000781

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                               [redacted] . . . the al Rajhis have financed radical Afghani and
                               Kashmiri organizations in Pakistan and elsewhere. Some of the aid
                               was provided under the guise of orphan relief and delivered to radical
                               causes – possibly unwiting [sic] to the Al Rajhis.”179

                  6.10.4..5. Al Barakat Bank, Mogadishu, Somalia. “Principal bank and fundraiser
                             for Al Jihad Islamiya, the leading Islamic group in Somalia allegedly
                             financed by Usama Bin Ladin. Al Jihad seeks to establish an Islamic
                             agenda in Somalia and regain control over the Ogaden territory from
                             Ethiopia.”180

                  6.10.4..6. Al Baraka Bank, Sudan, with branches in Saudi Arabia. “Has
                             maintained accounts for extremist financier Usama bin Laden, his
                             firms, and his Islamic Army associates; the branch in the Al-Borg
                             district in Khartoum houses an office Bin Ladin’s Al Ikhlas
                             International Company [redacted] which allegedly is a front for Bin
                             Ladin’s money.”181

                  6.10.4..7. Al-Shamal Islamic Bank, Khartoum, Sudan. “NIF-controlled bank and
                             key financial conduit for Usama Bin Ladin, his businesses, and Islamic
                             Army members.”182

                  6.10.4..8. Islamic Bank of Western Sudan, Khartoum, Sudan. “Usama Bin Ladin
                             an Islamic Army member maintained several company accounts in the
                             bank.”183

                  6.10.4..9. Tadamon Islamic Bank, Khartoum, Sudan. “Used by several of Usama
                             Bin Ladin’s companies and Islamic Army members to transfer funds.
                             Sudanese office of UAE-based Human Appeal International, which
                             allegedly moves funds for HAMAS.”184

                  6.10.4..10. Dubai Islamic Bank, Dubai, UAE. “Lootah is a close friend and
                              business associate of extremist Usama Bin Ladin, whose companies
                              are active customers of DIB. The bank maintains accounts for several
                              NGOs which are suspected of financing radical Islamic groups; it
                              appears for example, to be one of the principal banks for Human
                              Appeal International an NGO that funds HAMAS.”185

6.11.    Post-9/11 Assessments by the CIA


179
    CIA_000783
180
    CIA_000786
181
    Al Baraka is an entirely different bank, and part of a different bank group, from Al Barakat, and was owned by
Sheikh Saleh Abdullah Kamel and his family, from Saudi Arabia. CIA_000786
182
    CIA_000787
183
    CIA_000790
184
    CIA_000791
185
    CIA_000797

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          6.11.1. After the 9/11 attacks, the CIA undertook further work to determine the role of
                  financial supporters of bin Ladin in enabling his ability to carry out terrorist
                  attacks against the United States and others bin Ladin viewed to be aligned with
                  the United States.

          6.11.2. Some of this work was reflected in a number of finished analytic reports that were
                  declassified under EO 14040 and in response to Plaintiffs’ ARB subpoena to the
                  CIA, each of which provided one or more data points material to the question of
                  whether there is evidence that Al Qaeda relied on sympathetic financiers and
                  financial institutions to raise and move money prior to September 11, 2001.

          6.11.3. These data points were included within a February 27 2002 report entitled
                  “Identifying Al-Qa’ida’s Donors and Fundraisers: a Status Report,” an August 28,
                  2002 report on Al-Haramain, entitled, “Al-Haramain: Support for Extremists and
                  Terrorists,” a November 14, 2002 report entitled “Saudi-Based Financial Support
                  for Terrorist Organizations; a December 12, 2002 report on an Islamic charity, the
                  Talibah International Aid Association, entitled, “Talibah: Linking Extremists in
                  the Balkans and the United States; a March 10, 2003 report entitled “Al-Qa’ida in
                  Sudan, 1992-96: Old School Ties Lead Down Dangerous Paths;’ a May 28 2003
                  report on the Al Rajhi Bank entitled, “Al-Rajhi Bank: Conduit for Extremist
                  Finance,” and a May 21, 2004 Report on Islamic Banking, entitled, “Islamic
                  Banking: A Potential Economic Enabling in the Muslim World.” Below I will
                  summarize a number of the data points from each of these CIA reports, which
                  succinctly capture my own understandings and assessments on the issues
                  discussed here, addressing the reports in chronological order.

          6.11.4. The February 27, 2002 CIA report, “Identifying Al-Qa’ida’s Donors and
                  Fundraisers: a Status Report, prepared by the CIA’s CTC Office of Terrorism
                  analysis, contained three pages of text and a two page appendix, plus one “Key
                  Finding,” stated at the outset. The Key Finding stated in pertinent part: “An array
                  of fragmentary intelligence reporting indicates that wealthy individuals in the
                  Arabian Penisula and grassroots supporters from around the world are critical
                  funding sources for al-Qa’ida.” It stated its reporting is mostly anecdotal and old,
                  and that further work is needed from the CIA, Defense, FBI and Treasury to
                  disrupt future al-Qa’ida operations.186

                   6.11.4..1.Despite the “fragmentary nature of the fundings,” the CIA found that it
                             had “identified several wealthy Saudi individuals and families we
                             suspect of supporting al-Qa’ida – including Shaykh Adil Batarji, the al-
                             Rajhi family, the Julaydan family, and Ahmad Salah Jamjoon.” It then
                             identified the Jamjoon information as “typical of the fragmentary and
                             dated nature of our information.”187




186
      CIA_000194
187
      CIA_000195

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                  6.11.4..2.The report’s appendix provided what it terms “Three Al-Qa’ida Donor
                            Case Studies.”188

                  6.11.4..3.One of the three Case Studies concerned a Saudi relative of “a well-
                            known al-Qa’ida associate Wa’el Hamza Julaydan” named Ibrahim
                            Julaydan. In the unredacted text, the Case Study merely stated that
                            Julaydan “may donate large amounts of funds through his family to
                            terrorists, including Bin Ladin.” All the other material in that section of
                            the report is redacted, so there is no detail provided beyond that bald
                            statement.189 (As discussed later in this Expert Report, Wa’el Julaidan
                            maintained accounts at ARB and was issued a credit card by the bank.
                            He was designated by the Treasury Department as a SDGT on
                            September 6, 2002, about six months after the date of this CIA
                            report.)190

                  6.11.4..4.The other two “Case Studies” also contained redactions, but provided
                            greater unredacted detail. These Case Studies were on the Al-Rajhi
                            Family and on Adil Abd Al-Jalil Adil Batarji.

                  6.11.4..5.The Al-Rajhi Family profile was captioned with the words “Illicit
                            Activity,” followed by a redaction, and then the statement that “several
                            Al-Rajhi family members donate money to businesses tied to terrorists
                            and personally oversee transactions destined for terrorists.” These
                            assertions were followed by about 13 lines of redacted material. The
                            case study then stated that “[a]s of [redacted] 2000, Sulaiman al-Rajhi
                            was also one of 128 permanent members of International Islamic Relief
                            Organization (IIRO),”191 followed by a redacted line, and then the
                            phrase “al Qa’ida has infiltrated some of IIRO’s branches.”192

                  6.11.4..6.The third case study on Batarji also had a caption “Illicit Activity,”
                            followed by the statement: “Adil Batarji is a long-time Bin Ladin and al-
                            Qa’ida donor, fundraiser, and businessman. Batarji also is closely
                            associated with several NGOs and Sudanese businesses that have
                            supported al-Qa’ida and other Islamic groups.” It then stated that
                            “Batarji is a close associate of Bin Ladin and raises funds on his behalf,
                            and financially supported 1993 World Trade Center Bomber Ramzi

188
    CIA_000198-199
189
    CIA_000199
190
    “Treasury Department Statement on the Designation of Wa’el Hamza Julidan,” September 6, 2002,
https://home.treasury.gov/news/press-releases/po3397
191
    I am aware of documents produced by ARB documenting efforts by SAAR to resign from this position due to his
having insufficient time to devote to it, and accordingly, do not rely on this data point from the CIA profile of the Al
Rajhi family’s involvement with IIRO, but include this statement within the report for the sake of completeness. See
ARB-00039593-09594. These documents provide evidence that the IIRO had failed to remove SAAR’s name from
the list of its permanent members in response to his letters of resignation, a fact apparently not known to the CIA
given the IIRO’s continued treatment of him as a permanent member of its governance through at least October 4,
1998, and based on the CIA’s statement, as late as some date in 2000.
192
    CIA-000198

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                             Yousef,” a statement then is followed by a redaction. This case study
                             stated that Batarji was providing religious advice to Bin Ladin, and that
                             Yemeni extremists had sought his advice “possibly relating to
                             minimizing Muslim loss of life in attacks against US interests.” The
                             profile stated that Batarji had headed or been a senior number of several
                             NGOs that the CIA suspected supported terrorists, most significantly the
                             Saudi charity Lajnat al-Birr al-Islamia, which it characterized as
                             reportedly affiliated with al-Qa’ida, among other NGOs, which included
                             the International Charity Committee in Bosnia, a charity that had been
                             publicly criticized in Croatian newspapers for supporting terrorism and
                             not conducting relief work.193

        6.11.5. The August 28, 2002 report on Al-Haramain stated, in essence, that Al-Haramain
                had supported Islamic terrorist and militant groups, including bin Ladin and his
                associates, prior to 9/11 and continued to do so after 9/11, including cover and
                logistic support for Al Qaeda cells attacking the U.S. These included the 1998
                attacks on the US Embassies in Kenya and in Tanzania. It found that “at least 20
                al-Haramain field offices and representatives operating in 50 countries in Africa,
                Asia, Europe and North America, as well as is headquarters in Saudi Arabia,
                appear to be providing financial and logistic support to al-Qaida,” including
                providing “financial support or collusion in terrorist plots,” some of which were
                “ongoing plots.”194

                   6.11.5..1.The first footnote in the report stated that Al-Haramain “is a Saudi
                             based NGO funded by the Saudi Government and wealthy individuals
                             sympathetic to the Salafiyya movement.[redacted]”195

                   6.11.5..2.The report then cited documents seized in a raid by NATO forces in the
                             Balkans as suggesting that employees at Al-Haramain offices in
                             Albania, Bosnia, Croatia, and Kosovo continued to support Al Qaeda
                             and affiliated groups, and that people in each of these offices were also
                             funded by, or worked with, bin Ladin. It also provided data points on
                             other connections between Al-Haramain and Al Qaeda, in Tanzania,
                             relating to the 1988 U.S. Embassy bombing there, and an employee in
                             its Somalia office having possible ties to the terrorists who attacked the
                             USS Cole, another terrorist attack mounted by Al Qaeda which took
                             place prior to 9/11.196


193
    CIA_000198-199
194
    CIA-SUB_007-0019, quoted material is from CIA-SUB_0010
195
    CIA-SUB_00100
196
    CIA-SUB_0011. The U.S.S. Cole attack took place while the U.S. naval vessel was in harbor in Yemen on
October 10, 2000. This terrorist attack killed 17 American sailors and injured 40 others, and was found to have been
organized and carried out by al Qaeda. See FBI case history, USS Cole Combing,
https://www.fbi.gov/history/famous-cases/uss-cole-bombing and Remarks of Attorney General John Ashcroft,
Indictment for the Bombing of the U.S.S. Cole, May 15, 2003,
https://www.justice.gov/archive/ag/speeches/2003/051503agremarksusscole.htm

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               6.11.5..3.The CIA report contained data points relating to ongoing use by Al-
                         Haramain of bank accounts, contained in a series of bullet points in the
                         section of the CIA report, “Adapting Under Scrutiny.” These included:

                      •   “HIF [Al-Haramain] employees’ accounts in Albania previously
                          received money from an HIF official account at al-Rajhi bank.”

                      •   “HIF headquarters sent [redacted[ cash to the Tanzania office via
                          courier. The transfer is particularly suspicious given [redacted] that
                          the chief of the office is wanted in Algeria for inciting Islamic
                          demonstrations against the government. [redacted]”

                      •   “[redacted] funds from an HIF account in Saudi Arabia at al Rajhi
                          bank were transferred to an al-Ansar Welfare Trust in Kashmir. Al-
                          Ansar Welfare Trust is a front for Lashkar-i-Tayyiba (LT) and Tehrik
                          ul-Mujahidin, which have been listed by the United States as terrorist
                          groups.”197

       6.11.6. On November 14, 2002, the CIA’s CTC Office of Terrorism Analysis issued a ten
               page report entitled “Saudi-Based Financial Support for Terrorist Organizations,”
               with two additional pages of “Key Findings.” The Key Findings directly
               addressed the question of whether al Qaeda benefitted from sympathetic
               financiers and banks before the 9/11 attacks, and provided an answer in the
               affirmative:

              6.11.6..1. “Saudi Arabia is a key base of financial support for al-Qa’ida and
                         several other terrorist organizations. We estimate that since the mid-
                         1990’s several tens of millions of dollars a year has flowed to terrorists
                         from a variety of sources in the Kingdom. Most of the money originates
                         from wealthy individuals, fundraisers who solicit smaller donations,
                         and diversions from non-governmental organizations (NGOs); a portion
                         of the funding is derived from legitimate religious contributions.”198

              6.11.6..2. “Al-Qa’ida has relied on its node in Saudi Arabia for bulk fundraising
                         for several years [readacted][.] Money that originates in the Kingdom is
                         dispersed to al-Qa’ida members operating in Pakistan and Afghanistan,
                         as well as Yemen, Iran, and other countries whose operatives have
                         relocated following the loss of Afghanistan as a safe haven.”199

              6.11.6..3. “[bullet] Donors who are members of prominent merchant families
                         often have business dealings or frequent interactions with the Saudi
                         royal family, suggesting that Riyadh may be hesitant [to] move against
                         their businesses and bank accounts. [redacted]”


197
    CIA-SUB_0013
198
    CIA_000144
199
    Id

                                               73

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       6.11.7. The remainder of this CIA report provided detail on its Key Findings. Pertinent
              excerpts follow:

                 6.11.7..1. “A Major [S]ource of Terrorist Funds. [redacted] al-Qa’ida and several
                            other terrorist and militant groups consider Saudi Arabia a key base of
                            financial support. [redacted] we estimate that since the mid-1990s
                            terrorist groups have received several tens of millions of dollars a year
                            from Saudi sources. Most of the money originates from wealthy
                            individuals, fundraisers who solicit smaller donations, and non-
                            governmental organizations (NGOs).”200

                 6.11.7..2. “[bullet] Most of the larger financiers, however, knowingly donate
                            funds to al-Qa’ida and are witting the money finances terrorist activity
                            [redacted] Several of these [apparent redaction] nships [sic, perhaps
                            meaning ‘relationships’] with Bin Ladin or other key al-Qa’ida
                            operates since at least the 1990’s.”201

                 6.11.7..3. “We estimate that half or more of al-Qa’ida’s estimated pre-9/11
                            “budget” was raised in Saudi Arabia.”202

                 6.11.7..4. “Key Financial Base for Al-Qa’ida Bin Ladin’s network has relied
                            on its node in Saudi Arabia for the bulk of its fundraising for several
                            years [one inch, about six lines redacted]. Money that originates in the
                            Kingdom is dispersed to al-Qa’ida members in Pakistan and
                            Afghanistan, as well as Yemen, Iran, and other countries where key al-
                            Qa’ida operatives have relocated over the past year following the loss
                            of Afghanistan as a safehaven.”203

                 6.11.7..5. “[bullet point] Al Qa’ida members in Yemen – the key platform for
                            operational planning in the Gulf – get the majority of their financial
                            support from Saudi Arabia. [redaction of about 10 lines]204

                 6.11.7..6. “[bullet point] Some funding is also going from Saudi Arabia to
                            finance al Qaeda operatives and al-Qa’ida linked terrorist groups in
                            South East Asia.205

                 6.11.7..7. “Major Donors We have identified several wealthy Saudi individuals
                            and families we suspect of support the al-Qa’ida network. Many of the
                            donors come from prominent merchant families in Jeddah, and they
                            probably account for the largest share of al-Qa'ida’s income. These
                            families usually have large, diversified business holdings or control

200
    CIA_000147
201
    Id
202
    Id
203
    CIA_000148
204
    Id
205
    Id

                                                  74

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                                non-governmental organizations within the Kingdom and the Middle
                                East that provide vehicles for transferring funds to terrorists.”
                                [approximately five lines redacted]206

         6.11.8. The “Major Donors” section of the CIA report then listed examples of these key
                sympathetic “major donors” to al Qaeda.207 They included:

                  6.11.8..1. Yasin al-Qadi, a Saudi business executive who the CIA states donated
                             funds to al-Qa’ida and other Islamic extremist groups, according to
                             media reports, and then make additional statements about the specifics
                             of his support to an NGO he founded, the Muwafaq Islamic charity, for
                             this use.208

                  6.11.8..2. Muhammad Jamal Khalifa, bin Ladin’s brother-in-law, who as
                             previously stated was implicated in supporting terrorist Ramzi Yousef
                             in the Philippines where Yousef was undertaking steps to blow up ten
                             to twelve jets in 1995, after Yousef had already bombed the World
                             Trade Center in 1993.209

                  6.11.8..3. Sheikh Adil Batterjee, a close business associate of bin Ladin and
                             longtime al-Qaida donor and fundraiser, who the CIA stated used
                             Islamic charities to fund extremists and militants “under the guise of
                             rendering humanitarian aid and support.”210

                  6.11.8..4. The Bin Mahfouz family, which owned a Saudi bank among other
                             businesses.211

                  6.11.8..5. The Al Rajhi family, owner of ARB, the latter of which the report
                             described as a “conduit for funds for Islamic extremists and for the 11
                             September hijackers.” The report also stated that “Al-Rajhi Bank has
                             maintained accounts for individuals linked to Usama bin Ladin” and an
                             associated terrorist group based in Egypt, which it referred to here as
                             “Egyptian Islamic Jihad.”212

         6.11.9. The three-page December 12, 2002 CIA report entitled “Taibah: Linking
                 Extremists in the Balkans and the United States,” prepared by the CIA’s CTC
                 Office of Terrorism Analysis, characterizes the “Taibah International Aid
                 Association,” as an Islamic charitable organization with “extensive ties to al-

206
    Id
207
    CIA_000148
208
    CIA_001149
209
    Id
210
    Id. There are many spellings of Batterjee’s name used in this report. I have sought in each case to preserve the
one used in the document I am referencing. The UN terrorist finance sanctions designating Batterjee, and later
delisting him from sanctions, listed his name as Adel Abdul Jalil Ibrahim Batterjee.
https://press.un.org/en/2013/sc10884.doc.htm
211
    Id
212
    Id

                                                          75

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                 Qa’ida and other extremists in the Balkans and the United States.” It contains a
                 few data points providing evidence that al Qaeda relied on sympathetic financiers
                 and financial institutions to raise and move money prior to the 9/11 attacks,
                 including ARB.

                 6.11.9..1. The context for the report was the CIA’s finding that Taibah’s office in
                            Sarajevo, Bosnia was “an active part of the local extremist facilitator
                            network composed of other nefarious NGOs and al-Qa’ida facilitators,”
                            who had operated with mujahidin forces in Bosnia in December 1995,
                            donated to a local radical group that was possibly surveilling U.S.
                            military installations, and associated with the Global Relief Foundation,
                            a U.S.-based NGO sanctioned by the U.S. in December 2001, and had
                            an employee who had been arrested by Bosnian authorities under
                            suspicion of being part of a terrorist cell that threatened the U.S.
                            Embassy in Sarajevo.213

                 6.11.9..2. This CIA report found that the Sarajevo office of Taibah had “received
                            regular funding from banks and individuals with ties to al-Qaida.” The
                            report then listed an institution named “Depozitna Bank,” with a
                            redaction following the bank’s name and the statement that one of that
                            bank’s investors was “Wa’il Julayden,” who it described as “a logistic
                            and financial facilitator for al Qaeda.”

                           6.11.9..2..1. “Wa’el Hamza Julaidan” was formally designated as a
                                         terrorist financier by both Saudi Arabia and the United
                                         States on December 6, 2002. The U.S. statement
                                         accompanying the designation stated “Julaidan, a Saudi
                                         citizen, is an associate of Usama bin Ladin. Julaidan fought
                                         with bin Laden in Afghanistan in the 1980s. Julaidan is also
                                         associated with several individuals and entities linked to al-
                                         Qa’ida, including bin Ladin lieutenants, Ayman al-
                                         Zawahri, Abu Zubaida, and Mohammed Atef; and the
                                         organizations: Makhtab al Khedmat, the Rabita Trust, and
                                         al-Gam'a al-Islamiya. These individuals and entities have
                                         been previously designated under President Bush’s
                                         Executive Order and by the United Nations. Bin Laden
                                         himself acknowledged his close ties to Julaidan during a
                                         1999 interview with al-Jazeera TV. When referring to the
                                         assassination of al-Qa’ida co-founder Abdullah Azzam, bin
                                         Ladin stated that We were all in one boat, as is known to
                                         you, including our brother, Wa’el Julaidan. Julaidan has
                                         established contacts with several known Arab Islamic
                                         extremists, including bin Ladin’s principal lieutenant,
                                         Ayman al-Zawahri. Another bin Ladin lieutenant, Abu
                                         Zubaida, claimed that he accompanied Julaidan from

213
      CIA-SUB_0031

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                                            Pakistan to Kandahar, Afghanistan during the summer of
                                            2000. Zubaida said that Julaidan met with bin Ladin and
                                            senior bin Ladin lieutenant Mohammed Atef soon after
                                            arriving in Kandahar. In February 2000, Julaidan was
                                            appointed to the Board of Trustees of the Rabita Trust and
                                            served as its Director General. The Rabita Trust is an NGO
                                            designated under President Bush’s Executive Order as an
                                            organization that provided logistical and financial support
                                            to al-Qa’ida.”214

                             6.11.9..2..2. The CIA report found that Taibah’s Sarajevo office
                                           received approximately $140,000 from WAMY-Jeddah in
                                           May 2001, and that more than $48,000 was transferred
                                           through ARB in Saudi Arabia, which the CIA stated “has
                                           handled numerous transactions of NGOs with known ties to
                                           al-Qa’ida such as GRF [Global Relief Fund] and al-
                                           Haramain.”215

                             6.11.9..2..3. The CIA report found that “Taibah’s financial practices
                                           mirror those of other nefarious NGOs—they often receive
                                           large sums of money from known extremists that seem to
                                           exceed what they would need for legitimate purposes.”216

                             6.11.9..2..4. In summary, the report found (a) that this Bosnian-based
                                           charity was owned in part by a major bin Ladin financier,
                                           (b) receiving funds from the Saudi charity, WAMY, linked
                                           to support from terrorists, and (c) used ARB to handle more
                                           than $48,000 after it had handled many transactions for
                                           NGOs tied to al Qaeda.217

        6.11.10. The ten-page March 10, 2003 CIA report entitled “Al-Qa’ida in Sudan, 1992-
                 96: Old School Ties Lead Down Dangerous Paths,” exclusively focused on
                 events and activities relating to the period when bin Ladin was based in Sudan,
                 and thus all pre-9/11.218 It contained only three paragraphs on bin Ladin’s
                 financial infrastructure during that time. Each of these paragraphs is material to
                 the question of whether al Qaeda relied on sympathetic financiers and financial



214
    Treasury Department Statement on the Designation of Wa’el Hamza Julidan, September 6, 2002,
https://home.treasury.gov/news/press-releases/js700 Although it is not specified by the Treasury Department,
Julaidan was also the director of the MWL’s field office in Peshawar, Pakistan, working on behalf of Afghans then,
in the period that bin Ladin was still in Pakistan and about to move to Sudan. See “Directory of Humanitarian
Agencies Working for Afghans,” September 1992, Agency Coordination Body for Afghan Relief, Peshawar,
Pakistan, p. 231.
215
    CIA-SUB_0032
216
    Id
217
    Id
218
    CIA_000038-52

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                    institutions prior to 9/11. I provide the pertinent parts of this section of the
                    report:

                    6.11.10..1. “[M]erchants in Saudi Arabia who built business ties to Bin Ladin’s
                                companies in Sudan, and who also finance extremists, include
                                Ibrahim Said Badoaoud, Adil Batarga, Yasin Qadi, and members of
                                the Jamjun and al-Rajhi families.”219

                                   6.11.10..1..1. I note that Badaoud had three accounts at ARB that
                                                  SAMA later required ARB to seize.220 Al Qadi had
                                                  eight accounts at ARB, which SAMA later required
                                                  ARB to seize.221 ARB also provided banking
                                                  services to Al-Birr a/k/a Benevolence, the NGO
                                                  controlled by Batterjee (spelled in this CIA report as
                                                  Batarga), which became subject to US and UN
                                                  sanctions after the 9/11 attacks due to its support for
                                                  al Qaeda.222

                    6.11.10..2. “[bullet point] A letter found in Afghanistan in 2002 suggests that
                                Adil Batargi and Yasin Qadi each served as Bin Ladin’s financial
                                manager in Sudan at some point before 1996.”223

                    6.11.10..3. “Bin Ladin also made financial and commercial connections in
                                Dubai. For example, Bin Ladin’s Sudan-based companies and his
                                financial officers opened bank accounts and letters of credit at
                                Dubai Islamic Bank (DIB) with the active help of DIB Chairman
                                Sa’id Ahmed Lootah.”224

         6.11.11. The May 28, 2003 CIA report entitled “Al-Rajhi Bank: Conduit for Extremist
                  Finance,” prepared by the CIA’s Counter-terrorist Center’s Office of Terrorism
                  Analysis, consisted of a cover page, a one paragraph summary on its second
                  pages, and four pages of text, of which about 40 lines or six inches of text are
                  redacted. It contained data points and analysis throughout that is material to
                  answering the question of whether there is evidence that al Qaeda relied on
                  sympathetic financiers and financial institutions to raise and move money prior

219
    CIA_000045
220
    ARB-0014466
221
    ARB-0014465-4466
222
    ARB-0039583; see also UN sanctions summary on Al-Birr: “The Benevolence International Foundation was
listed on 21 November 2002 pursuant to paragraphs 1 and 2 of resolution 1390 (2002) as being associated with Al-
Qaida, Usama bin Laden or the Taliban for “participating in the financing, planning, facilitating, preparing or
perpetrating of acts or activities by, in conjunction with, under the name of, on behalf or in support of”, “supplying,
selling or transferring arms and related materiel to” or “otherwise supporting acts or activities of” Usama bin Laden
and Al-Qaida.” UN Security Council Summary, 1267 Sanctions Committee, Benevolence Foundation,
https://www.un.org/securitycouncil/sanctions/1267/aq sanctions list/summaries/entity/benevolence-international-
foundation
223
    Id
224
    CIA_00045

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                     to September 11, 2001. Its one-paragraph Executive Summary, entitled
                     “Summary” addressed this point head-on with regard to Al Rajhi bank, as
                     follows:

                     6.11.11..1. “Islamic extremists have used Al-Rajhi Banking and Investment
                                 Corporation (ARABIC) [ARB] since at least the mid-1990s as a
                                 conduit for terrorist transactions, probably because they find the
                                 bank’s vast network and adherence to Islamic principles both
                                 convenient and ideologically sound. Senior al-Rajhi family
                                 members have long supported Islamic extremists and probably
                                 know that terrorists use their bank. [redacted] senior al-Rajhi family
                                 members control the banks’ most important decisions and that
                                 ARABIC’s principle managers answer directly to Sulayman. The
                                 al-Rajhis know they are under scrutiny and they have moved to
                                 conceal their activities from financial regulatory authorities. The 12
                                 May bombings in Riyadh probably will make the Saudi
                                 Government more amenable to investigating the al-Rajhi family, as
                                 they have already begun to target other alleged al-Qa’ida donors.
                                 [redacted]”225

                     6.11.11..2. The entire text of this report is relevant to Question 5, “is there
                                 evidence that Al Rajhi Bank and its principals had unique
                                 relationships with Al-Haramain Islamic Foundation, MWL, IIRO,
                                 and WAMY before September 11, 2001?.” Accordingly, I make
                                 additional reference to it in the section of this Expert Report
                                 addressing that specific question, while stating here that additional
                                 portions of this CIA report provided further evidence that al Qaeda
                                 relied on sympathetic financials and financial institutions to raise
                                 and move money prior to September 11, 2001.

          6.11.12. The final CIA report that I am relying on to answer this question is the report
                   entitled “Islamic Banking: A Potential Economic Enabler in the Muslim
                   World,” dated May 21, 2004, which referenced the use of Islamic banking
                   institutions prior to the 9/11 attacks, describing their pre-9/11 use for terrorist
                   financing, and distinguishing banks who changed their practices after 9/11 from
                   those who did not. The report’s observations and findings on this topic included
                   in pertinent part:

                     6.11.12..1. “Although publicity about Islamic banks being havens for terrorist
                                 assets was widespread after 9/11, once tighter regulations and
                                 heightened scrutiny on financial institutions worldwide were put
                                 into place to guard against terrorist financial activities, high-profile




225
      CIA-SUB_0002

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                                  Sunni Islamic extremist groups largely abandoned Islamic and
                                  conventional banks.”226

                    6.11.12..2. “[bullet] Islamic banks were prominent vehicles for terrorist groups
                                like al-Qa’ida, HAMAS, Egypt’s al-Gama’at al-Islamiyya, and the
                                Egyptian Islamic Group throughout the 1990s, when most countries
                                did not have laws and regulations in place to deter terrorist from
                                using financial institutions.”227

                    6.11.12..3. “[bullet] Management of Islamic institutions now employ better
                                internal control procedures to ensure terrorists are not using their
                                banks. [redaction]”228

                    6.11.12..4. “Nevertheless, a few banks that operate under Islamic principles,
                                such as the Al-Rajhi Banking and Investment Company in Saudi
                                Arabia, are still of concern because of longtime use by al-Qa’ida
                                operatives and other terrorists. The Saudi-based Bank al-Jazira and
                                Saba Islamic Bank in Sanaa, Yemen, are also of concern because of
                                their use by extremists.”229

                    6.11.12..5. “[bullet] Some of the owners of these institution—such as Shayk
                                Suleiman al-Rajhi in Saudi Arabia and Salih al-Kamel and Abdual
                                Majid Zinani in Yemen—reportedly have provided widespread
                                funding to al-Qa’ida, HAMAS, and various mujahadin groups.”
                                [redaction]230

                    6.11.12..6. Al-Rajhi Family Complicity and Control. “Senior al-Rajhi family
                                members have long supported Islamic extremists and probably
                                know that terrorists use their bank. Bank chairman Sulayman and
                                several other al-Rajhis have given money to suspicious individuals
                                and organizations worldwide. Moreover, Sulayman’s tight control of
                                ARABIC [ARB] activities suggests he is witting that his bank is
                                attractive to extremists.”231

                    6.11.12..7. [bullet point] “ARABIC [ARB] Chairman Salyman al-Rajhi and his
                                brother Saleh al-Raji transferred $5 million to Germany and Pakistan
                                in December 1998. [redacted] The brothers used a unique computer



226
    CIA-SUB_0024
227
    Id
228
    Id
229
    Id
230
    Id
231
    Id. Thus, by May 24, 2004, the time the CIA disseminated this report within the U.S. government, the CIA’s
view of the head of ARB, and its cofounder, SAAR, had shifted from his possibly not being witting of the use of the
bank for supporting terrorism, to an assessment which finds that the evidence “suggests he is witting” that he has
made his bank “attractive to extremists.”

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                                code to send funds at regular intervals to unspecified recipients.”
                                [Two lines and a portion of a third line that follow are redacted].232

6.12.   Assessments by the 9/11 Commission and its Terrorist Financing Staff Report

6.13.   In its final report, the 9/11 Commission stated bin Ladin and al Qaeda were able to
        succeed in Afghanistan due to Bin Ladin understanding that he needed “an increasingly
        complex, almost worldwide organization” to meet al Qaeda’s objectives and needs. It
        identified his support from sympathetic financiers as central to that undertaking, as
        follows: “The organization included a financial support network that came to be known
        as the “Golden Chain,” put together mainly by financiers in Saudi Arabia and the Person
        Gulf states. Donations flowed through charities or other nongovernmental organizations
        (NGOS). Bin Ladin and the “Afghan Arabs” drew largely on funds raised by the network,
        whose agents roamed world markets to buy arms and supplies for the mujahideen, or
        “holy warriors.”233

6.14.   The 9/11 Commission’s final report (“9/11 Report”) provided some of the history of how
        the funding of the Arab fighters in Afghanistan was undertaken, tracing it back to bin
        Ladin’s creation, with another Islamic extremist, Abdullah Azzam, of the MAK or
        “Bureau of Services” to meet (and fund) the logistical requirements for the mujahideen in
        Afghanistan.234 The 9/11 Report also provided further information on the centrality of
        the financiers associated with the Golden Chain to provide funding to the Taliban which
        solidified the Taliban’s ability to help bin Ladin circumvent any restrictions on his
        freedom of movement or activities.235 It then reached the following conclusion:

        6.14.1. “Al Qaeda appears to have relied on a core group of financial facilitators who
                raised money from a variety of donors and other fund-raisers, primarily in the
                Gulf countries and particularly in Saudi Arabia. Some individual donors knew,
                and others did not, the ultimate destination of their donations.”236

6.15.   Although the 9/11 Commission found that the chief of the CIA unit responsible for
        organizing and producing intelligence on bin Ladin was not very interested in “following
        the money,” it stated that despite the CIA’s limited emphasis on the issue, the CIA had
        obtained “a general understanding of how al Qaeda raised money.”237 As set forth in the
        9/11 Report:

        6.15.1. “[The CIA] knew relativity early, for example, about the loose affiliation of
                financial institutions, businesses, and wealthy individuals who supported
                extremist Islamic activities. Much of the earlier reporting on al Qaeda’s financial
                situation and its structure came from Jama Ahmed al Fadl . . . After the 1998
                embassy bombings, the U.S. government tried to develop a clearer picture of Bin

232
    Id
233
    9/11 Commission, p. 55
234
    Id, p. 56
235
    Id, p. 66
236
    Id, p. 170
237
    Id, p. 185

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                  Ladin’s finances. A U.S. interagency group traveled to Saudi Arabia twice, in
                  1999 and 2000, to get information from the Saudis about their understanding of
                  those finances. The group eventually concluded that the oft-repeated assertion
                  that Bin Ladin was funding al Qaeda from his personal fortune was in fact not
                  true.”238

        6.15.2. “The officials developed a new theory: al Qaeda was getting its money
                elsewhere, and the United States needed to focus on other sources of funding,
                such as charities, wealthy donors, and financial facilitators.”239

        6.15.3. Three staff members of the 9/11 Commission wrote the “Monograph” as a Staff
                Report to the Commission providing some additional analysis of some of the
                terrorist finance issues raised by 9/11. The Monograph was published by the
                Commission and is available from its website. That said, its director, Philip
                Zelikow, stated when it was issued that the Commissioners had been briefed on it
                and reviewed earlier drafts, but had not formally approved the text. Despite this
                limitation, the Monograph amplified several terrorist financing findings beyond
                those covered in the 9/11 Report itself. A number of its observations and findings
                are material to the question of whether al Qaeda relied on sympathetic financiers
                and financial institutions to raise and move money prior to 9/11. 240

        6.15.4. Among the key findings from the Executive Summary of the Monograph is that
                bin Ladin relied on raising some $30 million a year “by diversions of money
                from Islamic charities and the use of well-placed financial facilitators who
                gathered money from both witting and unwitting donors, primarily in the Gulf
                region.”241

        6.15.5. The Executive Summary further found that while al Qaeda used formal banking
                channels less after his relocation to Afghanistan in 1996, his “[s]upporters and
                other operatives continued to use banks, particularly in the Gulf region, to move
                money on behalf of al Qaeda.” The primary use was stated to be paying off the
                Taliban, with lesser amounts spent to train operatives at terrorist camps in
                Afghanistan, build out terrorist networks and alliances with other terrorist
                groups, support “jihadists and their families,” with “a relatively small amount of
                money, estimated at $400,000-$500,000, used directly on the September 11
                attack themselves.242

        6.15.6. Most of the Monograph is taken up by a review of how the U.S. government
                approached terrorist finance prior to 9/11, bureaucratic differences and
                constraints, and what it did afterward, with a heavy emphasis on the difficulties
                in getting the Saudi government to take action before 9/11, and even afterwards

238
    Id, p. 185-186
239
    Id, p. 186
240
    “Monograph on Terrorist Financing,” Staff Report, 9/11 Commission,
https://govinfo.library.unt.edu/911/staff_statements/911_TerrFin_Monograph.pdf
241
    Id, Executive Summary, p. 4
242
    Id, p. 4

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                  until the Riyadh bombings of May 12, 2003. The statements from the
                  Monograph set forth above are repeated several times in the body of the
                  Monograph, with little further detail, and appear in essence to be the staff’s
                  summary of what the CIA had learned about bin Ladin’s and al Qaeda’s funding
                  over the years prior to 9/11. The statements are material principally in providing
                  an independent assessment that al Qaeda did, in fact, rely on sympathetic
                  financiers and financial institutions to raise and move money prior to 9/11. The
                  Monograph also addresses the pre-9/11 information the U.S. government had
                  developed on the Saudi charity Al-Haramain, and the history of U. S./Saudi
                  engagement on terrorist support by that charity, but does not discuss the specifics
                  of Al-Haramain’s banking relationships.

6.16.   State Department Assessments pre-9/11

6.17.   Each year during the 1990’s, the State Department issued a product called “Patterns of
        Global Terrorism,” prepared by its Counterterrorism office. They did not generally
        include a “terrorist finance” component, as the Bureau of International Narcotics and
        Law Enforcement (“INL”) at the State Department, where I served, covered international
        financial crime issues. However, in regards to bin Ladin, the State Department did state
        that funding for bin Laden and al Qaeda relied in part on donations from like-minded
        supporters, and covertly siphoned funds from donations to Muslim charitable
        organizations, referencing this in Patterns of Global Terrorism 1998 (published April
        1999), Patterns of Global Terrorism 1999 (published April 2000), thereby facilitating
        attacks on the U.S. such as the August 1998 Embassy bombings and the October 2000
        attack on the USS Cole.243

6.18.   NSC and Treasury Department Assessments pre-9/11

6.19.   Over the course of the Clinton Administration (1993-2001), and especially after the
        August 1998 Embassy bombings, the NSC came to recognize that al Qaeda and bin Ladin
        had developed the capacity to threaten the United States, helped by, in the words of then
        White House counter-terrorism czar Clarke, “a lot of the money being raised…coming
        from people in Saudi Arabia.” As Clarke stated in his book on his tenure in the White
        House during the years in which his work was dominated by his efforts to combat
        terrorism, “[m]any Saudi charities being used by al-Qaeda were quasi-governmental
        entities that the regime used to spread its version of Islam abroad.” 244 Clarke further
        concluded that Bosnia had proven to be a “guidebook to the bin Laden network,” where
        beginning in 1992, former Afghan mujahadeen showed up, accompanied by “the
        arrangements, the money men, logisticians and “charities,” who arranged “front
        companies and banking networks.”245


243
    Patterns of Global Terrorism, U.S. Department of States, for 1998 and 1999, published in April 1999 and April
2000 respectively. Profiles of bin Ladin. Archived at https://1997-
2001.state.gov/global/terrorism/1998Report/sponsor.html and https://1997-
2001.state.gov/global/terrorism/1999report/patterns.pdf
244
    Against all Enemies, Richard A. Clark, Free Press/Simon & Schuster (2004), p. 193
245
    Id, p. 137

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6.20.    Clarke’s assessment is corroborated by the assessments made by two of his senior staffers
         at the NSC on terrorism, Daniel Benjamin and Steven Simon, who described the work of
         the Treasury Department during the Clinton years to understand al Qaeda’s funding
         network. Their summary of that work during their time at the Clinton NSC prior to 9/11,
         as set forth in their 2002 Book, “The Age of Sacred Terror,” is as follows:

         6.20.1. “It took months, but as information was gathered and evaluated, a picture
                 emerged that was far more intricate than anyone had imagined. Bin Laden’s years
                 as a “trusted third party,” gathering contributions from wealthy Gulf families and
                 establishing ties with Islamic charities, had paid off for him. Streams of money
                 were circulating out of the Gulf states by way of regional banking centers,
                 especially Dubai, and then being transferred electronically or carried by hand to
                 Pakistan or Afghanistan. [citation to two articles in major U.S. media, listed in the
                 footnote below] From there, funds would be wired or carried to terrorist cells
                 around the world. Some Islamic NGOs were acting as conduits to channel money
                 to al-Qaeda operatives. Rich Arab contributors, it became clear, were providing
                 an important chunk of the al-Qaeda budget. Banks both conventional and Islamic .
                 . . were laundering funds for the terrorists…246

6.21.    U.S. Government Actions pre-9/11

6.22.    As reflected in the CIA reporting and the State Department’s Patterns of Global
         Terrorism, as well as the United States’ prompt signing of the UN Terrorist Finance
         Convention as soon as it was opened for signature, elements of the U.S. government,
         starting with the National Security Council, had come to recognize that terrorist financing
         was a serious threat to the national security of the United States, and that bin Ladin was
         relying on sympathetic donors, not just his own money, to build al Qaeda’s capability to
         strike the United States. As I learned in 1999 while I was Deputy Assistant Secretary of
         State, at Clarke’s direction the NSC led interagency trips to Saudi Arabia that year (and
         as I learned later, also in 2000), and then “succeeded in dispelling the myth that Bin
         Ladin was funding al Qaeda from his personal fortune. The group also focused on trying


246
    The Age of Sacred Terror, Daniel Benjamin and Steven Simon, Random House, 2002, pp. 269-270. This
paragraph cites to a pre-9/11 front-page article in the New York Times, “U.S. Officials Say Aid for Terrorists Came
Through Two Persian Gulf Nations,” New York Times, July 8, 1999,
https://www.nytimes.com/1999/07/08/world/us-officials-say-aid-for-terrorists-came-through-two-persian-gulf-
nations.html The article stated that “[t]he Central Intelligence Agency has obtained evidence that Mr. bin Laden has
been allowed to funnel money through the Dubai Islamic Bank in Dubai, which the United Arab Emirates
Government effectively controls.” In addition to the UAE, the article refers to financial flows through Qatar.
Benjamin and Simon and then cite a Los Angeles Times story, published after 9/11, describing the use of UAE
banks to provide funds to al Qaeda prior to 9/11, as highlighted in its opening paragraph: “Until Sept. 11, Osama bin
Laden’s terrorists in Afghanistan used the Persian Gulf crossroads of the United Arab Emirates as their lifeline to
the outside world. Poor oversight in the loose federation of seven tiny sheikdoms allowed Bin Laden’s Al Qaeda
network and Taliban agents to set up clandestine arms-trading and money-laundering operations, according to
accounts from American, United Nations, Afghan and U.A.E. sources.” I was among the American sources quoted
on the article. I note that it is a common practice for U.S. officials such as Benjamin and Simon who held high-level
security clearances to quote media sources when they write about a topic that are consistent with what they know
from classified sources to which they cannot refer. Their statements are also, of course, consistent with the findings
of the CIA documents quoted earlier in this Expert Report.

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         to figure out how to stop the flow of funds to Bin Laden and was concerned about Bin
         Ladin’s apparent ability to raise funds from charities.”247

6.23.    As the Monograph acknowledges, once the State Department formally designated al
         Qaeda in October 1999 as a “foreign terrorist organization,” the U.S. could prosecute
         anyone who provide material support to al Qaeda.248 But such laws were not in place
         internationally, with the effect even after bin Laden was sanctioned by the UN under
         UNSCR 1333 on December 19, 2000, “the Middle East [was] vulnerable to the
         exploitation of its financial systems because of generally weak or nonexistent financial
         controls.”249

6.24.    These trips took place in the very period that the Clinton Administration was pushing to
         get the Terrorist Finance Convention adopted by the UN, which was concluded
         successfully on December 9, 2000, with Article 18 expressly addressing the requirement
         not to have financial institutions handle terrorist funds.250

6.25.    These actions reflected the reporting I have previously referenced from the CIA, and its
         findings, namely that sympathetic financiers were a problem prior to 9/11, as was the use
         of banks and the financial system, both of which helped to enable al Qaeda to build the
         capacity to attack U.S. targets.

7. Question 5: Is there evidence that Al Rajhi Bank and its principals had unique
   relationships with jihadists and al Qaeda affiliated persons and entities before September
   11, 2001?

7.1.     Yes, there is evidence that Al Rajhi Bank and its principals had unique relationships with
         jihadists and al Qaeda affiliated persons and entities before September 11, 2001.
         Evidence on these relationships is contained in documents produced by the CIA which
         were declassified in response to Executive Order 14040 and in response to Plaintiffs’
         ARB subpoena to the CIA. Important elements of the information contained in these
         reports is also corroborated by documents produced in this litigation in discovery by
         ARB.

7.2.     The evidence documents that ARB was:

         7.2.1.    The bank at which bin Laden had personally chosen to open his own account in
                   1991, and at which he appears to have held at least four accounts in total,

247
    Monograph, id, pp. 39-41
248
    Prior to identifying al Qaeda as a terrorist organization, the U.S. government had recognized Bin Ladin as a
terrorist financier. The U.S. statute criminalizing material support of terrorism, 18 U.S.C. § 2339A, came into force
on September 13, 1994. https://uscode.house.gov/view.xhtml?req=(title:18%20section:2339B%20edition:prelim)
Accordingly, from that date onward, anyone who had engaged in supporting Bin Ladin could have been indicted in
the U.S. for material support of terrorism years before the formal designation of al Qaeda as a terrorist group. See
e.g. “Patterns of Global Terrorism: 1997,” Department of State Publication 10535, April 1998, Afghanistan section,
https://1997-2001.state.gov/global/terrorism/1997Report/asia.html
249
    Monograph, id, p. 39
250
    International Convention for the Suppression of the Financing of Terrorism, Adopted by the General Assembly
of the United Nations in resolution 54/109 of 9 December 1999 https://www.un.org/law/cod/finterr.htm

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                  including one to hold U.S. dollars251

        7.2.2.    The bank found by the CIA to be a “Conduit for Extremist Finance” since “at
                  least the mid-1990s;”252

        7.2.3.    The bank controlled by senior members of the Al Rajhi family who the CIA
                  found “have long supported Islamic extremists and probably know that terrorists
                  use their bank;”253

        7.2.4.    A bank which ARB documents suggest provided services to a central bin Ladin
                  associate and Al Qaida financier, Wael Hamzah Jelaidan, sanctioned by the
                  United States in 2002, and then sanctioned by the UN for supporting terrorism.254

        7.2.5.    A bank which ARB documents show provided services to another central Bin
                  Ladin associate and Al Qaida financier through the abuse of charities to support


251
    ARB-00013809/ARB-00013807 through ARB-00013815/ARB-00013813 and ARB-0001111
252
    CIA-SUB_0002
253
    Id
254
    ARB-00001218-1219. Julaidan was one of the most important figures in the history of al-Qaeda and clearly had
an unusually long relationship with ARB, opening there in 1986 and another in 1988, and continuing to bank at
ARB until after the 9/11 attacks. Both of these accounts were later seized at the orders of SAMA. ARB-00014465
and ARB-00014466. They also exhibited indicators of money laundering: Julaidan’s account records are
characterized by large cash deposits of 100,000 and 200,000 SR at a time, ARB-00000974, ARB-00000978, and
also by large checks to unknown payees of 130,000 SR and 150,000 SR. ARB-000001010, ARB-00000989, ARB-
000001010, ARB-00000989ARB-000001010, ARB-00000989. The account appears to have functioned at times as
an unofficial account for the sanctioned Saudi Joint Relief Committee, as evidenced by the deposit of a 30,611 SR
collection check on July 19, 2000 with the notation “Saudi Joint Committee.” ARB-00000999. A useful summary
of Julaidan’s central role in al Qaeda’s financing of terror was provided in the U.S. Department of Treasury
Statement on Designation of Julaidan as a SDGT on September 6, 2002: “Wa’el Hamza Julaidan, a Saudi citizen, is
an associate of Usama bin Ladin. Julaidan fought with bin Laden in Afghanistan in the 1980s. Julaidan is also
associated with several individuals and entities linked to al-Qa’ida, including bin Ladin lieutenants, Ayman al-
Zawahri, Abu Zubaida, and Mohammed Atef; and the organizations: Makhtab al Khedmat, the Rabita Trust, and al-
Gam'a al-Islamiya. These individuals and entities have been previously designated under President Bush’s Executive
Order and by the United Nations. Bin Laden himself acknowledged his close ties to Julaidan during a 1999
interview with al-Jazeera TV. When referring to the assassination of al-Qa’ida co-founder Abdullah Azzam, bin
Ladin stated that ‘We were all in one boat, as is known to you, including our brother, Wa’el Julaidan.’ Julaidan has
established contacts with several known Arab Islamic extremists, including bin Ladin’s principal lieutenant, Ayman
al-Zawahri. Another bin Ladin lieutenant, Abu Zubaida, claimed that he accompanied Julaidan from Pakistan to
Kandahar, Afghanistan during the summer of 2000. Zubaida said that Julaidan met with bin Ladin and senior bin
Ladin lieutenant Mohammed Atef soon after arriving in Kandahar. In February 2000, Julaidan was appointed to the
Board of Trustees of the Rabita Trust and served as its Director General. The Rabita Trust is an NGO designated
under President Bush’s Executive Order as an organization that provided logistical and financial support to al-
Qa’ida. The United States has credible information that Wa’el Hamza Julaidan is an associate of Usama bin Laden
and several of bin Laden’s top lieutenants. Julaidan has directed organizations that have provided financial and
logistical support to al-Qa’ida. Accordingly, the United States is designating Julaidan under Executive Order 13224
as a person who supports terror.” https://home.treasury.gov/news/press-
releases/po3397#:~:text=The%20United%20States%20has%20credible,to%20al%2DQa'ida. Julaidan was
sanctioned by the UN on the first anniversary of the 9/11 attacks, September 11, 2002.
https://unis.unvienna.org/unis/en/pressrels/2002/sc7502.html He was removed from the list in 2014.
https://press.un.org/en/2014/sc11534.doc.htm

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                   terrorism, Yassin al Qadi, designated as a SDGT on October 12, 2001.255

         7.2.6.    A bank which ARB documents show provided accounts and services to another
                   provider of financial support to Al Qaida, Abdul Hamid bin Sulaiman bin
                   Muhammed al Mujil, designated as a SDGT on August 3, 2006, for having used
                   his position as “a high-ranking IIRO official in Saudi Arabia. . . to bankroll the al
                   Qaida network in Southeast Asia..” At the time of his designation, a senior
                   Treasury official stated that “Al-Mujil has a long record of supporting Islamic
                   militant groups.”256

         7.2.7.    A bank that provided accounts to Mohammad Ghaleb Zouyadi, who was arrested
                   in 2002 for his role as the financial planner for Baraka Yarkas’ al Qaeda cell
                   from 1993-1999.257 Yarkas was the alleged leader of al Qaeda’s operations in
                   Spain, and convicted in Spain of helping some of the 9/11 suicide hijackers prior
                   to the 9/11 attacks.258 In addition to holding multiple accounts for people
                   associated with the Yarkas’ al Qaeda cell in Spain, the FBI found that ARB
                   handled a number of transactions linked to the al Qaeda Spanish cell.259

         7.2.8.    A bank that provided six bank accounts to the Afghanistan Taliban government
                   through its embassy in Riyadh, prior to the 9/11 attacks during the period it was

255
    ARB-0001339-1341. In making the terrorist designation of Al Qadi, OFAC found that Al Kadi had been acting
for or on behalf of al Qaida, Osama Bin Laden, and Makhtab al-Khidamat; assisting in, sponsoring, or providing
financial, material, or technological support for, or financial or other services to or in support of, among others, al
Qaida, Osama Bin Laden, Makhtab al-Khidamat, Hamas, the Revival of Islamic Heritage Society, Al–Haramayn
(Bosnia), Chafiq Ayadi, and Wa'el Julaidanl and was associated with, among others, al Qaida, Osama Bin Laden,
Makhtab al-Khidamat, Hamas, the Revival of Islamic Heritage Society, Al–Haramayn (Bosnia), Chafiq Ayadi, and
Wa'el Julaidan.” Al Qadi sued, and OFACs decision was upheld by the District Court in Kadi v. Geithner, 42 F.
Supp. 3d 1 (D.D.C. 2012). See also Yassin Al Qadi Designation Memo, Treasury 00017-00121.pdf and Department
of Treasury Memo to R. Richard Newcomb, Director of Office of Foreign Assets Control, from Foreign Terrorist
Officer, FAC No.SDG-196367, DOJAR-000003-000022, which also describes the terrorist finance activities of
ARB client and close Bin Ladin associate, and SDGT, Wa’el Julaidan.
256
    ARB-00001051-1067. Al Mujil had two ARB accounts. One appears to have functioned as an unofficial IIRO, as
reflected in it making a 28,201.55 SR transfer in 1998 to the Philippines, when Mujil (and IIRO in that country)
were active in supporting al Qaeda. ARB 000750. The other account was used for primarily small transactions in the
hundreds or low thousands of riyals. However, on October 17, 2001, Mujil received a highly unusual deposit of
173,357.72 SR from an auto parts company called Al Hazem, causing his account balance to skyrocket 14 times its
prior size. Mujil then made a 100,000 SR transfer to a Hamid al Ghamdi just four days later, on October 21. ARB
000799. This type of rapid in/out activity involving funds is a red flag for possible money laundering. For the U.S.
government’s view of Al Mujil’s activities in support of al Qaeda, see “Treasury Designates Director, Branches of
Charity Bankrolling Al Qaida Network,” August 3, 2006, https://home.treasury.gov/news/press-releases/hp45 The
Indonesian and Philippines branches of IIRO were designated for sanctions by the Treasury Department
simultaneously with the designation of Al Mujil. Al Mujil was removed from the UN sanctions list in July 2013, but
remains sanctioned by the U.S. as of August 17, 2023. https://www.treasury.gov/ofac/downloads/sdnlist.pdf
257
    CIA-SUB_0003
258
    “Spain sentences alleged Qaeda chief for 9/11 role,” New York Times, September 26, 2005,
https://www.nytimes.com/2005/09/26/world/europe/spain-sentences-alleged-qaeda-chief-for-911-role.html
259
    “Imad Eddin Barakat Yarkas International Terrorism – Spanish Cell,” report of FBI, January 8, 2003, declassified
April 27, 2006, 000000134-143. The FBI report shows eight entries for the use of ARB by the Spanish al Qaeda cell
including two (redacted) account numbers, and six groupings of one or more wire transfers involving members of
the cell and ARB, taking place over the period from 1993 to 2000.

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                   harboring Bin Ladin.260

        7.2.9.     A bank that provided banking services to Bin Laden’s brother-in-law, Mohamed
                   Jalal Khalifa beginning in 1987, in an account granting power of attorney to
                   Mohammed bin Laden, an apparent relative of Osama bin Laden.261 The branch
                   manager aproving the account is listed as “Abdullah A. al Rajhi.”262 Khalifa led
                   the two IIRO branches in Southeast Asia which were later sanctioned by the
                   United States. The Treasury Department described his role in al Qaeda and
                   terrorism as follows: “The Philippine branches of the IIRO were founded
                   sometime in the late 1980s or early 1990s by Muhammad Jamal Khalifah, who is
                   Usama bin Laden’s brother-in-law and has been identified as a senior al Qaida
                   member. . . While working as the director of IIRO-PHL, Khalifah maintained
                   close connections with al Qaida through his relations with senior al Qaida
                   supporters, including Specially Designated Global Terrorist (SDGT) Wa’el
                   Hamza Julaidan.”263

        7.2.10. A bank that provided payments, ranging from small transactions (20 SRs) to
                large ones (404,473 SRs) in explicit support of the Palestinian intifada,
                amounting to some 1,738,457 SRs in total during the 2001-2002 period (or
                approximately $652,000).264

        7.2.11. A bank that provided services to Omar Ahmed Mostafa al Bayoumi (“al-
                Bayoumi”), a Saudi intelligence asset in the United States who in turn provided
                support prior to the 9/11 attack to two of the al Qaeda suicide hijackers, as I
                discuss later in this section.265

        7.2.12. A bank that handled hundreds of bank accounts in total for Da’Wah
                Organizations that had extensive links to the support of terrorism generally and
                to al Qaeda specifically.266

        7.2.13. A bank whose owners were found by the CIA to have known they were under
                scrutiny and “moved to conceal their activities from financial regulatory
                authorities.”267



260
    ARB-00039692-39694; ARB-00039748-39752; ARB-00039759
261
    Bin Laden’s father, Mohammed Bin Laden, was deceased at that time; he had at least one brother named
Mohammed.
262
    ARB-0001100-1104.
263
    “Protecting Charitable Organizations,” Treasury Department, IIRO Philippines profile,
http://www.treasury.gov/resource-center/terrorist-illicit-finance/Pages/protecting-charities_execorder_13224-i.aspx,
264
    IIRO accounts at ARB branches in al-Jawf, Jizan, and Nazran transferred 1,738,457 SR ($652,000) in 2001-2002
that were explicitly designated for the “Quds Intifada” or the “Aqsa Intifada.” See ARB-0002700, 2701, 5085, 5087,
5105, 10061, 10064, 10068, 10071, 10074, 10079, 10101, 10105, 10109, 10113, 10116.
265
    EO14040-00238-0239.
266
    See generally CIA_000143-158; CIA_000193-199; CIA_SUB0001-0006; CIA_000210-236; CIA_000720-
000804; CIA_000807-848; CIA_0007-0019
267
    CIA-SUB_0002

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         7.2.14. The bank whose owners were found to have established a charity, the SAAR
                 Foundation, that the FBI and CIA concluded, in a December 2004 Joint
                 “Assessment of Saudi Arabian Support to Terrorism,” was not a single charity
                 but “a complex web of overlapping companies with parallel ideologies, personal
                 relatonships, and financial associates that has exhibited numerous affiliations
                 with entities known to support terrorism.”268

         7.2.15. A bank whose activities were of such concern to the United States that the U.S.
                 sent delegations after 9/11 to Saudi Arabia to expressly ask that the Saudi
                 government take action to address the continuing terrorist finance threat posed
                 by the bank, including seeking a joint examination of the bank through the two
                 countries’ Joint Terrorist Financing Task Force.269

7.3.     Additionally, as set forth in my answers to Question 4, data points cited by the CIA in
         reaching the conclusion that ARB was a “Conduit for Extremist Finance” prior to the
         9/11 attacks included:

         7.3.1. The Al Rajhi family was financing extremists, benefitting al Qaeda.270

         7.3.2. ARB was a conduit for funds for Islamic extremists generally, and for the 9/11
                hijackers specifically; 271

         7.3.3. ARB was “used by some members of Usama bin Ladin’s Islamic Army to
                maintain accounts and transfer funds.”272

         7.3.4. ARB maintained accounts for individuals linked to bin Ladin;273

         7.3.5. ARB maintained accounts for individuals tied to the Egyptian Islamic Jihad (a
                group that had merged with al Qaeda prior to 9/11);274

         7.3.6. ARB was the preferred bank for Islamic extremists in Yemen;275




268
    “FBI/CIA Assessment of Saudi Arabian Support to Terrorism and the Counterintelligence Threat to the United
States,” December 2004, p. 24, EO14040-003438.
269
    For the assessments in this subsection of this Expert Report, I rely on all of the information that I have reviewed
in connection with the preparation of this Expert Report, but cite in particular the CIA Report, “Al-Rajhi Bank:
Conduit for Extremist Finance,” May 29, 2003, CIA-SUB_0001-0006, which makes the assessments I have
summarized in this subsection, and “Joint Examination Of Al Rajhi Bank Through The Joint Terrorist Financing
Task Force,” State Department Cable 04STATE251768, November 25, 2004,
https://wikileaks.org/plusd/cables/04STATE251768.html and “Terrorist Financing: Al-Rajhi Bank,” State
Department Cable Riyadh 005103, September 26, 2004, http://wikileaks.org/cable/2004/09/04RIYADH51303.html
270
    CIA_000045
271
    CIA_000149
272
    CIA_000783
273
    CIA_000149
274
    CIA_000149-150
275
    CIA_000150

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         7.3.7. ARB and Al Rajhi family members provided financial support to the Afghan
                mujahaddin through the IIRO in Kabul;276

         7.3.8. “Sheikh Rajhi” deposited funds into a bank account controlled by MAK, the
                Afghan agency co-created by bin Laden;277

         7.3.9. The Al Rajhi family contributed “generously” to the IIRO, while it was engaging
                in supporting terrorism;278

         7.3.10. ARB was a conduit for funding the mujahaddin generally since the early
                 1990’s;279

         7.3.11. ARB provided support to several other Saudi NGOs that “purportedly diverted
                 funds to Islamic extremists;280

         7.3.12. ARB worked with WAMY in a context suggesting the Al Rajhis helped WAMY
                 courier private Saudi donations to Islamic groups in Afghanistan and Bosnia;281

         7.3.13. Al Rajhi family members donated money to businesses tied to terrorists and
                 personally oversaw transactions destined for terrorists;282

         7.3.14. SAAR personally was one of the 128 pemanent members of IIRO prior to 9/11;283

         7.3.15. ARB and the Al Rajhi family were not only key backers of the Afghan
                 mujahaddin. They were also “purportedly” supporting NGOs who helped to
                 finance the mujahaddin in Bosnia, Hamas in Israel; and other extremists;284

         7.3.16. The Al Rajhis financed radical Afghans and Kashmiri organizations in Pakistan
                 and elsewhere, some of which was provided under the guise of orphan relief and
                 diverted to radical causes;285




276
    CIA_000743. A January 11, 1999 CIA report stated only that the Al Rajhi family “probably” was a source of
financial support for al Qaeda, but also noted that al Qaeda was using some of its branches in Saudi Arabia to meet
its banking needs. CIA_000830-831
277
    CIA_000338
278
    CIA_000221
279
    Id
280
    Id
281
    CIA_000744; due to redactions, the exact role of Al Rajhi in the courier activity is implied rather than expressly
stated. Most of the material pertaining to the Al Rajhis and ARB in this particular report is redacted.
282
    CIA_000198
283
    Id
284
    CIA_000723
285
    CIA_000783. Here, the CIA includes the caveat, based on pre-November 20, 1997 information, that the
diversions to radical causes was “possibly unwitting to the al Rajhis.” By contrast, after 9/11, the CIA characterized
the activity of the Al Rajhis in relation to al Qaeda and terrorism as “misdeeds.” CIA-SUB_0006 A later CIA report
on Al-Haramain stated that Al-Haramain was using funds from its account at ARB to transfer it to terrorist groups in
Kashmir. CIA-SUB_0013

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       7.3.17. ARB had handled “numerous transactions of NGOs with known ties” to al Qaeda
               such as Global Relief Foundation and Al-Haramain.286

7.4.   Consistent with these data points, the principal finished intelligence reports produced by
       the CIA before and after the 9/11 attacks which analyzed evidence of pre-9/11 support by
       ARB for Bin Ladin, al Qaeda and associates of theirs who were also involved in
       terrorism, recurrently highlighted two major banking relationships as central to providing
       bin Laden help in raising and moving money. The CIA found that the two key banking
       relationships for al Qaeda and Bin Ladin were ARB and Dubai Islamic Bank (“DIB”).

7.5.   The CIA assessments of al Qaeda’s relationship to the two banks differed in some
       respects. The CIA found that DIB provided banking services and support to bin Laden, al
       Qaeda and associated terrorists due to both the ideological affinity between bin Laden
       and its head, Sheikh Lootah for extremist Islam, and to the personal friendship between
       Lootah and bin Laden. The CIA found that ARB provided banking services and support
       to bin Ladin and persons associated with al Qaeda and its predecessor organization, the
       MAK, for similar ideological reasoons, but also amplified that support through providing
       services to the charities that were most engaged in providing support for terrorism, and
       thus became what the CIA referred to as the “Extremists Bank of Choice,” as detailed
       below.

7.6.   These charities included in particular Al-Harmain and IIRO, both of which maintained
       many bank accounts at ARB. ARB’s services also included providing a range of services
       to the charity founded, owned, and directed by the head of ARB, who the CIA refers to in
       its reporting as “Sulayman Abdul Aziz Al Rajhi,” (previously defined as “SAAR” in this
       Expert Report), as well as by other senior members of the Al Rajhi family. The May 28,
       2003 CIA report, the most recent of the CIA reports concerning the Al Rajhi and ARB
       role in terrorist finance released under EO 14040, “Al-Rajhi Bank: Conduit for Extremist
       Finance,” (“CIA Al Rajhi Report”) provided a number of examples in concrete detail on
       the use of ARB by bin Ladin, al Qaeda, and aligned terrorists and terrorist groups in a
       number of countries. Material data points from the May 28, 2003 report include, but are
       not limited to, the following. All boldface type was boldfaced in the report itself; when
       italics are used, or boldfaced italics, they similarly reflect the font used by the CIA for
       emphasis:

       7.6.1.   “[Redaction] the al-Rajhis have a history of funding a broad array of Islamic
                causes, some of which have been associated with terrorists.”287

       7.6.2.   “Extremists’ bank of choice. [redaction] since the mid-1990s [redaction]
                several extremists ordered operatives in Afghanistan, Indonesia, Pakistan, Saudi
                Arabia, Turkey and Yemen to use ARABIC [meaning, ARB] [redaction].”288

       7.6.3.   “Extremists’ accounts. Extremists use ARABIC [ARB] because its Islamic
                banking principles appeal to them and because it is one of the few banks with
286
    CIA-SUB-0032
287
    CIA-SUB_0003
288
    Id

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                  branches in outlying areas of Saudi Arabia, as well as good correspondent
                  connections to remote locations abroad. Several al-Qa’ida linked individuals and
                  organizations have held bank accounts at Al’Rajhi.”289

        7.6.4.    “[bullet point] [redaction] late 1990’s, Bank al-Taqwa held a correspondent
                  account at the Riyadh branch of Al-Rajhi Bank. The Department of Treasury
                  listed Bank al-Taqwa’s parent organization Al-Taqwa Management a.k.a. Nada
                  Management) as a foreign terrorist organization in November 2001.”290

        7.6.5.    “Muhammed Ghaleb Kalaje Zouyadi [redacted] arrested in 2002 for his role as
                  the financial planner for the Barakat Yarkas’ al-Qa’ida cell, used his Al-Rajhi
                  account [readacted] from 1993-1999.291

        7.6.6.    “Haji Wali Mohammed Trading Establishment maintained an Al-Rajhi account
                  for business transactions as of August 2000. [redacted] Afghan hawaladar Haji
                  Wali Mohammed transferred money for Usama bin Ladin.”292

        7.6.7.    “[redacted] late 1990s Usama Bin Ladin may have used an account or accounts
                  at Al-Rajhi Bank to pay al-Qa’ida operatives.”293

        7.6.8.    Couriers. Al-Rajhi has extensive money exchange operations, as well as
                  representation in remote locations. In addition to traditional bank transactions,
                  ARB has used couriers to move funds.”294

        7.6.9.    “[bullet point] In 2000, ARABIC [ARB] couriers delivered money to the
                  Indonesian insurgent group Kompak to fund weapons purchases and bomb-
                  making activities.”295

        7.6.10. “[bullet point] ARABIC [ARB] in 1999 helped obtain a visa for a courier who
                collected money in Saudi Arabia for the Egyptian Islamic Jihad Organization.
                [redacted] Reporting does not indicate whether bank management was witting of

289
    Id
290
    Id
291
    Id. Barakat Yarkas was ultimately convicted in Spain of direct involvement in the 9/11 attacks in the United
States, for organizing a meeting in Spain which was attended by Mohammed Atta, the lead hijacker on Sept. 11,
and Ramzi bin al-Shibh, a high-ranking member of al Qaeda, which was used to plan the attacks. “Spain finds
Qaeda cell chief guilty in 9/11 plot,” New York Times, September 27, 2005,
https://www.nytimes.com/2005/09/27/world/europe/spain-finds-qaeda-cell-chief-guilty-in-911-plot.html
292
    CIA-SUB_003-004
293
    CIA-SUB_004
294
    Id
295
    Id. Kompak was an Indonesian organization that grew out of terrorist group Jemaah Islamiyah (“JI”), an al-Qaida
linked terrorist group with cells operating in several countries in Southeast Asia., as set forth in the terrorist
designation of JI announced by then U.S. Secretary of the Treasury John Snow on September 5, 2003, which
referenced Kompak and described JI's training by al Qaeda, its plans to attack Americans in Southeast Asia, and its
involvement in the Bali bombing, which killed 202 people in October 2003. “Snow Announces Designation of 10
Jemaah Islamiyah (JI) Terrorists,” Treasury Press Release, September 5, 2003
https://home.treasury.gov/news/press-releases/js700

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                   the courier’s EIJ affiliation.296

         7.6.11. “Nongovernment organizations (NGOS). [redacted] Gulf-based Islamic NGOs
                 use ARABIC [ARB] to transfer funds to their offices abroad some of which may
                 be used to support terrorists.” [five lines redacted]297

                   •    “Saudi-based al-Haramain, which has come under close scrutiny by US and
                        Saudi authorities for alleged terrorist ties, uses [ARB] and National
                        Commercial Bank to fund its programs abroad.”298

                   •    “The International Islamic Relief Organization, a nongovernment
                        organization with ties to al-Qa’ida, as of the late 1990s used Al-Rajhi to pay
                        its employees.”299

         7.6.12. “Al-Rajhi Family Complicity and Control [redacted] Senior al-Rajhi family
                 members have long supported Islamic extremists and probably know that
                 terrorists use their bank. Bank chairman Sulayman and several other al-Rajhis
                 have given money to suspicious individuals and organizations worldwide.
                 Moreover, Sulayman’s tight control of ARABIC [ARB] activities suggest he is
                 witting that his bank is attractive to extremists.”300

                   •    “ARABIC [ARB] Chairman Sulayman al-Rajhi and his brother Saleh al-
                        Rajhi transferred $4 million to Germany and Pakistan in December 1998.
                        [redacted] The brothers used a unique computer code to send funds at regular
                        intervals to unspecified recipients.”301 [about three lines of redactions follow)
                   •     [Approximately 10 lines of redactions follows a second bullet]

         7.6.13. “Senior al-Rajhi family members, including family patriarch Sulayman al-Rajhi,
                 have donated money to NGOs suspected of supporting terrorism.”302

                   •    “In the 1980’s, the al-Rajhis established the SAAR Foundation –SAAR is an
                        acronym for Salayman Abdul Aziz al-Rajhi—to manage the family’s
                        charitable contributions. US law enforcement has long suspected the SAAR


296
    CIA-SUB_004. Egyptian Islamic Jihad was listed for sanctions by the UN on October 6, 2001 “as being
associated with Al-Qaida, Usama bin Laden or the Taliban for ‘participating in the financing, planning, facilitating,
preparing or perpetrating of acts or activities by, in conjunction with, under the name of, on behalf or in support of”,
‘supplying, selling or transferring arms and related materiel to’ or ‘otherwise supporting acts or activities of Al-
Qaida and Usama bin Laden.” UN Sanctions Committee summary regarding its sanctions on Egyptian Islamic
Jihad, https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/egyptian-islamic-
jihad
297
    CIA-SUB_0004
298
    Id
299
    Id
300
    Id
301
    Id
302
    CIA-SUB_0005

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                   Foundation of funding HAMAS.”303

               •   [redacted] “March 2003, Sulayman al-Rajhi defended his donations to the al-
                   Haramain Islamic Foundation, which has come under scrutiny for its support
                   to extremists.”304

               •   “[redacted] senior al-Rajhi family members control the bank’s most
                   important decisions and that ARB’s principle managers answer directly to
                   Sulayman. [sic] ARABIC [ARB] historically granted branch managers
                   substnatial autonomy in consolidating statements, transferring funds, and
                   detecting fraud, but [redacted] the bank is looking to remedy its poor internal
                   reporting systems by centralizing control in the main office in Riyadh.”305

               •   “Because the bank’s headqarters has only minimal control over some of its
                   branches, ARBIC [ARB] is developing a new platform for improved
                   supervision. [redacted]”306

       7.6.14. “Fighting Transparency and Oversight. The al-Rajhis know they are under
               scrutiny and have moved to conceal their activities from financial regulatory
               authorities.” 307

               •   “[redacted] Sulayman al-Rajhi in December 2002 directed ARB board
                   members to explore financial instruments that would allow the bank’s
                   charitable contributions to avoid official Saudi scrutiny.”308

       7.6.15. “US Links and Next Steps. The al-Rajhi family’s wealth and power have
               influenced Islamic communities around the world, including in the United States.
               The al-Rajhi’s worldwide presence, paired with the Saudi royal family’s
               willingness to investigate the al-Rajhi misdeeds, presents several options for
               disrupting the family’s aid to extremists both witin and outside of Saudi
               Arabia.309

               •   “Listing, or threatening to list, ARABIC [ARB] as a terrorist supporter under
                   Executive Order 13224 or United Nations resolution 1267 could cripple the
                   bank.”310

               •   “The al-Rajhi’s wide-ranging US connections – financial, charitable, and
                   diplomatic—expose the family to domestic oversight, scrutiny, civil

303
    Id
304
    Id
305
    Id
306
    Id
307
    Id
308
    Id
309
    CIA-SUB_0006
310
    Id

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                      litigation, and criminal prosecution.”311

                 •    “Identifying and putting pressure on banks holding the family’s offshore
                      accounts could further disrupt the al-Rajhi’s ability to send money to
                      extremists. [redaction]”312

        7.6.16. “A successful effort against the al-Rajhis would encourage efforts against other
                donors, or at a minimum, would discourage private funding of al-Qa’ida.”313

        7.6.17. Additional information contained in a July 26, 2007 report by the Wall Street
                Journal referencing “a 2003 CIA report” with the title “Al Rajhi Bank: Conduit
                for Extremist Finance,” contains information that based on the context of the
                report seems likely to be from portions of the CIA Al Rajhi Report that remain
                redacted in the version declassified in response to Plaintiffs’ ARB subpoena to
                the CIA. Citing the 2003 CIA report, the Wall Street Journal report states the
                following:

        7.6.18. “[A] year after Sept. 11, with a spotlight on Islamic charities, Mr. Al Ralji
                ordered Al Rajhi Bank’s board to explore financial instruments that would allow
                the bank’s charitable contributions to avoid Saudi scrutiny.’ A few weeks earlier,
                the report says, Mr. Al Rajhi ‘transferred $1.1 billion to offshore accounts –using
                commodity sways and two Lebanese banks—citing a concern that U.S. and
                Saudi authorities might freeze his assets.’”314

        7.6.19. The information published by the Wall Street Journal fits structurally into the
                roughly eleven lines of material redacted from the section of the CIA Al Rajhi
                Report entitled in boldface, “Al-Rajhi Family: Complicity and Control
                [redacted].” Based on the specificity of the Wall Street Journal’s reporting, and
                its accurate information on the parts of the report that are now unclassified, I find
                that its references to other material in the CIA report are also likely accurate,
                absent contrary evidence.

        7.6.20. While explicitly including ARB’s denial of having any role in financing
                extremists, and their denunciations of terrorist acts as “un-Islamic,” the Wall
                Street Journal stated that ARB “declined to address specific allegations made in
                American and law enforcement records, citing client confidentiality,” and had
                previously sued Wall Street Journal Europe after that publication had reported
                that “Saudi authorities were monitoring some Al Rajhi Bank accounts at U.S.
                request, in a bid to prevent them from being used, wittingly or unwittingly, for
                funneling money to terrorist groups.” The article stated that the bank dropped the


311
    Id
312
    Id
313
    Id
314
    “U.S. Tracks Saudi Bank Favored by Extremists Officials Debated What to Do About Al Rajhi, Intelligence
Files Show,” Wall Street Journal, July 26, 2007, Page A1, https://www.wsj.com/articles/SB118530038250476405

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                   suit in 2005 and the Journal published a statement “saying its article hadn’t
                   reported any allegation that the bank supported or financed terrorism.”315

         7.6.21. In the article, the Wall Street Journal also summarized a number of data points
                 regarding the relationship between ARB and its principals and jihadists and al-
                 Qaeda related persons and entities before the 9/11 attacks. Those that related to
                 pre-9/11 activity316 included:

                    •    “The Al Rajhi name appeared on a list of regular financial contributors to al
                         Qaeda that was discovered in Sarajevo, Bosnia, in 2002. The list was
                         authenticated for the Federal Bureau of Investigation that year by America’s
                         top judicial witness against al Qaeda, a onetime al Qaeda business manager
                         named Jamal Al Fadl, who is in the federal witness-protection program. He
                         called the contributor list the “golden chain.”317

                    •    “A 2003 German police report said Sulaiman Al Rajhi and other family
                         members had contributed more than $200,000 in 1993 to a charity that
                         financed weapons for Islamic militants in Bosnia, in addition to providing
                         humanitarian aid.”318

                    •    “The report says extremists ‘ordered operatives in Afghanistan, Indonesia,
                         Pakistan, Saudi Arabia, Turkey and Yemen,’ to use Al Rajhi Bank.319

                    •    “Mamduh Mahmud Salim, convicted mastermind of the 1998 embassy
                         bombings in Kenya and Tanzania, was carrying records of an Al Rajhi
                         account (number    424/4) when arrested in Germany in 1998, German
                                        320
                         police found.”

                    •    “In 2000, the CIA report says, Al Rajhi Bank couriers ‘delivered money to
                         the Indonesian group Kompak to fund weapons purchases and bomb-making
                         activities.”321

                    •    “According to a federal indictment in Oregon, a top Al-Haramain official in
                         2000 carried $130,000 in $1,000 traveler’s checks from Portland to Riyadh
                         and deposited them with Al Rajhi – funds the indictment says were for the
                         ultimate benefot of al Qaeda fightres in Chechnya. The indicted official,

315
    Id. Shortly before ARB reached the settlement that ended the suit, I was certified as an Expert Witness by the
British court presiding over the case.
316
    I have omitted additional data points contained in the article relating to post-9/11 relationships between ARB, its
principals, and jihadists and al Qaeda affiliated persons and entities.
317
    Id. The Golden Chain document is generally dated to the late 1980s, and as referring to the list of early financiers
for al Qaeda.
318
    Id. From the context, this information in the Wall Street Journal appears to reference material in the CIA Al Rajhi
Report that is redacted from the version released in response to Plaintiffs’ ARB subpoena to the CIA.
319
    Id. This tracks the information contained in the CIA Al Rajhi Report at CIA-SUB_0003.
320
    Id
321
    Id. This tracks the information contained in the CIA Al Rajhi Report at CIA-SUB_0004

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                        Soliman Al-Buthe, now works for the city of Riyadh. In an interview, he
                        confirmed carrying the checks and depositing them with Al Rajhi Bank and
                        said they weren’t for al Qaeda and he did nothing wrong.”322

                    •   “A Jiddah based charity called the International Islamic Relief Organization,
                        or IIRO, arranges for donors to send their donations directly to the Al Rajhi
                        Bank. . . .the U.N. has labelled two of the IIRO’s branches and some of its
                        officials as al Qaeda supporters.”323

7.7.    The CIA Al Rajhi Report obtained by the Wall Street Journal was literally front-page
        news. Not only did it highlight ARB and the Al Rajhis as having multiple connections
        with jihadists and al Qaeda affiliated persons prior to the 9/1 attacks. The CIA Al Rajhi
        Report did something that is very rare for the CIA, and which in my experience is never
        done by the CIA except when it was directed to do so by senior U.S. policymakers: the
        CIA Al Rajhi Report provided policy options to senior U.S. officials. The options set
        forth in the CIA Al Rajhi Report appear designed to implement a specific goal that must
        have been set by senior officials in the Bush Administration: “disrupting the family’s aid
        to extremists both within and outside of Saudi Arabia.” These options included listing
        ARB as a supporter of terrorism or threatening to do so. The report states that
        implementation of either option “could cripple the bank.” Additional options listed in the
        CIA Al Rajhi report stated that the “al-Rajhi’s wide-ranging US connections—financial,
        charitable, and diplmatic—expose the family to “domestic oversight, scrutiny, civil
        litigation, and criminal prosecution,” without being precise about how those connections
        might be leveraged. The report further stated that other governments might be willing to
        help investigate “and stem al-Rajhi funding for extremists, even if the Saudis balk.”
        Finally, it suggested “[i]dentifying and putting pressure on banks holding the family’s
        offshore accounts could further disrupt the al-Rajhi’s ability to send money to extremists.
        [redacted]”324

7.8.    The CIA Al Rajhi Report acknowledged the massive scope of ARB’s presence in Saudi
        Arabia, and the size of the Al Rajhi family. The CIA Al Rajhi report stated that the bank
322
    Id. Al Buthe was named a Specially Designated Global Terrorist on September 9, 2004, in connection with his
provision of military support to Chechen militants from a branch of Al-Haramain in the United States and remains
on OFAC’s sanctions list. https://sanctionssearch.ofac.treas.gov/Details.aspx?id=8591 He was also indicted, along
with the head of the Al-Haramain U.S. branch, in the case of U.S. v. Al-Haramain Islamic Foundation, Inc., Piroux
Sedaghaty, and Soliman Hamd al-Buthe, which ran into complex legal issues due to OFAC sanctions raising due
process issues for U.S. persons when coupled with an asset seizure, and findings that due to the OFAC process,
Brady material was improperly withheld from the defendants, resulting in a settlement in which the charity pled
guilty to a tax offense, the previously convicted head of the charity was released from “pending criminal charges,”
and Buthe, who had left the U.S. for Saudi Arabia, remained under indictment. See “Specially Designated Global
Terrorist Al-Haramain Islamic Foundation, Inc. Pleads Guilty to Tax Fraud,” July 29, 2014,
https://www.justice.gov/usao-or/pr/specially-designated-global-terrorist-al-haramain-islamic-foundation-inc-pleads-
guilty. For a summary of the government’s case against the U.S. branch of Al-Haramain see the original indictment,
available at https://www.investigativeproject.org/documents/case_docs/480.pdf and the more detailed statement of
facts by the prosecutors in “Government's Memorandum In Support Of Pretrial Detention, August 21, 2007,
available at https://www.investigativeproject.org/case docs/us-v-al-haramain-islamic-foundation-et-
al/482/governments-memorandum-in-support-of-pretrial-detention.pdf
323
    Id
324
    Id

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        had 400 branches in Saudi Arabia that made it the largest “banking network” in Saudi
        Arabia, with correspondent banking relationships with JP Morgan Chase in New York
        and other banks in 18 other countries. It stated that the Al Rajhi family included 700 male
        members with an estimated net worth of $20 billion, including a business empire that
        ecnompassed development, agriculture, shipping, cement, biotech, and tourism among
        other businesses.325

7.9.    According to the Wall Street Journal, a committee of “Deputies,” typically meaning the
        #2 persons at a U.S. government agency such as the Deputy Secretary of State, Deputy
        Secretary of the Treasury and the Deputy Attorney General, debated a proposal for “legal
        and political action against Al Rajhi Bank, including covert operations such as
        interfereing with the bank’s internal operations, according to Bush administration
        documents and former U.S. officials.”326 Given the size of ARB and its role in Saudi
        Arabia, and the significance of the Al Rajhi family to the Saudi economy, sanctioning
        ARB and/or members of the Al Rajhi family for their support of terrorism and al Qaeda
        would have had profound consequences on the Saudi Arabian economy and the many
        Saudi Arabians using the bank for legitimate purposes, as well as profound consequences
        in the U.S.-Saudi Arabian security relationship. U.S. policy makers typically consider
        such consequences in making decisions on when to apply sanctions or undertake covert
        action of the type reported by the Wall Street Journal.

7.10.   In the end, the the U.S. government did not sanction ARB for terrorist finance. But it did
        take other steps in 2004 in an effort to address the terrorist finance problem created by
        ARB and the Al Rajhi’s long-time relationship with al Qaeda and bin Laden, as detailed
        in both the pre-9/11 and post-9/11 CIA reporting.

7.11.   Instead of applying sanctions to ARB and taking the option set forth by the CIA, the U.S.
        sent a senior Treasury Department official, Juan Zarate, to meet with the Saudis and to
        formulate a plan for joint action between the United States and Saudi Arabia to deal with
        the continuing threat the U.S. government perceived from the activities of ARB and the
        Al Rajhis three years after 9/11, as reflected in the leaked State Department cables about
        the initiative.327

7.12.   Notably, on November 25, 2004, the U.S. Embassy in Riyadh was directed to hand
        deliver a paper to the Saudi government asking for a cooperative effort to conduct a joint
        examination of “certain accounts at Al Rajhi Bank,” with the “mutual goal of ensuring
        that Al Rajhi Bank is doing everything possible to keep the taint of terrorists and their
        supporters out of the bank,” including being able to “monitor and note suspicious patterns
        and trends in account activity” to prevent the bank from continuing to be used for


325
    CIA-SUB_0003
326
    “U.S. Tracks Saudi Bank Favored by Extremists,” id
327
    “Joint Examination Of Al Rajhi Bank Through The Joint Terrorist Financing Task Force,” State Department
Cable 04STATE251768, November 25, 2004, https://wikileaks.org/plusd/cables/04STATE251768.html and
“Terrorist Financing: Al-Rajhi Bank,” State Department Cable Riyadh 005103, September 26, 2004,
http://wikileaks.org/cable/2004/09/04RIYADH51303.html, which describe the frosty response of the Saudi’s to
Treasury’s request to address ARB’s links to terrorist finance.

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        terrorist finance.” The cable describing this initiative noted that the U.S. had already told
        the Saudis that ARB had been used by al Qaeda “and like-minded terrorist groups.”328

7.13.   The Saudi response, based on the limited public information available, was negative,
        rejecting Zarate’s proposal as not needed. I have no further information from government
        reports on further steps the U.S. government may have undertaken regarding ARB and
        the Al Rajhi family after Zarate undertook his initiative in 2004. The Wall Street Journal
        reporting does not address the timing of any U.S. actions concerning ARB and the Al
        Rajhis after 2004, other than to suggest that proposals to take “strong action” against
        ARB and the Al Rajhis due to their terorrist ties was “repeatedly debated” by the Bush
        Administration, but in the end limited to quietly lobbying Saudi officials to address the
        risks posed by the bank and the family arising from its “alleged role in extremist
        finance,” incuding al Qaeda.329 As discussed earlier in this Expert Report, Saudi Arabia
        undertook comprehensive changes to its regulation of both banks and charities within
        Saudi Arabia in 2004, following the terrorist bombings the previous year which killed
        Saudis.330

7.14.   I do not know the sourcing underlying the redacted portions of the CIA Al Rajhi report
        that were declassifed under Executive Order 14040. However, the Summary statement
        that ARB was used at least since the mid-1990s as a conduit for terrorist transactions is
        consistent with statements made by Jamal al Fadl, a business and money manager for al
        Qaeda who joined al Qaeda in 1988, knew its top leadership, including bin Ladin, and
        then defected to the United States in the mid-1990’s after being caught stealing some
        $110,000 from the group in response to his reported perception of being underpaid, and
        being asked by bin Ladin to give it back.331

7.15.   I have read declassified government documents which I understand to be summaries of
        interviews between al Fadl and the FBI, which include the following information material
        to my answer to this question:

        7.15.1. While reviewing the document, Source indicated that some of the names
                appearing on the document appeared to be members of a group who Source
                referred to as the "Golden Chain." According to Source, the "Golden Chain"
                consisted of wealthy individuals from the Gulf region who provided BIN LADEN
                and Al QAEDA with money on a regular basis. Source explained that all Muslims
                are required to make zakat, which according to Source means donating 2.5% of
                their total yearly earnings to one of six different tenants of Islam. According to
                Source, one of the tenants to which the money can be donated is jihad. Source had
                a specific conversation with MADANI AL TAYYIB during which MADANI AL
                TAYYIB informed Source that-both YOUSIF JAMEEL EH KAMEL donated
                their zakat funds, via the "Golden Chain," to BIN LADIN's Al QAEDA group. . . .


328
    “Joint Examination,” id
329
    “U.S. Tracks Saudi Bank Favored by Extremists,” id
330
    “White Paper on Saudi Arabia and Counterterrorism,” Government of Saudi Arabia, in English, id, pp 2-3, pp.
18-25
331
    9/11 Commission Report, pp 62, 109, and 185

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                  Source noted that the name AL RAJHI listed next to number 7 on this document is
                  the name of a bank in which Al QAIDA had funds on deposit.”332

7.16.    In addition, documents provided in discovery in this case show a direct link of the use of
         ARB’s Payable Through Account at the Chase Manhattan Bank in New York to two of
         the terrorist hijackers who participated in the 9/11 attacks.333 These were Khalid
         Muhammad Abdallah al-Mihdhar (“al-Mihadhar”), one of the five hijackers of American
         Airlines Flight 77, which was flown into the Pentagon as part of the 9/11 attacks and
         Nawaf Muhammed Salin al-Hazmi (“al-Hazmi”), who were recruited by bin Ladin for
         the 9/11 coordinated suicide hijacking mission, as set forth in the 9/11 Commission
         Report 334 and in a later investigation by the FBI Inspector General.335

7.17.    As detailed at length in the 9/11 Commission Report and the FBI Inspector General
         investigation, the individual who assisted these two terrorist hijackers in the United States
         ahead of their participation in the 9/11 attacks was a Saudi, Omar Ahmed Mostafa al
         Bayoumi (“al-Bayoumi”). Both the 9/11 Commission Report and the FBI Inspector
         General have extended discussions of al-Bayoumi and his role in relationship to the 9/11
         attacks.336 (There are 70 references to him in the 9/11 Commission Report and 87
         references to al-Bayoumi in the report issued by the FBI IG.) Al-Bayoumi hosted the two
         terrorist hijackers when they first arrived in the United States, and paid for their first
         month of housing in San Diego, starting in February 2000, before they switched
         apartments and continued a series of movements prior to undertaking the 9/11 attacks.
         The FBI had previously investigated al-Bayoumi after a source told them that al-Bayoumi
         reportedly delivered $400,000 to the Islamic Kurdish community in El Cajon, California
         in order to build a mosque and opined al-Bayoumi “must be an agent of a foreign power
         or an agent of Saudi Arabia.”337



332
     Interview with unnamed FBI source who I understand to have been subsequently identified as Jamal al-Fadl,
dated August 29, 2002, PEC-USA_351-352. Before the 9/11 attacks, al-Fadl had told the FBI that Al Tayyib, later
identified in the 9/11 Report, id, at p. 68, as the then-head of al Qaeda’s “Finance Committee,” was working with the
head of the IIRO in Peshawar in late 1989. SDY 0101-0093. In the 2002 interview with the FBI, al-Fadl further
described the specific involvement of Al Tayyib in establishing a relationship between al Qaeda and the “relief
organizations that were based in Bosnia and Croatia,” for the purpose of building out capacity that then could be
used against the United States. PEC-KSA000349. He also described the “Golden Chain” document as referring to
“wealthy individuals from the Gulf region who provided Bin Laden and al Qaeda with money on a regular basis.”
PEC-KSA000351
333
     I address the well-known serious money laundering and financial crime risks of Payable Through Accounts of the
type used by ARB with Chase Manhattan Bank later in this report.
334
     9/11 Commission Report, pp. 144-166, 217-222
335
     “Chapter Five: Two September 11 Hijackers: Khalid Al-Mihdhar and Nawaf Al-Hazmi,” in “A Review of the
FBI's Handling of Intelligence Information Prior to the September 11 Attacks,” FBI OIG Report, November 2004,
https://oig.justice.gov/sites/default/files/archive/special/0506/chapter5.htm.
336
     A comprehensive review of the involvement of al-Bayoumi and others in providing support for the hijackers is
beyond the scope of this Expert Report, but I understand that issue has been addressed by other experts in the related
litigation against the Kingdom of Saudi Arabia. This Expert Report addresses evidence related to al-Bayoumi and
related actors that is relevant to understanding ARB’s connections to and support for terrorism.
337
    “A Review of the FBI's Handling of Intelligence Information Prior to the September 11 Attacks Special Report
November 2004 (Released Publicly June 2005), FBI OIG id

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7.18.    A staff memo written by staff of the 9/11 Commission in 2003, released in 2014,
         describes al-Bayoumi’s possible involvement in the 9/11 attacks as follows:

         7.18.1. “Al-Bayoumi, a Saudi national provided September 11 hiajckers Nawaf al-
                 Hazmi and Khalid al-Mihdhar with considerable assistance after the hijackers
                 arrived in San Diego in February 2000. He helped them locate an apartment, co-
                 signed their lease, and ordered Mohdhar Abdullah . . . to provide them with
                 whatever assistance they needed in acclimating to the United States. The FBI
                 now believes that in January 2000 al-Bayoumi met with Fahad al-Thumairy, a
                 Saudi diplomat and cleric, at the Saudi Consulated in Los Angeles before going
                 to the restaurant where he met the hijackers and engaged them in conversation. .
                 . Al-Bayoumi has extensive ties to the Saudi Government and many in the local
                 Muslim community in San Diego believed that he was a Saudi intelligence
                 officer. The FBI believes it possible that he was an agent of the Saudi
                 Government and that he may have been reporting on the local community to
                 Saudi Government officials. In addition, during its investigation, the FBI
                 discovered that al-Bayoumi has ties to terrorist elements as well.”338

7.19.    While the 9/11 Commission did not find evidence proving al-Bayoumi to be a Saudi
         intelligence asset as the time he was providing assistance to two of the 9/11 hijackers,
         eventually, the FBI did find such evidence. Specifically, in a report dated June 14, 2017,
         the FBI found that from “the late 1990’s and up to September 11, 2001, Omar Albayoumi
         was paid a monthly stipend as a cooptee of the Saudi General Intelligence Presidency
         (GIP) via then Ambassador Prince Bandar bin Sultan Alsaud.” The FBI further stated that
         al-Bayoumi “was a source of investigative interest following the 9/11 attacks for his
         support of the 9/11 hijackers while living in California.” The FBI also explained that al-
         Bayoumi’s employment by Saudi intelligence had not been confirmed by the U.S.
         government as of the time the 9/11 Commission issued its report. The June 14, 2017 FBI
         report on al-Bayoumi described al-Thumairy as “[a]nother individual identified within
         the support network of the 9/11 hijackers.”339

7.20.    An earlier FBI report, dated October 5, 2012, written in a tone that I would characterize
         as deeply skeptical of Bayoumi’s status as a student who accidently assisted the 9/11
         hijackers, described Bayoumi in the following terms: “Omar al-Bayoumi was living in
         San Diego on a student visa despite not attending classes, and receiving a salary from the
         Kingdom of Saudi Arabia for job duties he never performed. Shortly after arriving in Los
         Angeles, the two hijackers had an allegedly accidently meeting with al-Bayoumi, who
         claims to have been in Los Angeles on personal business. At this meeting, al-Bayoumi
         advised the hijackers to relocate to San Diego, which they did. Once in San Diego, al-
         Bayoumi assisted the hijackers with a place to live, opening a bank account, and also

338
    June 6, 2003 Updated Work Plan for Commissioners and for FBI, 9/11 Commisssion Staff Memo, released by
National Archives on May 17, 2016, labeled page 1, but 7th page of document, available at
https://www.nytimes.com/interactive/2016/05/17/us/document-saudi-memos-9-11.html As stated earlier in this
report, in 2017, the FBI definitively concluded that Baymoui was a Saudi intelligence asset at the time he provided
support to two of the 9/11 al Qaeda terrorist hijackers, “Albayoumi/GOP Cooptee,” FBI, EO14040-002638 and
002539
339
    Alayoumi/GIP Cooptee, FBI, EO 14040-0024643

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         assigned two individuals to care for them. . . There is evidence that [Musaed] al-Jarrah
         [redacted] and tasked al-Thumairy and al-Bayoumi with assisting the hiajckers.”340

7.21.    Musaed al-Jarrah (“al-Jarrah”) worked as the deputy chief of the Islamic Affairs section
         of the Saudi Embassy in Washington. According to press accounts quoting former FBI
         officials, al-Jarrah he left the United States in 2005, after coming under FBI scrutiny
         because of his suspected ties to other Saudis linked to al-Qaida. The press reporting
         described al-Jarrah as being suspected by the FBI, based on evidence, as having arranged
         for Al Thumairy and al-Bayoumi to help the first two Qaida hijackers after they arrived in
         California in early 2000.341 The FBI-CIA Assessment from December 2004 describes him
         as “the Assistant Director for Islamic Affairs at the Embassy responsible for disbursing
         stipends to individuals in the United States” some of whom had “ties to terrorism.” 342

         7.21.1. At the time al-Jarrah was working as the deputy at the Islamic Affairs section of
                 the Saudi Embassy, a principal colleague of his was Khalid al Sowailem
                 (“Sowailem”), who served as the head of the Saudi government’s Da’wah Office
                 in the United States, operating out of the Ministry of Islamic Affairs’ office in the
                 Saudi Embassy.343

         7.21.2. While in that position, Sowailem received payments from SAAR and from the
                 SAAR Foundation in 1999. His Da’Wah office at the Embassy also received a
                 payment from ARB of $25,000 to the Saudi Embassy’s account at Riggs National
                 Bank in Washington, D.C. In addition, Sowailem received ARB checks through
                 ARB’s Payable Through Account at Chase Manhattan Bank in New York.344

         7.21.3. These payments show a close relatonship between ARB and the Saudi Embassy in
                 Washington DC’s Islamic Affairs officials, in the period in which one of those
                 officials, al-Jarrah, was “disbursing stipends” to people with “ties to terrorism,”
                 and who the FBI found evidence had directed Bayoumi and al-Thumairy to help
                 two of the 9/11 hijackers.

7.22.    Al-Bayoumi himself had two types of relationships with ARB and persons associated
         with ARB, including two people working for its head and cofounder, SAAR, at the
         SAAR Foundation. First, ARB forwarded funds to him from another one of its clients.
         Second, al-Bayoumi had relationships, of some kind, with SAAR Foundation officials.
         These relationships are summarized below:


340
    “FBI Updates and Initiatives as of 5 October 2012,” p. 4, Document 6292-1 filed June 25, 2020 in Case 1:03-md-
01570-GBD-SN; a more heavily redacted version is posted at https://www.floridabulldog.org/wp-
content/uploads/2016/12/2012-FBI-Summary-Report.pdf
341
    “The Justice Department Accidentally Released the Name of Saudi Official Suspected of Helping the 9/11
Hijackers - William Barr’s DOJ inadvertently named Saudi official Musaed al-Jarrah in a court filing after trying for
two years to conceal his identity,” Pro Publica, May 13, 2020, https://www.propublica.org/article/the-justice-
department-accidentally-released-the-name-of-saudi-official-suspected-of-helping-the-9-11-hijackers. See also “FBI
Updates and Initiatives as of 5 October 2012,” id.
342
    EO14040-003431
343
    DOJ-0000009 and 0010
344
    NL 15578, NL 15043-15046, NL 15572, NL 10468, NL 10485, KSA 1685, KSA 1687

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        7.22.1. Transfers of funds from ARB to Al-Baymoui. Prior to the 9/11 attacks, funds went
                through the ARB Payable Through Account at the Chase Manhattan Bank on
                three occasions to Al-Bayoumi. The first remittance was for $5000 on February 8,
                2000; the second remittance was for $13,000 on April 8, 2021, and the third
                remittance was for $6,333 on April 15, 2001.345 The information was provided by
                ARB to its Saudi regulator, SAMA, on August 3, 2003, following an “inquiry on
                remittances added to the account of Omar Ahmed Mostafa al Bayoumi in the
                USA,” by another Saudi client of ARB, identified only as “Mohamed Abedel Aziz
                al Habib,” “one of the distinguished clients,” and someone with 12 bank accounts
                at ARB as well as two “golden VISA cards.”346 These transactions took place in
                the very period that al-Baymoui provided assistance to two of the 9/11 terrorist
                hijackers and allegedly had other terrorist associations.

        7.22.2. Contacts in 2001 with Officials of the SAAR Foundation. While Bayoumi was
                living in San Diego, al-Bayoumi made telephone calls to Saudi Arabia on January
                20, 2001 to telephone numbers belonging to two officials at the SAAR
                Foundation in Saudi Arabia: Abdul Rahman bin Abdullah Al Rajhi, and al-
                Misfer.347 I have no way of determining the subject matter of this middle-of-the-
                night calls from al-Bayoumi to the two SAAR officials (one of whom, al-Misfer,
                was also a senior office of Al-Haramain). However, the fact that al-Bayoumi had
                the telephone numbers of two SAAR officials, and that he made calls to these
                officials, provides further evidence of the unique relationship ARB and its
                principals had with with jihadists and al Qaeda affiliated persons and entities
                before September 11, 2001: Al-Bayoumi directly assisted two of the hijackers
                with housing prior to the attacks.

7.23.   Al-Bayoumi’s relationships to ARB do not appear to be unique to those involved in
        providing assistance to the 9/11 hijackers. Notably, al-Thumairy had an account at
        ARB,348

345
    ARB-00013750/ARB-00013748; ARB-00013763/ARB-00013761; ARB-00013764/ARB-00013762; ARB-
00013769/ARB-00013767. Another ARB document, from November 11, 2002, provided to SAMA after the 9/11
attacks, ARB-00013754, shows these transactions from ARB to Bayoumi with slightly different amounts and dates:
February 9, 1999 for $4,985; April 17, 2001 for $5,313, and April 17, 2001, for $12,985. Another document, ARB-
0039329, also sent to SAMA, on August 3, 2022, shows the transactions as $5,000 for February 8, 2000, $13,000
for April 8, 2001, and $5,333 for April 15, 2001. This document also shows that the transactions were undertaken at
the request of Mohamed Abdel Aziz al Habib, and from his funds at ARB, to Bayoumi. Other ARB documents show
other variations on the payment numbers and dates. See e.g. ARB-00039330. I cannot account for the discrepancies
on the dates and numbers, but the numbers and dates are reasonably similar, and may be accounted for by banking
fees applied by ARB to international transfers, together with minor errors in the record keeping and reporting.
346
    ARB-00013750/ARB-00013748
347
    AT&T Response to Subpoena in Case Number MDL 03-1570, produced February 3, 2020. The subpoenaed
number was a telephone number associated with Bayoumi’s office at a Kurdish Mosque in San Diego. The response
shows a call to the number associated with Abdul Rahman bin Abdullah al Rajhi, 96614920033 and a second call to
the number associated with al-Misfer, 96655487313. The first call lasted 25 seconds. The second call lasted twelve
and a half minutes. The two calls were made in the middle of the night, Pacific time, at 3:33am and 3:35am,
respectively, which would be in the early afternoon in Riyadh. For evidence on phone number identifications see NL
18775, which lists the numbers and who they belong to. The document also included phone numbers for SAAR
personally, who was chairman of ARB at the time, and for his son Abdullah, the current chairman of ARB.
348
    ARB-0001038-1050, account statement, Fahad al Thumairy, January 8, 1998-March 18, 2002.

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                 in contravention of applicable AML and CTF protocols and ARB's own
                 (nominal) rules.

       8.1.4.    the bank used by SAAR personally to provide funds to Al-Haramain, IIRO and
                 other Islamic charities linked to supporting terrorism at the time SAAR and other
                 Al Rajhi family members controlled both ARB and the SAAR Foundation;

       8.1.5.    a bank that was used to courier funds on behalf of Al-Haramain and likely on
                 behalf of WAMY;352

       8.1.6.    the bank used to pay the employees of Al-Haramain and IIRO overseas – in
                 places and times when Al-Haramain and IIRO employees were found by the CIA
                 and others to be providing support to terrorists including al Qaeda;

       8.1.7.    the bank used by Al-Haramain to transfer funds to terrorists and terrorist
                 financiers in multiple countries;

       8.1.8.    the principal bank for the foundation SAAR and other members of the Al Rajhi
                 family established, funded, and controlled, the SAAR Foundation, which in turn
                 provided funds to Al Halamain, IIRO, and other Islamic charities linked to
                 supporting terrorism prior to 9/11.

8.2.   The CIA’s reporting on SAAR, the Al Rajhi family, and the SAAR Foundation provides
       further data points on these relationships prior to the 9/11 attacks, as follows:

       8.2.1.    “Many prominent Saudi businessmen contribute generously to the IIRO through
                 their zakat contributions, including the Al Rajhi fmaily, which has an estimated
                 wealth of $20 billion.”353

       8.2.2.    “Suleimein al Rajhi is the Kingdom’s largest payer of zakat (chraitable
                 donations); he reported maintains a staff of 20 to manage his unpublicized
                 charitable endeavors.”354

       8.2.3.    “[T]he al Rajhis were routinely contacted by officials of the World Assembly of
                 Muslim Youth (WAMY) – a Saudi NGO whose personnel often pursue an
                 extremist agenda, [redacted] WAMY officials have couriered private Saudi
                 donations to Islamic groups in Afghanistan and Bosnia.”355

       8.2.4.    In the May 28, 2003, report exclusively devoted to ARB and the Al Rajhis, “Al
                 Rajhi Bank: Conduit for Extremist Finance,” “Nongovernment organizations
                 (NGOs). Gulf-based NGOs use [ARB] to transfer funds to their offices abroad
                 some of which may be used to support terrorists: [about five lines redacted]

352
    CIA_000744
353
    CIA_000221
354
    CIA_000743
355
    CIA_000745

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                    [bullet point] “Saudi-based al-Harmaain, which has come under close scrutiny by
                    US and Saudi authorities for alleged terrorist ties, uses [ARB] and National
                    Commercial Bank to fund its programs abroad. [bullet point] “The International
                    Islamic Relief Organization, a nongovernment organization with ties to al-
                    Qa’ida, as of the late 1990s used Al-Rajhi to pay its employees.”356

         8.2.5.     “HIF [Al-Haramain] employees’ accounts in Albania prevously received money
                    from an HIF official account at al-Rajhi bank.”357

         8.2.6.     “[Redacted] funds from an HIF [Al-Haramain] account in Saudi Arabia at al-
                    Rajhi bank were transferred to an al-Ansar Welfare Trust in Kashmir. Al-Ansra
                    Welfare Trust is a front for Lashkar-i-Tayyibya (LT) and Tekrik al-Mujahidin,
                    which have been listed by the United States as terrorist groups. [redacted]”358

Documentary and Testimonial Material Produced in This Case

8.3.     Discovery in this case has provided important direct documentary evidence about these
         unique relationships. I understand from the pleadings that the material produced from
         ARB amounts to some 39,959 documents. From that broader discovery, plaintiffs’
         counsel have provided me approximately 1,200 sets of documents relating to ARB’s
         provision of services to the Da’Wah Organizations. Occasionally, these sets reflect only
         one document, but generally, the sets include a number of documents, so the total number
         of pages I have reviewed is far greater, but I have not calculated the number. My ability
         to fully assess this material has been somewhat inhibited by redactions throughout the
         material produced by ARB in discovery. I understan that these redactions were initially
         made by ARB counsel before producing the documents, and that these redactions were
         later ordered by the court to be removed and the underlying information restored.
         Unfortunately, due to the timing of that order, some documents shared with me retain
         many such redactions, as they had been translated into English prior to that order.
         Accordingly, I expressly reserve my right to reassess and reformulate any portion of this
         Expert Report and my responses to the questions posed to me, as they relate to documents
         produced by ARB that were originally in a redacted form, should I receive additional
         information material to the redacted documents at some future time.




356
    CIA_000746. I assess the information from this May 28, 2003 Report to refer to activity that was pre-9/11, which
may have been supplemented by additional information from after the 9/11 attacks. The section on the IIRO
expressly states that the IIRO-ARB relationship existed prior to 9/11 and documentary evidence produced in this
case, discussed later in this section, and the deposition of an ARB official in this case, confirm the Al-
Haramain/ARB banking relationship existed prior to 9/11. There are other data points in this CIA Report that refer
to the relationship between ARB and these NGOs after 9/11, which I have disregarded for the purpose of answering
the questions posed with regard to the pre-9/11 relationship.
357
    CIA-SUB_0012. This data point is from an August 28, 2002 CIA Report, “Al-Haramain: Support for Extremists
and Terrorists,” but given the term “previously” as it is used in the context of that report, I assess that this reference
refers to pre-9/11 activity, as it is contrasted in this section of the CIA report with how Al-Haramain changed its
manner of sending funds to foreign offices after the 9/11 attacks.
358
    CIA-SUB_0013

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8.4.    Consistent with the CIA’s reporting, the discovery process confirmed that ARB
        maintained a large number of separate Al-Haramain and IIRO bank accounts during the
        period before the 9/11 attacks, and in the immediate period after the attacks (1998-2002),
        as confirmed by Galloway testifying on behalf of defendant ARB on May 11, 2023.

8.5.    The documents provided by ARB regarding ARB’s handling of the Al-Haramain
        accounts show 94 accounts maintained for Al-Haramain at ARB over the five year period
        of January 1, 1998 through December 31, 2002.359 Total deposits in these accounts in
        Saudi riyals amounted to 2,146,119,285.78, more than 2.1 billion SRs. Total withdrawals
        from the accounts amounted to 2,035,094,758.98.360

8.6.    The documents provided by ARB regarding ARB’s handling of the IIRO accounts show
        287 accounts maintained for IIRO at ARB over the five year period of January 1, 1998
        through December 31, 2002.361 Total deposits in these accounts in Saudi riyals amounted
        to 2,974,279,291.71, or just under 3 billion SRs. Total withdrawals from the accounts
        amounted to 2,914,284,8208.75, or about 2.9 billion SRs. 362

8.7.    At the long-term SR-USD exchange rate of about 3.7505 Saudi Riyals to one U.S. dollar,
        the total amount from these two Da’Wah Organizations amounts to about $1.33 billion
        deposited and nearly that amount withdrawn from accounts maintained by ARB over a
        five year period. Based on the value of the dollar at the midpoint of the 1998-2002 period
        covered by the information provided by ARB, this would amount to roughly $2.37 billion
        in today’s (2023) dollars.363

8.8.    During his initial examination by plaintiffs’ counsel in his deposition, Galloway was not
        able to provide any information about the purposes for which the $1.33 billion that went
        through the accounts were used, including whether or not the accounts sent funds outside
        of Saudi Arabia. Then, on cross-examination by ARB’s counsel, Galloway acknowledged
        that Al-Haramain funds may have been sent outside of Saudi Arabia. Portions of his
        testimony that I found material to the question of whether there is evidence that Al Rajhi
        and its principals had unique relationships with Al-Haramain, MWL, IIRO, and WAMY
        prior to 9/11 were as follows:

        8.8.1. According to Galloway, there were 95 Al-Haramain accounts maintained at ARB
               during the 1998 through 2002 time period. Galloway testified that the reason for
               the large number of accounts was that each account was “created for different
               charitable accounts by Al-Haramain, in other words, different projects or different
               activities would have a different name on the account in order to keep the funds

359
    Some of these accounts were open only for a portion of this period.
360
    Exhibit 31, September 27, 2023 Deposition of Abdullah al Rajhi, Plaintiffs’ Summary Spreadsheet of Al-
Haramain Islamic Foundation Accounts at ARB.
361
    Some of these accounts were open only for a portion of this period.
362
    Exhibit 32 (ARB 32), September 27, 2023 Deposition of Abdullah al Rajhi, Plaintiff’s Summary Spreadsheet of
International Islamic Relief Organization Accounts at ARB.
363
    Online calculators of U.S. inflation convert $1 in 2000 dollars to about $1.78 as of 2023. “CPI Inflation
Calculator,” https://www.officialdata.org/us/inflation/1800?amount=2000; also see “US Inflation Calculator,” which
provides an identical calculation. https://www.usinflationcalculator.com/

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                 and the activities separate by project.”364

        8.8.2. Galloway testified that he could not provide specifics on what the “multiple
               projects” in the “multiple accounts” related to.365 Galloway confirmed that there
               were 308 distinct bank accounts at ARB for IIRO during the same period, and that
               the reason for this (implicitly large) number of accounts was the same as the one
               for Al Harmain, namely, that “new acounts were opened every time there was a
               new project over that period.”366

        8.8.3. Regarding audits, Galloway testified that ARB conducted or commissioned audits
               for compliance purposes by ARB between 1998 and 2002, but he did not know
               whether or not these audits encompassed reviews of any Al-Haramain
               accounts.367

                 8.8.3..1. In an errata sheet correcting his deposition, the corrected testimony
                           added “During the relevant period, the branch audit team normally
                           audited each branch annually. The auditors checked the account-opening
                           documentation for a sample of accounts every year, and required all
                           identified deficiencies to be rectified by the branch. This requirement
                           applied to sampled acounts opened before 1997.”368

                 8.8.3..2. A later portion of the errata sheet for the Galloway Deposition adds that
                           “SAMA’s periodic thematic audits included surprise and short-notice
                           audits that also checked for compliance with onboarding requirements.
                           And the Bank’s external auditor further checked for compliance with
                           SAMA regulations.”369

                 8.8.3..3. The Errata sheet for the Galloway Deposition further adds “The Internal
                           Audit department undertook to audit all branches, which would include
                           branches where accounts for Al-Haramain or IIRO accounts were
                           audited, however, the Bank would have to collect all of the audit reports
                           to find the audits of those particular branches, and those audits would
                           have to be reviewed to determine which accounts were covered.”370


364
    Rough Draft Testimony of 30(b)(6) Al Rajhi Bank, James Galloway, Taken on 05/11/2023, p. 76, lines 20-25,
and p. 77, lines 1-2 (“Galloway Deposition”).
365
    Galloway Deposition, p. 77, lines 18-23
366
    Galloway Deposition, pp. 83-84. The documents provided by ARB do not back up Galloway’s statements on this
point. The records I have reviewed indicate that accounts were opened by ARB without any verification of the
purpose and without evidence that ARB inquired about the purpose of accounts at account opening or later. Instead,
the records suggest, based on what I have reviewed, that accounts were often opened with generic designations as
belonging to an organization, such as Al-Haramain, without a further specification of purpose. Furthermore, in some
instances, multiple accounts were opened simultaneously without an explanation of the different purposes of the
accounts being provided.
367
    Galloway Deposition, pp. 106-108
368
    Galloway Deposition, Errata, p. 108, line 16.
369
    Gallow Deposition, Errata, p. 112, line 5.
370
    Gallow Deposition, Errata, p. 113, lines 1-9

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         8.8.4. Galloway testified that based on his preparation he did not know whether any of
                the Al-Harmain accounts at ARB were established to support Al-Haramain
                activities outside of Saudi Arabia, before affirming that to his best understanding,
                ARB did not open accounts for charitable work overseas. He then explained that
                any donations made to Al-Haramain were made to accounts inside Saudi Arabia,
                regardless of whether they might reference donations or other transactions to such
                counties as “Albania,” “Bosnia,” “Kosovo,” or regions such as Asia, Europe, or
                Africa.371

                  8.8.4..1. In his Errata additions, Galloway stated: “To clarify, the accounts that Al
                            Rajhi Bank opened for Al-Haramain were solely for the Al-Haramain
                            entity in Saudi Arabia, and not for any foreign entities. The requirement
                            that charity accounts at banks in Saudi Arabia be used to support
                            charitable activities was not in effect before May 23, 2003.”372

                  8.8.4..2. As discussed further in this Section of this Expert Report, and in
                            subsequent sections, I have found a number of ARB documents which
                            provide evidence that ARB officials knew that Al-Haramain accounts
                            were being used for activities outside Saudi Arabia prior to the 9/11
                            attacks.

         8.8.5. Galloway testified that he did not undertake any inquiry to determine whether the
                Al-Haramain and the IIRO accounts at ARB during 1988 through 2002 were
                being used to send funds outside of Saudi Arabia.373

         8.8.6. Galloway testified that ARB had no knowledge of the roles of various persons
                whose names appeared on the ARB documents produced in discovery, including:
                Abdul Rahman al Rajhi, Saleh bin Sulaiman al Habdan, and Abdullah bin Ibrahim
                al Misfer (“al Misfer”), or any personnel relating to the SAAR Foundation, stating
                affirmatively the ARB “has no knowledge of the roles and responsibilities of
                these people, and the foundation has never been a parent, subsidiary or affiliate of
                the bank.”374

         8.8.7. Galloway further testified that he did not know who founded the SAAR
                Foundation, and that ARB’s current head, Abdullah Al Rajhi, “had no
                involvement” in the foundation’s activities, and that those activities were
                “separate to anything he was involved in.”375

         8.8.8. Galloway affirmed that “the person [plaintiff’s attorney] referred to as Abdul
                Rahman al Rajhi has never had any role with the bank.”376


371
    Galloway Deposition, pp 137-143
372
    Galloway Deposition, Errata, p. 144, line 23, and p. 145, lines 5-7.
373
    Galloway Deposition, pp 149-151
374
    Galloway Deposition, pp. 278-279
375
    Galloway Deposition, pp. 280
376
    Galloway Deposition, p. 301, lines 6-9

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         8.8.9. On further questioning conducted by counsel for ARB, Galloway testified that
                bank records showed that SAAR and the SAAR Foundation had contributed to Al
                Harmain in Saudi Arabia, but had not contributed to IIRO.377

         8.8.10. On questioning by ARB’s counsel, Galloway also testified that ARB was aware
                 that SAAR had resigned from the IIRO Board by a letter on June 20, 1993, and
                 that SAAR had asked a total of ten times to be removed from the IIRO Board,
                 including as of October 4, 1998.378

         8.8.11. On questioning by ARB’s counsel, Galloway clarified that that there were ARB
                 documents showing charitable projects involving Al-Haramain in Saudi Arabia
                 that were “conducted apparently outside the Kingdom of Saudi Arabia,” and
                 stated that if so, any such transactions were at the time not prohibited by the Saudi
                 Arabian bank regulator, SAMA.379

         8.8.12. On questioning by ARB’s counsel, Galloway testified that SAAR and the SAAR
                 Foundation contributed to Al-Haramain’s Saudi Arabian office.380

8.9.     The documents I refer to in this section, each labeled with an ARB Bates number, are
         documents I understand to have been produced by ARB through the discovery process in
         this case from various document repositories it has maintained, characterized as
         “Operations Systems,” “FileNet,” and “Physical Archives,” from custodians
         characterized as “Operations,” “Legal,” “Board Secretariat,” “Internal Audit,” and
         “Compliance.” I understand them to be documents produced in response to a request for
         all documents “identifying all monetary donations provided to the Da’Wah Organizations
         by ARB, Suleiman al Rajhi, Saleh al Rajhi, Abdual Rahman al Rajhi, the SAAR
         Foundation and members of the Al Rajhi family.” Consistent with my use of the term
         “Da’Wah Organizations” as a defined term, I understand the “Da’Wah Organizations” to
         include within the term Al-Haramain, MWL, IIRO, WAMY, and the SAAR Foundation.
         However, I understand that the discovery requests to ARB for contributions to the
         Da’Wah Organizations were limited to Al-Haramain and IIRO, given the burden
         considerations mentioned previously. I understand the documents to have generally been
         in Arabic in the original, and that for the Arabic documents, I have been provided English
         transactions that have been certified as accurate, and on which I can therefore rely.

8.10.    The documents produced by ARB in response to the request for documents identifying
         monetary donations involving the SAAR Foundation to other “Da’Wah Organizations,”
         include a number of donations, referenced by date, that I describe below, contextualized
         to the best of my ability given the reality that many of the documents appear not to
         include all of the information that I would like to have about each donation. In general,
         redactions imposed by the defendant’s attorneys, and largely remaining at the time of my
         review due to the timing of the translations, limit the information to the last four digits or

377
    Galloway Deposition, p. 343, lines 2-6
378
    Galloway Deposition, pp. 343-345
379
    Galloway Deposition, pp 357-358
380
    Galloway Deposition, p. 343

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         two digits of an account number, the name of the donor, the date, and the amount of the
         donation. In some cases, this information is provided without identifying an ultimate
         beneficiary. Due to the redactions, I cannot assess if a beneficiary or other information to
         identify more about the transaction could be ascertainable if the full document had been
         provided without the redactions. In other cases, a beneficiary is identified, but other
         information is redacted.

8.11.    The documents have not been provided to me in chronological order, nor are they entirely
         in sequence according to the Bates numbers. (That is, sequential Bates numbers do not
         necessarily correspond to the sequences of pages in underlying documents, in cases in
         which I am able to ascertain the pagination of an underlying document.) Accordingly, the
         following represents my effort to work with the ARB documents as they have been
         provided, by organizing the transactions chronologically when possible and as I find
         helpful to understanding the relationships of ARB, SAAR, and the SAAR Foundation to
         Al-Haramain, IIRO, WAMY, and MWL, each of which are shown in the documents as
         having a relationships with ARB.381

8.12.     Donations to Da’Wah organizations from the SAAR Foundation through ARB included
          the following transactions. In cases when the documents provide further identifying
          information, such as the name of the beneficiary, I note that.

ARB, SAAR Foundation, Al-Haramain and the Role of Aqil bin Abdul Aziz al Aqil
8.13.    The donations through ARB by the SAAR Foundation to “Da’Wah Organizations”
         provided in ARB documents made available to me included a number of transactions
         involving apparent donations by SAAR and the SAAR Foundation to Al-Haramain.

8.14.    As this Expert Report has described, Al-Haramain supported terrorists and terrorism in
         many countries prior to 9/11, and after 9/11 was designated by the Treasury Department
         as a Specially Designated Global Terrorist. The international branches (and operations) of
         this Da’Wah Organization were closed by the order of the Saudi Arabian government in
         2004, following the joint designation of a number of its branches by the United States and
         Saudi Arabia, and eventually the entire organization was designated, including its




381
    As reflected in pleadings and decisions relating to the discovery permitted in this matter, and the limitations on
that discovery as it has been interpreted by the defendants, the information produced by the defendant has been for
accounts of Al-Haramain and IIRO at ARB during the period from January 1, 1998 through December 31, 2002, and
does not cover accounts held by ARB for WAMY and MWL. Other documents provided to me suggest that
accounts were also maintained at ARB for WAMY and MWL, although the information provided to me regarding
those accounts is sparse. For example, I have reviewed the Declaration of Omar T. Mohammedi Pursuant to Opinion
and Order in related cases to this matter dated April 1, 2019, which includes an Exhibit
that lists 116 accounts held on behalf of WAMY by ARB. There is evidence that ARB only received formal proof
that these four NGOs were legally established in Saudi Arabia and permitted to operate under its laws and
regulations as of March 21, 2004, see ARB-00039947. I discuss the implications of this belated confirmation of
license in my response to Question 7, whether ARB adhered to AML/CFT best practices and international standards
with regards to the opening and maintenance of accounts for these entities, and for the SAAR Foundation.

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        $5.77 million in additional transactions, for a total in the two accounts put together of
        roughly $11 million over the five year period, an amount equivalent to about $19.5
        million today.386 Some of these deposits – amounting to 938,681 SR (slightly over
        $250,000) were listed as being provided to al-Aqil by Al-Haramain itself. Another 29,458
        SR were listed as withdrawals from the 3412 Account at ARB for al-Aqil to the order of
        Al-Haramain.387

8.18.   These transactions involved numerous transactions in cash. In the 3412 Account for al-
        Aqil at ARB, there were 10,228,494 SR cash deposits (more than $2.8 million in 1999
        dollars) made to the account by al-Aqil in May 1999 alone.388 In the following month of
        June 1999, al-Aqil deposited an additional 2,163,299 SR, about $577,000.389

8.19.   During the same period, the 5920 Account at ARB for al-Aqil received a total of
        1,188,000 SR from Abdul Rahman Al Rajhi, who is either the Abdul Al Raham bin
        Abudllah Al Rajhi who was working for SAAR and the SAAR Foundation, or another
        family member with a similar name, equivalent to about $317,000 then and just under
        $564,000 today.390 The 5920 Account at ARB for al-Aqil also withdrew sums distributed
        from the 4920 Account to Abdul Rahman Al Rajhi in an even greater amound, totalling
        2,495,917 SR, equivalent to more than $665,000 then, and approximately $1.18 million
        today.

        8.19.1. As I detail in Section 10 in my response to Question 8, rapid deposits of cash into
                an account, and then withdrawals from the same account to the same persons is a
                red flag of possible money laundering. These are not just cash deposits and
                withdrawals by al-Aqil: they are cash deposits and withdrawals from an al-Aqil
                account on behalf of another person who was a family member of SAAR, the
                bank’s own founder.

8.20.   Below I provide a sampling of transactions involving al-Aqil, Al-Haramain, ARB, and
        SAAR:

        8.20.1. April 8, 1999. Withdrawal by ARB check, Al-Haramain, 187,500. Currency S.R.,
                which I understand to mean Saudi Riyals.391 This transaction appears to be related
                to correspondence on April 6, 1999 from Abdul Rahman Bin Abdallah Al Rajhi
                of the SAAR Foundation to “His Eminence Shiekh Aqil bin Abdul Aziz al Aqil”,
                as Director General of Al-Haramain. While al-Aqil was not sanctioned by the
                Treasury Department as a Specially Designated Global Terrorist until June 2,
                2004,392 the documentation regarding his involvement in terrorism pre-dates the

386
    ARB-00041454-41463. I use a figure of 1.78 as an inflation calculator for US dollar equivalents. See
https://www.usinflationcalculator.com/
387
    ARB-00041454
388
    ARB-00041455-41457
389
    ARB-41457-41459
390
    ARB-00041464-41501
391
    ARB-00039956-9957
392
    “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” U.S. Treasury Department Press Release, June 2,

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                 9/11 attacks. CIA reporting states that as of April 1999, Al-Haramain used a
                 centralized system that prohibited individuals from allocating funds without the
                 personal approval of the foundation’s director – al- Aqil), implicitly suggesting
                 that Al-Haramain’s involvement in terrorist finance as of that time would have
                 been under the direction or control of al-Aqil.393 Here, Abdul Rahman Bin
                 Abdullah Al Rajhi wrote al-Aqil to advise him that following al-Aqil’s phone call,
                 al-Rajhi was enclosing Check No. 1538 for 187,500 S.R., thus tracking the
                 amount shown in the April 8, 1999 check.

        8.20.2. The English language version of the check does not show the number of the
                check, so I cannot verify that it is Check No 1538, but based on the context, I
                assume the 187,500 paid in Check No 1538 and the actual payment of that
                amount by ARB to Al-Haramain are the same funds and represent the same
                transaction.

        8.20.3. In the correspondence, Al Rajhi also wrote al-Aqil to advise him that the purpose
                of the payment (not shown on the actual check) is “to sponsor the Relief Program
                for the Muslims of Kosovo.” Al Rajhi further provides a specific recommendation
                to al-Aqil as to what to do with the payment: “We suggest that you may open an
                office in the Republic of Macedonia.” He also asked to be provided “with a copy
                of the reports that you receive, so we may be updated on the situations of the
                refugees of Kosovo in a timely manner.”394

        8.20.4. Thus, in this instance, where we have documents which specify the use of the
                funds, Abdul Rahman Al Rajhi was instructing, apparently on behalf of SAAR,
                the particular use to which the funds should be put: creating a new Al-Haramain
                office in Macedonia, nominally to help refugees of Kosovo.

        8.20.5. These communications and the support from SAAR through Al-Haramain for the
                “Muslims of Kosovo” came at the height of the civil conflict in Kosovo, which
                pitted Serbs against Kosovars, and in the midst of the mobilization by the Saudi
                government of support for the Muslims of Kosovo.395


2004, https://home.treasury.gov/news/press-releases/js1703 The press release provides pertinent information on the
scope of Aqil’s and Al-Haramain’s support for bin Ladin, al Qaeda, and terrorist activity, including the following:
“When viewed as a single entity, [Al-Haramain] is one of the principal Islamic NGOs providing support for the al
Qaida network and promoting militant Islamic doctrine worldwide. Under Al Aqil’s leadership of [Al-Haramain],
numerous [Al-Haramain] field offices and representatives operating throughout Africa, Asia, Europe and North
America appeared to be providing financial and material support to the al Qaida network. Terrorist organizations
designated by the U.S. including Jemmah Islammiya, Al-Ittihad Al-Islamiya, Egyptian Islamic Jihad, HAMAS and
Lashkar E-Taibah received funding from [Al-Haramain] and used [Al-Haramain] as a front for fundraising and
operational activities. Under Al-Aqil's leadership, [Al-Haramain] implemented its tasks through its offices and
representatives, which span more than 50 countries around the world.” See also Treasury link specifying Aqil al
Aqil’s designation at https://ofac.treasury.gov/recent-actions/20040602
393
    CIA-SUB_0014
394
    NL0010245
395
    A detailed history, extensively footnoted, of the Saudi support for “Wahhabi-style missionary groups with loose
ties to the Saudi government, including the Al Haramain Islamic Foundation, al-Haramain al-Masjid al-Aqsa
Charity Foundation, the International Islamic Relief Organization (IIRO), the Muslim World League (MWL), al-

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         8.20.6. Notably, Al-Haramain did create an office in Macedonia, and Al-Haramain’s
                 activities in Kosovo became linked to al Qaeda and to the armed conflict there,
                 and was eventually closed.396

         8.20.7. April 28, 1998. Withdrawal by ARB check, 11,636. Account 6006. Currency
                 S.R. Payor: SAAR Foundation. Recipient, not identified; I note redactions.397

         8.20.8. June 29, 1998. Withdrawal by ARB check, Al-Haramain, 50,000, Account 6006.
                 Currency: S.R. Payor: SAAR Foundation.398

         8.20.9. December 30, 1998. Withdrawal by ARB check, Al-Haramain, 100,000,
                 Account 6006. Currency: S.R. Payor: SAAR Foundation.399

         8.20.10. January 11, 1999. Withdrawal by ARB check, Al-Haramain, 200,000, Account
                  6006. Currency: S.R. Payor: SAAR Foundation.400

         8.20.11. April 19, 1999. Withdrawal by ARB check, Al-Haramain, 300,000, Account
                  6006. Currency S.R. Payor: SAAR Foundation401

         8.20.12. May 5, 1999. Withdrawal by ARB check Al-Haramain, 12,500, Account 6006.
                  Currency: S.R. Payor: SAAR Foundation.402

         8.20.13. May 11, 1999. Withdrawal by ARB check Al-Haramain, 150,000, Account 6006.
                  Currency: S.R. Payor: SAAR Foundation.403

         8.20.14. December 15, 1999. Withdrawal by ARB check Al-Haramain, 53,400. Currency:
                  S.R. Payor: SAAR Foundation.404



Waqf al Islami, and the World Assembly of Muslim Youth (WAMY),” is set forth in Testimony of Evan F.
Kohlmann Before the Senate Committee on the Judiciary, Subcommittee on Crime and Drugs "Evaluating The
Justice Against Sponsors of Terrorism Act, S. 2930,” The Role of Saudi Arabian State-Sponsored Charitable Fronts
in Providing Material Support to Foreign Paramilitary and Terrorist Organizations,” July 14, 2010,
https://www.judiciary.senate.gov/imo/media/doc/07-14-10%20Kohlmann%20Testimony.pdf In it, Kohlmann notes
that the Saudis put an associate of bin Ladin’s, Wa’el Julaidan, as the director of the Saudi Joint Committee for the
Relief of Kosovo and Chechnya, the organization responsible for coordinating Saudi-originated assistance in
Kosovo.
396
    See ARB-00038116 for Al-Haramain sponsorship of activities in Kosovo. See “How Kosovo Was Turned Into
Fertile Ground for ISIS, Extremist clerics and secretive associations funded by Saudis and others have transformed a
once-tolerant Muslim society into a font of extremism,” New York Times, May 21, 2016.
https://www.nytimes.com/2016/05/22/world/europe/how-the-saudis-turned-kosovo-into-fertile-ground-for-isis.html
397
    ARB-00039948-9949
398
    ARB-00039950-3951
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    ARB-00038079-8081
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    ARB-00039954-3955
401
    ARB-00039958-9959
402
    ARB-00038090-8091
403
    ARB-00038098-8099
404
    ARB-00381003-8101

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        8.20.15. May 8, 2000. Withdrawal by ARB check Aqil al Aqil, 187,500. Currency S.R.
                 Payor: SAAR Foundation.405

                 8.20.15..1. Based on the context of this transaction, I understand the “Aqil al
                             Aqil” referenced here to be the then-Chairman, Director General, or
                             President of Al-Haramain, later identified by the U.S. Treasury
                             Department as “a suspected al Qaida supporter “who was responsible
                             for all [Al-Haramain] activities, including its support for terrorism,”
                             and sanctioned by OFAC as a Specially Designated Global Terrorist
                             on June 2, 2004.406

        8.20.16. May 18, 2000. Withdrawal by ARB check Al-Haramain Islamic Foundation,
                 150,000, Account 6006, Currency: S.R. Payor: SAAR Foundation. Recipient, not
                 identified; I note redactions.407

        8.20.17. June 10, 2001. Withdrawal by ARB check, 145,000, Account 6006. Currency:
                 S.R. Payor: SAAR Foundation. Recipient: Not identified; I note redactions.408

        8.20.18. November 13, 2001. Withdrawal by ARB check, 187,5000, Account 6006.
                 Currency: S.R., Payor: SAAR Foundation. Recipient: Not identified; I note
                 redactions.409

        8.20.19. June 3, 2002. Withdrawal by ARB check, 100,000, Account 6006. Currency:
                 S.R. Payor: SAAR Foundation. Recipient: Not identified; I note redactions.410

        8.20.20. June 23, 2002. Two withdrawals by ARB check, for 100,000 and for 100,000,
                 Account 6006. Currency S.R. Payor: SAAR Fo undation. Recipient: Not
                 identified; I note redactions.411

        8.20.21. August 18, 2002. Two withdrawals by ARB check, for 55,000 and for 120,250,
                 Account 6006. Currency S.R. Payor: SAAR Foundation. Recipient: Not
                 identified; I note redactions.412

        8.20.22. August 27, 2002. Withdrawal by ARB check, 100,000, Account 6006. Currency:
                 S.R. Payor: SAAR Foundation. Recipient: Not identified; I note redactions.413


405
    ARB-00038102-8103
406
    “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” U.S. Treasury Department Press Release, June 2,
2004, https://home.treasury.gov/news/press-releases/js1703 See also Treasury link specifying Aqil al Aqil’s
designation as a Specially Designated Global Terrorist at https://ofac.treasury.gov/recent-actions/20040602
407
    ARB-00038104-8105
408
    ARB-00038082-8083
409
    ARB-00038106-8107
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    ARB-00038084-8086
411
    ARB-00038088-8089
412
    ARB-00038092-8094
413
    ARB-00038096-8097

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        8.20.23. The total of the donations set forth in this group of documents on Account 6006
                is approximately 2.2 million S.R., which I calculate to amount to about
                $586,572, as the exchange rate was essentially fixed throughout the period. In
                today’s dollars, this figure would be somewhat more than $1 million. About half
                of these donations were made prior to the 9/11 attacks.

8.21.   While the information directly provided in these documents is parsimonious, it does
        contain some useful indicators about the likely uses of these donations by inference when
        these documents are cross-referenced with the findings made by the CIA regarding ARB,
        the Al Rajhi family, and Al-Haramain.

        8.21.1. As the Treasury Department found, al-Aqil led Al-Haramain’s global activities in
                this period.

        8.21.2. Al-Aqil is explicitly listed in one of the ARB documents as the recipient of one of
                the payments, on May 8, 2000, in the amount of 187,500 S.R. Transaction on two
                other dates are also for this exact amount of 187,500 – April 8, 1999 and
                November 13, 2001, making this look like some form of recurring payment.

        8.21.3. The April 8, 1999 documents list the recipient as Al-Haramain.

        8.21.4. Given the explicit listing of al-Aqil on one of these three checks, al-Aqil’s role as
                head of Al-Haramain, many ARB documents referencing al-Aqil’s direction of
                Al-Haramain’s accounts,414 and the U.S. government’s finding that “Al-Aqil
                controlled AHF [Al-Haramain] and was responsible for all AHF activities,
                including its support for terrorism,”415 I conclude that it is likely that al-Aqil
                controlled the uses of all of the funds provided from the 6006 account of the
                SAAR Foundation set forth in these documents.

        8.21.5. Taken as a whole, and read with the knowledge I have from the other documents I
                have cited in this section of this Expert Report, these documents are consistent
                with and provide documentary evidence consistent with the CIA’s findings
                regarding the use of Al-Haramain to “Support Extremists and Terrorists,”416 and
                the use of ARB as a “Conduit for Extremist Finance”417 through ARB’s provision
                of banking services to Al-Haramain.418

        8.21.6. They also document the support of SAAR, and the SAAR Foundation for Al-
                Haramain in at least one war zone (Kosovo) where al Qaeda was active. Other
                ARB documents, discussed later in this section, show similar support to several

414
    See as examples ARB-0038988, ARB-00039000, ARB-00038279; ARB-00038284, ARB-00039484, ARB-
00038461, ARB-00038456, ARB-00038428, ARB-00038426, ARB-00038372, ARB-00038361, ARB-0038335,
ARB-00038347, ARB-0038335, ARB-00038295, ARB-00038302, ARB-00038441.
415
    “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” U.S. Department of the Treasury, id
416
    CIA-SUB_0007-0019
417
    CIA-SUB_0001-0006
418
    CIA-SUB_0004

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                 other areas of conflict between Muslims and non-Muslims – Bosnia, Chechnya,
                 and Palestine.

8.22.     Other documents provided in discovery by ARB are evidence of the broader account
          relationship of Al-Haramain to ARB, and confirm al-Aqil’s status as the co-signatory on
          most of the accounts held by Al-Haramain at ARB.

          8.22.1. A document on Al-Haramain’s letterhead with its logo and emblem dated
                 September 26, 1994, from al-Aqil, to the Director of the Al Olaya Street General
                 Bramch of ARB, lists what it describes as “the numbers of the Al-Haramain
                 Islamic Foundation’s accounts,” with “you.” In the letter, Al Aqil asks the ARB
                 Director, identified only as “Brother Mohamed al Ahmadi,” to “not cash out or
                 transfer any amount from these accounts – either between these accounts or to
                 different accounts – without formal checks issued by the Al-Haramain Islamic
                 Foundation and coded by SAMA,” the Saudi banking regulator for ARB, warning
                 that “[i]f any amount is withdrawn in a manner contrary to the instructions above,
                 we shall have no liability in the future.”419

          8.22.2. The following (and second) page of the document lists Al-Haramain as
                  maintaining just eleven accounts at ARB, rather than the 95 referred to by
                  Galloway as being opened maintained in the period 1998-2002. As the time
                  periods are different, I cannot determine whether the al-Aqil accounts cover all or
                  only some of the accounts maintained in 1994 by ARB on behalf of Al-Haramain.
                  It is possible they cover only the accounts maintained at the Al Olaya Street
                  branch of ARB

          8.22.3. The second page describes the accounts as covering distinct purposes and regions,
                  but does so only in general terms, which are not fully consistent with Galloway’s
                  testimony, which described each account as being project based. Instead, the
                  second page shows the accounts being labeled in very broad terms, as follows:

                 8.22.3..1. Account No 41 General Account

                 8.22.3..2. Account No 90 Europe Committee

                 8.22.3..3. Account No 09 Africa Committee

                 8.22.3..4. Account No 98 Zakat

                 8.22.3..5. Account Number 92 Continuous Alms (Inside Saudi Arabia)

                 8.22.3..6. Account Number 89 Indian Subcontinent Committee

                 8.22.3..7. Account Number 33 Mosques Committee



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      ARB-00038534

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                 8.22.3..8. Account Number 50 Middle East Committee

                 8.22.3..9. Account Number 47 Iftar of Fasting People Committee

                 8.22.3..10. Account Number 88 Sponsorships Committee

                 8.22.3..11. Account Number 80 Islamic Book Publishing Committee420

          8.22.4. Al-Aqil is listed as a co-signatory on eight of the eleven accounts, and all of the
                  geographically specific accounts, except Europe, which lists a different al-Aqil,
                  Abdel Rahman al Aqil, as a cosignatory.

          8.22.5. None of the account numbers, provided by ARB in a partially redacted form
                  leaving only the two numbers per account I have specified, correspond to the
                  number “06,” the last two digits of the “6006” account reflecting the donations
                  made by the SAAR Foundation to Al-Haramain I have reviewed in this section
                  of this Expert Report.

          8.22.6. A second, undated document from Al-Haramain’s head office, provided by ARB
                  in discovery, which may be from a later time, does reflect an account with the
                  last two digits “0/6,” for one of 15 accounts the document states Al-Haramain
                  holds at ARB as of that unspecified date. This account is described as the
                  “Tawhid Endowment,” which is further described as “a charity endowment
                  whose revenue is spent for all types of charity.”421

          8.22.7. Redactions on this document as provided by the attorneys for ARB obscure the
                  identity of the branch to which account corresponds. Eight of the 15 accounts
                  corresponded to the account names listed in the earlier document, but not a single
                  one of these accounts has the same last two digits as those reflected in the 1994
                  document. My ability to understand and analyze this apparent discrepancy or
                  change of numbering is impaired by the redactions in the document, accordingly,
                  I do no more than note that it was not possible for me to track the accounts and
                  their purposes given the limitations on and the redactions contained within the
                  documents as provided.

          8.22.8. The undated document does, however, provide some additional significant
                  information regarding the geographic scope of the ARB-Al-Haramain
                  relationship, in that it specifies separate accounts for “Asia,” “Africa,” and
                  “Europe.” Oddly, the project descriptions or “Statements” about the uses of these
                  funds in the document do not always fully align with the geographic labels. For
                  example, the “Asia Committee” handles donations for both “Palestine” and
                  “Chechnya.” Chechnya, which is part of Russia, is located in Europe, in the
                  Caucusus. The “Europe” programs that are geographically identified in the
                  document are “Albania,” “Bosnia,” and Kosovo.” Like Palestine and Chechnya,

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      ARB-00038535
421
      ARB-00038116

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                     Bosnia and Kosovo had active military conflicts in the 1990’s, and became
                     incubators of terrorism. As discussed elsewhere in this Expert Report, all of these
                     countries, including Albania, were locations which had been targeted by bin
                     Ladin and al Qaeda or its predecessors for support in the 1990’s, and Al-
                     Haramain’s activities in these countries were all shut down due to their pervasive
                     links to terrorism, eventually with the agreement of the Saudi government, in the
                     coordinated closures and sanctioning of Al-Haramain previously descibed in this
                     Expert Report.

          8.22.9. The undated document also provides evidence of the close coordination of Al-
                  Haramain and ARB on deposits for particular projects in particular countries,
                  such as the countries specified in the document that had active military conflicts
                  in this period. It states: “Note, please deposit the donations allocated to a specific
                  country to the account of the concerned committees (Asia Committee, Europe
                  Committee, Africa Committee). . . The deposit notice – together with the purpose
                  of donation – shall be sent to Fax No. 4623306.”422

          8.22.10. Given the process expressly outlined above, there should have been documents
                  maintained by ARB with fax headings of a phone number including the numbers
                  “4623006,” showing the purpose of every donation made to Al-Haramain,
                  including any donations made by SAAR and/or the SAAR Foundation to Al-
                  Haramain. I have not had access to any such documents, and upon inquiry,
                  understand that none have been produced by ARB through the discovery process.
                  Such documents, specifying the purpose of each donation, would very likely be
                  material to answering questions about the extent of the relationship between
                  ARB and Al-Haramain with regards to the handling of particular donations;
                  whether such donations were being made to areas of terrorist finance risk; and
                  whether ARB met its banking compliance obligations to ensure that it was not
                  facilitating the support to such improper areas of funding by charities as support
                  for military activity. I do not have information as to whether such documents still
                  exist and if so, why they have not been provided. If they existed, they should
                  have been preserved under applicable document retention schedules at ARB, and
                  if they were archived, warehoused, or destroyed, there should be records of
                  documenting what happened to them.

          8.22.11. The ARB documents are generally consistent with the statements made by the
                   Treasury Department in designating al-Aqil for sanctions that “[u]nder Al-Aqil’s
                   leadership, AHF implemented its tasks through its offices and representatives,
                   which span more than 50 countries around the world. AHF maintained nine
                   general committees and several other active committees that included the
                   Continuous Charity Committee, African Committee, Asian Committee, Da’wah
                   and Sponsorship Committee, Masjid Committee, Seasonal Projects Committee,
                   Doctor’s Committee, European Committee, Internet and the American
                   Committee, the Domestic Committee, Zakaat Committee and the Worldwide


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      ARB-00038116

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                  Revenue Promotion Committee.”423

        8.22.12. Given the close correspondence of these committees of Al-Haramain shown on
                 the ARB documents, I assess that ARB was providing the banking services to
                 Al-Haramain and to al-Aqil by which he provided the funding for the terrorist
                 activities described by the Treasury Department, and which became the basis for
                 the sanctions of Al-Aqil and Al-Haramain by the United States, and for the
                 sanctions on Al-Haramain by Saudi Arabia and the UN.

8.23.   The documents provided in discovery also show a set of payments made in 1999 by
        SAAR and/or the SAAR Foundation to a number of Islamic charities and causes, which
        were then allocated to be paid, as if actually paid, by the Humana Charity Trust, a SAAR
        Foundation related charity that was originally in the United States and then ostensibly
        moved to the Isle of Man. Based on the documentation provided, I conclude that the
        payments, in Saudi Riyals, were likely paid in Riyadh through ARB, and did not actually
        involve the U.S. (or Isle of Man) component of SAAR, all as directed by SAAR. These
        payments included one to Al-Haramain, in the amount of 600,000 S.R. The columns for
        the Check No. and the column for the “Check Date and Cashing” are both left blank.424

The Al-Misfer Activity: Simultaneously Representing SAAR and Al-Haramain, Al Misfer
Received Many Payments Through ARB
8.24.   The documents provided in discovery also show a set of payments made by the cofounder
        and then-head of ARB, Suleiman Al Rajhi (previously defined as “SAAR”), and the
        SAAR Foundation to al Misfer, Director of Al-Haramain’s Palestine Division, prior to
        the 9/11 attacks, at the 6006 Account at ARB. In addition to serving as an officer of Al-
        Haramain, Al Misfer was also an official of the SAAR Foundation, and receiving
        payments from an account held at ARB.425

8.25.   These payments included:

        8.25.1. January 12, 1999 payment by ARB check to Abdullah bin Ibrahim al Misfer,
               20,000, Account 6006, Currency S.R. Payor: SAAR (listed on document as
               “Shiekh Suleiman al Abdel Aziz al Rajhi.”)426


423
    “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” U.S. Department of the Treasury, id,
424
    The payment to Al-Haramain is contained at NL 0015046. The documents I rely on for this part of this Expert
Report include NL 0015572, NL 0015578, NL 0015043-5046,
425
    See NL 9625, draft letter by      stating: “Currently the Charity office is managed by Abdul Rahman Bin
Abdullah Al Rajhi, Saleh Bin Sulaiman Al-Habdan and Abdullah I. Al-Misfer,” December 28, 2000; NL 9623, letter
from al-Misfer to Executive Director of “Islamic Call at Universities,” in Garden Grove, California, stating that he
works for the “Al-Rajhi Charity Office,” August 24, 1999. See also “The Al-Haramain Islamic Foundation
Launches a Donation Campaign for the Palestinians,” Al-Jazirah, April 8, 2002, referring to al-Misri as head of the
Palestine Division of Al-Haramain, https://www.al-jizirah.com/2002/200020408/In29.htm; and the online article,
“Achievements of Al-Haramain Charitable Foundation in Palestine,” available in Arabic, with a Google translation
to English, p. 3, www.alminbar.net/haramain.htm.
426
    NL 0010327

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        8.25.2. February 6, 1999 payment by ARB check to Abdullah bin Ibrahim al Misfer,
                5000, with purpose indicated in handwriting, “to be handed to propagator Qassim
                Mohamed from Mali.” Account 6006, Currency S.R. Payor: SAAR.427

        8.25.3. February 6, 1999 payment by ARB check to Abdullah bin Ibrahim al Misfer,
                9375, with purpose indicated in handwriting, “received for the benefit of
                propagators in Sierra Leone.” Account 6006 Currency S.R. Payor: SAAR.428

        8.25.4. February 6, 1999 payment by ARB check to Abdullah bin Ibrahim al Misfer,
                72,000, with handwritten note, “I received the check – Abdullah Ibrahim al
                Misfer,” Account 6006 Currency S.R. Payor: SAAR.429

        8.25.5. April 5, 1999 payment by ARB check to Abdullah bin Ibrahim al Misfer, 23,375,
                with handwritten note, “The check was received – to be handed to Brother
                Abdullah al Misfer.” Account 6006, Currency S.R. Payor: SAAR430

        8.25.6. May 22, 1999 payment by ARB check to Abdullah bin Ibrahim al Misfer,
                235,000, with handwritten note, “Accounts Division – I handed a copy to Omar –
                hand the check to Brother al Misfer.” Account 6006, Currency S.R. Payor:
                SAAR431

        8.25.7. [Date Truncated Number] 1999, payment by ARB check to Abdullah bin Ibrahim
                al Misfer, 104000, with handwritten note, “the check was received – to be handed
                to Brother Abdullah 8-11/13.” Account 6006, Currency S.R. Payor: SAAR.432

8.26.   Separately, a year earlier, on August 24, 1999, Al-Misfer himself wrote the Executive
        Director of an Islamic NGO, the Islamic Call at Universities based in Garden Grove,
        California, to inform him that the “Al-Rajhi Charity Office I am working for, has already
        allocated an amount of US$5000 and sent to to you by cheque No 00092033 dated
        12/04/1999,” which I assume to mean April 12, 1999 to make sense of the chronology.433

8.27.   Al Misfer’s relationships with ARB, SAAR, and the SAAR Foundation are also
        significant because in addition to having a role at Al-Haramain, Al Misfer was involved
        with the IIRO. Years earlier, on May 30, 1995, the IIRO had written the Chief of Protocol
        of the Tanzania Ministry of Foreign Affairs to request use of the “V.I.P. Facilities” on
        arrival at Dar es Salaam for a six person official delegation of the IIRO to Tanzania,
        which included SAAR, “Saleh Al-Habdan,” and “Abdullah al-Misfer” and three others,
        suggesting that the SAAR’s “Charity office team had already been working for or with



427
    NL 0010348
428
    NL 0010349
429
    NL 0010350
430
    NL 0010145
431
    NL 0010423
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    NL 0010194
433
    NL 0009623

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         both SAAR and the IIRO since at least 1995.434

         8.27.1. The location of the visit itself reflects the close links between the non-SAAR
                 Da’Wah Organizations and their support by SAAR, the SAAR Foundation and its
                 senior personnel, and ARB. A former director of Al-Haramain’s offices in Dar es
                 Salaam was later found linked to the bombing of the U.S. Embassy there on
                 August 7, 1998.435 The IIRO was also linked to the Dar es Salaam terrorist attack,
                 as well as the one in Nairobi.436

8.28.    The evidence shows that Al-Misfer was not only the head of Al Harimain’s Palestinian
         relief efforts, but was part of an official mission of the IIRO to another country, Tanzania,
         where these charities were then linked to terrorist attacks on U.S. Embassies. He was
         simultaneously acting as a senior officer of the SAAR Foundation, and receiving checks
         that were personally donated by the cofounder of ARB, the then-head of ARB, and the
         then-head of the SAAR Foundation, SAAR, all at a time that the CIA found Al-Haramain
         was being used systematically to “Support Extremists and Terrorists,” and ARB was
         being used as a “Conduit for Extremist Finance” through ARB’s provision of banking
         services to Al-Haramain.437

8.29.    Another example of the IIRO-ARB relationship from documents provided in discovery in
         this case is a “Circular” sent by IIRO, in its capacity as a component of the MWL, which
         is also identified on the circular, asking preachers and imans at mosques in Saudi Arabia
         to collect donations in collection boxes to be used to support “the Blessed Al-Aqsa
         Intifada in the Mecca Region” by making donations to “our brethen in the Intifada,”
         dated February 24, 2001, which were then to be deposited in a fund for “Al-Aqsa Martyrs
         and Orphans” at the ARB Heraa Branch in the city of Jeddah.438

         8.29.1. The Al-Aqsa Intifada is a term that has been used in Arab countries, and
                 particularly by Palestinians, for the Palestinian-Israeli conflict otherwise known as
                 the Second Intifada from 2000 to about 2005, in which about 4000 people died.439


434
     IIRO 314040
435
     Al-Haramayn Foundation Designation, UN Security Council, Sanctions Committee website,
https://www.un.org/securitycouncil/sanctions/1267/aq sanctions list/summaries/entity/al-haramayn-foundation-
%28tanzania%29
436
    “Two Muslim Charities Under Scrutiny,” Washington Post, September 30, 2001,
https://www.washingtonpost.com/archive/politics/2001/09/29/muslim-charities-under-scrutiny/a72826c9-5789-
4d31-844a-c0452c89e43f/
437
     CIA-SUB_0007-0019 and CIA-SUB_0001-0006. For SAAR’s personal history, and his cofounding of ARB
with his brother, see e.g. “Sulaiman Al-Rajhi’s life a rags to riches story,” May 30, 2012,
https://www.arabnews.com/economy/sulaiman-al-rajhi%E2%80%99s-life-rags-riches-story, which includes an
extended interview with SAAR, and which describes him as the founder of ARB. Other references to ARB describe
him as its cofounder, with his brother Saleh. See e.g. Profile of SAAR, Arabian Business,
https://www.arabianbusiness.com/lists/power-100-290344-htmlitemid290400. Yet other references list additional Al
Rajhi brothers as among the cofounders of ARB. For the purpose of this Expert Report, I refer to SAAR as the
“founder” or “cofounder” of ARB.
438
     IIRO 285616
439
     “The Al-Aqsa Intifada,” 2000, Institute for Palestine Studies, https://www.palestine-studies.org/en/node/1651665

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         8.29.2. The document by its own terms reflects ARB being used by IIRO to hold funds
                 collected for the purpose of providing charitable support relating to an armed
                 conflict. Superfically, this would be characterized as humanitarian assistance
                 distributed to “orphans.” But by its terms, it also included support to “martyrs,”
                 which in that period was a category of people that included intifada participants of
                 all categories – including those who died not only in armed conflict against Israeli
                 soldiers, but terrorists who caused their own deaths in suicide bombing attacks,
                 died shooting Jews attending religious events, or died in the course of blowing up
                 teenagers at discos.440

         8.29.3. An account held at IIRO captioned “Donations for Al Aqsa Martyrs and
                 Orphans,” had deposits of 25,751,459.49 SRs in the time period October 10, 2000
                 through December 31, 2002, with withdrawals during that period of
                 12,364,332.45 SRs (equivalent to roughly $3.3 million in 2000, or about $5.8
                 million as of 2023).441 During that twenty-six month period, terrorist attacks on
                 Americans in Israel took place roughly once a month, killing and injuring dozens
                 of Americans by means of suicide bombings, bombings of buses and bus stations,
                 shootings, stabbings, attacks on private cars and on taxicabs, and the use of
                 explosive devices.442

8.30.    Evidence in the ARB documents also shows ARB was taking instructions in 1992 from
         one of the IIRO’s leaders, Abdel Hamid al Mujil (spelled “Mujal: in the translated ARB
         document),443 who was deeply implicated in terrorist finance relating to al Qaeda
         activities in Southeast Asia, and sanctioned by the U.S. as a SDGT on August 3, 2006.
         The U.S. Treasury found that Al-Mujil, who they described as “a high-ranking IIRO
         official in Saudi Arabia. . . used his position to bankroll the al Qaida network in
         Southeast Asia,” had “a long record of supporting Islamic militant groups, and . . .
         maintained a cell of regular financial donors in the Middle East who support extremist



440
    There is extensive information available on this phenomenon in this period online, which at the time reflected
Saudi state policy. One useful source is material published by the U.S. Director of National Intelligence at
https://www.dni.gov/nctc/ftos.html, which contains chronologies of terrorist events, including Palestinian suicide
bombings. See also the 2002 report of Human Rights Watch on the subject, “Financial and Logistical Support,”
which includes annotations on the sources for their information on the phenomenon of payments to martyrs being
part of the support for maintaining the armed conflict. https://www.hrw.org/reports/2002/isrl-pa/ISRAELPA1002-
06.htm. See also Palestinian Foreign Aid: Saudi Financial Aid, by Steven Stalinsky (July 2003),
https://www.jewishvirtuallibrary.org/saudi-financial-aid-to-the-palestinian-authority For a contemporaneous
account of the disco bombing, which occurred shortly after the date of the circular, see “Suicide bombing at Israeli
disco kills 17,” CNN.com, June 1, 2001 http://www.cnn.com/2001/WORLD/meast/06/01/israel.explosion.03/
Americans were among those killed in Israel in the course of the 2nd Intifada, both before and after the 9/11 attacks.
Those killed before the 9/11 attacks in the course of the 2nd Intifada included a number of Americans. See
“American Victims of Terrorist Attacks (1970 – Present),” compiled by the Jewish Virtual Library, which specifies
them by name, age, and the date and circumstances of each of the terrorist attacks.
https://www.jewishvirtuallibrary.org/american-victims-of-terrorist-attacks
441
    Account SA                            0156, ARB-00040444-ARB-00040543.
442
    Chart, “American Victims of Terrorist Attacks,” https://www.jewishvirtuallibrary.org/american-victims-of-
terrorist-attacks
443
    ARB-00013503-3506

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        causes.”444 He was also designated the next day by the UN for supporting terrorism, and
        delisted there about five years later as part of the UN’s normal delisting process when a
        person is no longer considered to be a terrorist finance threat.445

8.31.   The evidence shows that al Mujil, as head of the IIRO Eastern Province Office in Saudi
        Arabia, was the person directing ARB to recognize signatories as authorized on IIRO
        accounts when they were opened for that office. The ARB records show al Mujil as
        continuing to provide such instructions to ARB on these accounts as late as September 2,
        2001.446

Additional Indicators of ARB, SAAR, SAAR Foundation, and WAMY Relationship
8.32.   Additional checks that appear to be written by SAAR himself directly from one or more
        accounts he appears to have personally maintained at ARB, and funneled in some cases
        through WAMY, add further to the evidence. These include:

        8.32.1. A January 1999 payment [information regarding specific day in January
                truncated] from SAAR personally, by ARB bank check to the order of WAMY,
                75,000, no purpose specified.447

        8.32.2. February 8, 1999, payment by ARB check to the order of WAMY, 37500, “which
                is a donation from Sheikh Suleiman bin Abdullah Alrajhi for the benefit of the
                Institute of Information and Islamic Culture in Chicago, USA,” drawn on ARB
                Head Office, Riyadh, undertaken by Abdul Rahman Bin Abdullah Alrajhi, “To be
                cashed out at all of our branches in the Saudi Kingdom.”448

        8.32.3. Payments by ARB check to the order of various persons “to sponsor charity,”
                with donations from SAAR for the benefit of various local Islamic NGOs,
                including the Dar Al Hijrah Association in the Philippines (60,000 S.R.),
                February 4, 1999; the Da’Wah and Islamic Culture Organization in Ethiopia
                (100,000 S.R.), February 4, 1999; the Ibn al Qasim Islamic Center, Pakistan
                (10,000 S.R.), Febrary 4, 1999; the Islamic Da’Wah Organization in Khartoum
                (50,000 S.R.), February 4, 1999; and the Saudi Charity School in Islamabad,
                Pakistan (334,000 S.R.), February 8, 1999.449

        8.32.4. The February 8, 1999 donation and payment from SAAR to WAMY, to pay to an
                Institute for Islamic Culture in Chicago, in the United States, drawn on what

444
    “Treasury Designates Director, Branches of Charity Bankrolling Al Qaida Network,” August 3, 2006
https://home.treasury.gov/news/press-releases/hp45
445
    “Security Council Committee Adds One Individual, One Entity To Al-Qaida Sections Of Consolidated List, 4
August 2006, Security Council SC/8801 https://press.un.org/en/2006/sc8801.doc.htm “Security Council Al-Qaida
Sanctions Committee Deletes Abd al Hamid Sulaiman Muhammed al-Mujil from Its Sanctions List,” 1 July 2013,
Security Council SC/11053 https://press.un.org/en/2013/sc11053.doc.htm
446
    ARB-0013503-3506; ARB-00013669
447
    NL0010333
448
    NL0010465
449
    NL0010500, NL0010501, NL0010504, NL0010505, NL0010508, NL0010509

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                 appears to be a ARB bank check, rather than a personal account, and which is
                 listed as “For Al Rajhi Banking & Investment Account” on the original check
                 itself: (the translated text does not include this reference) speaks directly to the
                 “unique relationship” between ARB, SAAR, and WAMY. Here, the head of ARB
                 and of the SAAR Foundation is directing another member of his family, Abdul
                 Rahman Bin Abdullah al Rajhi, who is a senior official at the SAAR Foundation
                 (Director General), established by the head of ARB, to make a payment to another
                 Saudi charity in Saudi Arabia that has been linked to terrorism, which in turn is
                 supposed to pay it to a U.S.-based Islamic Institute for purposes described simply
                 as “charity.”

        8.32.5. The other donations and payments involving ARB and SAAR did not go through
                WAMY, but were in other respects substantively similar to the payment allocated
                to go to Chicago. Each was made through an account at ARB, at SAAR’s request.
                Based on the documents provided, the records suggest the funds were drawn
                directly from the Al Rabwah Branch of ARB (not, apparently, from anyone’s
                particular account), to a designated person on behalf of a separate designated
                Islamic charity in another (non-Saudi) country, that is, Ethiopia, Indonesia,
                Pakistan, the Philippines, and Sudan – each one of which is a country that had, at
                the time, a notable presence of Islamic extremism linked to al Qaeda, and a
                notable presence of Al-Haramain and IIRO during periods that various
                components of these NGOs were linked to supporting terrorism.450

        8.32.6. Separately, the head of the SAAR Foundation, and other entities that were part of
                the SAAR network of charities and companies in the United States, including
                Humana,                , communicated to Abdullah al Rajhi, SAAR’s son and
                then a high ranking official of ARB, and now ARB’s Chairman, on October 31,
                2000, regarding a payment to WAMY that            was directed by Abdullah al
                Rajhi to make (ostensibly on behalf of the charity committee created by SAAR
                and the SAAR Foundation which selected the receipients of the donations), in the
                amount of 338,500 S.R. (about $84800).451 The payment was one among many
                ostensibly “made” by Humana in the United States, but actually made by SAAR
                and/or the SAAR Foundation or those associated with them in Riyadh, at the
                direction of SAAR.452

                 8.32.6..1. In the letter,     advised that the U.S. Internal Revenue Service was
                            asking about the addresses and contact names for the organizations

450
    For Ethiopia presence of al Qaeda prior to the 9/11 attacks see e.g. “Al Ittihad Al Islamiya,” profile, Stanford
University, last updated June 18, 2016, tracing its origins there to the early 1990s with a detailed chronology of
events, primarily in the mid-1990s. The Stanford compendia also provides a bibliography of citations on al Qaeda in
Ethiopia. http://stanford.edu/group/mappingmilitants/cgi-bin/groups/print_view/99 Elsewhere in this Expert Report
I have specified examples of the al Qaeda presence pre-9/11 in Indonesia, Pakistan, the Philippines and Sudan. For
Al-Haramain presence and involvement in terrorism, see UN sanctions reports on Al-Haramain at
https://www.un.org/securitycouncil/sanctions/1267/aq sanctions list/summaries/entity/al-haramain-%26-al-masjed-
al-aqsa-charity-foundation
451
    NL 0015572
452
    NL 0015044-5047, NL 0009625

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                            who had received the money, and           needed them to respond to the
                            IRS. Thus, the head of the entity that had purportedly made the
                            payments did not have information concerning the recipients.

                 8.32.6..2. The         communication and related documentation highlighted
                            again the unique nature of the relationship between ARB, its
                            principals, such as SAAR himself, the SAAR Foundation, and WAMY.
                            Here, a U.S. officer of the SAAR Foundation has been directed to
                            make a donation to WAMY that appears to have actually not involved
                            the U.S. officer of the company, or indeed, anyone in the U.S. at all,
                            raising the question of why a Saudi Arabian charity (SAAR
                            Foundation) controlled by the head of a Saudi Arabian bank (ARB),
                            would choose to structure a payment to a Saudi charity, WAMY,
                            through creating a paper trail that the donation was made through an
                            entity in the United States. I have reviewed evidence that provides an
                            explanation for the reason. In subsequent sections of this Expert
                            Report, addressing bank compliance issues, I address this issue further.

8.33.     The relationship between SAAR and the SAAR Foundation with WAMY is illustrated by
          direct payments by SAAR and the SAAR Foundation to WAMY. Those provided in the
          discovery by WAMY document the following:

          8.33.1. A donation by SAAR and the SAAR Foundation on October 14, 2001, in the
                  amount of 131,250 S.R, to an Islamic Research Foundation in India, but enclosed
                  to the Secretary General of WAMY, Dr. Manei bin Hammad al Juhani, for
                  WAMY to forward funds from the SAAR Foundation through WAMY to the
                  designated charitble recipient in Mumbai India. This transaction was handled by
                  the Director General of the SAAR Foundation Abduel Rahman bin Abdullah Al
                  Rajhi.453

          8.33.2. A donation by SAAR and the SAAR Foundation on June 17, 2002, in the amount
                  of 130,000 S.R., to various projects in Brazil, Canada, The Czech Republic,
                  Poland, Malawi – Ivory Coast for courses in “Sharia” and youth camps, including
                  Da’Wah Camps, again through WAMY through correspondence from Abdul
                  Rahman Bin Abdullah al Rajhi to the Secretary General of WAMY, al Juhani.454

8.34.     These two payments took place after the 9/11 attacks. However, they provide further
          evidence of the close ongoing relationship between WAMY, SAAR, and the SAAR
          Foundation reflected in the pre-9/11 documents I have already cited in this section of my
          report.




453
      WAMYSA 102829
454
      WAMYSA 502115

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Additional Indicators of ARB, SAAR, SAAR Foundation and MWL Relationship
8.35.   The ARB documents I have reviewed include evidence that shows that MWL used IIRO
        as the mechanism to carry out activities in foreign countries, rather than engaging in
        direct financial activity itself through ARB. While there are perhaps a handful of
        transactions involving transfers to or from MWL in the documents provided to me, the
        core of the relationship with ARB relating to MWL is MWL providing its imprimature of
        approval or authorization to ARB to carry out activities for IIRO. Thus, many of the IIRO
        documents I have reviewed relating to financial transactions it carried out at ARB also
        carry the logo, letterhead, and/or insignia of MWL alongside those of IIRO. In some
        cases, documents state in effect that IIRO’s financial activities are all being carried out
        under an authorization or mandate from MWL.455

8.36.   The Circular regarding IIRO’s support to the Palestinian Second Intifada, instructing
        IIRO ofices to coordinate with preachers and imams to collect funds for deposit in an
        IIRO account at ARB for “Al-Aqsa Martyrs and Ophans” carries with it the Muslim
        World League imprimature, in both English and Arabic, although the rest of the original
        document is in Arabic only.456

8.37.   One document shows a donation from ARB’s cofounder and head, SAAR, and the SAAR
        Foundation to the MWL, but as with the similar payment to WAMY referred to in the
        WAMY portion of this section, the donation is structured in a fashion that makes little
        rational sense. Like the WAMY donation from SAAR characterized as coming through
        Humana in the U.S. but actually apparently made in Riyadh, the MWL donation is set
        forth in the list of “Foreign and Domestic Aid for the Year 1419,” or 1999 by the
        Gregorian Calendar, sent to U.S. SAAR Foundation head            that he ws directed to
        pay by representatives of SAAR or the SAAR Foundation. The payment is in the amount

455
    See e.g. ARB-00013505, ARB-00040258, IIRO 285616, ARB-00014455, the last of which is explicit on the
principle that the IIRO is carrying out work under the authority of the MWL: “Since His Eminence Dr. Abdullah
Omar Nassif – the former Secretary General of the Muslim World League – was appointed as Vice President of the
Shura Council, and since Dr. Ahmed Mohamed Ali was chosen as Secretary General of the Muslim World League,
he became the President of the International Islamic Relief Organization’s Constituent Assembly. Please note that
the Saudi Arabian Monetary Authority SAMA [Currently: Saudi Central Bank] received the letter of His Eminence
Dr. Ahmed Mohamed Ali – Secretary General of the Muslim World League and President of the International
Islamic Relief Organization’s Constituent Assembly – No. 1S./27/M, dated 09/02/1415 AH (July 17, 1994 AD),
about informing all banks operating in the Saudi Kingdom to open the accounts of the International Islamic Relief
Organization upon an authorization by the Secretary General of the Muslim World League & Chief of the
International Islamic Relief Organization’s Board of Directors – Dr. Ahmed Mohamed Ali – or by Vice President of
the International Islamic Relief Organization’s Constituent Assembly and General Supervisor – Dr. Farid Mohamed
Yassin Qurashi. A 1992 document also states this relationship clearly: “The Saudi Arabian Monetary Authority
SAMA [Currently: Saudi Central Bank] received the letter of the Secretary General of the Muslim World League &
Chief of the International Islamic Relief Organization’s Borad of Directors No. 298, dated 30/04/1412 AH
(November 06, 1991 AD), about authorizing all banks operating in the Saudi Kingdom to open accounts for the
International Islamic Relief Organization upon an authorization by [Handwriting: 1] the Secretary General of the
Muslim World League & Chief of the International Islamic Relief Organization’s Board of Directors – Dr. Abdullah
Omar Nassif – or by Vice President of the International Islamic Relief Organization’s Constituent Assembly and
General Supervisor – Dr. Farid Mohamed Yassin Qurashi. No one other than the two mentioned persons may do this
action.” ARB-00014347
456
    See English translation and Arabic original, IIRO 285616

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        of 2,215,000 S.R., and is specified as being designated for the “Mecca Association,” with
        the columns for “Check No” and “Check Date and Cashing” left blank.457

Summary Regarding Indicators of ARB Relationship with the Da’Wah Organizations
8.38.   The approximately twenty-five pages of this Expert Report that I have taken to answer
        this question covers two major types of evidence. I first reviewed the evidence set forth in
        the “outside” assessment of these relationships formed over years of analysis by the CIA
        which led to it concluding that ARB was a conduit for terrorist finance, including for the
        particular charities whose branches were ultimately sanctioned by the United States and
        by the UN for terrorist finance (Al-Haramain, IIRO). I then reviewed ARB’s own
        “inside” documentation in the context of the information and analysis undertaken by the
        CIA. The evidence in the ARB documents is consistent with the CIA’s findings and
        reflects a broad, ongoing set of relationships that went well beyond mere banker and
        client and beyond mere facilitation of the financial needs of the Da’Wah Organizations
        for funds transfers. The relationships included donations to the Da’Wah Organizations by
        the principal and cofounder of ARB, using ARB’s infrastructure, through use of ARB’s
        own checks, as well as by the charity founded by SAAR, the SAAR Foundation. The
        relationship included representatives of ARB’s senior officials participating in decision
        on projects by the charities, as in Kosovo/Macedonia. It included helping the charities
        collect and disburse funds as payments to the families of “martyrs” in connection with the
        very violent, ongoing Second Intifada, during a period of intense terrorist activity in
        Israel in which Americans were killed.

8.39.   While I am aware of the CIA’s findings about Dubai Islamic Bank also being a “key
        financial conduit for al-Qa’ida,”458 I do not know of any financial institution that had as
        extensive a range of activities, arrangements, and connections with these particular
        charities that ARB possessed. I therefore conclude that there is evidence that ARB and its
        principals had unique relationships with Al-Haramain, MWL, IIRO, and WAMY before
        the 9/11 attacks.




457
    NL 0015044-5046. I address the “red flags” implications of the Humana/       documents in my response to
Question 8 below.
458
    CIA_000337, CIA_000722, CIA_000734-735.

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9. Question 7: Did Al Rajhi Bank adhere to Know Your Customer, Anti-Money
   Laundering and Counter-Terrorism Financing best practices and international
   standards with respect to the opening and maintenance of accounts for Al-Haramain
   Islamic Foundation, MWL, IIRO, WAMY, and the Saudi-based Suleiman Abdulaziz Al
   Rajhi Foundation Before September 11, 2001?

9.1.   No, ARB did not adhere to Know Your Customer, Anti-Money Laundering and Counter-
       Terrorism best practices and international standards with respect to the opening and
       maintenance of accounts for Al-Haramain, MWL, IIRO, WAMY, and the SAAR
       Foundation (“Da’Wah Organizations”). In my review of the accounts maintained by ARB
       for the Da’Wah Organizations, I found that most of its own policies and procedures
       relating to these areas arose from the requirements imposed on Saudi banks by its
       regulator, SAMA, for the purpose of meeting best practices and international standards.
       But while these policies and procedures were formally in place, with regards to the
       accounts I have reviewed, they were broadly disregarded by both the bank and by its
       Da’Wah customers. One flagrant example took place in a set of incidents, where senior
       ARB bank officials approved ARB transferring funds from personal accounts into Al-
       Haramain after being accurately told by the head of its legal office that to do so would
       expressly violate the bank’s own compliance requirements.

       9.1.1. The only due diligence exhibited in the account opening documents for the
              charities (in particular, Al-Haramain), was ARB determining in some instances
              that particular accounts were authorized by one or another Saudi official, most
              often, the Deputy Minister or Minister of Islamic Affairs, who prior to the 9/11
              attacks was also a senior official at Al-Haramain, and ensuring that it had the ID
              documents for the signatories on Al-Haramain accounts.

       9.1.2. I have seen no evidence that ARB undertook any due diligence regarding the
              actual uses by the Da’Wah Organizations of their accounts with ARB prior to the
              9/11 attacks.

       9.1.3. I review the evidence regarding these findings, and the implications of them, in
              greater detail in this section of this Expert Report.

9.2.   In Section Five of this Expert Report, I concluded that international banking institutions
       had the obligation to adopt and implement effective anti-money laundering and counter-
       terrorism financing protocols to prevent the financing of terrorism and other illicit
       financial activity through purported charities prior to September 11, 2001.

9.3.   In this Section of this Expert Report, I conclude on the basis of reviewing the applicable
       legal standards and guidance, and the documents available to me, which includes the
       materials produced by ARB in discovery that I have reviewed, that ARB did not adhere
       to best practices and international standards with respect to the opening and maintenance
       of accounts for the entities, accounts, and transactions covered by the documents. Indeed,
       for these entities, accounts, and transactions, the record shows that ARB did not adhere to
       its own required protocols for implementing the requirements mandated by its Saudi


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         regulator prior to 9/11.

         9.3.1. Instead of adhering to its regulatory obligations and its own policies and
                procedures, ARB permitted Da'wah organizations and principals of those entities
                to engage in a broad range of financial activities that presented obvious red flags
                and terrorism financing concerns, with essentially no limitations or meaningful
                protections.

9.4.     The international standards applied to ARB’s conduct with respect to the opening and
         maintenance of accounts for Al-Haramain, MWL, IIRO, WAMY, and the SAAR
         Foundation, including, as expressly stated under Saudi Arabian regulations in effect prior
         to 9/11, with respect to their handling of funds relating to terrorism. These standards were
         implemented by ARB in policies and procedures, set forth in its January 1, 1997 “Branch
         Instruction Manual,”459 and ARB’s November 1998 “Anti-Money Laundering Unit
         Procedure Guide,” and related materials460 as discussed below.461

9.5.     These standards were imposed on ARB to maintain its status as an international bank,
         operating with correspondent banks in other countries, including ARB’s correspondent
         banking relationship with the Chase Manhattan Bank, which I examine, discuss, and
         consider in this section of this Expert Report, and its relationship with HSBC, the latter of
         which was heavily criticized in a U.S. Senate investigation due to the latter continuing its
         relationship with ARB despite public information about its involvement in terrorist
         finance, as a result of pressure from its Middle Eastern affiliates.462



459
    ARB-00000016-733, and with particular materiality, ARB-000000256-261.
460
    ARB-000000735-744.
461
    The Branch Instruction Manual purports to cover only branches of ARB. I do not have information about the
structure of ARB prior to 9/11, and what accounts, if any, were maintained outside of the branches of the bank, and
therefore would not be directly covered by the Branch Instruction Manual. As the Saudi Arabian regulations issued
by SAMA required the coverage of all transactions touching Saudi banks, to comply with the SAMA Guidelines,
ARB would have needed to ensure that the requirements imposed on its branches were imposed on all of its
operations. I have seen no evidence to show that ARB undertook steps to do this. Information regarding the extent of
ARB’s compliance material to my response to this question should have been contained in audits of ARB on its
AML implementation by ARB’s own auditors, as referenced in the Galloway Deposition, and shared with SAMA, at
least regarding the “full-scope examination done by Ernst & Young” in August 2003, which a SAMA regulator
referenced in a State Department cable 005103, September 26, 2004, entitled, “Terrorist Financing: Al-Rajhi Bank,”
https://wikileaks.jcvignoli.com/cable_04RIYADH5103. According to the State Department cable, the Saudi
regulator told the Treasury Department official, Juan Zarate, that the Ernst & Young audit found no “wrong doings.”
As I have seen in a related case, audits of some of the charities that are the subject of this Expert Report violate
accounting principles, contain substantial limits to their scope or their opinions. Consistent with this experience, I
cannot meaningfully assess any such audits and their implications without reviewing their actual text, and as needed,
any relevant back-up material on which they were based. While this State Department cable does not appear to have
been released by the U.S. government, but instead, leaked, based on its format, structure, substance, and context, as
well as writings of the Treasury Assistant Secretary Zarate, I assume it to be authentic. See Treasury’s War, Juan
Zarate, Public Affairs/Perseus Books (2013), pp. 68-83, describing U.S. efforts against the Saudi charities, and the
tendency of Saudi Arabian officials to “push back” against U.S. efforts to curtail their support for terrorism, and
referencing both the name Al Rajhi in the Golden Chain document, and Al-Haramain.
462
    “U.S. Vulnerabilities to Money Laundering, Drugs, and Terrorist Financing: HSBC Case History, Staff Report,
Permanent Subcommittee on Investigations, United States Senate, July 17, 2012, pp. 6-7 and pp. 189-224,

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9.6.    These standards were imposed on ARB by its Saudi regulator. They were also
        incorporated into ARB’s own bank policy and procedures, to which ARB was required to
        adhere, as expressly acknowledged by ARB’s representative in the Galloway
        Deposition.463

        9.6.1. At the global level, these obligations were set by the FATF, as described in
               Section Five of this Expert Report, which established global standards for banks
               operating internationally as well as for countries participating in the FATF, which
               included ARB’s home country of Saudi Arabia through the Gulf Cooperation
               Council (“GCC”), which represented Gulf countries in the FATF before the 9/11
               attacks.464 International banks needed to meet these standards in order to maintain
               their correspondent banking relationships, such as ARB’s one with the Chase
               Manhattan Bank, to avoid the risk that their correspondent banks would be
               facilitating money laundering or terrorist finance if ARB failed to meet its
               obligations in this field.

        9.6.2. At the national level, these obligations were set by SAMA, which changed its
               name in 2020 from the “Saudi Arabian Monetary Authority” to become the
               “Central Bank of Saudi Arabia.” SAMA, established in 1952 as the country’s
               central bank, has long functioned as the principal financial regulator in the
               country. Prior to the 9/11 attacks, SAMA had full authority over all credit
               institutions and currency exchanges in the country, including ARB.465

9.7.    SAMA Regulations, Issued as Guidelines

9.8.    Although Saudi Arabia had no formal law criminalizing money laundering prior to the
        9/11 attacks, Saudi Arabia’s banks were required to implement anti-money laundering
        controls as a condition of licensing by the country’s sole bank regulator, SAMA. In 1995,
        SAMA issued Guidelines for Prevention and Control of Money Laundering Activities. At
        the time, it described its purpose in issuing these regulations under Article 16 of the
        Banking Control Law, “with a view to strengthen the ability of Banks to counter illegal
        transactions and to maintain and enhance the credibility and reputation of the Saudi
        Banking System.” SAMA further stated that “[b]anks are required to make these
        [measures in the guidelines] an integral part of their own systems and procedures and to
        fully implement these as soon as possible.” The English language text of the SAMA

https://www.hsgac.senate.gov/wp-content/uploads/imo/media/doc/PSI%20REPORT-
HSBC%20CASE%20HISTORY%20(9.6).pdf
463
    Galloway Deposition, pp. 96-112
464
    Bahrain, Kuwait, Oman, Qatar, Saudi Arabia, and the United Arab Emirates were at the time the members of the
Gulf Cooperation Council, which had an associated membership in the FATF. See description of Gulf Co-operation
Council for the Arab States of the Gulf (GCC) on FATF’s website, https://www.fatf-gafi.org/content/fatf-
gafi/en/countries/detail/Gulf-Co-operation-Council.html and its membership status there at: https://www.fatf-
gafi.org/en/countries.html
465
    “SAMA is an executive agency that supervises banks and other financial institutions in the country in accordance
with the SAMA Statute promulgated by Royal Decree No. 23 of 23 Jumada U A.H. 1377 and the Bank Supervision
Statute promulgated by Royal Decree No. 5 of 22 Jumada II A.H. 1386, which together constitute the law in force.
SAMA frames the regulations governing banking activities in accordance with the provisions of the two statutes
indicated.” UN Report, id.

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     regulation materially included the following provisions:

     9.8.1. “By all accounts, world-wide money laundering activities, particularly those
            related to drugs, now constitute a multi-billion dollar business annually. However,
            money laundering could also encompass funds derived from theft, blackmail,
            extortion, terrorism [emphasis added], and other criminal activities. It is
            inconceivable and unlikely that such large amounts of money can be stored or
            moved without the cooperation or unwitting participation of many international
            banks and banking systems.” Notably, the language about the risk of terrorist
            finance is contained in the first paragraph of the entire SAMA document,
            specifying from the outset that the scope of the anti-money laundering obligations
            included measures to combat abuse of banks by terrorists.

     9.8.2. “In recognition of international legal and supervisory efforts to combat the spread
            of money-laundering, the Agency has prepared these Money Laundering Control
            Guidelines which provide basic information on the subject, along with
            information on measures to be taken for prevention, control, and detection of
            money laundering activities. Banks are required to make these Guidelines an
            integral part of their own systems and procedures aimed at detecting and
            controlling such illegal activities. The objectives of the Agency in issuing these
            Guidelines are as follows:”

            •   “To help Saudi Banks to comply with the Banking Control Law and SAMA
                regulations.”

            •   “To prevent Saudi Banks from being exploited as channels for passing illegal
                transactions arising from money-laundering and other criminal activity.”

            •   “To maintain and enhance the credibility of the Saudi Banking System.”

     9.8.3. “Money laundering is normally a three stage operation. These stages are:

            •   “Placement. The criminal or drug dealer places the funds obtained through
                illegal activities in the banking system.”

            •   “Layering. The criminal or drug dealer aims to cover up the source of the
                funds obtained and disguises the relation between those funds and its illegal
                source through a series of normal commercial transactions.”

            •   “Integration. The laundered funds become part of other legal funds in the
                economy so that it is difficult to differentiate between the laundered funds and
                those from legal sources.”

     9.8.4. “Legal Responsibility of Banks. The Saudi Arabian Monetary Agency has the
            authority under Article 16(3) of the Banking Control Law, to issue general rules
            with the approval of the Minister of Finance and National Economy regarding


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            various matters, including the fixing of terms and conditions which banks should
            take into consideration when carrying out certain types of transactions for their
            customers. Over the years, the Agency has issued a number of circulars that were
            aimed at encouraging banks to immediately report any suspicious or unusual
            transactions to the authorities and the nearest police station.”

     9.8.5. “Under the provisions of the Banking Control Law and these regulations a Bank
            shall be held responsible for the action or inaction of its employees, including
            their failure to notify the concerned authorities of any suspected money
            laundering transactions. If it is proven that a Bank or its employees failed to
            comply with these Circulars, they shall be subjected to penalties prescribed under
            Article 23 paragraph 5 of the Banking Control law.”

     9.8.6. “General Policy Requirements.”

     9.8.7. “Detection and Prevention: Saudi Banks should train and educate their employees
            to enhance their understanding of money-laundering and its relationship with
            criminal activities. As employees become familiar with such activity, they can
            play an effective role in combating money laundering through prevention and
            detection measures.”

     9.8.8. “Deposit of Fund Taking[:] Saudi Banks should take care when accepting deposits
            or other funds. If it is suspected that a deposit is, or forms part of funds obtained
            through illegal activities, then these funds should be accepted in the normal
            manner, following correct procedures. Under no circumstances should the
            customer be alerted to any suspicion. The suspicious deposit should be reporting
            to the Police and SAMA and no transfers or withdrawals should be allowed from
            account until authorized by the Police or SAMA.”

     9.8.9. “Cooperation: Saudi Banks should cooperate locally and internationally to combat
            money-laundering through exchange of information with banking supervisors and
            appropriate law enforcement agencies, when they discover or suspect money
            laundering transactions. However, at the same time they must follow the legal and
            regulatory procedures that are aimed to protect customer confidentiality and
            banking secrecy.”

     9.8.10. “Internal Control Systems.”

     9.8.11. “A Bank should design and develop internal control systems to combat money
             laundering transactions. Such system should include detailed written policies and
             procedures for preventing the use of the Bank’s branches and operations by
             money launderers and for detecting such transactions.”

     9.8.12. “These policies and procedures should include special instructions on money
             [l]aundering and in particular emphasize the “know your customer” principle.”

     9.8.13. “Know Your Customer.”


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     9.8.14. “In general, this principle is aimed at ensuring that Banks are fully knowledgeable
             about their customers and are aware of their bank dealings. The application of this
             principle should not affect the relationship of a Bank with its reputable customers.
             Banks should apply the following procedure for implementing this principle.”

     9.8.15. “No account should be opened or banking services provided for customers
             without proper identification or under fictitious names.”

     9.8.16. “Identify any client who opens a new account or has a business relationship with
             the Bank.”

     9.8.17. “Identification should be made by reference to proper official documents in
             accordance with previous SAMA Circulars regarding customer identification.”

     9.8.18. “Identification is not limited to customers that have accounts with the banks; it
             should also include those who benefit from other bank services such as renting of
             safety deposit boxes and large cash transfers and foreign exchange transactions. . .
             .”

     9.8.19. “The follow procedures should be followed as a minimum where opening a
             Personal Account for an individual (emphasis in original):

     9.8.20. “The Bank should obtain proper identification of the customer as stipulated by
             SAMA Directives.”

     9.8.21. “The Bank should seek information on the customer’s business, or job title and
             ascertain the accuracy of such information.”

     9.8.22. “The Banks [sic] should seek information on a customer’s dealings with other
             banks with which he deals and seek information from such banks about their
             dealing with the customer. . . .”

     9.8.23. “Procedures to be followed when opening a Current Account or a Joins [sic]
             account for a Business Entity:”

     9.8.24. “The Bank should obtain original documents or authenticated copies which
             identify the legal identity of the customer, details about its activities etc. as
             prescribed in the customer agreement.”

     9.8.25. “The Bank should collect direct or indirect information about the business
             enterprise from other banks and sources . . . “

     9.8.26. “The Bank should know the sources of deposits, specially large cash deposits
             when an account is being opened.”

     9.8.27. “Referral of Business.”




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     9.8.28. “It is a recognized business objective that the Bank will cross-refer and cross-sell
             business, but this must be done in such a way as to comply with any local rules
             regarding “know your customer”. These rules ordinarily require each office to[:]”

     9.8.29. ‘Take all reasonable steps to identify fully customers bonafides, including
             beneficial customers.”

     9.8.30. “Take all reasonable steps to enable suspicious transactions to be recognized.”

     9.8.31. “Reasonable steps to enable suspicious transactions to be recognized will
             include:”

     9.8.32. “Obtaining a reasonable understanding of the normal character of the customer’s
             business; and”

     9.8.33. “Having a reasonable understanding of the commercial basis of the transaction to
             be undertaken or the service to be provided. What is a reasonable understanding
             will depend upon the complexity of the business and transactions concerned. For
             example high value or high volume transactions, especially if the transactions or
             the customer type is one regarded as high risk from a laundering viewpoint will
             require customer and transaction information in considerable detail.”

     9.8.34. “Alerting the Authorities of Suspicious Transactions:”

     9.8.35. “A Bank is not responsible for carrying out formal investigations of all customer
             transactions to search for possible money laundering activities.”

     9.8.36. “However, a Bank should identify for use and reference of its employees, distinct
             patterns of customer behavior or unusual patterns of transactions that could
             indicate money laundering activities. . . “

     9.8.37. “Retention of Records and Documents.”

     9.8.38. “Banks should retain all documents and records relating to their operations in
             accordance with normal banking practices, for ease of reference in their own use,
             and for use by supervisory authorities, other regulators and auditors.”

     9.8.39. “Banks should retain in original form the following documents;”

     9.8.40. “—"Account opening documents”

     9.8.41. “[bullet] Customer identification documents”

     9.8.42. “[bullet] Documents relating to operation of customer accounts including all
             correspondence with the customer”.

     9.8.43. “Banks should also retain the following documents and records;”

     9.8.44. “Records of a customer transaction.”

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        9.8.45. “Details of customer accounts and balances:”

        9.8.46. “Documents relating to a local or a foreign transaction.”

        9.8.47. “* Accounting entry documents.”

        9.8.48. “* Subsidiary ledgers related to customers, debit and credit notes, deposit slips
                and cashed cheques.”

        9.8.49. “External Audit:”

        9.8.50. “The external auditor of a bank is responsible, among other things, to examine the
                bank's policies, procedures and internal control systems aimed at combating
                money laundering activities. He should also test the enforcement of such policies,
                and procedures. The result of his tests and any observations arising therefrom
                must be reported as part of his letter to management and if significant to SAMA.
                The external auditor should notify the Bank's management of any suspicious
                transactions that he identifies during the performance of his duties. The
                management, can then decide on the appropriate action, with or without further
                collaboration from the external auditors, and reporting to authorities. The external
                auditor should keep fully aware of the action taken by management, and where in
                his opinion this was not satisfactory, consider direct contact with the authorities.”

        9.8.51. “Effective Date”

        9.8.52. “These guidelines are effective from the date of the accompanying circular.”466

ARB’s Response to the Issuance of the SAMA Guidlines

9.9.    The sections of the ARB Branch Instruction Manual (“ARB Manual”) relating to AML
        carry a date of issue of January 1, 1997, and the bank’s Anti-Money Laundering
        Procedure Guide (“ARB AML Guide”) carries a date of November 1998.467 I assess the
        ARB Manual and the ARB AML Guides to represent ARB’s formal institutional
        implementation of the SAMA standards, which in turn represented Saudi Arabia’s
        implementation prior to the 9/11 attacks of the FATF Recommendations as they applied
        to financial institutions, such as ARB, subject to SAMA’s supervision.

9.10.   ARB’s AML obligations set forth in the ARB Manual and the ARB AML Policies and
        Procedures largely track the SAMA Guidelines. I provide material language in pertinent
        part from each of these two ARB documents sequentially.

9.11.   The ARB Manual


466
    All citations in this subsection are to “Guidelines For Prevention
Of Money Laundering” Saudi Arabian Monetary Authority (“SAMA”), November 1995, in English, included in
Facsimile Message sent from the Governor of the Saudi Arabian Monetary Agency in Riyadh.
467
    ARB-00000259-265 and ARB 000000735-744.

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9.12.    The ARB Manual contains two major Parts addressing its “Anti-Money Laundering
         Guidelines,” Part 20, consisting of three pages covering ARB’s overall guidelines to
         prevent and detect money laundering, and Part 21, consisting of four pages covering
         indicators of suspicious activity (sometimes known as “red flags”), which ARB personnel
         should investigate and if appropriate report to authorities as set forth in Part 20.

9.13.    Part 20 explicitly addresses the obligation to “Know the Customer” and the customer’s
         business, including both individual customers and institutional or business customers,
         establishing a standard that the bank’s employees need to be “fully familiar” with their
         clients and what their clients are actually doing in using the bank. As set forth in the ARB
         Manual Section “20:2 – Getting to Know the Client”: “The principle of getting to know
         the client in general aims to ensure that the branches are fully familiar with their clients
         and their banking transactions.”468

         9.13.1. Part 20:2 states that as part of meeting its commitments to know the client, ARB’s
                 branches are prohibited from opening any anonymous or pseudonymous accounts
                 or providing any services to such clients, are required to identify any client
                 opening a new account or having a business relationship with the client, and base
                 their client identification on “official identification documents.”469

         9.13.2. Part 20:2 requires that ARB obtain “[a] copy of the clients’ ID” whenever a client
                 is “opening a new account, making use of banking services, or carrying out a
                 major transaction for the client.”470

         9.13.3. Part 20:2 requires that ARB personnel pay “full attention to any unusual
                 transaction carried out by the client to conceal or obscure his true identity” when
                 opening a new account or in any other dealing with the bank.471

9.14.    Part 20:2 also has a lengthy list of requirements for account opening, and account
         maintenance, all of which are material to answering the question posed.472 I provide them
         verbatim, with their original paragraph numbering and formatting, italicized to
         distinguish them from the numbering generally used throughout this Expert Report:

         7. “Updating the data of old account holders periodically and continuously (at least
            every three years).”

         8. “In the event that the data given to the branch by the client is suspected, the branch
            should try to verify its authenticity as deemed appropriate, such as by calling home or
            the workplace by phone.”



468
    ARB-00000265
469
    Id, 20:2, subparagraph 1 and 2
470
    Id, subparagraph 3 and 5
471
    Id, subparagraph 6
472
    ARB-00000266

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      9. “The following procedures must be retaken as a minimum when opening a personal
         account or providing any service to such clients:”

         •   “Recognizing the true identity of the client”

         •   “Knowing the type of the client’s business or career, following up on this, and
             verifying it”

         •   “Knowing the source of the deposited funds when opening the account,
             particularly large cash deposits”

         •   “Determining the identity of the client through his relationship with other banks
             he deals with, and obtaining information from these banks regarding their
             dealings with the client”

         •   “Completing identification procedures if the client is known by a branch clerk”

         •   “Knowing the reason for opening the account if the client’s address is far from
             that branch”

      10. “The following procedures should be followed when opening a current account or a
          joint account for institutions or companies:

         •   “Ensuring obtaining the real documents determining the type of establishment or
             company and the scope of its formation and establishment, as mentioned in the
             account opening application”

         •   “Indirectly inquiring about the company or facility with other banks or any other
             sources”

         •   “Verifying the data given by the company or establishment when opening the
             account, such as verifying the address by calling the headquarters”

         •   “Visiting the headquarters of the company or facility, if possible, since this is
             important in identifying the scope of its operations and business

         •   “It is necessary to know the source of the funds deposited by the client at the time
             of opening the account, particularly large cash deposits”

         •   “Obtaining the following information for accounts of large companies:”




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             •   “The company’s financial structure and annual financial statements”

             •   “A description of the services and businesses the company provides”

             •   “A list of the most important suppliers, dealers, and business locations”

             •   “A description of the area where the company operates”

             •   “Any dealings with related parties.”

             •   “A description of the business operations of the company.”

        11. “The branch where the client’s account is opened is responsible for complying with
            the mentioned requirements and directions even when the client chooses another
            branch of the company to carry out his transactions. The last branch contacts the
            branch in which the client’s account is located before commencing with the execution
            of the said client’s transactions”

        12. “The branch must obtain all the necessary information about the person opening the
            account and the person holding the account when the client opens the account on
            behalf of another person or opens a joint account.”473
9.15.   Part 20:3 of the ARB Manual, entitled “Reporting Suspicious Transactions,” states that
        [“w]hen a money laundering process or any activity related thereto is suspected, the
        branch director must notify the Internal Audit Division – the Anti-Money Laundering
        Unit – of the General Administration as soon as possible.” This Part states explicitly that
        [“r]eporting suspicious transactions to the competent authorities does not conflict with
        bank and client confidentiality stipulated under the Saudi banks’ laws and regulations.”474

9.16.   Part 21 of the ARB Manual provides a list of general indicators, and the various types of
        specific indicators, of potential illicit activity that could involve money laundering and
        which would require reporting to ARB’s AML unit. The first, and most important
        example is “(1) Transactions whose general form suggests that they may have an illegal –
        or unknown – purpose.” [numbering in original] Other material indicators include
        “[c]ontinuous cash deposits to the accounts of companies and commercial accounts,”
        “[w]ithdrawal of cash shortly after depositing, “ [t]he client opens more than one account
        in his name at the same branch without a clear reason with many internal transfers
        between these accounts,” “[m]any people transfer payments to one single account,
        whether in cash or through internal remittances,” and “[e]xistence of bank accounts in the


473
   Id
474
   ARB-0000263. Due to pages being out of sequence in the Bates stamping of this portion of the Branch
Instruction Manual, Bates numbers of these provisions do not accurately follow the ordering of the material in the
underlying documents. I provide their substance and text sequentially based on the documents’ internal pagination
and numbering.

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           branch for clients whose addresses are outside the branch’s region.”475

9.17.      Part 21:5, “Remittance Indicators” of the ARB Manual provides a list of “red flags” that I
           consider especially material to the question posed, and I accordingly provide it
           verbatim.476 As with Part 20:2 above, I retain the original numeration and formatting used
           by ARB, again italicized to distinguish this material from the numbering generally used
           throughout this Expert Report.

           1. “Repeated transfer of amounts to another bank without clarifying the name of the
              beneficiary.”

           2. “Repeated transfer of amounts abroad with instructions to pay the beneficiary in
              cash.”

           3. “The remittance amount is not appropriate with the appearance of the remitter or the
              type of his business.”

           4. “Significant and frequent transfers to and from countries known as drug sources.”

           5. “Client’s deliberate deception by providing incorrect information to the branch.”

           6. “Splitting the large remittance amount when transferring into smaller amounts.”

           7. “Repeated transfers to banks known for absolute confidentiality.”

           8. “Large and repeated transfers against checks that have not yet been collected or are
              not collected.”

           9. “Cash remittances in large amounts.”

           10. “Depositing amounts in different accounts, transferring them to a main account, and
               then transferring them outside the Saudi Kingdom.”

           11. “The client requests the branch to transfer amounts from his account abroad, while
               transfers are received to the same account in amounts equal to the transferred
               amount.”

           12. “Using transfers, once they are received, to purchase monetary instruments (bank
               checks, certified checks, etc.) for the benefit of other parties.”

           13. “The client frequently deposits bank checks issued by foreign banks.”

475
      ARB-00000262.
476
      ARB-00000262, ARB-00000259. The material numbered 1-9 is from 262, 10-13 is from 259.

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9.18.   Part 21:6, “Indicators of the Client,” of the ARB Manual lists some red flags relating to
        the clients themselves. Materially, they include whenever a client tries to prevent a bank
        official from reporting a suspicious transaction.477

9.19.   Part 21:8, “Indicators of Changes in Bank Transaction Methods,” lists as a red-flag
        “[v]iolating or failing to implement the company’s internal control instructions or
        deliberately evading the applicable banking policies.”478

9.20.   In addition, at Section 1:3:6:3, the ARB Manual requires specific procedures for opening
        up accounts of charities, and apply to both domestic and foreign “social or charity
        organizations that collect donations or the like. The procedures are as follows:

        9.20.1. “They are required to submit the following documents:”

        9.20.2. “A copy of the license issued by the authorities in the Kingdom of Saudi Arabia
                (the Ministry of Interior, the Emirate, or the Social Affairs Department for
                example) approving opening the account and collecting donations;”

        9.20.3. “A statement with the names of members of the Board of Directors and a copy of
                the agency’s decision to open the account, showing the names of those authorized
                to sign and deal in the account for associations whose headquarters are outside the
                Kingdom of Saudi Arabia. The documents should be approved by the Saudi
                Consulate and the Ministry of Foreign Affairs in the concerned country.”

        9.20.4. “A copy of the ID documents of those authorized to sign and deal in the
                account.”479

9.21.   The section of the ARB Manual relating to charities also contains a further requirement:
        “After fulfilling all the required conditions and documents, the approval of deputy
        general director of the banking group or his representative should be obtained in all cases,
        as well as in the case the agency wants to circulate the opening of the account in more
        than one branch.”480

9.22.   In order to adhere to Know Your Customer, Anti-Money Laundering, and Counter-
        Terrorism Financing best practices and international standards with respect to the
        opening and maintenance of accounts for the Da’Wah Organizations, ARB would have to
        have complied with each of the sections of the ARB Manual I have cited. As discussed
        further in this section of this Expert Report, ARB did not do this.

9.23.   The ARB AML Guide.


477
    ARB-00000259
478
    ARB-00000260
479
    ARB AML Guide, 1:3:6:3, “Local And Foreign Social Or Charity Organizations That Collect Donations Or The
Like,” ARB-00000172-173
480
    ARB-00000173

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9.24.     The first four pages ARB AML Guide list a number of objectives for the AML Unit at
          ARB, and then lists tasks the Unit is supposed to carry out. The remaining five pages of
          the Guide provide sample forms for the Unit to use.481

9.25.     The objectives in the ARB AML Guide accurately lay out why it matters that a bank’s
          AML Unit does its job properly. They include, materially, “Reducing illegal activities
          and practices,” “Introducing automated monitoring programs; “Protecting the company
          from being subject to illegal practices so that it does not become an illegal outlet for
          suspicious activities and thus preserving the company’s reputation,” “[Undertaking a]
          technical and analytical study of the reports received from branches, exchange and
          transfer centers, and any other party, in addition to the cases discovered through the unit,”
          “Developing the necessary policies and procedures to help the branches follow modern
          methods to address any case of suspicion,” “Securing the requirements of the Monetary
          Authority with regard to money laundering operations,” cooperating with relevant Saudi
          authorities, and informing them whenever the Unit verifies any suspicious case.482

          9.25.1. To comply with basic international standards to combat the risk of money
                  laundering and countering terrorist finance, banks were also required prior to the
                  9/11 attacks to train the bank’s staff about how to address these risks at account
                  opening, during account maintenance, and in every transaction involving the
                  bank, and to carry out reviews to determine the effectiveness of both the controls
                  put into place, and the training, through regular audits. These requirements were
                  incorporated in the SAMA Guidelines

          9.25.2. The documents made available to me from discovery in this case do not show that
                  the two-person ARB AML Unit successfully carried out these objectives with
                  respect to the accounts at issue prior to the 9/11 attacks, or indeed, took any action
                  of any kind to undertake most of them.

                 9.25.2..1. In my experience, when banks fail to undertake required due diligence
                            and compliance measures, their negligence creates an open door for
                            misconduct by their customers: the lack of attention to due diligence
                            provides a safe zone for such customers to act with impunity, knowing
                            that the bank has no desire to prevent them from carrying out
                            problematic activity, and that the lack of records will protect them
                            from exposure by others.


                 9.25.2..2. Weak links in the financial system are exceptionally dangerous
                            because of this phenomenon. Their lack of concern for compliance
                            sends a message of comfort and safety to those who pose the greatest
                            risks of using banks for financial crimes. Such weak links become
                            what I have long referred to as ‘nodes” for facilitating crimes, or, to


481
      ARB-000000735-744
482
      ARB-000000736

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                         use the CIA’s word, makes them susceptible to becoming, as ARB did,
                         “conduits” for criminal conduct, including terrorist finance.

             9.25.2..3. Consistent with this phenomenon, the CIA’s reporting found ARB
                        acted in fact as a “conduit” for terrorist financing for al Qaeda and
                        many other extremist and/or terrorist groups, over many years,
                        covering the period before 9/11 and continuing for some years after
                        9/11.

     9.25.3. ARB’s internal documents concerning the subject accounts show no evidence of
             the implementation of actions prior to 9/11 to address most of the objectives set
             forth in the ARB AML Guide. No documents have been provided to me from the
             discovery (or from other sources) to show that the AML Unit:

             9.25.3..1. Undertook any action to reduce illegal activities and practices at the
                        bank;

             9.25.3..2. Introduced automated monitoring programs;

             9.25.3..3. Protected the company from being subject to illegal practices (thereby
                        preserving the company’s reputation);

             9.25.3..4. Undertook the technical and analytical study mandated in the
                        objectives;

             9.25.3..5. Developed policies and procedures to help the branches follow modern
                        methods to address any case of suspicion, to implement any element of
                        the ARB Manual, a document which pre-dated the Guide by some 22
                        months;

             9.25.3..6. Acted to ensure the bank met the requirements imposed by SAMA in
                        practice, as opposed to merely on paper; or

             9.25.3..7. Identified any suspicious transactions, anywhere;

             9.25.3..8. Drafted any reports regarding suspicious transactions reported to the
                        Unit by others at ARB, or provided any such reporting to SAMA or
                        other Saudi authorities.

     9.25.4. The internal documents show that ARB’s AML Unit created the shells of some
             rudimentary templates the Unit could use to carry out its responsibilities, without
             showing that they were actually ever actually used.

     9.25.5. The documents I have reviewed also show that the unit communicated
             occasionally (but not in every case) with Saudi officials regarding whether it
             would be permissible to open particular accounts on behalf of Al-Haramain in
             particular locations subject to the authority of particular local officials and/or to
             the Saudi Ministry of Islamic Affairs, and were told that the openings were

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                 permissible, but did not obtain documents required under applicable Saudi AML
                 regulations or ARB’s own policies and procedures for the charities that are the
                 subject of this question. I discuss this evidence later in this section.

9.26.     The ARB AML Guide expressly list tasks for the “Head of the Unit” to include:
          “undertaking analytic technical study of suspicious cases;” “designing work models for
          the unit;” “[r]eplying to all correspondence received by the Unit;” “updating anti-money
          laundering policies and procedures according to developing in the methods, processes,
          and activities that may be used in money laundering activity;” and coordinating “the
          preparation and implementation of the necessary training and guidance programs to the
          company’s employees and providing the necessary advice regarding all aspects related to
          money laundering with the various units and ensuring that the regulating procedures are
          followed.”483

9.27.     The ARB AML Guide lists further obligations for the Head of the Unit to analyze
          suspicious incidents, using certain forms included in the Guide. These are rudimentary.
          The first is a one-page Money Laundering Process Notifications, containing information
          about the client, their ID type, account number, and other personal information; the list of
          indictors; the reason/rationale for viewing them as potentially suspicious and
          attachments; the second is a letter to the Internal Audit Department, from the branch,
          containing a template for what documents should be requested from the branch. These
          consist of client account opening documents; documents regarding the transactions of the
          client over a relevant period; “aspects of the client’s activity supported by the
          documents,” and the branch employee’s views on the client’s transactions. The third page
          merely lists basics about the accounts and deposits/withdrawals relevant to the suspected
          case. The fourth page is a perfunctory cover note for auditors and supervisors review of
          the underlying material. The fifth page, entitled “Initial Statement of Suspected Cases
          Extracted from the System, has two columns – one for client name, one for transfer
          amount, and up to 40 rows to provide that information.484

9.28.     The ARB templates for use by the Unit are also rudimentary. By their terms, they were to
          be used to record the fact that a suspected case had been discovered that needed
          investigating, and would provide basic information about the identity of the client,
          account, and transactions involved to alert higher-ups at the bank that further
          investigation was needed.

          9.28.1. I have seen no evidence that they were actually used by the bank prior to the 9/11
                  attacks, as would be contained in proper bank audits regarding the effectiveness
                  of the bank’s AML systems.

9.29.     The final page of the ARB AML Guide describes the Unit as responsible for a monitoring
          system for external remittances and bank checks that is to take place on an ongoing basis
          to assist in research and analysis, which is to be completed five months after the issuance


483
      ARB-000000736
484
      ARB-000000740-745

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        of the Guide (that is, March 1999).

        9.29.1. No information has been provided to me to provide evidence that this system was
                actually put into place, or used.

9.30.   The last section of the Guide states that the Unit will secure documents from SAMA,
        send and follow up on reports and keep them on schedule, and consolidate the “Know
        Your Customer” principle at the bank’s “branches and centers” to ensure that the ARB
        meets its obligations at all of its locations “to be aware of their customers’ activities and
        the sources of their funds.”485

        9.30.1. No documents have been provided to me that show the Head of the Unit, or
                anyone at ARB, undertaking the obligations set forth in ARB’s AML Manual and
                Guide, prior to the 9/11 attacks, with a few exceptions. I will address ARB’s
                handling of compliance for Al-Haramain, then its handling of this set of
                obligations for IIRO, and then more generally.

General Observations
9.31.   I have reviewed all of the documents provided to me relating to 70 Al-Haramain account
        openings486 and sampled account opening documents from the group of documents
        representing 165 IIRO account openings.487 Most of this material was for the period
        before 9/11, but some of it included account activity after 9/11, in some cases, as late as
        2004.

9.32.   I found that generally, at account opening, ARB undertook only the most basic of all
        customer identification procedures: requiring identity documents for the signatories of
        new accounts, or whenever signatories changed. Beyond that, the forms typically
        included only the minimal elements of providing contact information, such as an address
        to send mail, and a telephone number, frequently omitting such fields required on the
        account opening form as “occupation,” and “legal status.” The level of care given the
        data entry for such fields was minimal.

        9.32.1. For example, on a May 27, 1995 account opening for an Al-Haramain, the
                customer is correctly identified as a “charity,” but the customer data lists the word
                “retired,” as the customer’s occupation, which is then crossed out, and the only
                data provided regarding the signatories is that someone provided a handwritten
                signature for the account, but the identity of that person is not specified. Whoever
                it was was given a four-digit personal identification number to use in connection
                with the account. I can provide no further information about this account, other
                than that it as the “Al Olaya Street General Branch” of ARB: all other identifying
                information on the document was redacted by ARB. Regardless of the redactions,

485
    ARB-000000737
486
    The account opening/KYC documents for Al-Haramain are pages ARB-00038108 through ARB-00039005.
487
    The sampled account opening/KYC documents for IIRO are from groups of documents within the ranges of
ARB-00013442-ARB-00013711, ARB-00014068-ARB-000114149, ARB-00037174-ARB-00037677, and ARB-
39031-38075

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                 the material produced suggest that not even basic due diligence was documented
                 before providing the customer the account.488

9.33.   Many accounts included no further information beyond the – redacted – addresses and
        phone numbers, and the photographed IDs of the signatories. Some accounts specified a
        very general purpose of the account to be “charity.” Other accounts specified a
        geographic region in which charitable fundraising would take place to gather donations,
        and in such cases, the accounts sometimes included an assurance from a Saudi official
        with authority over a region that this activity would be permitted in that region.

9.34.   Many Al-Haramain accounts had no identifier to differentiate the use of any particular
        account as being for any specific project, or activity. I note that the documents provided
        by ARB do not back up the statements in the Galloway Deposition that each account was
        opened as needed whenever there was a new project or activity.489 The ARB documents
        are generally silent about the purposes of any new accounts opened by Al-Haramain, and
        the uses to which funds flowing through them would be put.

9.35.   I found numerous account opening documents that did not provide, as required by the
        ARB Manual, “copies of the license issued by the authorities in the Kingdom of Saudi
        Arabia (the Ministry of Interior, the Emirate, or the Social Affairs Department for
        example) approving opening the account and collecting donations.”490 I found cases of
        this both in the Al-Haramain account opening documents and in account openings for
        IIRO. In such cases, the only permission sought from the Da’Wah Organization was from
        the director of a particular branch of ARB.491 Unless other documents existed for these
        accounts which were not available to me, providing copies of such licenses, these account
        openings violated ARB’s own compliance requirements.




488
    ARB-00038567-8568
489
    Galloway Deposition, pp. 83-84.
490
    ARB-00000172
491
    See e.g. Account Opening for IIRO “Account No [redacted] 57,” September 2, 2001, ARB-00013667-3671; IIRO
Account, “Blind Child in Egypt,” Account No 4327, May 15, 1993, ARB-00013692-3699; Account Opening for Al-
Haramain, Account No 2/7, May 19, 2001, ARB-0038211-223; Account Opening for Al-Haramain Tawhid
Endowment Project, December 9, 2000, ARB-00038224-241; Account Opening for Al-Haramain June 10, 2000,
ARB-00038256-8260; Account Opening for Al-Haramain, November 6, 1994, ARB-00039069-9071; Account
Opening for Al-Haramain, August 7, 2001, ARB-00039006-9113; Account Opening for Al-Haramain, August 26,
2000, ARB-00038120-121; Account Opening for Al-Haramain August 26, 2000, ARB-00038132=8133; Account
Opening for Mohamed Fahd al Tuwaiji/Al-Haramain Foundation, May 3, 1994, ARB-00038932-8943; Account
Opening for “Iftar of Fasting People,” to be included within the IIRO’s name, January 19, 1993, ARB-0013658-
3663, Account Opening, Al-Haramain, July 24, 2000, for Ahmed Ibrahim al Buraidah and Abdullah al Ghammas on
behalf of Al-Haramain as representatives of the company – a document in which literally no information is provided
other than Buraidah’s personal data and ID. ARB-00038680-8683; Accounting opening for Account No [redacted]
6/2, Al-Haramain, April 24, 2000. For these and many other accounts, I do not know whether I have been provided
the full account information or only partial information. I remain open to revising or updating my conclusions based
on these documents and the other information currently available to me should additional documents provide
information that addresses the deficiencies I have found comparing the information in the documents available with
that required by ARB’s policies and procedures, SAMA requirements, and the applicable international standards.

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9.36.   In some cases, ARB did obtain an approval from a Saudi official as required by the ARB
        Manual, 1:3:6:3.492 These were typically an approval from a local official, such as the
        Prince of Tabuk for the opening of the Da’Wah Organization branch in that city.493

9.37.   From time to time, ARB officials had contacts with Saudi Arabia’s Ministry of Islamic
        Affairs, to seek or receive assurances that opening an account for Al-Haramain or for
        IIRO, or changing the signatories on the accounts, was an authorized activity. This took
        place, for example, on an Al-Haramain account (redacted as 9/5 in some of the
        documents) at the same Al Olaya Office which the evidence in a sequence of documents
        shows to have been controlled by al-Aqil in his capacity as Director General of Al-
        Haramain. The dates in the Bates-stamped sequence describe account openings and
        related activity such as issuing checkbooks over a range of dates that include April 30,
        1995, May 27, 1995, January 1, 1997, February 3, 1997, September 25, 1997. This set of
        documents does not contain IDs, but merely states the procedure for the client to obtain
        his PIN at the local branch in order to access the accounts.494 These documents refer to al-
        Aqil – not Al-Haramain - as the “client.” They describe al-Aqil as coordinating with the
        then-Deputy Minister of Islamic Affairs. The name of this official is not specified.495

9.38.   Other ARB records provide evidence that this Saudi official was Saleh bin Abdel Aziz bin
        Mohamed Al ash-Sheikh. For example, a document from the Ministry of Islamic Affairs,
        that appears to include its logo, dated October 17, 1997, in which “Saleh bin Abdel Aziz
        bin Mohamed Al ash-Sheikh,” states that “Al-Haramain Islamic Foundation is working
        under our supervision.”496 This statement is consistent with an article in Al-Jazirah dated
        March 5, 1997, which quotes the Deputy Ministry of Islamic Affairs as being “Sheikh
        Saleh bin Abdel Aziz Al ash-Sheikh,” who is described as having been assigned “to
        manage Al-Haramain Foundation’s work and activities in Riyadh,” and to be preparing to
        hold a meeting and select board members shortly.497 The October 17, 1997 letter from
        ash-Sheikh to an official in Riyadh Passports Administration, states not only that “Al-
        Haramain Islamic Foundation” is working under our supervision,” but lists ash-Sheikh’s
        titles at the time as “Deputy Minister of Islamic Affairs, Endowments, Da’wah, and
        Guidance and Supervisor of Al-Haramain Islamic Foundation.”498

        9.38.1. The evidence produced by ARB documented ash-Sheikh as having the position
                of “Supervisor” of Al-Haramain, and his stating on Ministry of Islamic Affairs
                stationery, with the Ministry logo, that Al-Haramain is working “under his


492
    ARB-00000172
493
    ARB-00038693-8706
494
    ARB-00038567-8577. Even after 9/11, the treatment of the accounts at this branch was, at best, sloppy. An
account opening document for al-Aqil dated April 30, 2002, that leaves him as the sole signatory of an Al-Haramain
account, identified as 696/2 with a redaction of the other numbers, also does not include al-Aqil’s signature card,
and wrongly identifies his birthdate as “          2002.” ARB-00038670
495
    ARB-00038572
496
    ARB-00038201
497
    “After being assigned to supervision the Foundation, Al ash-Sheikh to Al-Jazirah: ‘Al-Haramain Islamic
Foundation is distinguished by its associated with scholars, clear methodology, and this will be a helping factor in
my work with it.” Al Jazirah, Issue No 8924, March 5, 1997, ARB-00038722
498
    ARB-00-38201.

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                   supervision.” Yet in the ash-Sheikh Deposition, ash-Sheikh stated definitively
                   that he had no relationship with Al-Haramain of any kind.499

         9.38.2. In the deposition, ash-Sheikh said that Al-Haramain had been created prior to
                 ash-Sheikh’s arrival at the Ministry of Islamic Affairs, and from the beginning
                 worked without a permit.500 According to ash-Sheikh, at no time prior to the 9/11
                 attacks did Al-Haramain actually have a license, a permit, or the authority to
                 operate a charity in Saudi Arabia.501 Ash-Sheikh testified that lacking these
                 things, and a board of directors, and any governance, its “financial and
                 administrative procedures . . . were not proper – were inappropriate.”502
                 Accordingly, as set forth in the ash-Sheikh deposition, after the 9/11 attacks, the
                 Ministry of Islamic Affairs recommended that Al-Haramain be “shut down.”503

         9.38.3. Ash-Sheikh further testified that he did “not recall ever having any relationship
                 with Al Haramain Foundation.”504 He stated that he did not found it.505 He stated
                 that as it was without without a license, he could not “trust any information they
                 write on their website.”506

         9.38.4. I note the existence of another document, dated February 25, 2004, in which ash-
                 Sheikh as Minister of Islamic Affairs, again advises ARB that Al-Haramain was
                 at that time “authorized to practice charity work,” and accordingly “[i]t is fine to
                 open an account for it with the company according to the regulations and
                 instructions of the Saudi Arabian Monetary Authority.”507

                  9.38.4..1. I take note of the date of this February 2004 authorization, which took
                             place two and a half years after the 9/11 attacks, and well after the U.S.
                             had raised concerns with the Saudi government. By 2004, the U.S. had
                             already taken action to designate numerous branches of Al-Haramain,
                             and a month before this authorization, Saudi authorities had agreed
                             with the United States to designate some of its branches for sanctions
                             and as of 2004, Saudi Arabia had agreed to close all of Al-Haramain’s
                             overseas branches.508 Saudi Arabia was also preparing to shut down
                             Al-Haramain in its entirety, which took place in early October 2004.509


499
    Ash Sheikh Deposition, p. 14-, lines 2-6
500
    Id, p. 137, lines 3-13; p. 145, lines 1-6
501
    Ash Sheikh Deposition, p. 146, lines 5-14, and 22-24; p 147 lines 4-23; p. 148, lines 1-19; p. 153, lines 12-20
502
    Id, p. 153, lines 12-19
503
    Id, p. 54, lines 9-16 and p. 154, lines 5-16
504
    Id, p 140, lines 3-6
505
    Id, p. 142, lime 6
506
    Id, p. 191
507
    ARB-00039505
508
    ‘Treasury Announces Joint Action with Saudi Arabia Against Four Branches of Al-Haramain In The Fight
Against Terrorist Financing,” U.S. Department of the Treasury, January 22, 2004,
https://home.treasury.gov/news/press-releases/js1108
509
    “Saudis shut down charity,” Al Jazeera, October 5, 2004, https://www.aljazeera.com/news/2004/10/5/saudis-
shut-down-charity

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                 9.38.4..2. Moreover, the assurance that ARB sought and received from ash-
                            Sheikh came from an individual who was also serving as an official of
                            Al-Haramain.

                 9.38.4..3. The records provided do not show that ARB took any other due
                            diligence regarding Al-Haramain, other than, according to a State
                            Department cable citing a SAMA official, undertake a full scale audit
                            of itself, conducted by Ernst & Young, which was ostensibly provided
                            to SAMA, but which has never been publicly disclosed.

          9.38.5. The evidence in the ARB documents and the contemporaneous Al Jazeera article,
                  on the one hand, and the testimony of ash-Sheikh, on the other, are in direct
                  conflict with one another. I assess them to be factually irreconcilable.

          9.38.6. While I am aware of ash-Sheikh’s statements that Al-Haramain was not licensed
                  and was not operating lawfully, and that he had had nothing to do with this
                  Da’Wah Organization, the contemporaneous documents provide evidence that
                  ARB did receive some confirmation in connection with its handling of accounts
                  for Al-Haramain suggesting that its activities had been authorized by the
                  Ministry of Islamic Affairs generally and by ash-Sheikh personally. That said,
                  any such authorizations, provided for the few account opening files that
                  contained them (if they were in fact obtained by ARB as reflected in its records
                  and contrary to ash-Sheikh’s express testimony) failed to comply with ARB’s
                  explicit policies and procedures requiring ARB to obtain a copy of Al-
                  Haramain’s permit to operate.

9.39.     Occasionally, ARB officials would request or obtain information on the specific activities
          of a proposed new account. As all of these new accounts were within Saudi Arabia, when
          a geographic region is referenced, the requests for information were ordinarily made
          about the scope of domestic, rather than foreign activities. A handful of documents
          showed that some of the accounts related to broad areas of foreign activity, such as
          “Africa,” or “Asia,” or “Europe,” and these sometimes listed non-inclusive examples of
          countries within that region, without defining the precise activities that would be
          undertaken in these specific countries. For example, a document dated September 26,
          1994, from al-Aqil as Director General of Al-Haramain advises the director of the ARB
          branch at Al Olaya Street that there are eleven accounts at his branch, which include the
          accounts for Al-Haramain’s “General Account,” “Europe Committee,” “Africa
          Committee,” “Zakat,” “Continuous Alms (Inside the Saudi Kingdom), “Indian
          Subcontinent Committee,” “Mosques Committee,” “Middle East Committee,” “Iftar of
          Fasting People Committee,” “Sponsorships Committee,” and “Islamic Book Publishing
          Committee.”510

9.40.     These Committees correspond well to the areas of the world in which Al-Haramain
          provided support to al Qaeda and other terrorist groups, as described by the U.S. Treasury
          Department on June 2, 2004 when it sanctioned al-Aqil as a Specially Designated Global

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        Terrorist for his support through Al-Haramain to al Qaeda and other terrorist groups. In
        announcing al-Aqil’s designation and that of Al-Haramain, the Treasury Department
        stated the following: “When viewed as a single entity, [Al-Haramain] is one of the
        principal Islamic NGOs providing support for the al Qaida network and promoting
        militant Islamic doctrine worldwide. Under Al Aqil’s leadership of [Al-Haramain],
        numerous [Al-Haramain] field offices and representatives operating throughout Africa,
        Asia, Europe and North America appeared to be providing financial and material support
        to the al Qaida network. Terrorist organizations designated by the U.S. including Jemmah
        Islammiya, Al-Ittihad Al-Islamiya, Egyptian Islamic Jihad, HAMAS and Lashkar E-
        Taibah received funding from [Al-Haramain] and used [Al-Haramain] as a front for
        fundraising and operational activities. Under Al-Aqil's leadership, [Al-Haramain]
        implemented its tasks through its offices and representatives, which span more than 50
        countries around the world.”511

        9.40.1. In the correspondence, al-Aqil tells ARB’s branch director not to cash out or
                transfer any funds except with “formal checks” issued by Al-Haramain and
                “coded by SAMA,” and lists himself as the authorized signatory of seven of the
                accounts.512 (I assume the term “coded by SAMA,” refers to funds being sent to
                the correct account as determined by SAMA’s coding system, rather than direct
                oversight of the transfers by Al-Haramain of anyone at Saudi Arabia’s main bank
                regulator.)

        9.40.2. Notably, this information on the accounts was about as detailed as any in ARB’s
                files, but one, which I discuss below. Yet it does not list where in “Europe,”
                “Africa,” “the Indian Subcontinent,” or the “Middle East” any funds might be
                going, or what specifically would be done with them. I have seen no evidence
                that at any time, anyone at ARB asked this question before the 9/11 attacks, as
                mandated by its own AML policies and procedures. Had it done so, the inquiry
                likely would have brought to ARB’s explicit attention evidence indicating the
                very conclusions the U.S. government would reach – the accounts were being
                used for supporting extremism and terrorism in many countries.513

        9.40.3. The most detailed document that I reviewed from the ARB account opening files
                is undated. It shows that at some unspecified date, someone at Al-Harimain
                advised someone at ARB that Al-Haramain maintained 15 accounts at ARB and
                specified a number of accounts in which funds were being used for activities

511
    “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” U.S. Treasury Department Press Release, June 2,
2004, id
512
    ARB-00038535
513
    There may be additional information contained in documents that have been redacted by ARB and provided only
in heavily blacked-out form. For example, another ARB document appears to also provide information on other
accounts maintained by Al-Haramain, but all identifying information other than two digit account numbers such as
5/9, 9/5, 9/6, 0/3, and so on, have been redacted, including the branches where the accounts were held. The
document is provided in a form with eight blank pages prior to the redacted information regarding an account listed
only as 7/0, and without any date contained in the remaining material. These account numbers are consistent with
account numbers set forth in another document – ARB-00038116 that is also undated. I have no way of knowing
whether information material to my opinion might be contained beneath the redactions. ARB-00038288-8295

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                     outside of Saudi Arabia. These included for the Asia Committee, funding to
                     Palestine and Chechna, two conflict zones, and miscellaneous activities that
                     included animal sacrifice and vows, book printing Da’Wah, Institute
                     sponsorship, Quran memorization; heath clinics; propagators, and orphans’
                     sponsorship. For the Africa Committee, there were similar categories of projects,
                     plus chastity belts, but no country was mentioned. For Europe, similar categories
                     of activities were listed, and three countries: Albania, Bosnia and Kosovo – again
                     areas of active armed conflict in the mid and late 1990s. For the Zakat
                     Committee, the entry merely listed “Zakat outside of the Saudi Kingdom.”514

          9.40.4. I have seen no evidence that ARB responded to this information by asking
                  questions about any of of the information in the document, let alone verifying
                  any of it, as required by its own policies and procedures. To the contrary, based
                  on the ARB documents provided, I found that ARB enabled al-Aqil and Al-
                  Haramain to open accounts at will, sometimes multiple accounts at the same
                  time, without requiring al-Aqil or anyone at Al-Hariman to explain in concrete
                  terms what the funds entering and exiting the accounts would be used for.

9.41.     To summarize:

          9.41.1.    I found no evidence that ARB updated the data of old account holders
                     periodically and continuously, or at least every three years prior to the 9/11
                     attacks, as required by ARB’s policies and procedures.

                     9.41.1..1.   I did find evidence that ARB updated such data to respond to
                                  particular requests from the account holders or their representatives
                                  to change a signatory or transfer an account.

          9.41.2.    I found no evidence that ARB obtained the licensing documents of the Da’Wah
                     Organizations prior to the 9/11 attacks.

          9.41.3.    I found no evidence that ARB indirectly inquired about the Da’Wah
                     Organizations with other banks or any other sources.

                     9.41.3..1.   I did find evidence ARB did occasionally receive authorization
                                  from Saudi government ministries, including the Ministry of
                                  Islamic Affairs, regarding Al-Haramain being approved to open a
                                  particular new account, as reflected in the examples which I have
                                  described above, which I found to be inconsistent with the
                                  testimony of Ash Sheikh in the Ash Sheikh Deposition.

          9.41.4.    I found no evidence that ARB verified any data given by the Da’Wah
                     organizations when opening accounts, such as verifying the address or visiting
                     the headquarters of the organizations.



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         9.41.5.    I found no evidence that ARB undertook any verification to know the sources of
                    the funds deposited by the Da’Wah Organizations at the time of opening
                    accounts for them, or later, including when there were cash deposits.

         9.41.6.    I found no evidence that ARB obtained information on the Da’Wah
                    organizations’ financial structure and annual financial statements.

         9.41.7.    I found no evidence that ARB obtained concrete information about the actual
                    services the Da’Wah Organizations were providing and the actual uses of the
                    funds that they were moving through ARB.

         9.41.8.    I found no evidence that ARB obtained a list of the Da’Wah Organizations’ most
                    important suppliers, dealers, contractors, or business locations.

         9.41.9.    I found no evidence that ARB obtained information about the Da’Wah
                    Organizaion’s dealings with related parties.

         9.41.10. I did find evidence ARB obtained information that the Da’Wah Organizations
                  were operating in particular continents, in accounts labeled with such names as
                  “Africa” “Asia” and “Europe,” and occasionally, specifying countries and
                  purported activities,515 but not that it verified whether the funds in these
                  accounts were being used for the described purposes.

         9.41.11. I found no evidence that ARB obtained information on the actual foreign
                  operations of the Da’Wah organizations.

9.42.    If ARB had undertaken the due diligence steps required under its policies and procedures
         as set forth in the ARB Branch Manual, or monitored the public allegations that Al-
         Haramain was involved in terrorist finance, such due diligence should have identified red
         flags that Al-Haramain’s accounts for many locations were at high risk of terrorist
         finance, especially those involved in providing funds to areas of active armed conflict.

9.43.    The absence of ARB putting into place any form of monitoring of public reports alleging
         that the Da’Wah Organizations were involved in providing support to terrorists and
         extremists is especially striking and inconsistent with its obligations to adhere to
         international banking standards, SAMA’s know-your-customer Guidelines, and ARB’s
         commitment to putting in place a system in which it would know its customers. 516


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    ARB-00038116, for example. This undated Al-Haramain document maintained by ARB specifies 15 Committees
associated with Al-Haramain maintained at ARB, and their general purposes, which are as specific as providing
chastity kits to unknown persons in unknown countries in Africa, Account Number [redacted] 9/0, and as general as
“Charity endowment whose revenue is spent for all types of charity,” Account No [redacted] 2/2
516
    By way of reference, I note that I have been using online data-base searches of major media since the late 1970s,
through Lexis/Nexis, which I first had 24/7 access to when I was in law school and working as a journalist. I also
used it as a Congressional investigator in the late-1980s in connection with the work I did investigating money
laundering and terrorist finance relating to the Emirati-owned bank, BCCI. The type of public information I have
cited in Section 4 of this Expert Report regarding the use of charities such as the Da’Wah Organizations was
available to any bank in the 1990’s which choose to buy access to it through services such as Lexis/Nexis, or which

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9.44.    I have seen no evidence in any ARB document created prior to the 9/11 attacks that
         contains even a single reference to any media report, in any language, about any risks
         associated with international charities operating in conflict zones, or about the allegations
         in international media relating to the involvement of the Da’Wah Organizations in
         providing support to extremists and/or terrorists. I therefore assume, given the scope of
         discovery in this case regarding ARB’s due diligence on the Da’Wah Organizations, no
         such public reports were accessed by ARB as part of adhering to its know-your-customer
         obligations.

         9.44.1. As cited in my response to Question 3 in this Expert Report, the FATF
                 Recommendations that formed the basis of the 1995 SAMA Guidelines expressly
                 state that reviewing media is a necessary part of due diligence. In interpreting
                 FATF Recommendations 11 and 15 through 18, the FATF’s interpretive notes in
                 place prior to 9/11 state that [“w]henever it is necessary in order to know the true
                 identity of the customer and to ensure that legal entities cannot be used by natural
                 persons as a method of operating in reality anonymous accounts [emphasis
                 added], financial institutions should, if the information is not otherwise available
                 through public registers or other reliable sources, request information – and
                 update that information – from the customer concerning principle owners and
                 beneficiaries. If the customer does not have such information, the financial
                 institution should request information from the customer on whoever has actual
                 control. If adequate information is not obtainable, financial institutions should
                 give special attention to business relations and transactions with the customer. If,
                 based on information supplied from the customer or from other sources, the
                 financial institution has reason to believe that the customer’s account is being
                 utilised in money laundering transactions, the financial institution must comply
                 with the relevant legislation, regulations, directives, or agreements concerning
                 reporting of suspicious transactions or termination of business with such
                 customers.”517

         9.44.2. In this case, the ocean of anonymous, minimally documented transactions,
                 including the apparent use of cash and couriers by the Da’Wah Organizations to
                 transfer funds, meant that in reality, the accounts that ARB were providing to the
                 Da’Wah Organizations functioned as anonymous accounts, in being able to
                 provide funds throughout the world to people and for purposes that were not
                 documented by ARB. ARB’s failure to respond to this risk by taking the measures
                 described by FATF is a further example of it not adhering to Know Your


looked for it on the Internet: “By 1995, the internet and the World Wide Web were established phenomena:
Netscape Navigator, which was the most popular browser at the time, had around 10 million global users.” See e.g.
“A Short History of the Internet,” National Science and Media Museum, December 3, 2020,
https://www.scienceandmediamuseum.org.uk/objects-and-stories/short-history-internet. I do not know whether
banks in Saudi Arabia were able to use the Internet for monitoring customers and undertaking due diligence prior to
1999, when Saudi authorities first authorized the Internet for general public use, long after it was available in most
other countries. But Saudi-based banks had the obligation to carry out due diligence regardless, like other
international banks. The international news database of Lexis/Nexis, for example, was available to uses who had
IBM-compatible computer terminals by 1983, https://www.lexisnexis.com/anniversary/30th_timeline_fulltxt.pdf
517
    FATF Interpretative Guidance, id.

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                  Customer Anti-Money Laundering, and Counter Terrorism best practdices and
                  international standards prior to the 9/11 attacks.

9.45.    I also have seen no documentary evidence that ARB’s anti-money laundering and the
         other relevant compliance policies and procedures promulgated by the bank were
         contemporaneously audited, as required by the SAMA regulations, and therefore, that any
         such audits found ARB to be in compliance with its own policies and procedures, SAMA
         regulations, and international standards with regards to the Da’Wah Organizations.

         9.45.1. I am mindful of, and have carefully reviewed, the statements made in the
                 Galloway deposition that ARB’s AML work was audited internally and externally
                 by the bank, at the branch level, and sometimes account-by-account on the basis
                 of sampling, and that these audits included contemporaneous audits. I have also
                 reviewed his additional statements on these points as contained in the extensive
                 Errata he filed following his deposition, which stated that audits of ARB’s
                 branches were undertaken contemporaneously and reviewed contemporaneously
                 by ARB’s regulator, SAMA. But I have not been provided any such audits
                 regarding ARB generally, or its handling of accounts of the Da’Wah
                 Organizations. My understanding from reviewing the pleadings is that no such
                 audits have been provided to the plaintiffs in discovery. Any audits, especially if
                 they were made contemporaneously, could provide important information that
                 might provide further evidence affecting my assessment of this issue.518

9.46.    I also have seen no evidence that ARB’s Anti-Money Laundering Unit carried out the
         training required by SAMA under its November 1995 AML Guidelines.

9.47.    I also cannot determine from the documents provided to me that ARB met its obligations
         to maintain and retain bank records pertaining to the Da’Wah Organizations, as required
         by SAMA under its AML Guidelines. Documents I would expect to see regarding
         decisions taken about the opening and transfer of particular accounts are missing in
         particular cases. The redactions that have been made in the documents provided, and the
         additional documents which have been withheld from production by ARB, prevent me
         from reaching a definitive assessment on that point.

9.48.    From reviewing pleadings filed in this case, I understand that the lawyers for the
         plaintiffs have requested all KYC and AML compliance documents from the relevant
         period at ARB be provided to them as part of the discovery process, and that any
         documents that are material to this issue have been provided to me.

         9.48.1. In the absence of other evidence, such as the missing audits, the documents I have
                 reviewed show that the Head of the Unit did not undertake the required tasks
                 mandated by ARB, and that no one at ARB took meaningful actions to ensure that
                 these tasks – including the “active monitoring” of the accounts of the Da’Wah

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   Galloway Deposition, pp. 96-112, including the errata from pp. 108-116 concerning the audit activities at ARB.
Even audits conducted years after the proper period for an audit (six months following the end of the year for the
entity), and in anticipation of potential litigation as would have been the case for Al-Haramain in 2003, can still
contain valuable information, even if they are based on incomplete information, or are caveated by the auditors.

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                 Organizations -- were actually carried out.

        9.48.2. Accordingly, on the basis of the evidence provided, I conclude that ARB’s AML
                Unit head did not comply with the bank’s own policies and procedures and that
                ARB itself did not adhere to its own policies and procedures, which in turn were
                necessary to meet SAMA’s requirements, which in turn were necessary for ARB
                to meet its international banking obligations generally, including meeting FATF
                Recommendation 10, requiring financial institutions to obtain and maintain
                adequate identification documentation for accounts and verify the legal existence
                of customers such as the Da’Wah Organizations; FATF Recommendation 11,
                requiring financial institutions to obtain information about the true identity of the
                person on whose behalf an account is opened or a transaction is conducted;
                Recommendation 12, requiring financial institutions to maintain sufficient records
                to permit reconstruction of individuals transactions to provide, if necessary,
                evidence for prosecution of criminal behavior; Recommendation 14, requiring
                financial institutions to pay special attention to complex, unusual transactions and
                patterns of transactions; Recommendation 15, requiring financial institutions to
                report suspicious transactions to authorities; Recommendation 19, requiring
                financial institutions to develop programs against money laundering that include
                adequate internal controls, an ongoing employee training program; and an audit
                function to test the system; and Recommendation 21, requiring financial
                institutions to give special attention to business relations and transactions with
                persons from countries which do not or insufficiently apply the FATF
                Recommendations.519

        9.48.3. Further evidence that I considered in reaching these judgments is provided
                through the duration of this section of this Expert Report, and in the section of my
                report that addresses Question 8, whether ARB ignored money laundering and
                terrorist finance red flags.

The Da’Wah Organizations Treated by ARB as Saudi Official Bodies
9.49.   One feature of the lack of due diligence regarding these accounts, and ARB’s failure to
        adhere to its own AML requirements regarding them, was the treatment in some cases by
        ARB of accounts oof the Da’Wah Organizations as if they were accounts of government
        agencies, rather than as NGO accounts, prior to the 9/11 attacks. Several documents
        reference this inappropriate treatment explicitly.

        9.49.1. For example, on June 1, 1999, the Governor of Yanbu Province in Saudi Arabia,
                whose capital is the coastal city of Yanbu northwest of Jeddah, issued a “Circular
                to all Government Administrations, Centres, Companies and Banks,” which ARB
                received and retained, and produced in discovery in this case. The Circular states
                that Al-Haramain had opened an office in the province and was supervised by the
                Deputy Minister of Islamic Affairs, Saleh bin Abdel Aziz bin Mohamed Al ash-

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    Should documents that showed that such tasks had been carried out be provided to me in the future, I would re-
evaluate this inference.

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                 Sheikh (“ash-Sheikh”). As set forth in the circular, Al-Haramain’s missions were
                 to teach and promulgate “the correct doctrine in the hearts of the Muslims, as
                 sourced from the Quran,” teach the correct “Sunna” or traditions and practices of
                 Mohammed, and undertake “Rushing to aid the Muslims at times of disasters and
                 catastrophes.”520 The issuance of this Circular implies Al-Haramain was
                 functioning as an agency authorized and controlled by the Saudi Islamic Ministry.

        9.49.2. On some occasions, as I have discussed in this section of this Expert Report, ARB
                confirmed with ash-Sheikh that particular accounts should be opened or
                maintained for Al-Haramain. For example, ash-Sheikh made such a confirmation
                on January 29, 1997 with regard to one account (Account No [redacted by
                defendant] 55), at branch [redacted by defendant].521 In another example, Ash-
                Sheikh confirmed that ARB could open an account for Al-Haramain on March 13,
                2004, when he had become the Minister of Islamic Affairs.522

        9.49.3. Notably, at the time ash-Sheikh made these confirmations, he was also listed in
                his own correspondence with ARB as serving as Al-Haramain’s “General
                Supervisor.”523 The dual, simultaneous roles of ash-Sheikh as serving as a senior
                official at the Islamic Ministry and in a senior role at Al-Haramain reflected in the
                ARB documents is consistent with Al-Haramain, and MWL, WAMY, and IIRO,
                as the subsidiary of MWL, being treated functionally by ARB, as entities
                sponsored by, or even part of, the Islamic Ministry of the Saudi government.

        9.49.4. In another example, on August 18, 1999, SAMA expressly approved the opening
                of an account on behalf of the Saudi Joint Committee for the Relief of the People
                of Kosovo (this is the same entity as the SJRC, discussed earlier in this Expert
                Report) to be created from two existing accounts of the MWL for assistance to
                Kosovo, with conditions imposed on that action: “instructions governing opening
                government accounts [must be] observed, while approve the signatures of those
                authorized to withdraw, certified by the person holding authority.” The
                applicable rules from the ARB Manual states that this is to be done as follows:
                “An official letter should be obtained from the government institution as a request
                to open the account, indicating the names of the persons authorized to sign. The
                signature and position of the clerk signing the request should be endorsed by the
                competent agency, provided that the clerk’s position is not lower than a general
                director.”524 The documents show that the Secretary General of the Muslim World
                League, on IIRO stationary, then provided the instructions, suggesting that the
                MWL, the IIRO, and the SJRC were all acting as government agencies.525


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    ARB-00038818
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    ARB-0038573
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    ARB-0039505
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    ARB-0038201
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    ARB Manual, ARB-00000169
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    As previously noted, the SJRC was linked to both al Qaeda and bin Ladin. The CIA found it to be a state-
sponsored entity which was coordinating support from Islamic charities in Kosovo and Chechnya, “some of which
have been tied to terrorist and mujahidin activity including al-Haramain, al-Waqfal-Islami, IIRO, and WAMY. Bin

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        9.49.5. Separately, on April 25, 2000, the director of the branches division at ARB,
                responded to a request from a branch director at Al-Haramain made on February
                14, 2000, that ARB approved the opening of the account “provided that the
                instructions governing the opening of government accounts are observed,” which
                he explained meant that the signature cards for those authorized to withdraw
                funds from the Al-Haramain account needed to be a certified by a government
                official.526 This suggests that Al-Haramain, too, was seen by ARB at the time as a
                Saudi government agency, holding Saudi government accounts.

        9.49.6. After the 9/11 attacks, in a document dated April 06, 2003, an ARB official,
                noting that several Al-Haramain accounts at a particular branch were not
                complying with ARB’s legal requirements because they were linked to “unrelated
                identification codes” and needed to be expressly linked to Al-Haramain’s code. In
                asking them to be linked to the Al-Haramain code, the official wrote that it was
                “Very important” to “Create a letter . . . to transfer the subcategory from
                government current account to corporate current account.”527

        9.49.7. I cannot determine whether ARB’s comprehensive failure to undertake the due
                diligence required by its regulator and its own policies and procedures was related
                to its officials viewing the Da’Wah accounts as government accounts and
                therefore not subject to due diligence (despite the express requirements of its
                policies and procedures), or alternatively, whether officials at ARB viewed the
                Da’Wah organizations’ linkages to government entities as providing a convenient
                cover enabling those organizations to use their accounts without limitations.
                Regardless, the due diligence failure was comprehensive, and created an
                environment for easy abuse. In practice, there was not merely an absence of due
                diligence, but one of basic record-keeping. On a number of accounts of the
                Da’Wah organizations I found that many of the fields required by ARB on ARB’s
                account opening forms were not even filled in.

        9.49.8. Whether or not ARB was treating the accounts of the Da'Wah organizations as
                government accounts, neither SAMA’s regulations nor ARB’s own policies and
                procedures contain exemptions for accounts that have some connection to
                government, nor does that category exempt a bank from applying compliance
                policies as a matter of applicable international standards. To the contrary:
                accounts controlled by “politically exposed persons,” such as government
                officials, are an entire category of potential risk that banks need to assess as part
                of their compliance obligations. When such accounts are held in the personal
                names of officials, the risks of self-dealing, corruption, and improper conduct in
                the handling of those accounts particularly have to be taken into account. I have
                seen no evidence that any such diligence was applied to any of the accounts of the
                Da’Wah organizations in which Saudi officials, such as ash-Sheikh, were

Ladin-associated Wa’el Julaydan was the Saudi-government appointed head [of[ the SJRC’s Kosovo office during
the mid-1990’s [redacted].” CIA_000151
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    ARB000038842-8844
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    ARB-00038810

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                 involved, as shown in documents produced by ARB.

9.50.     With these general observations and analysis, I turn to further specifics of ARB’s
          handling of the opening and maintenance of accounts for Al-Haramain, MWL, WAMY,
          and the SAAR Foundation, based on the limited set of ARB documents that have been
          made available to me, supplemented by external information, such as that provided in the
          CIA reports and other government documents I have considered for this Expert Report.

The Opening and Maintenance of Accounts for the Charities as Verified Legal Entities
9.51.     Saudi regulations and ARB’s own policies and procedures required ARB prior to the 9/11
          attacks to “obtain original documents or authenticated copies [emphasis added] which
          identify the legal identity of the customer, details about its activities etc. as prescribed in
          the customer agreement,” as specified in the 1995 SAMA Guidelines. ARB’s Manual
          similarly requires “official identification documents” for each customer, and each new
          account, and having them updated every three years.

9.52.     The materials I have been provided do not show ARB obtaining any such documentary
          confirmation Al-Haramain, MWL, IIRO, and WAMY prior to the 9/11 attacks. ARB did
          obtain such information after the 9/11 attacks for Al-Haramain, MWL, IIRO and
          WAMY. The required identification documents for these charities were contained in a
          March 21, 2004 document from the Saudi Minister of Justice, certifying these entities
          were lawfully established in Saudi Arabia and permitted to operate under its laws and
          regulations.528

9.53.     This belated effort to obtain documentation was consistent with ARB issuing a bilingual
          text on an unspecified date to its clients generally, with the word “IMPORTANT!” as its
          caption, stating that SAMA had “recently issued rules requiring banks to request
          identification documents from clients to retain copies of such documentation in their
          account portfolios at the banks,” effective April 2003, warning that funds would be
          frozen from “3 years from the date of the regulation issued in April 2003,” if the personal
          data was not updated immediately.529

9.54.     Section 5.2 of the SAMA Guidelines issued in November 1995 had already required
          ARB to obtain such information for the previous seven and a half years at the time ARB
          issued this notice. The “IMPORTANT!” notice implicitly suggests that ARB did not
          enforce these documentation requirements in practice prior to sending out the
          “IMPORTANT!” bilingual text to its clients, and is consistent with what I have
          previously noted which is that I have seen no evidence ARB had ever undertaken the
          three-year client updates required by its AML policies and procedures regarding its
          Da’Wah clients.

9.55.     I have found documents produced by ARB showing that it possessed, on a date not
          specified in the document, proofs of IIRO being authorized by the Saudi government to

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      ARB-00038870

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       act as a Da’Wah organization which were approved by the government of Saudi Arabia
       on May 29, 2002, stating as follows:

       9.55.1. “World Muslim League – headquartered in Mecca, Kingdom of Saudi Arabia –
               hereby certifies that International Islamic Relief Organization was founded in
               accordance with a decision by Muslim World League’s Constituent Assembly in
               its in its 20th Session held from 11/15/1398 AH (October 17, 1978 AD) to
               11/27/1398 AH (October 29, 1978 AD). It is an agency with legal personality and
               has its own structural, administrative, and financial systems. It provides relief to
               peoples and societies in cases of disasters across all continents, and
               comprehensive health care to the poor widows, children, and orphans. It
               establishes, supports, and manages general institutes, schools, educational and
               training organizations, as well as training and social programs. It provides
               scholarships and establishes and manages hospitals and clinics in the needy
               countries and societies. It establishes, manages, and assists orphanages and takes
               care of health, education, and training. Therefore, World Muslim League hopes
               for cooperation with International Islamic Relief Organization and assistance with
               its mission.”530 This language was accompanied by an undated certificate from the
               Saudi Ministry of Foreign Affairs confirming IIRO’s status “To Whom It May
               Concern,” as a government-sponsored NGO with the mission of caring for
               “Refugees, children, and victims of wars and disasters worldwide.”531

       9.55.2. The context of these documents suggest that in May 2002, the Muslim World
               League and IIRO, in consultation with the Saudi Foreign Ministry, were seeking
               to regularize the status of the IIRO in the wake of the 9/11 attacks. The documents
               state that following amendments to the IIRO’s status in April 01-11, 2002, the
               IIRO was defined as “an Islamic charity organization [that] is part of Muslim
               World League. It works worldwide and cooperates with the donors to give their
               donations to their needy and afflicted brethren in the world. It keeps them on the
               path of Islam, provides them with relief, ends their suffering, and develops their
               communities. It was founded in accordance with the decision of Muslim World
               League’s Constituent Assembly in its 20th Session in 1398 AH (1978 AD) with
               Royal Approval No. 4734, dated 02/30/1399 AH (January 29, 1979 AD). It has its
               own independent legal personality and its own structural, administrative, and
               financial systems in the framework of the provisions of its Statute and bylaws
               thereof.” The documents further state that “The International Islamic Relief
               Organization’s headquarters is Mecca, Kingdom of Saudi Arabia. It may manage
               its whole work from its center in Jeddah and may found offices and branches
               inside the headquarters’ country and abroad.”532

       9.55.3. While I was unable to find a date on the documents showing when ARB received
               them, by their own terms, they pertain to the spring of 2002, or well after the 9/11
               attacks. Thus, they do not show that ARB obtained the required information on

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    ARB-00013681
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    ARB-00013683
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    ARB-00013684-686

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                  the legal identity and structure of IIRO prior to the 9/11 attacks, as required by the
                  1995 SAMA Guidelines and by its own AML policies and procedures. Indeed, as
                  I read them, dating of these documents to May 2002 implies that ARB did not
                  have this information prior to the 9/11 attacks.

9.56.     I also found references to the granting of certain permissions for IIRO to open an office
          in Mecca (Makkah Province) by senior Saudi officials in an ARB IIRO account file
          whose contents pre-date the attacks. But the correspondence and account appears to refer
          to an account in Saudi Arabia’s Eastern Province, not Makkah Province, and there is no
          information in the set of documents as to whether the documents containing the
          permissions are part of the file on that account, and if so, when they were placed in the
          file.

          9.56.1. The file pertains to IIRO Account No [redacted] 57, in which the most recent
                  document is dated September 2, 2001, and asks for the updating of signatory
                  authorities on that account, an act that was initially sought according to the
                  documents on April 19, 2001. This is set forth in ARB-000137670-137673.533

          9.56.2. The following two pages in the Bates stamping, ARB-00013674 and ARB-
                  00013675, which are not otherwise referenced in the documents expressly
                  characterized as being part of the IIRO Account No [redacted] 57, contain much
                  older information relating to the IIRO’s authorization from senior officials Saudi
                  Arabia on August 9, 1989 and October 26, 1984 to open up an office in Mecca to
                  carry out educational activities for girls and to collection donations for them (in
                  the case of the 1989 document) , and “to contact concerned agencies in the
                  Islamic countries to promote Islamic Relief Organization’s activity and provide it
                  with possible staff and financial and in-kind assistance.”534

          9.56.3. I do not have enough information about the documents to determine whether they
                  were actually in the account file for IIRO Account “[redacted] 57,” and if they
                  were, whether they were placed there prior to the 9/11 attacks, or afterwards. I
                  note that even if they were in the IIRO account, the documents were more than
                  three years old as of the dates of the other transactions in the account, being
                  respectively, created nearly 12 years and 17 years earlier, and not in any way
                  updated or reaffirmed. Also, as mentioned one of the two documents refers to
                  establishing and IIRO office in Mecca, which is located in a completely different
                  part of Saudi Arabia from the Eastern Province, and neither of the older
                  documents refers to the Eastern Province. Accordingly, I do not assess them to
                  conform to the requirement of ARB having the requisite licensing documents for
                  IIRO relating to the account, even if they were included within its files. The
                  subsequent actions of ARB to obtain documentary evidence of the IIRO’s
                  licensing after the 9/11 attacks, as described earlier in this subsection, is
                  consistent with the view that these documents, in this file, did not comply with


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      ARB-00013667-3673
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      ARB-00013674 and 3675

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                 ARB’s rules governing customer identification, or those issued by SAMA.

9.57.   I have seen no documentary confirmation that any corporate identification documents
        were ever obtained by ARB regarding its banking customer, the SAAR Foundation in
        Saudi Arabia. I have seen no evidence from ARB that ARB ever confirmed that the
        SAAR Foundation had a legal existence prior to 9/11. There is evidence that it could not
        have done so for many years while it was processing transactions on behalf of the SAAR
        Foundation, as the SAAR Foundation did not obtain a license to operate as a charity until
        June 19, 2000.

        9.57.1. A statement by entities associated with and under the apparent control of the Al
                Rajhi family not produced in discovery, but available online, shows that the
                SAAR Foundation did not come into legal existence until mid-2000. The online
                statement is set forth in a website maintained by the “Sulaiman al Rajhi Holding
                Company,” regarding the “Sulaiman al Rajhi Charitable Foundation,” and states
                the following regarding the SAAR Foundation: “It was founded through a Joint
                Committee between the brothers, Saleh, Abdullah and Sulaiman and Mohammed
                Abdul Aziz Al Rajhi in the year 1403/1983, and it has attracted a range of
                qualified expertise in philanthropy field. Under a license from Ministry of Social
                Affairs No. (10) of the date 2000/06/19 the philanthropic institution turned to
                Sulaiman Abdul Aziz Al Rajhi Charitable Foundation.”535

        9.57.2. The “Sulaiman al Rajhi Holding Company” describes its investments on the same
                website, and provides a short biography of the SAAR Foundation’s founder,
                SAAR, and extensive material regarding the activities of the Al Rajhi family and
                its corporate vehicles. Accordingly, I rely on its description on the website of the
                corporate history of the SAAR Foundation as to its legal status in Saudi Arabia.

        9.57.3. Based on the statement on the website, I conclude that the SAAR Foundation in
                Saudi Arabia did not have a legal existence in Saudi Arabia until June 19, 2000,
                and therefore, donations purporting to come from it prior to that date either came
                from SAAR personally through ARB, from other family members, from unknown
                sources, or from ARB itself.

        9.57.4. The ARB documents provide evidence that ARB treated the SAAR Foundation as
                a licensed charity and provided a charity that had no legal status in Saudi Arabia
                an account, whose last four digits were “6006,” which engaged in financial
                transactions and made donations for some years prior to its actual existence.
                These included, for example, the following payments by the “Sulaiman Bin
                Abdulaziz Al Rajhi Charitable Foundation,” through the 6006 account made prior
                to June 19, 2000, the date of the foundation’s creation:




535
    “Sulaiman Al-Rajhi Charitable Foundation,” website of Sulaiman al Rajhi Holding Company, undated, accessed
August 28, 2023, https://www.asrhc.com/sulaiman-al-rajhi-charitable-foundation/?lang=en

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                9.57.4..1.   Payment of 100,000 SR through withdrawal by check to Al-
                             Haramain, December 30, 1998;536

                9.57.4..2.   Payment of 12,500 SR through withdrawal by check to Al-
                             Haramain, May 5, 1999;537

                9.57.4..3.   Payment of 150,000 SR through withdrawal by check to Al-
                             Haramain, May 11, 1999;538

                9.57.4..4.   Payment of 53,400 SR through withdrawal by check to Al-
                             Haramain, December 15, 1999;539

                9.57.4..5.   Payment of 187,500 SR through withdrawal by check to Aqil al
                             Aqil (who was the head of Al-Haramain), May 8, 2000;540

                9.57.4..6.   Payment of 150,000 SR through withdrawal by check to Al-
                             Haramain, May 18, 2000.541

       9.57.5. In each of the transactions listed above, the payor listed on the account was the
               “Sulaiman Bin Abdulaziz Al Rajhi Charitable Foundation,” although that payor
               had no legal existence. Notably, once the entity came to exist, as of June 19, 2000,
               it used the same account, the name on the account did not change to reflect the
               fact that the charity now had a legal existence, and it continued making payments
               to Al-Haramain and to others in which the recipients of the funds were not
               identified at all in the ARB documents.542

       9.57.6. The evidence I have reviewed also shows that numerous donations made through
               ARB to Al-Haramain and other Da’Wah Organizations said to be from the SAAR
               Foundation used checks issued by ARB itself, rather than under its own name.

       9.57.7. The documentation provided does not enable me to provide a definitive answer
               regarding the source or sources of funds for the 6006 account; nor to determine
               how or if ARB itself documented the sources of the funds paid for through the
               ARB account. However, I take note of the testimony of SAAR’s son, Abdullah al
               Rajhi, ARB’s chair, which I find material to questions about this account and
               these donations. In his September 27, 2023 deposition, Abdullah al Rajhi testified
               that:




536
    ARB-00038079
537
    ARB-00038090
538
    ARB-00038098
539
    ARB-00038100
540
    ARB-00038102
541
    ARB-00038104
542
    ARB-00038082; ARBH-00038084; ARB-00038088; ARB-00038092; ARB-0038096; ARB-00038106

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                   9.57.7..1.    His father Sulaiman (SAAR) created the SAAR Foundation in the
                                 US to carry out charitable activities;543

                   9.57.7..2.    SAAR was the “major, major” contributor to the Foundation;544

                   9.57.7..3.    SAAR maintained a charity office in Saudi Arabia which made
                                 charitable contributions around the world from an account with
                                 ARB.545

        9.57.8. I assess from Abdullah al Rajhi’s testimony, and from the documents I have
                reviewed, that the probable source of the funds for the SAAR Foundation’s
                payments to Al-Haramain and others in the period prior to its legal existence in
                Saudi Arabia was SAAR himself, drawing on his own funds.

        9.57.9. Regardless of whether or not the SAAR Foundation was obtaining its funds from
                the founder and chairman of ARB, or from him and other, unspecified, sources,
                ARB’s provision of an account to a charity that had no legal existence in Saudi
                Arabia violated its own policies and procedures. ARB failed to apply its
                compliance obligations to transactions involving the SAAR Foundation at a time
                that the evidence shows the SAAR Foundation was operating at the direction of
                SAAR himself, in some instances, facilitated by other members of his family,
                enabling SAAR to make any contributions according to his own decisions from
                any funds he maintained or had access to at ARB. The evidence documents no
                instance in which ARB’s compliance rules were applied to SAAR or the SAAR
                Foundation by ARB personnel, and thus to transactions involving them relating to
                the Da’Wah Organizations.

Other Evidence Which is Material to ARB’s Adherence to KYC, AML, and CFT Best Practices
and International Standards with Regard to the Da’Wah Accounts – Willful Disregard of its Own
Compliance Requirements
9.58.   In reviewing the ARB account opening and maintenance documents, I found a set of
        cases in which ARB knowingly violated its own compliance policies after considering the
        issue, after recognizing that the actions were improper under its compliance policies, and
        proceeding despite the request being improper. The set of cases involved requests made
        by al-Aqil, whose involvement in terrorist finance I have addressed elsewhere in this
        Expert Report.

        9.58.1. The situation took place over a period of more than two years, from the first
                request made by al-Aqil to change the names of the accounts from accounts by
                multiple individuals who were connected to Al-Haramain, to accounts that would
                be directly held in the name of Al-Haramain, to the final request made by al-Aqil
                to do this on one of his own accounts, and ARB expressly agreeing to do it


543
    September 27, 2023 Deposition of Abdullah bin Sulaiman al-Rajhi, p. 294
544
    Id, p. 295
545
    Id, pp. 320-321

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                 despite the requests violating ARB’s compliance obligations.

        9.58.2. During this period, the head of the legal department concluded that such requests
                would not comply with specific requirements of ARB’s policies and procedures.
                ARB’s legal department provided the specifics of why the request should not be
                honored, and provided alternative solutions to carrying out al-Aqil’s request to
                avoid ARB being out of compliance with its policies and procedures.

        9.58.3. The legal assessment was then overruled by ARB’s management, and al-Aqil’s
                requests were implemented by the bank, despite violating the bank’s compliance
                rules, which it adopted to meet SAMA’s requirements, which in turn SAMA put
                into place at a national level for Saudi Arabia as of November 1995 to meet the
                best practices and international standards applicable to its banks prior to 9/11.

9.59.   The documentation on this sequence of events begins on September 26, 1998, when al
        Aqil, under the logo of Al-Haramain and on Al-Haramain letterhead, wrote the “Director
        General” of ARB asking him to transfer nine accounts that he described as “Al-
        Haramain” accounts to Al-Haramain held at two branches of ARB – Al Olaya Street
        General Branch and Al Dabab Street Branch.546 The purpose and the substance of this
        request – to transfer accounts from an entity to itself – as described in the document,
        would be difficult to understand, as it did not include a request to change anything in
        particular, including the signatories. A second communication from al-Aqil followed 12
        days later. This second communication explained that al-Aqil was actually requesting that
        nine accounts held in two branches of ARB by unspecified individuals be transferred to
        being held under the name of Al-Haramain instead, with the signatories remaining
        unchanged. Al Aqil would remain one of these four signatories.547

9.60.   The documents I have reviewed do not show whether ARB did or did not carry out these
        requests from al-Aqil. So far as I know, no document showing any response from ARB to
        al-Aqil has been provided. Therefore, I do not know for certain whether ARB failed to
        respond, or carried out al-Aqil’s requests concerning these nine accounts, which occurred
        about six weeks after the bombings of the U.S. Embassies in Nairobi and Dar es Salaam,
        and a time of U.S. government focus on Al-Haramain due to allegations of the support of
        some Al-Haramain personnel in Kenya for the bombings.548 However, based on the lack
        of follow-up information to show the accounts as having been closed at that time, I
        assume the requests by al-Aqil to ARB were carried out by the bank.549



546
    ARB-00038214
547
    ARB-0038920, the other signatories were listed as Mansour bin Abdel Rahman al Qadi, Abdel Malik bin
Mohamed al Qassim, and Mohamed bin Fahd al Tuwaijri.
548
    “Before Bombings, Omens and Fears,” New York Times, January 9, 1999, id. No reason was provided by al-Aqil
to ARB as the purpose to carry out the transfers at this time, and the documents provided do not show that ARB
asked any questions to seek to understand the requested transfer, as required by its Manual (Part 20:2) and Guide’s
requirements for the bank to know its customers.
549
    My ability to track account information has been impeded by the redactions of account numbers from the
documents produced by ARB. It is possible that one could determine whether the accounts were transferred by

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9.61.   A year later, in a document dated September 1, 1999, the Director of the Legal Affairs
        Administration unit at ARB communicated to ARB’s Director of Branches
        Administration regarding another request made by Al-Haramain, to change the name on
        an account at the Taif Branch of ARB from the name of an individual, Zayd Attia al-
        Harithi, to Al-Haramain. The branch and number of the account are different from those
        show on the earlier request by al-Aqil.550

        9.61.1. The internal text of the September 1, 1999 document referenced a later date,
                September 6, 1999, as the date the request to change the account was made. One
                of these dates must be incorrect.

        9.61.2. The Director of Legal Affairs stated that the question of whether it was possible to
                change the name on the account from an individual to Al-Haramain with the
                individual continuing to be the authorized signatory had been referred to his office
                at ARB, which was responsible for providing legal advice at the bank regarding
                compliance issues. As a response, he stated that “[w]hen changing the name of the
                account, the basic rule is closing the old account and opening a new account with
                a new number and a new name, so that the accounts are not mixed up while using
                the two accounts, and this specifies the company’s responsibility.” He further
                stated that as the account number already involved persons who were using it for
                transactions, if all the parties to the transaction agreed, and Al-Haramain
                specifically authorized the change, and they all agreed to hold ARB harmless for
                anything that went wrong as a result of the change, he would approve it. He then
                referred it to the Director of Branches Administration with a handwritten note,
                “for your review and to do what is required,” with a date of September 14,
                1999.551

        9.61.3. Meanwhile, al-Aqil wrote the Director General of ARB at the ARB’s head office
                in Riyadh on Al-Haramain stationery on September 9, 1999, stating that Al-
                Haramain sought to transfers its account in Taif (account number redacted, except
                for the numbers “00” ) from the individual, al-Harithi, to the Da’Wah
                Organization, Al-Haramain, with no change to the signatory. This document,
                based on its markings, was in turn faxed to or from someone at Al Rajhi on
                September 14, 1999.552

        9.61.4. As with the September 26, 1998 request, I have seen no documentation to enable
                me to determine with certainty whether ARB did or did not carry out this request
                from al-Aqil. Because no document showing any response from ARB to al-Aqil is
                provided, I do not know whether ARB failed to respond, or did carry out al-Aqil’s

tracing the account numbers, but I have not been able to carry this out on the basis of the information available to
me.
550
    ARB-0003885. The previous al-Aqil requests were shown at ARB-00038214 and 8215, and covered different
branches and had different numbers. Because of redactions by ARB, I cannot state with certainty whether the earlier
accounts are entirely separate from this second request, but given the differences in the facts set forth in the
documents, I assume they refer to different accounts.
551
    ARB-00038885
552
    ARB-00038878

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                request concerning this account. As I have seen no documentation showing that
                the request was denied and the account closed, I assume the request was carried
                out.

        9.61.5. On November 13, 1999, the Director of yet another branch of ARB, at Al
                Arbaeen Street, wrote ARB’s Head of Legal Affairs Section seeking a legal
                opinion regarding whether it was proper to carry out a request made by Al-
                Haramain to transfer a joint account held under the name of three individuals
                characterized as “clients” of ARB (Mohamed Marzouk al Harithi, Faisal Fayex al
                Ahmedi, and Hussain Abdullah al-Yami) to Al-Haramain. In the letter, the ARB
                Al Arbaeen Street Branch Director noted that the three men were the Director,
                Deputy Director and Executive Director of Al-Haramain’s office in Jeddah. The
                letter stated that they wanted to keep the account in the old account number
                because donors were accustomed to it. But they did not explain why the funds had
                been held in their names, or why they were now seeking to transfer it to the name
                of the Da’Wah organization.553

        9.61.6. The Head of ARB’s Legal Affairs Section provided a prompt response to the
                inquiry on November 18, 1999, and in this response, the answer was definitive.
                Carrying out the requests would violate Section II 1/1 of the Branches Instruction
                Manual. The head of the Legal Affairs Section accurately quoted the language,
                which specifies: “In the event that the client wants to change the name of his
                current account from a personal account to a legal account or vice versa, the old
                account should be closed, and a new account opened (with a new account
                number) in the name of the new person. Thus, there is complete separation
                between the transactions of the old account and those of the new account.”554 He
                then asked the branch manager to explain this to the clients and “try to convince
                them to open a new account under the name of Al-Haramain, but if that failed,
                and they insisted, the branch manager should contact the Deputy Director General
                of ARB’s Banking Group to obtain approval for the change.555

        9.61.7. In response, on November 23, 1999, the Al Arbaeen Street Branch manager wrote
                ARB’s Deputy Director General of the Banking Group, stated that the clients and
                Al-Haramain insist on using the same number because the donors were used to it,
                and asking him to approve the change of the account from the individuals to Al-
                Haramain, “since it is a distinguished client.”556

        9.61.8. On January 19, 2000, an unspecified person at Al-Haramain wrote the head of the
                ARB Al Arbaeen Street Branch, on Al-Haramain letterhead, to advise him that
                Al-Haramain had obtained the approval from the Deputy Supervisor directly, and
                that they accepted any liability that might result from the change. They therefore
                asked the name of the account be changed with new checkbooks for the account

553
    ARB-00039001
554
    Note regarding Account Opening Rules, ARB Branch Instruction Manual, p. 2-11, ARB-00000165
555
    ARB-00000165
556
    ARB-00038978

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                and promised to return the old checkbooks on the account.557

        9.61.9. I have not found other documents that would provide further information
                regarding ARB’s ultimate response to this request, but based on the totality of the
                correspondence provided, I assume absent receiving additional information to the
                contrary that ARB did in fact open up the accounts under the name Al-Haramain
                in violation of its own compliance rules.

        9.61.10. On August 8, 2001, Al-Aqil made another request to the branch manager at the Al
                 Olaya Street Branch of ARB to change another account under his own name to
                 the name of Al-Haramain, asking for ten new checkbooks to be issued once the
                 name was changed from his to that of the Da’Wah organization. In this case, the
                 director of the branch again referred the issue up to a higher level at the bank, to
                 ARB’s Director of Companies Branches in the Central Region of Saudi Arabia.558

        9.61.11. I have not been provided additional documents concerning this incident, and thus
                 do not have further evidence regarding ARB’s ultimate response to this request,
                 but based on the totality of the correspondence provided, I assume absent
                 receiving additional information to the contrary that ARB did in fact open up the
                 al-Aqil account under the name Al-Haramain in violation of its own compliance
                 rules.

        9.61.12. I note that in a separate case, in which the MWL requested the transfer of its
                 account for Kosovo humanitarian activities to the SJRC on August 24, 1999, ARB
                 received express authorization from its regulator, SAMA, to make the transfer of
                 funds. The formal approval by ARB’s national regulator, made at the request of a
                 major Saudi Da’Wah Organization as a new Da’Wah Organization was being
                 established, is contrast to the transfers of funds requested repeatedly by al-Aqil
                 without notification and permission from its banking regular, SAMA, and which
                 appear to have been approved by ARB, as reflected in the documents I have
                 cited.559

9.62.   On a separate issue, evidence documents that from time to time ARB contacted SAMA
        regarding the opening of a particular charitable account, and received permission from
        SAMA to open such an account. However, it then used this permission to open additional
        accounts for the charity later, without obtaining SAMA’s permission, and exceeding
        whatever authority was granted it by SAMA.

        9.62.1. ARB documents provide evidence that after the 9/11 attacks, SAMA contacted
                ARB regarding the formation of a “Banks Committee,” after which
                representatives of ARB, and possibly other banks, met with Saudi regulators,
                apparently at the Al Faisaliah Hotel in Riyadh, according to “Meeting Notes”
                taken of such a meeting on March 17, 2002. The notes describe new reporting

557
    ARB-00038979
558
    ARB-00038486
559
    ARB-000 37997-38016

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                 requirements by the banks to SAMA, as well as an explicit criticism of ARB for
                 exceeding the authority granted it by SAMA. The note states: “Al Birr Islamic
                 Committee.” On the next line is the sentence. “We authorized Al Rajhi to open
                 one account; they opened many accounts.” I read this sentence as a criticism of
                 ARB’s conduct by its regulator.560

        9.62.2. “Al Birr Islamic Committee” is part of the name of an Islamic charity, Lajnat al-
                Birr al-Islamiah, Arabic for “Islamic Benevolence Committee,” founded around
                1987, in part to raise funds for fighters in Afghanistan. The organization also
                provided cover and immigration assistance to fighters traveling in and out of
                Pakistan, and after 9/11. The CIA describe the organization’s involvement with
                terrorist finance as follows: “Batterjee raised funds on behalf of Bin Ladin using
                LBI as a cut-out.”561 The UN found it to be a precursor of another charity,
                Benevolence International Foundation, that was sanctioned by the United States
                and the UN for terrorist finance in support of bin Ladin and al Qaeda.562 The CIA
                also found that Lajnat was “a close affiliate” of WAMY.563

        9.62.3. The same ARB documents appear to document SAMA directing ARB and other
                Saudi banks to “Monitor the charity accounts and notify SAMA about remittances
                in large amounts.” This statement, from March 17, 2002, appears in context to be
                a direction to ARB (and possibly banks) from SAMA. It implies that thus
                monitoring had not been undertaken previously, which would constitute a further
                failure to adhere to international standards applicable to ARB’s handling of a
                accounts for the Da’Wah Organizations and other charities. I have seen no
                evidence that ARB undertook such monitoring of the accounts it maintained on
                behalf of the Da’Wah Organizations prior to the 9/11 attacks.

9.63.   To conclude, the documents produced by ARB regarding its handling and maintenance of
        accounts of the Da’Wah Organizations show that ARB did not carry out a number of the
        policies and procedures that were set forth in its Branch Instruction Manual relating to
        countering the risk of money laundering, countering terrorist finance, and knowing its
        customers and their activities at a level sufficient to protect the bank from being at risk of
        being used for improper conduct.

        9.63.1. From the documents provided, I found no evidence that its AML Unit undertook
                any of the activities it was required to undertake as set forth in the AML Guide, at
                any time, following the issuance of the Guide prior to the 9/11 attacks.


560
    ARB-00039581-39585
561
    CIA-000149. The same page of this CIA report, from November 14, 2002, “Saudi-Based Financial Support for
Terrorist Organizations,” states that “Al-Rajhi Bank has maintained accounts for individuals linked to Usama Bin
Ladin, [redacted] and individuals with ties to the Egyptian Islamic Jihad.”
562
    Benevolence International Foundation, UN 1267 Committee,
https://www.un.org/securitycouncil/sanctions/1267/aq sanctions list/summaries/entity/benevolence-international-
foundation
563
    CIA_0000820. The same report also found that Bin Ladin had at one point funded Lajnat’s offices in Afghanistan
and probably in Pakistan. CIA_000821

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        9.63.2. From the documents provided, I found no evidence that ARB met such
                compliance requirements as documenting the corporate existence of the Da’Wah
                Organizations prior to the 9/11 attacks. With regard to one of them, the SAAR
                Foundation, the entity appears to have had no corporate existence while it was
                conducting transactions through ARB at the direction of ARB’s chairman until
                June 2000, although ARB provided it an account listing it as if it were an actual
                charitable foundation in Saudi Arabia, and enabled it to make charitable donations
                through that account prior to the charitable foundation existing.

9.64.   In short, based on the documents I have reviewed, I found extensive evidence that ARB
        did not adhere to best practices and international standards with respect to opening and
        maintaining the accounts of Al-Haramain, MWL, IIRO, WAMY, and the SAAR
        Foundation.

10. Question 8: Did Al Rajhi Bank ignore money laundering and terrorist financing red
    flags with respect to the accounts it maintained for Al-Haramain Islamic Foundation,
    MWL, IIRO, WAMY and the Saudi-based Suleiman Abdul Al Rajhi Foundation before
    September 11, 2001?

10.1.   Yes, ARB ignored numerous money laundering and terrorist red flags with respect to the
        accounts it maintained for the Da’Wah Organizations.

10.2.   Money laundering compliance is a risk-based concept. To meet their anti-money
        laundering and countering terrorist flag obligations, banks and other financial institutions
        have to be aware of the types of risks that arise from the particular type of business that a
        client is engaged in, so that they can identify red flags of potential risk of misconduct and
        investigate the red flags.

10.3.   A red flag will be different for a bank client that is a personal savings account from a
        bank client which is a small grocery store, a medium-sized professional services firm, a
        large construction firm, or an NGO that is moving hundreds of millions of dollars for
        projects throughout the world annually. Those who do business locally differ in their
        profiles, and their risks, from clients who are involved in international or cross border
        activity. Similarly, clients that undertake only transactions involving small amounts of
        cash, such as that used for household needs, differ from clients who use large amounts of
        cash every day. Assessing money laundering and terrorist finance risk requires a bank to
        know its customer sufficiently to be able to assess the particular types of red flags that
        would arise given the nature of the customer’s business.

10.4.   In its 1995 Guidelines, SAMA included an appendix of “Money Laundering Indicators”
        which did not specifically address the risks facing religious charities. It did provide
        “General Indicators” for such indicators or red flags, as well as “Indicators for Bank
        Accounts,” “Indicators for Drafts,” and “Changes in Branch Transactions Indicators.”
        Materially, these included:

        10.4.1. “Continuous cash deposits in companies and establishment’s accounts.”


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           10.4.2. “Abnormal purchase of cashier’s cheques and payment orders against cash.”

           10.4.3. “Withdrawal of cash amounts after a short time of its deposit.”

           10.4.4. “Transactions for unknown objectives which do not adhere to activity of the
                   company or its branches.”

           10.4.5. “Existence of a large number of deposits of small amounts whether in cash,
                   cheques or incoming drafts and whose total amounts or the approximate total
                   amounts, are transferred to another city or country in one transactions.”

           10.4.6. “Opening of more than one account by a customer in his name in the same bank
                   without a clear reason, and existence of inter-account transfer among those
                   accounts.”

           10.4.7. “Payments or transfers by many persons to a single account whether in cash or
                   through internal drafts.”

           10.4.8. “Frequent transfer or amounts to another bank without mentioning the name of
                   the beneficiary.”

           10.4.9. “Frequent transfer of amounts to foreign banks with instructions to pay in cash to
                   the beneficiary.”

           10.4.10. “Cash transfers in large amounts.”

           10.4.11. “Deposits in different accounts and transfer of these amounts to a main account
                    and then transferring it outside the Kingdom.”

           10.4.12. “Overriding or not implementing the bank’s internal control directives or
                    intentional non-compliance with bank’s policies by employees.”564

10.5.      Consistent with my findings in my response to Question 7 in this Expert Report, ARB did
           not adhere to its AML policies and procedures in its handling of accounts for the Da’Wah
           organizations. ARB’s due diligence over the Da’Wah accounts was minimal in many
           respects.

           10.5.1. Analyzing all of its deficiencies has been made even more difficult, and in some
                   cases, impossible, by ARB’s decisions not to produce some documents relating to
                   its handling of the accounts of Da’Wah organizations and ARB’s initial decision
                   to redact material relating to its handling of the accounts in material it did
                   produce. In reviewing the documents, I have reflected on the comments made two
                   decades ago to a Washington Post reporter by a U.S. official, which raised
                   questions about the bookkeeping practices of the SAAR Foundation back in 2002.
                   At the time, the Washington Post article stated: “In 1998, for example, SAAR
                   moved $9 million to the Humana Charitable Trust, which a SAAR tax form said

564
      Appendix 2, 2005 SAMA Guidelines, id.

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                was based in the tax haven of the Isle of Man. U.S. investigators said they found
                no evidence the trust existed. Panama, another tax haven, was also the destination
                of millions of dollars. ‘Looking at their finances,’ one U.S. official involved in the
                probe said, ‘is like looking into a black hole.’”565

10.6.   As I have looked into the “black hole” of the documents produced by ARB, including
        transactions through ARB undertaken by the head of the SAAR Foundation Abdul
        Rahman bin Abdullah al Rajhi on behalf of its founder, SAAR, some light has emerged. I
        have found evidence of transactions involving elements of each of the twelve red flags
        for potential money laundering risk specified 28 years ago by SAMA that I have listed. In
        some cases, the Da’Wah organizations’ activities literally fit the descriptors, in others,
        they fit only part of the descriptors because some essential information needed to
        determine whether they actually constituted a red flag in all respects is not available from
        the documents provided. To review the SAMA-defined red flags:

        10.6.1. There were continous cash deposits into the limited number of Al-Haramain and
                IIRO accounts available to me which provided ledger information. These were
                potential red flags that ARB should have investigated (or at least reviewed to
                assess risk mitigation measures) further, but ignored.

        10.6.2. There may have been “Abnormal purchase of cashier’s cheques and payment
                orders against cash.” There were many checks and payment orders made against
                cash deposits. These were potential red flags that ARB should have investigated
                (or at least reviewed to assess risk mitigation measures), but ignored.

        10.6.3. There was frequent “Withdrawal of cash amounts.” I cannot determine how
                quickly the withdrawals were made due to ARB not providing specific dates with
                regard to most of the withdrawals in the documents made available to me. These
                were potential red flags that ARB should have investigated (or at least reviewed
                to assess risk mitigation measures), but ignored.

        10.6.4. There were many “transactions for unknown objectives,” but there was not
                enough information provided to know whether or not they “adhere[d] to activity
                of the company or its branches.” These were potential red flags that ARB should
                have investigated (or at least reviewed to assess risk mitigation measures), but
                ignored.

        10.6.5. There were many deposits of cash from many sources into the accounts of the
                Da’Wah Organizations maintained by ARB. Where they were transferred to is
                often not visible given the state of the document production and the paucity of
                information about the purpose of withdrawals. These were red flags that were
                ignored by ARB, which should have, at minimum, put controls in place to
                prevent abuse.


565
    “U.S. Trails Va. Muslim Money, Ties,” Washington Post, October 7, 2002,
https://www.washingtonpost.com/archive/politics/2002/10/07/us-trails-va-muslim-money-ties/11fed21c-9928-40a4-
845e-78b60c37f645/

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        10.6.6. There were many instances of multiple accounts being controlled by a single
                person. The best examples are at Al-Haramain, where al-Aqil controlled multiple
                accounts. Some of these were in his name, some of them were in Al-Haramain’s
                name, and the name on the accounts changed over time from his to that of the
                charity. Thus with al-Aqil, there were clear red flags for ARB regarding the
                “Opening of more than one account by a customer in his name in the same bank
                without a clear reason, and existence of inter-account transfer among those
                accounts.” ARB ignored these red flags, although they were noticed by the head
                of their legal department, as discussed in the previous section of this Expert
                Report, and then approved for handling despite being red flags.

        10.6.7. There were “Payments or transfers by many persons to a single account whether
                in cash or through internal drafts.” I assess these to be red flags that ARB
                ignored.

        10.6.8. Based on the general information available to me from the accounts maintained
                at ARB for the Da’wah Organizations, it would seem logical that there were
                “Frequent transfer or amounts to another bank without mentioning the name of
                the beneficiary,” as beneficiary information was often absent from the records
                provided to me on withdrawals by cash or check made by the Da’Wah
                Organizations from accounts at ARB. But information on transfers made to other
                banks on behalf of the Da’Wah Organizations was not provided by ARB in
                discovery. Given the purposes of the Al-Haramain and IIRO accounts to provide
                “relief” in other countries, there had to have been transfers either by cash to other
                countries or to banks in other countries, but the documents provided do not show
                definitively how this took place, except in cases involving cash couriers (another
                category of red flag for terrorist finance, discussed). Accordingly, I cannot make
                a definitive assessment as to whether this red flag was triggered with regard to
                foreign banks. I assess this to be a probable red flag that ARB failed to
                investigate and therefore ignored.

        10.6.9. The same observation applies regarding directions to foreign banks to pay in
                cash to beneficiaries. I do not have documents reflecting directions to any
                foreign bank by ARB, outside of a single bank in the United States, involving the
                ARB account at Chase Manhattan Bank, and accordingly, cannot assess whether
                or not this red flag was triggered. Based on the locations of Al-Haramain and
                IIRO offices in many countries in conflict zones, some of which did not have
                modern banking regulation prior to the 9/11 attacks, there would have been a risk
                that such payments were made in cash, but again, documentation to answer the
                question has not been available to me.566 I assess this to be a likely red flag that
                ARB failed to investigate and therefore ignored.


566
    I have reviewed about 30 checks that were produced in this litigation involving ARB’s account at Chase
Manhattan Bank in New York, made by Abdul Rahman Bin Abduallah Al Rajhi on behalf of SAAR. These had
other issues for Chase Manhattan Bank’s AML compliance which I will address below, and were structured in what
is known as a “payable through” account by ARB, which is a known money laundering risk and no longer lawful.
But the checks specified the beneficiaries and they did not involve cash.) See generally NL0010462-0010491.

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        10.6.10. There were many transactions involving cash payments in large amounts
                 involving the Da’Wah Organizations, making this a red flag that ARB ignored.

        10.6.11. There were “Deposits in different accounts and transfer of these amounts to a
                 main account,” with every indicator that they would then be transferred outside
                 of Saudi Arabia, but the transfers outside of Saudi Arabia were not shown in the
                 ARB documents, making this a probable red flag that ARB failed to investigate
                 and therefore ignored.

        10.6.12. There were specific instances in which ARB engaged in “[o]verriding or not
                implementing the bank’s internal control directives or intentional non-
                compliance with bank’s policies by employees.” These were red flags that in
                some cases the legal department became aware of and recognized as compliance
                issues, and in other cases did not come to their attention. With or without the
                involvement of ARB’s legal department, these red flags, involving a person who
                was later found deeply involved in terrorist finance and sanctioned globally,
                along with his “charity” Al Harmain, were ultimately ignored.

10.7.   As suggested in my summary above, some of these red flags as identified by SAMA’s
        Guidelines could have been seen as inherent for public charities raising funds from cash
        donations made by many members of the public. Risks for abuses involving the cash
        deposits or cash withdrawals could have been mitigated through appropriate measures,
        such as reviewing the books of the charities periodically, obtaining their audits, visiting
        their offices, or obtaining documentation on their actual operations, domestic and foreign
        through spot checks of sample activities. Others would require deeper investigation to
        assess properly whether the red flags were in fact signs of deeper problems with the
        Da’Wah Organizations, of the kind suggested by multiple media accounts. In reality, the
        abuses involving the Da’Wah Organizations in providing support to al Qaeda and to other
        extremist organizatoins both in-and outside of the al Qaeda network eventually led to the
        international closure of Al-Haramain on a global basis and its termination by Saudi
        authorities, as well as to the closure of individual IIRO branches. I found no evidence that
        ARB considered any of these red flags, or did anything to respond to them. The evidence
        is that ARB ignored all of them.

The Al Buthe Transactions

10.8.   The Al Buthe transactions undertaken on behalf of Al-Haramain’s U.S. affiliate provides
        one further example of ARB’s failure to notice red flags of money laundering and
        terrorist finance. Soliman al-Buthe was an officer of Al-Haramain in Saudi Arabia who
        worked closely with al-Aqil, and then helped to found (and to fund) the opening of Al-
        Haramain’s only U.S. affiliate, in Ashland, Oregon. Al-Buthe was indicted in the U.S. on
        allegations that he transported funds deposited in an Al-Haramain bank account in
        Oregon, where the U.S. chapter of Al-Haramain was based, and then converted into
        travellers and cashier’s checks and hand carried them back to Saudi Arabia, where they
        were cashed in for Saudi riyals at ARB and alleged to be smuggled to support mujahedin



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        fighters in Chechnya.567 Over the course of the proceedings in the U.S. against him, Al-
        Buthe fled and became a fugitive. Al-Buthe remains sanctioned by the U.S. and the
        subject of an outstanding arrest warrant.568

        10.8.1. In the course of funding Al-Haramain’s offices in Oregon, while acting as its
                Treasurer, al-Buthe engaged in three transactions with ARB that I assess to be red
                flags for (or indicators) of possible money laundering.

        10.8.2. In the first instance, on June 20, 1999, al-Buthe made what ARB characterized as
                a “cash deposit” of 187,750 SR in an account he had at ARB, and simultaneously
                deposited a “collection check” in the amount of 60,000 SR, suddenly increasing
                his funds on deposit from 21,779.37 SR to 269,529.37 SR – an incdrease of more
                than ten fold or 1000%. He then immediately converted those funds into
                traveller’s checks on the same date of June 20 1999, leading to a debit to his ARB
                account of 300,000 SR – or more than the total funds he had in total on deposit.569

                 10.8.2..1. I can provide no explanation for why ARB would authorize a
                            transaction that would have left a negative balance in al-Buthe’s
                            account. ARB-00000882 shows a positive balance of 14,529.37 SRs in
                            the account after the withdrawals, rather than a negative balance.

                 10.8.2..2. The large deposit of cash, amounting to just under $80,000, and its
                            immediate conversion into traveller’s checks, should have raised
                            questions at the bank, as al-Buthe had never had previously held that
                            much in his account, with balances typically in the thousands or tens
                            or thousands of Saudi riyals, not in the hundreds of thousands.

                 10.8.2..3. Then, ten days later, al-Buthe redeposited traveler’s checks
                            (presumably the same ones) of nearly the full amount he had
                            withdrawn,that is 292,500 SR, on June 30, 1999, and then immediately
                            withdrew most of these funds, totalling 247,630 SRs, through a “telex
                            entry debit note,” or a bank-to-bank wire transfer, once again on the
                            same day.



567
    ARB-000735-000744; ARB-000859-0000959; ARB 00039626-00039652. See also “Defendant Convicted of
Lying About Funds Bound for Religious Extremist Militants Federal Jury Convicts Leader of Al-Haramain Islamic
Foundation of Two Felonies,” U.S. Attorney’s Office, September 12, 2010,
https://archives.fbi.gov/archives/portland/press-releases/2010/pd091010.htm and “U.S.-Based Branch of Al
Haramain Foundation Linked to Terror Treasury Designates U.S. Branch, Director,” Treasury Press Release
September 9, 2004, https://home.treasury.gov/news/press-releases/js1895 Al-Buthe was designated for sanctions by
the UN on September 28, 2004, and his name was removed from the UN sanctions list on February 10, 2013.
“Security Council Committee Adds One Individual And Two Entities To Al-Qaida Section Of Its Consolidated
List,” 28/09/2004, Press Release, SC/8200 https://press.un.org/en/2004/sc8200.doc.htm and UN Ombudsman, Status
of Cases, Case 23, https://www.un.org/securitycouncil/sc/ombudsperson/status-of-cases
568
    OFAC Specially Designated Nationals and Blocked Persons List September 6, 2023,
https://www.treasury.gov/ofac/downloads/sdnlist.pdf
569
    ARB 882.

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                 10.8.2..4. These transactions were unusual, and weird. Taken together, they do
                            not make sense as normal banking transactions. At ARB, no questions
                            were asked.

        10.8.3. The second instance took place the following year, in March and April. In this
               case, ARB records report al-Buthe making a ‘cash deposit” of 184,795.00 SRs on
               March 22, 2000, and a second “cash deposit” on March 27, 2000, of 70,000 SRs,
               together rapidly increasing his balance from 311.39 SR (or less than $100) on
               March 21 to 236,358.39 on March 27, equivalent to a bit more than $63,000, and
               thus more than sixty-three times as much money. A week later, on April 3, 2000,
               al-Buthe transferred nearly half of those funds, 101,315 S.R., via a “telex
               transfer” to an unspecified recipient – and then had slightly more than that amount
               – 101,385 SRs, deposited in his acccount the following day, thereby replenishing
               it. Five days after that, al-Buthe received another “cash deposit” in the amount of
               78,729 SR, characterized as coming from “external collections.”570

                 10.8.3..1. I note that these transactions coincide with the period when al-Buthe
                            was alleged by the U.S. government to have returned to Saudi Arabia
                            from the United States, illegally carrying $130,000 in American
                            Express traveler’s checks and a $20,000 bank check provided to him
                            by the Al-Harmain branch in Oregon. According to the Justice
                            Department indictment of al-Buthe and Al-Haramain, the checks were
                            deposited in ARB in mid-to-late March 2000.571 According to the
                            indictment, the funds originated from a person in Egypt, who wanted
                            to donate $150,000 as “zakat” or charity to support Muslims in
                            Chechnya, and were accepted by Al-Haramain’s head, al-Aqil, in a
                            letter to the Egyptian donor, stating that those involved wanted to
                            assure the donor “our commitment to continue every possible effort to
                            help ending the Chechen crisis.”572 The U.S. indictment then states that
                            a fellow officer of Al-Haramain in Oregon, Pirouz Sedaghaty, then
                            provided a false financial summary to the Al-Haramain accountant
                            regarding the use of the funds.573 Thus, the transactions were not only
                            suspicious – they were actual evidence of possible terrorist finance for
                            Chechnya, undertaken through an account at ARB.

        10.8.4. A third set of transactions completes the picture of ARB ignoring red flags of
                potential laundering. In May, 2000, according to the Al-Haramain Oregon search
                warrant affidavit, al-Buthe hand carried $275,000 in American Express traveler’s
                checks issuesd to him by ARB in Saudi Arabia to the United States. The money
                was deposited into Al-Haramain’s Bank of America account in Ashland and put



570
    ARB-00000900-0901
571
    Indictment, U.S. v. Al-Haramain Islamic Foundation, Inc., Pirouz Sedaghaty, and Soliman Hamd al-Buthe,” No
CR 05-600008-HO, February 17, 2005, pp 13-14.
572
    Id, p. 9.
573
    Id, p. 11

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                 toward the purchase of a building for Al-Haramain in Springield, Missouri.574

                 10.8.4..1. On May 9, 200,0 al-Buthe made two unusually large “cash deposits”
                            in his account at ARB. The first was for 40,000 SR. The second was
                            for 1,032,900 SR. This second deposit was by far the largest cash
                            deposit made by al-Buthe over the five year period covered by the
                            document production.575

                 10.8.4..2. Four days later, on May 13, 2000, ARB’s account for al-Buthe
                            statement shows a “Debit Entry Note” with a “Traveler’s Check
                            Discount.” The amount deducted was 1,125,000 SR, which converts
                            using 2000 exchange rates to about $275,000 – a match between
                            ARB’s production and the amount specified in the federal search
                            warrant.

                 10.8.4..3. The sequence contains several red flags for possible money
                            laundering. First, al-Buthe made an exceptionally large cash deposit,
                            given the ordinary size of funds he maintained at ARB. Second, he
                            created a balance that was a substantial multiple of the average balance
                            he had maintained over months and years. Third, most of the funds
                            remained in al-Buthe’s account at ARB for a period of just five days.
                            Fourth, the funds – a great deal of money for an individual whose
                            average account balances were far lower - were converted into
                            traveler’s checks. Who and what were the source of funds? What
                            would they be used for, and where? Once again, there is no evidence
                            that ARB asked any questions.

10.9.   As reflected in the al-Buthe case, there can be indicators of potential financial crime
        based on reviewing internal bank records alone – which ARB failed to do in response to
        multiple indicators that al-Buthe’s transactions at ARB were not normal banking
        transactions for a person with his previous patterns of banking. But a bank cannot meet
        its AML obligations by only looking at internal banking records for accounts that merely
        provide transaction information without reference to the reasons for the transactions and
        the broader context in which they take place. To adhere to international best practices and
        standards, a bank has to tailor its compliance assessments to the type of risks posed by a
        particular client. To do this, it has to look at the external environment, as well as the
        information it maintains on transactions, and the information a client puts down on paper
        about its activities.

10.10. For international charities such as the Da’Wah Organizations for whom ARB had
       accounts, there would be five major risks that banks would need to consider, and mitigate
       as appropriate:



574
    In the Matter of the Search of One story residential building located at 3800 S Highway 99 in Ashland, Oregon,
Case Number 04-4009, filed in Case 6:05-crd-60008-AA, Document 183-3 Filed June 19, 2009, ¶16.
575
    ARB-00000903

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          10.10.1. (1) the risk of diversion of funds by officials or employees at the charities,
                  especially overseas, taking into account the conditions in the locations where the
                  funds would be used, the methods of moving the funds, the identies of the
                  institutions handling and receiving the funds, and the evidence regarding the
                  ultimate uses of the funds;

          10.10.2. (2) the possible affiliation of the charities with persons or groups alleged to
                   supporting or engaging in terrorism, such as bin Ladin and al Qaeda and other
                   extremist groups;

          10.10.3. (3) abuses of humanitarian funds to support jihadists engaged in military
                   activity, such as the use of humanitarian funds to support fighters, to transport
                   fighters, or to purchase military equipment or weapons;

          10.10.4. (4) support for recruitment of jihadists for military activity; and

          10.10.5. (5) providing cover to jihadists for military activity, through lending them the
                   name of the charity as a cover for their military activities, providing identity
                   documents to the jihadists, or characterizing them as employees of the charity
                   when they were not engaged in the provision of humanitarian services.

          10.10.6. During the 1990’s, as I describe in detail in Section 3 of this Expert Report, there
                   were articles in major international media referencing the use of charities for
                   each one of these five improper purposes, including expressly describing the use
                   of the Da’Wah Organizations for such purposes.

10.11. A large bank such as ARB handling accounts for international charities would need to be
       aware of these risks, and to structure its due diligence over their accounts in order to
       prevent their abuse, as described in Section 3 of tis Expert Report.

          10.11.1. MWL was itself aware of the risk of diversion of its funds at field offices for
                   improper purposes. The CIA reported that its “officials admit. . . that the lack of
                   strict auditing procedures [at the Da’Wah Organization] has made diversions of
                   funds a problem.”576

          10.11.2. As reflected in these statements by its customer, MWL, IIRO’s parent
                   organizatoin, ARB had no basis to assume that the Da’Wah Organizations were
                   themselves auditing there activities in the field to address the risk of terrorist
                   diversion. The documents do not provide evidence that ARB relied on any such
                   audits, obtained such audits, or asked for them prior to the 9/11 attacks.

10.12. To meaningfully meet its regulatory obligations not to be used to support terrrorism, and
       thereby notice the red flags which were actually present, ARB would have had to take
       into account two principal types of information that would be red flags of potential abuse.
       The first would be information available to the bank from outside sources, such as
       international media referring to the activities of its international charity clients, as well as

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      CIA_000823

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       any reporting to the bank from its own government or other governments. The second
       would be information available to the bank from inside the bank, from its own records,
       including the information it received from its clients, from any additional information it
       demanded from its clients, and from any analysis it gave to all of the information
       available to it, as suggested by SAMA in the compliance Guidelines that ARB ignored.

10.13. The documents I have reviewed show that ARB did secure assurances from Saudi
       officials, especially Saudi officials in the Ministry of Islamic Affairs, for it opening
       and/or maintaining domestic accounts for domestic offices and activities of the Da’Wah
       Organizations. ARB also occasionally received such assurances for its foreign activities,
       for example, in connection with its provision of support to Da’Wah Organizations
       involved in Kosovo during the Kosovo conflict and to the Palestinian intifada. However,
       even if ARB received assurances from Saudi officials that the Da’Wah Organizations
       could provide services for charities working in specific foreign countries, this would not
       relieve it from the obligation to assess the activities of its clients in situations where there
       were risks of it facilitating improper conduct, including not just handling the proceeds of
       drugs, but facilitating the support of terrorism.

10.14. The documents I have reviewed do not show that ARB ever considered, or maintained
       documents regarding even a single one of the international reports raising serious
       allegations of the involvement of the Da’Wah Organizations in supporting terrorism, over
       a period of many years, including from governmental bodies such as the UN, discussed in
       my response to Question 1 in this Expert Report. The reporting by international media
       and the discussion of the issue by governments were indicators of risk that needed to be
       taken into account by ARB, and they included red flags about the alleged specific
       involvement in terrorist finance and support for bin Ladin’s terrorist activities on the part
       of components of the Da’Wah Organizations. These risk indicators were systematically
       ignored by ARB as an institution, including during the period before the 9/11 attacks
       when ARB like other banks operating international had access to the internet.

10.15. The documents I have reviewed also show numerous red flags of money laundering and
       terrorist finance risk apparent within ARB’s records for the Da’Wah Organizations,
       which ARB ignored. These red flags included:

       10.15.1. The transfer of funds by the Da’Wah Organizations to areas where extremist and
                terrorist entities were known to have a substantial presence, and where there
                were active Islamic groups engaged in armed conflict. While there would be
                legitimate humanitarian activities taking place in some areas to be undertaken by
                charities for such purposes as caring for injured people or helping orphans,
                charities operating in areas in which there is also active, armed conflict have
                heightened risks for abuse.

               10.15.1..1. ARB knew that the Da’Wah Organizations were operating in areas of
                           armed conflict. in some cases, the donations reported were not only
                           reporting as going to an area of conflict, but for “jihadists” or to
                           families of “martyrs.” Examples of transfers to and from areas of
                           conflict through ARB by Da’Wah Organizations in the midst of armed

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                               conflicts include Bosnia,577 Chechnya,578 Kosovo,579 and
                               Israel/Palestine.580 ARB records also show that these Da’Wah
                               Organizations were making transfers to and from ARB where there
                               was not only armed conflict but terrorist incidents allegedly involving
                               charities – including the Da’Wah Organizations themselves in such
                               countries as Kenya,581 Tanzania,582 Indonesia, 583 and the Philippines.584
                               The pre-9/11 public reporting of the Da’Wah Organizations alleged
                               involvement in these areas in relation to terrorist activity prior to 9/11
                               was extensive.585


577
    ARB-00014549 and 14551 and ARB-00038116
578
    ARB-00014557 and ARB-00038116
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    ARB-00014556 and ARB-00038116
580
    Examples of donations made to the IIRO account at ARB for supporting Palestinians during the period of the
Second Intifada include ARB-0009781, 9782, 9784, 9785, 9787, 9839, 9840, 9841, 9849. All were reported as
coming in in cash. The donation listed at ARB-0009787 was expressly stated to be “for jihadists.” Another donation
at ARB-0000814 similarly lists a payment as being for the benefit of “Palestinian jihadists.” Other examples are at
another IIRO account at ARB, ARB-00001767, 17774, 1777, and 1786. The donation listed at ARB-00001786
refers to payments to families of “martyrs.” Another example of a donation through IIRO’s account at ARB
expressly earmarked for families of martyrs is provided at ARB-00001786. As previously explained, “martyrs” was
a term often used for people who died in armed combat, including suicide bombings and other terrorist activity
directed at civilians. See also ARB-00038116 for Al-Haramain listing of Palestine among its areas of activity.
581
    ARB-00006606, ARB-00005147, ARB00005151, ARB-00005176, ARB-00005183, ARB-00005185, ARB-
00005202, ARB-00005221, ARB-00010726, ARB-00002496, ARB-00006676.
582
    ARB-00005183, ARB-00005192, ARB-00005203, ARB-00002502, ARB-00002504, ARB-00006670
583
    ARB-00007267-7280
584
    ARB-00006179, ARB-00010729, ARB-00010731, ARB-00010732, ARB-00002497 ARB-00005157 ARB-
00005158, ARB-00005180, ARB-00005182, ARB-00005191, ARB-00005195, ARB-00002497, ARB-00002502,
ARB-00002497. See also NL 0015044-5055 regarding the SAAR Foundation’s activities in the Philippines and
Indonesia, which based on the documents I have reviewed, would very likely have been carried out through ARB, as
based on the documents, it appears that ARB was acting across-the-board as the SAAR Foundation’s bank for
transactions in Riyals.
585
    I discuss this information in detail in my response to Question 2 in this Expert Report. For the purposes of “red
flags,” I wish to note some of the public information available to ARB prior to the 9/11 attacks regarding the alleged
involvement of the Da’Wah Organizations and/or related groups with support for terrorism generally and bin Ladin
and his associates specifically. These examples of public reporting include but are not limited to: “Kenya bans six
Islamic aid agencies after U.S. Embassy bombing,” Associated Press, September 09, 1998,” referencing Kenya
government action to ban Al-Haramain and IIRO from Kenya due to their relationship to U.S. Embassy terrorist
attacks; “US fears terrorist attack in Kosovo,” BBC News, April 3, 2000, id, referencing Saudi Joint Relief
Committee involvement, and their links to bin Ladin and U.S. Embassy bombings; “It’s more than just who plants
the explosives,” New York Daily News, July 31, 1996, referencing involvement of IIRO as a “major funnel” for
Saudi support for terrorism; “A terrorist plot unearthed,” Frontline (India), Feb 27-Mar 12, 1999, Vol 16 No 05,
regarding IIRO involvement in Bosnia and elsewhere, and its ties to bin Ladin; “Russian Troops Find Arab, Bosnian
Passports in Chechnya,” ITAR-TASS, February 21 2000, referring to use of IIRO passports to transport mercenary
fighters to Chechnya; “Bin Laden Providing money, military aid to MILF: report,” Kyodo News Service, linking bin
Ladin and his brother-in-law Mohammad Khalifa to IIRO and MWL-sponsored activities in Philippines; “Gemma
Linked to Bin Laden Group Funding Sayyaf, MILF,” Philippine Daily Inquirer, August 10, 2000, regarding alleged
IIRO links to Bin Ladin and terrorism in Philippines and “Bin Laden Funds Abu Sayyaf Through Muslim Relief
Group,” Philippine Daily Inquirer, August 9, 2000, id, regarding IIRO support for Bin Ladin and terrorism in the
Philippines, under MWL sponsorship; “Some Charities Suspected of Terrorist Role,” New York Times, February
19, 2000, id.; “A helping hand from Saudi Arabia,” U.S. News & World Report, July 8, 1996, referencing IIRO
coordination of $20 million a year from Saudi Arabian sources to Islamic extremists in Gaza and West Bank;
“Nairobi Bomb Investigation,” VOA, August 22, 1998, id; “Assault on a U.S. Embassy, a Plot Both Wide and

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                10.15.1..2. As an example: on December 5, 1992, the New York Times wrote a
                            front-page article entitled, “Muslims from Afar Joining Holy War in
                            Bosnia,” which reported that there were some 400 Saudi volunteers,
                            many of them veterans of Afghanistan, fighting in Bosnia along with
                            Arabs from Egypt, Pakistan, the Sudan and Algeria. The article
                            described, with some specifics, the involvement of two of the Da’Wah
                            Organizations in area of conflict – the IIRO and WAMY, and that
                            Saudi officials said that relief work volunteers often wound up as
                            soldiers.586

                10.15.1..3. In some case, ARB did not have to guess that funds flowing through
                            the bank were being used to finance jihad. Some transactions actually
                            expressly stated that payments were being made to Afghani or
                            Palestinian jihadists.587

                10.15.1..4. ARB had relationships with IIRO and WAMY. It handled many bank
                            accounts for IIRO. It had “know your customer” duties for its account
                            holders. It was supposed to identify red flags and respond to them. The
                            New York Times story provides a clear example of red flags for the
                            possible involvement of account holders of ARB in supporting
                            terrorism.

        10.15.2. The existence of reliable information indicating that the Da’Wah Organizations
               and/or their representatives such as al-Aqil, were linked to third parties that were
               supporting or engaged in terrorist activity.

                10.15.2..1. This type of information is considered to be a red flag of terrorist
                            finance risk. As previously stated, and as set forth at length in my
                            answers to Qeustions 1 and 2 in this Expert Report, this was the
                            principal known risk for the abuse of charities. It was a subject of
                            concern by international bodies such as the United Nations. It was a
                            subject of concern for governments.

                10.15.2..2. This type of information, which was available, was a red flag for each
                            of the five types of risks for international charities operating in
                            conflict zones. As stated above, they were: the risk of diversion of
                            funds by officials or employees at the charities; affiliations with
                            extremists and terrorists; support for people engaging in military
                            activity in conflict zones; support for recruitment of people for such
                            activities, and providing cover to jihadists for military activity,


Deep,” Washington Post, November 23, 1998, id; Frontline’s A Portrait of Wadih El Hage, Accused Terrorist,
published January 31, 2001, and last updated September 12, 2001, id.
586
    “Muslims From Afar Joining 'Holy War' in Bosnia,” New York Times, December 5, 1992,
https://www.nytimes.com/1992/12/05/world/muslims-from-afar-joining-holy-war-in-bosnia.html
587
    For example, an Al-Haramain account received a 2000 SR donation on November 3, 2001 “from [a] donor to
Afghani jihadists.” ARB-00012293. An ARB account held for the IIRO received 3000 SR on June 19, 2001 “to
Palestinian Jihadists.” ARB-00008414

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                                 through lending them the name of the charity. This is exactly the type
                                 of information available before 9/11 to ARB about its Da’Wah
                                 Organization clients and those working with them which it ignored.

         10.15.3. A lead from a public source alleging that a charity is engaged in activities
                related to terrorism. Throughout this Expert Report, I have documented the
                extensive number of leads regarding the involvement of the Da’Wah
                Organizations in activities related to terrorism prior to the 9/11 attacks. These
                were public sources providing red flags of terrorist finance risk.

         10.15.4. Use of cash couriers to transfer funds from the Da’Wah Organizations into areas
                with known conflict and/or terrorist activity, by SAAR directing cash donations in
                checks written on an account at ARB written to agents and officers of the Da’Wah
                Organizations that they were then supposed to transfer to third parties in areas of
                conflict and/or terrorist activity.588 The use of cash couriers generally is an area for
                terrorist finance and money laundering risk, for the obvious reason that it is easier
                to divert cash than electronic funds without leaving a trail, absent effective
                controls to document the recipients and the uses of the cash.

         10.15.5. Actual direct evidence that customer funds were being used for improper
                purposes, such as providing support for armed jihadists. ARB records document
                that ARB had information Al-Haramain and IIRO accounts at ARB received
                funds from such sources as a “donor to Afghani jihadists” and “to Palestinian
                Jihadists.”589

         10.15.6. Large amounts of funds withdrawn by the Da’Wah Organizations in cash,
                minimizing the evidentiary trail of the uses of the cash. A single account for the
                IIRO maintained by ARB (SA [redacted] 5718), with the label “Zakat,” as set
                down by auditors, Ernst & Young in Riyadh, shows totals deposits for the five
                year period from January 1, 1998 through December 31, 2002 as 1,156,476.50
                S.R., of which more than 92% was then withdrawn in the untraceable form of


588
    See e.g. NL0010348, contribution from SAAR through ARB to al Misfer “to be handed to propagator Qassim
Mohamed from Mali,” February 06, 1999. This was the period of the second Tuareg rebellion, which had gradually
evolved into a small-scale civil war involving the Arab community in Mali. See “The Challenges of Retaking
Northern Mali,” CTC Sentinel, Combatting Terrorism Center, West Point, November 2012, Vol 5, Issue 11-12
https://ctc.westpoint.edu/wp-content/uploads/2012/11/CTCSentinel-Vol5Iss11-121.pdf; NL0010349, contribution
from SAAR through ARB to al Misfir “for the benefit of propagators in Sierra Leone,” February 6, 1999. This was a
period of ongoing terrorism and conflict in Sierra Leone. See “Patterns of Global Terrorism,” U.S. Department of
State, April 2000, for its summary of the ongoing civil war, conflict, kidnappings, and terrorist incidents there at the
period of the donation. https://1997-2001.state.gov/global/terrorism/1999report/patterns.pdf; NL0010500,
contribution from SAAR through ARB on February 4, 1999 by check to Sheikh Saud bin Mohamed al Awshan, to
be sent to the Islamic Endowment Association in the Philippines, with the means not specified. For a description of
the Philippines massive terrorism problem in this period, see Patterns of Global Terrorism, id; NL001501,
contribution from SAAR through ARB on February 4, 1999 by check to Abdullah Abdel Rahman al Saqir, to be sent
to the Dar Al Hijrah Association in the Philippines, with the means not specified; see similar payments and
mechanisms for contributions from SAAR through ARB earmarked for Ethiopia, Pakistan, Sudan, at NL0010504,
0506, 0508, 0509 and at NL0010471, NL0010472 and NL0014074.
589
    ARB-00012293, Al-Haramain, 2000 SR, November 3, 2001; ARB-00008414, IIRO, 3000 SR, June 19, 2001.

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                 cash.590 The auditor’s listing of transactions for the account does not provide dates
                 on specific transactions, and mainly refers to “cash deposits,” for the sources of
                 funds, and “check withdrawal” to the IIRO itself for the uses of the funds.591

        10.15.7. Commingling of funds from the Da’Wah Organizations with personal funds, or
               private business funds. Failure to keep funds separate, so that they can be properly
               accounted for and audited, is another red flag for the risk of money laundering
               and terrorist finance. In my response to Question 7 in this Expert Report, I
               detailed how the head of Al-Haramain, al-Aqil (later sanctioned by the U.S. and
               the UN for his sysetmatic abuse of Al-Haramain for supporting terrorism),
               repeatedly moved funds, even entire accounts, held at ARB, from individual
               persons to Al-Haramain, and was allowed to do this by ARB. Many documents I
               have reviewed refer to transactions involving al-Aqil and the Da’Wah
               Organizations. The documentation is generally so minimal that it would be
               impossible based on those documents alone to determine what funds sent to and
               from accounts at ARB by the Da’Wah Organizations or their officers, including to
               and from the personal accoumts of Da’Wah Organiation officers, were actually
               used for, and whether diversions, either personal, or to terrorist support, took
               place. But the commingling of funds that was visible constituted red flags that
               ARB ignored.

        10.15.8. Publications or speakers of the Da’Wah Organizations expressly supporting
               military action, raising the question of whether the organizations are providing
               support for armed confict or terrorism. The Da’Wah organizations repeatedly
               took part in statements or activities relating to such support.

                 10.15.8..1. For example, the MWL Journal, a publication of the MWL,
                             repeatedly called on Muslim states to “rush to the support of the
                             Bosnia people” against the “Serb aggressors,” including citing the
                             calls of senior religious officials and and officials at MWL and
                             WAMY for sending “money, arms and prayers.”592

                 10.15.8..2. The MWL journal repeatedly featured statements calling for military
                             support for Muslims around the world relating to the need for jihad in
                             Kashmir, citing officials at WAMY as well as the MWL.593

                 10.15.8..3. The MWL and IIRO joined in issuing a Circular calling on their
                             organizations to take action to contact preachers and imams in Saudi
                             Arabia to highlight the efforts of Palestinians participating in the

590
    ARB-00001469
591
    ARB-00001148-ARB-00001468. My ability to analyze more fully the information maintained by ARB in its
accounts for the Da’Wah Organizations would be enhanced were the defendant to provide all ledgers or summaries
produced by Ernst & Young of all the accounts ARB maintained for the Da’Wah Organizations.
592
    See MWL Journal of August-September 1993, pp. 8-18, p. 16, p. 75; MWL Journal, January 1994, pp. 17-20;
MWL Journal, September 1995, pp. 26-31
593
    MWL Journal of February-March 1990, pp. 22-24, and September-October 1990, p. 5, also January-February
1991, p 60 and September 1998, pp. 17-21

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                              Second Intifada, and asking them to father donations to go through
                              the IIRO to be used in su[pport of 2nd Intifada participants. As
                              previously mentioned, the 2nd Intifada constituted a period of
                              intensive armed activity by Palestinians directed against Israeli
                              civilians through suicide bombings and other forms of terrorism.594

                10.15.8..4. The MWL called for Muslims to sacrifice their own lives in Jihad,
                            which is “obligatory on every Muslim,” when “the enemy occupues
                            the land of Islam.”595

                10.15.8..5. These and similar statements made by publications and officials of
                            the Da’Wah organizations were red flags which ARB ignored.

        10.15.9. Requests to violate the bank’s own compliance procedures designed to provide
                 accountability for funds and to maintain the integrity of the bank’s own
                 operations. I have discussed the repeated transfer of accounts from individuals
                 who were officiers of Al-Haramain to Al-Haramain itself in my response to
                 Question 7, in violation of ARB’s own compliance policies. Asking a bank to
                 violate its own policies and procedures in connection with the transfer of funds
                 from one persons name to another’s is a classic hallmark of a red flag.

The Humana Transactions: An Entire Set of Red Flags

10.16. There was an additional area of a serious set of red flags for ARB, involving the activities
       of its own founder and chairman, SAAR, and his involvement in structuring transactions
       involving SAAR’s U.S.-components to hide their activities due to concerns about being
       seen as their facilitation of terrorism. The red flag is serious, because intentionally hiding
       of transactions due to their being potentially seen as related to terrorism suggests that the
       transactions could raise suspicions or concerns by third parties, including other banks
       with whom ARB had correspondent relationships, if information on the transactions was
       provided in a transparent fashion.

10.17. I characterize this red flag as: “Activity to hide or disguise transactions or accounts to
       make them harder to trace, in violation of the intent as well as the substance of banking
       best practices and international standards.”

10.18. The 1995 SAMA Guidelines identify this as an additional red flag, not discussed earlier,
       as follows: “The employee [of the bank] tries to facilitate rendering of banking services
       to a customer (individual, company) without applying normal banking procedures.596

10.19. In this case, as I discuss in some detail below, those involved in the transactions were the
       cofounder and chairman of ARB, SAAR, and the person he personally designated to
       manage his charitable giving, Abdul Rahman Bin Abdullah al Rajhi, as well as the then-
       head of his charitable activities in the United States,                         . The

594
    IIRO 285616
595
    MWL Journal, September 1998, pp. 5-8, referencing Palestine.
596
    Appendix 2, Section 8(1), SAMA Guidelines, November 1995, id.

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              and the companies he headed or was affiliated with, including the SAAR
        Foundation U.S., the affidavit describes in concrete specifics many indicia of money
        laundering and possible terrorist finance, including in pertinent part the following
        statements by Kane – each one of which describes significant indicators of money
        laundering:

        10.22.1. “I have seen evidence of the transfer of large amounts of funds from the Safa
                 Group organizations directly to terrorist-front organizations since the early
                 1990's. Some of this information was developed by the FBI, the USCS, and the
                 INS, in previous investigations conducted of terrorist financing that focused on
                 Sami Al-Arian, who fronted for the Palestinian Islamic Jihad-Shikaki Faction
                 (“PIJ”), an organization that has been formally designated by the President of
                 the United States as a terrorist organization since 1995. This previous
                 investigation, which resulted in search warrants being executed in Tampa,
                 Florida, in 1995, showed that money was being provided directly to PIJ front
                 organizations by individuals controlling the Safa Group.”600

        10.22.2. “In 1998, the FBI opened an investigation of the Safa Group’s terrorist
                 financing connections as a result of the seizures made in the Al-Arian search
                 warrants in Tampa in 1995. Investigators then noticed that the pattern of direct
                 funding to the PIJ front organizations had hanged since the mid-1990s. By the
                 late 1990's, the finances of the Safa Group, including charities required by law
                 to open their books to the public, exhibited a convoluted web of multiple
                 transactions between related corporations and charities that made it virtually
                 impossible for federal investigators to ascertain where the money that finally
                 left the web of the Safa Group ultimately went. Indeed, the current investigation
                 has traced millions of dollars through layers of related companies and to
                 charities in the Isle of Man – from which point the trail cannot practically be
                 followed.”601

        10.22.3. “The FBI, USCS, and IRS agents involved in this investigation at various times
                 since 1998 suspect that, as a result of the 1995 searches in Tampa, the Safa
                 Group engaged in the money laundering tactic of “layering” to hide from law
                 enforcement authorities the trail of its support for terrorists. There appears to be
                 no innocent explanation for the use of layers and layers of transactions between
                 Safa Group companies and charities other than to throw law enforcement
                 authorities off the trail; this inference is strengthened by the Safa Group’s
                 repeated failure to disclose on tax forms as required the connections between
                 various members of the Safa Group. Accordingly, I and the other agents
                 involved in this investigation believe that some of the moneys that move
                 overseas are destined to the PIJ and other terrorist organizations; at the least, the




600
    Affidavit of David Kane, In The Matter Of Searches Involving 555 Grove Street, Herndon, Virginia, And
Related Locations, (EDVA) October 2003, (“Kane Affidavit”), FED-PEC 0001243-1369 p. 7, FED-PEC0001249
601
    Kane Affidavit, id

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        10.22.9. “The movement of funds into entities in the Isle of Man, a known tax haven,
                 makes it difficult to verify whether these funds were used for terrorist finance or
                 some other non-exempt purpose. . . When the IRS attempted through an audit to
                 verify the ultimate disposition of the funds sent to the Isle of Man entities, their
                 efforts were stymied by          . . The auditors never learned of the $5.3 million
                 moved to York International because relatoinships between SAAR, African
                 Muslim Agency, Safa Trust and York Foundation, were concealed from them.608

        10.22.10. “I believe that one source of funds flowing through the Safa Group is from the
                 wealthy Al-Rajhi family in Saudi Arabia. The SAAR Foundation, a Safa
                 Charity, was named after Sulaiman Abdul Aziz Al-Rajhi (SAAR), head of a
                 wealthy Saudi family. Abdullah Sulaiman Al-Rajhi, a relative of Sulaiman
                 Abdual Aziz, is one of the directors of the Safa Group corporaton, Aradi, Inc.,
                 located at 5555 Grove Street, Herndon, Virginia.”

        10.22.11.“All of these financial activities listed above are indicator of money laundering.
                 The layering and pass through activities that occur are designed to disguise the
                 origin and ultimate destination of the money. I suspect that moneys ultimately
                 are transferred directly to terrorist organizatoins from the Safa Group entities on
                 the Islae of Man, or that funds are otherwise expended for purposes which do
                 not further the Safa Charities’ exempt purposes(s).”609

        10.22.12.“        told the examining agents that he had founded Humana Charitable Trust
                 in the Isle of Man (“Humana”) and was transferring SAAR’s assets to it as a
                 result of negative newspaper publicity that associated SAAR and Safa Trust with
                 terrorist groups.”

        10.22.13.“In order to verify that SAAR’s grants/allocations were being used for an exempt
                 purpose, the examiners requested a list of donee-beneficiaries that had received
                 grants from SAAR and/or Humana for the years 1997 and 1998. They contacted
                 those donees located in the United States, who denied having any knowledge of
                 Humana or SAAR.            advised the examiners that Humana’s funds were
                 distributed to Al Rajhi Charities in Saudi Arabia and then to the beneficiaries
                 through Al-Rajhi.”610

        10.22.14. Over the duration of the Kane Affidavit, the affidavit specifies alleged false
                 statements made by the various entities on their U.S. tax returns, including by
                 the SAAR Foundation, describes additional red flags for money laundering, and
                 references checks drawn through the Payable Through Account maintained by
                 ARB at Chase Manhattan bank in the name of ARB, with checks being paid not
                 be Al-Rajhi Charity, but from “Abdul Rahman Al-Rajhi,” identified as “Vice
                 Chairman & Executive Manager of Al-Rajhi Commercial Foreign Exchange,”
                 which I understand to be a predecessor institution that was eventually merged


608
    Kane Affidavit, p. 48, FED-PEC0001290
609
    Kane Affidavit, p. 52, FED-PEC0001293
610
    Kane Affidavit, p. 69, FED-PEC-0001305

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                    Trust, 555 Grove Street, Suite 110, Herdon VA 20170 (U.S.A.).” The document
                    states “Assalamu Alaikum, During my visit in July 1998 I had explained to you
                    and Dr. M. Jaghlit that a committee has been set up to receive requests from
                    various charities located throughout the world and then to review, investigate
                    and decide if a charitable contribution will be made. As we discussed and
                    agreed during your visit in December 198 that Humana Charitable Trust will
                    join in and pay part of these contributions. Attached is the list of grants made
                    and paid by me to various entities sent for reimbursement for your part of the
                    contribution. Should you need additional information on any of the recipientes,
                    let me know. Yours, Sulaiman A. Al-Saleh [signature below].”615 The full name
                    of SAAR is Sulaiman Bin Abdul Aziz Bin Saleh Al Rajhi. From the context, I
                    assume this email was sent by or authorized to be sent under his name, by
                    him.616

        10.25.3. A three page document with a fax marking of 29 Nov 1999 9:49, No. 578, in
                 Arabic (with English language translations provided to me), with the caption
                 “Foreign and Domestic Aid for the Year 1419-1420 (1998-9199 AD). The
                 documents list 100 transactions, predominantly by check, with some undertaken
                 by “transfer by telex,” and others by am unspecified form of “transfer,” to
                 beneficiaries all over the world on dates prior to October 18, 1999, with all but
                 one taking place in 1999 and the other on August 13, 1999. The transactions are
                 all listed as being in Saudi riyals, and amount to many millions in total.617

        10.25.4. The donations specify the beneficiaries, and the names listed for the
                 beneficiaries appear to be Islamic charities, schools, associations, and cultural
                 centers, located in some 20 countries, including Bahrain, Cambodia, Colombia,
                 Ethiopia, Eritrea, Germany, India, Indonesia, Kenya, Kosovo, Kuwait,
                 Morocco, Pakistan, the Philippines, Sudan, Tanzania, Thailand, the United
                 Kingdom, the United States, and Zambia. They also include donations to three
                 of other Da’Wah Organizations discussed in this Expert Report: Al-Haramain,
                 MWL, and WAMY. Seventeen of the transaction specified on the list contain
                 amounts of the donations and beneficiaries, but do not specify a check number
                 or other method by which the funds were transferred, do not specify the date of
                 the listed donation. The beneficiaries of the undated donations that contained no
                 method of payment included Al-Haramain, MWL, and WAMY.618

        10.25.5. I have been provided one “NL” document, from the documents produced by
                        and related entities, which is unsigned, and dated December 28, 2000,
                 with fax markings as showing the date of 12/27/20000, 2158, to a phone number
                 of 184547247, with the name “Mazoor Qureshi,” and an identifier as part of the

615
    NL 0015043
616
    This full name is set forth in the English language profile of SAAR provided on the SAAR Foundation’s current
website as follows: “The pioneer of the foundation, Sulaiman Bin Abdul Aziz Bin Saleh Al Rajhi, was born in 1929
A.D. He was raised in a poor family and in difficult living conditions,” “About Founder,” https://rf.org.sa/en/main-
page/541
617
    NL 0015044-15046
618
    Id

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                 fax markings at the top of the document showing it as Page 04. The bottom of
                 the page shows it to be “2”, or what I assume is page two, of this particular
                 document.619

       10.25.6. This document contains typed information, with handwritten edits and additions
                to the document, and lists it as having been “Prepared by”                  ,
                     , with a signature line for him, which is not signed, above the December 28,
                2000 date.620

       10.25.7. The typed portions of the document stated the following, which given the
                importance of the information to the question of whether ARB ignored red
                flags, I provide verbatim. I then describe the handwritten changes to the
                document, and then analyze the implication of both the typed information and
                the handwritten edits and additions:

                 The Typewritten Document Without Edits

                 10.25.7..1. “The donors became very concerned about linked to terrorist
                              activities, of course with which they had nothing to do. A question
                              was asked, “why do we want to continue to be in U.S.A.?” The
                              trustees then decided to “re-locate” its operations. After seeking
                              appropriate legal advice, steps were taken to create Human
                              Chairtable Trust on 12th day of November 1997 as an Isle of Man
                              trust. Saar Foundation then made a charitable contribution of assets
                              to Human to be used solely for charitable purposes. Dr. Cherif
                              Sedky, which lives in Saudi Arabia and                      who lives
                              in U.S.A. became the trustees of Humana.”621

                 10.25.7..2. “Shaikh Sulaiman during his visit to U.S.A. in July 1998 made the
                              suggestion to the trustees that to optimize the grant makng process
                              we should consider working with the Charity office already in
                              existence rather than setting up a new office. The offer was
                              welcome because banks in Europe were not very cooperative in
                              writing a lot of checks, and also because the committee overseeing
                              the Charity office in Riyadh has the set up to receive requests from
                              various charities located throughout the world and then to review,
                              investigate, and decide if a charitable contribution will be made.”622

                 10.25.7..3. “Currently the Charity office is managed by Abdul Rahman Bin
                             Abdullah Al Rajhi, Saleh Bin Sulaiman Al-Hadbad and Abudalla I.
                             Al-Misfer. In accordance with the established practice of the
                             Charity office, as explained in the third paragraph of this statement,
                             the checks are processed without showing the contributor’s name.

619
    NL 0009625
620
    Id
621
    Id
622
    Id

                                                191

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                                  These are processed by Al Rajhi Banking and Investment
                                  Corporation, having its account with Chase Manhattan and other
                                  correspondent banks.”623

                    The Edits to the Document and Additional Language

                    10.25.7..4.     The edits to the document are to the last sentence of paragraph 1 of
                                    the page, the first sentence of paragraph 2 of the page, and the last
                                    sentence of paragraph 3 of the page.

                    10.25.7..5.     The change to paragraph 1 is to add that Sedky and         became
                                    “the directors of Amana Ltd which serve as the trustees of
                                    Humana,” therefore noting the existence of a corporate body acting
                                    as the “trustees” rather than the individuals.624

                    10.25.7..6.     The change to paragraph 2 would change it to read as follows:
                                    “During his visit to USA July 1998, a suggestion was made to the
                                    trustees that to optimize the grant making process we should
                                    consider working with the Charity office already in existence
                                    rather than setting up a new office.”625

                    10.25.7..7.     The change to paragraph 3 specifies that the donations processed
                                    by Al Rajhi Banking and Investment Corporation (that is, ARB),
                                    are processed by ARB “Riyadh Saudi Arabia, having its account
                                    with Chase Manhattan and other correspondent banks.”626

                    10.25.7..8.     The additional handwritten language on the page states the
                                    following: “The list of charitable contributions made by the charity
                                    office which have been provided to you shows a distributent [sic]
                                    of US $10,886,412 whereas Humana contributed US
                                    $7,572,700.627

10.26. While at least three pages of the document faxed on December 27, 2000 to a fax machine
       under          control and relating to his businesss are missing, and no signed copy of the
       document has been produced, the outlines of what is taking place, and the reasons for it,
       are evident from the four pages of documents produced in the NL discovery from
       and his related charities and businesses. In essence, the first three documents show SAAR
       and his son and future successor as head of ARB instructing            to take responsibity


623
    Id
624
    Id. I have seen minimal documentation on “Amana Ltd,” and in the absence of further information, assume it was
a shell holding company, without any actual business operations of its own. Placing responsibility in the name of a
shell is one technique that financial criminals use to protect themselves from legal risk. I have found references to
“Amana Limited” in the Kane Affidavit, which shows the company to have been an Isle of Man company controlled
by          FED-PEC0001337
625
    Id
626
    Id
627
    Id

                                                        192

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                   organizations, on which they commonly serve as corporate officers. These
                   organizations include charitable organizations, educational and cultural
                   organizations, for-profit businesses and investment firms. For the purpose of
                   this affidavit, this group of individuals and the organizations that they operate
                   will be referred to as the “Safa Group.”628

                   10.30.1..1.    Comment: The SAMA Guidelines state that “Opening of more than
                                  one account by a customer in his name in the same bank without a
                                  clear reason, and existence of inter account transfer among these
                                  accounts,” is an indicator of money laundering risk for bank
                                  accounts. In my experience, the creation of multiple organizations
                                  under the control of a small group of people, is a risk factor for
                                  money laundering, if it also involves movements of funds from
                                  account to account, as is described in the Kane Affidavit.629

        10.30.2. “Many organizations in the Safa Group dissolve and are replaced by other
                 organizations under the control of the same individuals. Most of these Safa
                 Group organizations, which present themselves as Islamic educational and
                 charitable organizations, are “paper” organizations that are registered at
                 common addresses, but have no apparent physical presence on the premises.
                 The majority of these organizations is or was located at 555 Grove Street,
                 Herndon, Virginia.” 630

                   10.30.2..1.    Comment: This material provides two red flags. It provides further
                                  evidence of an indicator under SAMA Guidelines Appendix 2,
                                  (3)1, and the existence of shell companies without a physical
                                  presence is a classic mechanism for laundering money, and was
                                  known as a risk factor prior to the 9/11 attacks.

        10.30.3. “I have seen evidence of the transfer of large amounts of funds from the Safa
                 Group organizations directly to terrorist-front organizations since the early
                 1990's. Some of this information was developed by the FBI, the USCS, and the
                 INS, in previous investigations conducted of terrorist financing that focused on
                 Sami Al-Arian, who fronted for the Palestinian Islamic Jihad-Shikaki Faction
                 (“PIJ”), an organization that has been formally designated by the President of
                 the United States as a terrorist organization since 1995. This previous
                 investigation, which resulted in search warrants being executed in Tampa,
                 Florida, in 1995, showed that money was being provided directly to PIJ front
                 organizations by individuals controlling the Safa Group.”631

                   10.30.3..1.    Comment: Movements of funds connected to terrorist groups is an
                                  obvious indicator of terrorist finance risk.


628
    Kane Affidavit, id, p. 6, FED-PEC0001248
629
    SAMA Guidelines, id, Appendix 2, Section 3(1), “Indicators for Bank Accounts.”
630
    Kane Affidavit, id, p. 7, FED-PEC0001249
631
    Kane Affidavit, id

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        10.30.4. “In 1998, the FBI opened an investigation of the Safa Group’s terrorist
                 financing connections as a result of the seizures made in the Al-Arian search
                 warrants in Tampa in 1995. Investigators then noticed that the pattern of direct
                 funding to the PIJ front organizations had changed since the mid-1990s. By the
                 late 1990's, the finances of the Safa Group, including charities required by law
                 to open their books to the public, exhibited a convoluted web of multiple
                 transactions between related corporations and charities that made it virtually
                 impossible for federal investigators to ascertain where the money that finally
                 left the web of the Safa Group ultimately went. Indeed, the current investigation
                 has traced millions of dollars through layers of related companies and to
                 charities in the Isle of Man – from which point the trail cannot practically be
                 followed.” 632

                  10.30.4..1.    Comment: As previously stated, these are classic money
                                 laundering indicators, regardless of whether they are involved with
                                 terrorist finance. Appendix 1 of the SAMA Guidance expressly
                                 warns of the risk of money laundering through the use of countries
                                 with “strict and complete banking secrecy in respect of its banking
                                 system, thus hindering other concerned authorities from
                                 discovering money laundering transactions.”633

                  10.30.4..2.    Comment: Having the same officers engaged in common control of
                                 a number of companies, some of which are commercial entities,
                                 such of which are non-profits, and some of which are non-profit
                                 charities, provides the opportunity for non-arms length transactions
                                 to disguise possible improper conduct; it is another risk factor for
                                 money laundering and terrorist finance.

        10.30.5. “The FBI, USCS, and IRS agents involved in this investigation at various times
                 since 1998 suspect that, as a result of the 1995 searches in Tampa, the Safa
                 Group engaged in the money laundering tactic of “layering” to hide from law
                 enforcement authorities the trail of its support for terrorists. There appears to be
                 no innocent explanation for the use of layers and layers of transactions between
                 Safa Group companies and charities other than to throw law enforcement
                 authorities off the trail; this inference is strengthened by the Safa Group’s
                 repeated failure to disclose on tax forms as required the connections between
                 various members of the Safa Group. Accordingly, I and the other agents
                 involved in this investigation believe that some of the moneys that move
                 overseas are destined to the PIJ and other terrorist organizations; at the least, the
                 money is being used for other than tax-exempt purposes in violation of the tax
                 laws.”634



632
    Kane Affidavit, id. pp 7-8, FED-PEC0001249-1250
633
    SAMA Guidelines, Appendix 1, Examples of Weaknesses in Procedures in a Banking System that Encourage
Money Laundering
634
    Kane Affidavit, id, p. 8, FED-PEC0001250

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                 10.30.5..1.   Comment: Layering is one of the three classic elements of money
                               laundering, as set forth in Section 2.2 of the SAMA Guidelines,
                               which describe it as a method by which a criminal “ aims to cover
                               up the source of the funds obtained and disguises the relation
                               between these funds and its illegal source through a series of
                               normal commercial .transactions. I note that in the Kane Affidavit,
                               there are also descriptions of the process of “Integration,” when
                               laundered funds become part of other legal funds in the economy
                               so that it is difficult to differentiate between the laundered funds
                               and those from legal sources.” The SAMA Guidelines in Section
                               2.3 note that another important element of money laundering
                               involves “internal collusion of bank employees,” as appears
                               present here, as set forth in the          documents I have cited.635

10.31. The entire constellation of conduct described in the NL documents I have cited, with its
       emphasis on keeping the names of the donors hidden, the use of a bank secrecy haven,
       the Isle of Man, to counter the risk of detection given concerns about “terrorist finance,”
       and the structure of the SAAR Foundation-related businesses, NGOs, and charities in the
       United States all constitute indicators or red flags for money laundering and terrorist
       finance risk.

10.32. These risk factors were highlighted are excerbated by the reference to the “donors” being
       concerned about being linked to terrorist finance as of July 1998, as set forth in the fax
       from SAAR to           of October 18, 1999, and the account set forth in the draft
       explanation of ther structuring of the charitable account of Humana “re-located” to the
       Isle of Man, is consistent with the SAAR Foundation having been notified about the
       federal investigations which involved federal searches in Florida. The timing suggests
       that concern about these ongoing federal investigation was the factor that initiated the
       move of the transactions off-shore to a bank secrecy haven to protect them from official
       scrutiny by United States authorities.

       10.32.1. One document from the NL group, dated October 31, 2000, and captioned “IRS
                Request,” showed that Abdullah S. Al Rajhi, the son of the founder and the
                current head of ARB, was aware of at least the IRS investigation prior to the
                       document expressing the “donors” concerns about being linked to terrorist
                finance. In this document,          emailed Al Rajhi at his ARB email address –
                asalrajhi@alrajhibank.com.sa, regarding an IRS request for certain basic
                evidence to help prove Humana made the charitable donations it evidently told
                the IRS it had made. In the letter,       stated that “[t]he IRS has come back
                asking the address and contact information for the following organizations whom
                Human has given contributions. We went through the material sent to us from
                Riyadh but these are not there.”636


635
    SAMA Guidance, id, Sections 2.2 and 2.3 and NL 0015578NL0015043, NL 001544, NL0015045, NL 0015046,
NL009625
636
    NL 0015572

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        10.32.2. Seven of the nine organizations listed as the “organizations to which Human has
                 given contributions” were U.S.-based, except for one: WAMY, in the amount of
                 338,500 SRs (about $85,000). One other donation was listed by          as made to
                 unspecified “Universities and Science Institutes,” on an unspecified date or dates
                 and in an unspecified amount or amounts.637

        10.32.3. Even though the donations supposedly made by Humana were mostly to U.S.-
                 based entities, the email from        suggested          knew nothing about the
                 substance of the donations, or the identities of the individuals who received them
                 on behalf of the organizations. On the last category of beneficiaries,       did
                 not know even the names of the organizations. Accordingly, he asked Abduallah
                 Al Rajhi to “list the universities and science institutions to whom donations have
                 been made” – supposedly by Humana, but of which, as reflected in the
                 email, Humana had no actual knowledge.638

        10.32.4.         also stated to Abdullah al Rajhi, “Kindly treat this as an urgent request. We
                   only have a few days to respond,” meaning, to the IRS, which as evidenced in
                   the Kane Affidavit, was actively investigating           charities at the time in
                   connection with the federal terrorist finance investigation. 639

        10.32.5. The document provided further evidence that the charitable “donations” being
                 made by Humana out of the United States, and thus within the purview of the
                 IRS, were not actually made by Humana, but directed by the Al Rajhi family
                 operating out of ARB in Riyadh. Consistent with the scheme laid out in the
                 December 27/28, 2000           document,640 the donations were actually donations
                 that had been made by in Riyadh by the al Rajhis, and        now required the
                 assistance of Abdullah al Rajhi at ARB to provide the IRS information regarding
                 the beneficiaries of donations that      had represented were made by Humana.

        10.32.6. In showing the awareness of the Abdullah al Rajhi of the IRS investigation, the
                 document provided evidence that SAAR, his son Abdullah, and those working
                 with them, knowingly decided to enter into the scheme to hide the actual source
                 of the donations, SAAR and/or the SAAR Foundation or ARB in Saudi Arabia
                 purportedly made by Humana, from U.S. authorities.

10.33. Based on all the information I have reviewed regarding SAAR, the SAAR Foundation,
       Humana, and the related entities controlled by       , I conclude that the reference to
       “donors” by          in his December 27/28, 2000 document,” was a reference to SAAR
       himself. SAAR was the principal donor, not only to the specified Da’Wah Organizations,
       but to the charities he asked Humana and        to “contribute to.”



637
    Id
638
    Id
639
    NL 0015572 and Kane Affidavit, id
640
    NL 0009625

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10.34. At the time, federal law enforcement authorities were already aware that SAAR and/or
       the SAAR Foundation had been funding some of the businesses and activities of the
             -headed charities. The SAAR Foundation’s U.S. associates were within the scope
       of a multi-agency federal investigation into their financial activities. Moreover, SAAR
       was himself the head of the bank that was being used in connection with at least some
       (and based on the record available to me, probably all) of the international transactions
       involving Humana and of the donations of the SAAR Foundation in Saudi Arabia.641

10.35. Thus, the “red flag” in this situation was one involving apparent “internal collusion” from
       the top – one of the most serious of all red flags, a red flag that raises fundamental
       questions about the integrity of the entire institution when it comes to the problematic
       banking activity. This red flag is also consistent with the later findings of the CIA,
       namely that ARB was a “Conduit for Extremist Finance” in a report which expressly
       noted that SAAR had directed members of the board of ARB “to explore financial
       instrument that would allow the bank’s charitable contributions to avoid official Saudi
       scrutiny.”642

10.36. Further evidence that is consistent with, and supports, the assessments I have made above
       was provided in the September 27, 2023 testimony of Abdullah al-Rajhi, who verified the
       following facts:

        10.36.1. SAAR started the SAAR Foundation in the United States to carry out charitable
                 activities.643

        10.36.2. SAAR was the major contributor to the SAAR Foundation.644

        10.36.3. There was “negative news” about the SAAR Foundation prior to the 9/11 attacks,
                 which SAAR’s decision to close the SAAR Foundation in the United States.645

        10.36.4. The “negative news” was “about the money being disbursed maybe went to
                 wrong entities, which is – could be suspicious of terrorists or something like
                 this.”646

        10.36.5. SAAR became concerned about his reputation and “didn’t want to expose his
                 reputation and his charity, you know, for any potential – and then he decide – and
                 then he decided to focus on the charity here. . . and so the decision – the final
                 decision of [SAAR] did not accept the suggestion of going to Isle of Man and
                 instead it gets back to Saudi.”647

10.37. This testimony from Abdullah al-Rajhi, with the exception of this statement about the Isle
       of Man, is consistent with the documentary evidence, which shows that those

641
    Kane Affidavit, id, p. 50, Paragraph 117, FED-PEC0001292
642
    CIA-SUB_0005, CIA-SUB001-0006 overall
643
    September 27, 2023 Deposition of Abdullah al Rajhi, p. 294
644
    Id, p. 295
645
    Id, p. 296-298
646
    Id.
647
    Id, p. 299-300

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        participating in the decision to move the “Humana Charitable Trust” to the Isle of Man
        did so for the purpose expressed in the          document of avoiding “being linked to
        terrorist activities.” It also helped to make their transactions difficult to trace. Those
        participating in this structuring of the donations also acted to document their decision
        making, while changing the text to have it avoid stating, as it did in the original, that the
        entire structure was dictated by the principal donor to the SAAR Foundation, the head of
        ARB, “Sheikh Sulaiman,” with the support of his son Abdullah, ARB’s current head, as
        reflected in NL 0015578. That structure included requiring             and his charities to state
        after-the-fact that they had authorized charitable donations which in reality they had not
        made, and had nothing to do with. Adopting this non-transparent structure made it easier
        for ARB to use its correspondent banking relationships for charitable donations on behalf
        of its donors. It also was designed to be in accord with the SAAR Foundation’s
        “established practice,” of ensuring that “the checks are processed without showing the
        contributor’s name.”648

10.38. I assess Abdullah al-Rajhi’s testimony that his father SAAR did not accept the suggestion
       of going to the Isle of Man to be inconsistent with the documentary record.

10.39. Abdullah al-Rajhi also acknowledged in his deposition that from the beginning of the
       SAAR Foundation’s existence in the United States, “there was this concern about –
       privacy and security,” and for that reason, on the annual reports for SAAR, beginning in
       1991, al-Rajhi family members who were listed as its principal officers and directors,
       including Abdullah al-Rajhi himself, were listed on public reports without their last
       names, made as a conscious decision by the family to maintain their “privacy and
       security.”649 He further acknowledged that the address listed for SAAR and for himself in
       Herndon, Virginia reflected an address that neither of them had ever lived in, or used as
       an office.650

10.40. Abdullah al-Rajhi further testified that there was an agreement that Humana would
       reimburse SAAR’s charity office (that is, the SAAR Foundation in Saudi Arabia), for
       portions of the charitable donations SAAR made in 1998 and 1999, as reflected in the
       three-page list of contributions in that period to charities in the Phillipines, Kuwait,
       Indonesia, the United States, and Colombia on a document shown to Abdullah al-Rajhi.
       In his deposition, Abdullah al-Rajhi acknowledged that normally the SAAR Foundation
       in Saudi Arabia, which he referred to as “the charity office” made such payments through
       ARB.651

        10.40.1. I assess Abdullah al-Rajhi’s testimony on these points to be consistent with the
                 documentary evidence, which showed that for donations made by SAAR in
                 2008-2009, SAAR was using his U.S. operations to create documentation
                 showing payments that were not actually made by the purported U.S. (or Isle of
                 Man) donors, but which were actually being made in Saudi Arabia through

648
    NL 0009625
649
    Id, pp. 311-313
650
    Id, pp. 314-315
651
    Id, pp. 320-321, September 27, 2023 Abdullah al-Rajhi Deposition, Exhibit ARB 22. Exhibit ARB 22 includes
NL 0015578 and NL0015043-5056.

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                      ARB, under an account listed as the SAAR Foundation, at a time when no such
                      entity existed under Saudi law.

10.41. In practice, the approach of structuring transactions to avoid scrutiny by the U.S.entities
       working with SAAR and the SAAR Foundation was effective, successfully impeding
       investigations by U.S. officials into whether Humana, the SAAR Foundation and related
       entities located in Herndon Virginia known as the “Safa Group” were involved in terrorist
       finance. As stated in 2003 in the Kane Affidavit, “By the late 1990's, the finances of the
       Safa Group, including charities required by law to open their books to the public,
       exhibited a convoluted web of multiple transactions between related corporations and
       charities that made it virtually impossible for federal investigators to ascertain where the
       money that finally left the web of the Safa Group ultimately went. Indeed, the current
       investigation has traced millions of dollars through layers of related companies and to
       charities in the Isle of Man – from which point the trail cannot practically be
       followed.”652

A Further Red Flag – ARB’s Use of Its Chase Manhattan Account to Make Anonymous
Donations and as a Payable Through Account

10.42. Accounts in which a foreign bank uses a domestic bank as a checking account for the
       customers of the foreign bank have long been known as “Payable Through Accounts.”
       For decades, Payable Through Accounts have been of serious concern for money
       laundering and terrorist finance due to the ability of those using them to circumvent the
       KYC obligations that domestic banks would otherwise have to apply to those customers.

10.43. U.S. bank regulators have a specific definition of the term: “The term payable-through
       account means a correspondent account maintained by a U.S. financial institution for a
       foreign financial institution by means of which the foreign financial institution permits its
       customers to engage, either directly or through a subaccount, in banking activities usual
       in connection with the business of banking in the United States.”653

10.44. The principal source of regulatory guidance for U.S. financial institutions, the Federal
       Financial Institution Examination Council (“FFIEC”) current guidance explains the risks
       of Payable Through Accounts (“PTAs”) in the context of money laundering and terrorist
       finance as follows: “PTAs may be prone to higher risk because U.S. banks do not
       typically implement the same due diligence requirements for PTAs that they require of
       domestic customers who want to open checking and other accounts. For example, some
       U.S. banks merely request a copy of signature cards completed by the payable through
       customers (the customer of the foreign financial institution). These U.S. banks then
       process thousands of sub-accountholder checks and other transactions, including currency
       deposits, through the foreign financial institution’s PTA. In most cases, little or no
       independent effort is expended to obtain or confirm information about the individual and
       business subaccountholders that use the PTAs. Foreign financial institutions’ use of PTAs,
       coupled with inadequate oversight by U.S. banks, may facilitate unsound banking

652
      Kane Affidavit, id, Executive Summary, Paragraph 4, p. 8
653
      31 CFR § 561.307 - Payable-through account

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        practices, including money laundering and related criminal activities. The potential for
        facilitating money laundering or terrorist financing, OFAC violations, and other serious
        crimes increases when a U.S. bank is unable to identify and adequately understand the
        transactions of the ultimate users (all or most of whom are outside of the United States)
        of its account with a foreign correspondent. PTAs used for illegal purposes can cause
        banks serious financial losses in criminal and civil fines and penalties, seizure or
        forfeiture of collateral, and reputation damage.”654

10.45. A second source of guidance, the Federal Deposit Insurance Corporation (“FDIC”),
       which examines FDIC-insured banks, goes into further depth about the risks of Payable
       Through Accounts. “Unless a U.S. banking entity is able to identify adequately, and
       understand the transactions of the ultimate users of the foreign bank's account maintained
       at the U.S. banking entity, there is a potential for serious illegal conduct. Because of the
       possibility of illicit activities being conducted through PTAs at U.S. banking entities,
       financial institution regulators believe it is inconsistent with the principles of safe and
       sound banking for U.S. banking entities to offer PTA services without developing and
       maintaining policies and procedures designed to guard against the possible improper or
       illegal use of PTA facilities.”655

10.46. The use of Payable Through Accounts as a way of avoiding regulatory oversight was a
       well-known strategy for money laundering when I was working in the U.S. government
       in the 1990’s because it enabled foreign banks to use their correspondent banking
       relationships with U.S. banks to provide services to their customers without having to
       those customers subject to U.S. money laundering controls.

10.47. Prior to the 9/11 attacks, ARB maintained a Payable Through Account at the Chase
       Manhattan Bank in New York, which it used to make donations, as if on its own behalf,
       fulfilling the statement made in the December 27-28           document: “In accordance
       with the established practice of the Charity office, as explained in the third paragraph of
       this statement, the checks are processed without showing the contributor’s name. These
       are processed by Al Rajhi Banking and Investment Corporation, having its account with
       Chase Manhattan and other correspondent banks.”656

10.48. The NL documents available to me document a number of payments on an ARB account
       at the Chase Manhattan bank which identify the payor as ARB, not any customer of ARB
       such as Humana, the SAAR Foundation, or SAAR himself. These payments are to a
       range of institutions and persons, and the instructions on at lest some of the payments
       state that they actually represent donations from SAAR personally, although consistent




654
    “Risks Associated With Money Laundering And Terrorist Financing, Payable Through Accounts—Overview,”
Guidance, Federal Financial Institution Examination Council,”
https://bsaaml.ffiec.gov/manual/RisksAssociatedWithMoneyLaunderingAndTerroristFinancing/04
655
    “Bank Secrecy Act, Anti-Money Laundering, And Office Of Foreign Assets Control, FDIC Manual of
Examination Policies, https://www.fdic.gov/regulations/safety/manual/section8-1.pdf
656
    NR 0009625

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       with “the established practice of the Charity office,” he is never identified as the donor on
       the checks.657

10.49. The NL documents available to me also document payments apparently made by others
       on the same account, in the classic manner of a Payable Through Account. These persons
       included the manager of the SAAR Foundation, Abdul Rahman Al Rajhi, who is listed on
       some of the checks, although other information on the documents show that the payments
       were made by SAAR personally. 658 Notably, some of these payments went to
       beneficiaries in other countries, such as Kenya, Pakistan, and the Philippines, which as I
       have previously identified, were areas of terrorist finance risk in the 1990’s, and areas in
       which al Qaeda and bin Ladin had been active.

       10.49.1. These payments reflected classic red flags of risk – from their structuring
                through a Payable Through Account relationship by ARB, to the concealment of
                the donors, through to the locations of the recipients in high-risk areas.

Use of ARB Payable Through Account at Chase Manhattan Bank to Transmit Funds to a Person
Who Provided Support to Two 9/11 Terrorist Hijackers – A Further Serious Red Flag

10.50. The risks of terrorist finance abuse for these red flag transactions undertaken through the
       ARB Payable Through Account at Chase Manhattan in New York were not merely
       generic, but reflected actual risk. As I have detailed in my answer to Question 5,
       regarding ARB’s unique relationships with jihadists and al Qaeda affiliated persons and
       entities before September 11, 2001, there proved to be a direct link of the use of ARB’s
       Payable Through Account to two of the terrorist hijackers who participated in the 9/11
       attacks through al-Baymoui. In 2001, al-Bayoumi was acting as an intelligence agent of
       the Saudi government. Whether or not he was witting of the 9/11 terrorist plot, the
       evidence shows that al-Bayoumi provided assistance to two of the 9/11 terrorist hijackers
       and had other possible terrorist associations. Without any due diligence being carried out
       by anyone regarding whether financial services to al-Bayoumi might carry terrorist
       finance risks, or other questions, al-Baymoumi was able to be the beneficiary of the use
       of ARB’s Payable Through Account at Chase Manhattan Bank in New York, providing a
       textbook example of why the use of Payable Through Accounts is a red flag for terrorist
       finance and criminal risk.

        10.50.1. In this case, the risk was not just theoretical; the Payable Through Account was
                 used to benefit a person who assisted the 9/11 terrorist hijackers in a structure
                 blessed, arranged, and personally used for other transactions (that is, not related
                 to Bayoumi) by the founder and head of ARB.

10.51. Based on the documents I have reviewed, and all of the information known to me, prior
       to the 9/11 attacks, all of the indicators of risk and red flags for money laundering and


657
    NL0010447, NL0010455, NL0010456, NL001057, NL-0010458, NL0010462, NL10464, NL10466, NL10467,
NL0010470, NL0010471, NL0010472, NL0010473, NL0010474, NL0010475, NL0010483, NL0010485,
NL0010491
658
    NL0010447, NL0010455, NL0010457, NL0010462

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        terrorist finance, and the risks associated with them, which I have detailed, were ignored
        by ARB.

11. Question 9: Is there evidence that al Qaeda received support and benefited from the
    accounts ARB maintained for Al-Haramain, MWL, IIRO, WAMY, and the SAAR
    Foundation before September 11, 2001? If so, what was the nature of that support and
    when was it provided and how was ARB involved in providing it?

Is there Evidence al Qaeda Benefitted from Accounts at ARB Maintained for the Da’Wah
Organizations?

11.1.   Yes, there is evidence that al Qaeda received support and benefited from the accounts
        ARB maintained for the Da’Wah Organizations before the 9/11 attacks. I have
        highlighted many examples of that evidence in my responses to Questions 4, 5, 6, 7, and
        8 of this Expert Report (Section 6, Section 7, Section 8, Section 9 and Section 10 of this
        Expert Report), and accordingly, will not recapitulate all of the specific data points and
        the citations covering those data points in my response here. Instead, I will do my best to
        summarize the evidence I have detailed, at length, over the course of this Expert Report,
        and hereby incorporate all of it by reference to the statements I am making in response to
        Question 9, with limited additional citations for my conclusions here to avoid repetition.

11.2.   The evidence documents that ARB maintained 94 accounts for Al-Haramain and 287
        accounts for IIRO in the five year period of January 1, 1998-December 31, 2002 for
        which documentation has been provided. More than five billion Saudi riyals moved into
        and out of these accounts– some $660 million annually, amounting to more than $130
        million per year in 2000 dollars, equivalent to about $230 million per year in 2023
        dollars.659 Beginning in the late 1980’s, al Qaeda received support and benefited from
        branches of IIRO that based on the evidence, were likely receiving funds from accounts
        maintained by IIRO at ARB.660 Al Qaeda’s support from Al-Haramain was systemic. The
        CIA found that at least twenty of Al-Haramain’s field offices were used to provide
        logistical, organizational, and financial support to al Qeda amd other extremist groups.661
        Examples of such support before the 9/11 attacks including Al-Haramain offices in
        Albania, Azerbaijan, and Kenya hiring as employees persons who were simultaneously
        receiving funds from and/or acting on behalf of Bin Ladin.662



659
    Exhibits 31, September 27, 2023 Deposition of Abdullah bin Sulaiman al Rajhi, Plaintiff’s Summary Spreadsheet
of Al-Haramain Islamic Foundation Accounts at ARB; Exhibit 32 (ARB 32), September 2,7 2023 Deposition of
Abduallah bin Sulaiman al Rajhi, Plaintiff’s Summary Spreadsheet of International Islamic Relief Organization
Accounts at ARB.
660
    See e.g. CIA_000220-0221, CIA__000149, ARB-00006179, ARB-00010726. The period for discovery of ARB
documents does not include the period when Bin Ladin’s brother-in-law, Muhammad Jalal Khalifa, was reported to
be recruiting Muslims for training in Pakistan as mujahidin fighters and using the IIRO’s offices in Manila to
support World Trade Center Ramzi Yousef’s efforts to blow up international civilian aircraft. The ARB documents
cited merely show, without any internal dates, evidence of the IIRO sending funds to the Philippines at times not
specified in the documents.
661
    CIA_000150
662
    CIA_000819

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                  which documents have been produced by ARB, including for transactions in the
                  countries in which the Da’Wah Organizations were carrying out that support.
                  Under such circumstances, and taking into consideration the explanation
                  provided in the         document which expressly states that it was ARB’s
                  practice not to show the donor’s name. I find there is corroboration within
                  materials produced for the CIA’s assessment: those involved with financing al
                  Qaeda and terrorism, including the members of the Al Rajhi family, did their
                  best to hide the paper trail to make it possible to connect all of the dots.

        11.7.4. The minimalist nature of ARB’s documentation of the uses of its $530 million
                in deposits and withdrawals for two of the Da’Wah Organizations reflects these
                realities. One important requirement of being able to provide financial support
                to al Qaeda was to maintain secrecy and to go about it through mechanisms that
                foreign governments would find difficult to detect, to penetrate, and to shut-
                down with sanctions, criminal cases, and/or political pressure forcing countries
                to change their regimes to shut-it down. Despite the efforts undertaken by those
                involved in terrorist finance to maintain secrecy, ultimately the CIA and other
                U.S. government agencies, as well as multinational forces such as SFOR, and
                other governments such as those in the Philippines, were able to penetrate and
                obtain evidence of some of ARB’s support for al Qaeda. The data points in ARB
                documents which remain provide evidence of the extensive support the Da’Wah
                Organizations provided to al Qaeda, and of the essential services that ARB
                provided to the Da’Wah Organizations as they helped al Qaeda. These acts
                collectively helped to enable al Qaeda to build its global capacity over many
                years and to attack the United States and U.S. interests, from the 1st World Trade
                Center bombing in 1993, to the Embassy Bombings in Kenya and Tanzania in
                1998, and in the many other terrorist activities I have reviewed and discussed in
                this Expert Report.

What was the Nature of That Support and When Was it Provided and How was ARB Providing
it?

11.8.   The evidence documents that ARB provided support to the Da’Wah Organizations prior
        to the 9/11 attacks beginning with its support of the Mujahedin in Afghanistan and
        Pakistan by the late 1980’s, funding al Qaeda’s precursor organization, the MAK,
        working with people who were working at the time for MWL and IIRO. Based on the
        evidence, it continued such support to Da’Wah Organizations working not only in the
        Afghanistan/Pakistan region, but during the 1990’s in other regions with al Qaeda and al
        Qaeda affiliates, including but not limited to Albania, Bangladesh, Bosnia, Chechnya,
        Egypt, Ethiopia, Indonesia, Kenya, Kosovo, Pakistan, the Philippines, Sudan, Tanzania,
        while al Qaeda and persons associated with it were planning and in some instances,
        successfully executing, terrorist attacks directed against the United States, prior to the
        9/11 attacks. The support included:

        11.8.1.   Enabling their ability to collect funds from donors to the Da’Wah Organizations
                  to send from Saudi Arabia to other countries, without undertaking any due
                  diligence on the uses of those funds.

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        11.8.2.    Maintaining accounts for the Da’Wah Organizations to enable them to
                   accumulate hundreds of millions of dollars over the five year period covered by
                   discovery, and likely amounting to billions of dollars over the course of the
                   banking relationships, which were then available for use by the Da’Wah
                   Organizations as they provided support to al Qaeda to recruit, transport, and
                   train fighters, to provide them cover for their involvement in armed conflict and
                   terrorism through receiving identity documents from the Da’Wah Organization;
                   and to fund military and terrorist operations, in incidents I have detailed
                   throughout this Expert Report, which included attacks on the United States
                   prior to the 9/11 attacks.

        11.8.3.    Approving the control and direction of accounts for Da’Wah Organizations held
                   at ARB by persons who were actively involved in providing support to al Qaeda.
                   These persons included:

                   11.8.3..1.    Al-Aqil at Al-Haramain, who controlled and directed some 94
                                 accounts at ARB for Al-Haramain, serving, according to the
                                 Treasury Department, as its Chairman, Director General and
                                 President. In sanctioning al-Aqil as a SDGT, the Treasury
                                 Department found that he controlled and directed Al-Haramain and
                                 was responsible for all of its activities, “including its support for
                                 terrorism. In the words of the Treasury Department, Al-Haramain
                                 was “one of the principal Islamic NGOs providing support for the
                                 al Qaida network and promoting militant Islamic doctrine
                                 worldwide. Under Al Aqil’s leadership of AHF [Al-Haramain],
                                 numerous AHF field offices and representatives operating
                                 throughout Africa, Asia, Europe and North America appeared to be
                                 providing financial and material support to the al Qaida
                                 network.”670 While never inquiring into the ultimate beneficiaries
                                 of the funds or how they would actually be used, ARB knew
                                 generally the regions and sometimes countries where these funds
                                 were going. Al Aqil provided this baseline information.671 Beyond
                                 that, there is not evidence that ARB sought further information,
                                 even as al-Aqil was “providing funds to offies with terrorist ties in
                                 ways that will avoid foreign government scrutiny, such as using
                                 personal bank accounts.”672 The amounts that flowed through al-
                                 Aqil’s personal accounts at ARB involved many millions a year.
                                 Over the five year period covered by the discovery in this case,
                                 five ARB accounts maintained under al-Aqil’s name had more than
                                 41 million SRs in deposits and withdrawals, or more than $11
                                 million in total and thus more than $2 million per year just for his



670
    “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
Marks Latest Action in Joint Designation with Saudi Arabia,” Treasury Department, id
671
    ARB-00038534-8535
672
    CIA-SUB_0008

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         11.8.6.    Providing services by providing bank accounts and credit cards to individuals
                    associated with the Da’Wah Organizations as they engaged in supporting al
                    Qaeda, such as Wa’el Hamza Julaidan, al-Buthe, and al-Bayoumi.

                    11.8.6..1.      Julaidan headed another NGO, the Rabita Trust, that was
                                    designated for sanctions by the United States and the UN. He was
                                    among the founders of MAK in Afghanistan. In designating
                                    Julaidan, the Treasury Department described him as “an associate
                                    of Usama bin Ladin, stating that “Julaidan fought with bin Laden
                                    in Afghanistan in the 1980s. Julaidan is also associated with
                                    several individuals and entities linked to al-Qa’ida, including bin
                                    Ladin lieutenants, Ayman al-Zawahri, Abu Zubaida, and
                                    Mohammed Atef; and the organizations: Makhtab al Khedmat, the
                                    Rabita Trust, and al-Gam'a al-Islamiya. These individuals and
                                    entities have been previously designated under President Bush’s
                                    Executive Order and by the United Nations. Bin Laden himself
                                    acknowledged his close ties to Julaidan during a 1999 interview
                                    with al-Jazeera TV. When referring to the assassination of al-
                                    Qa’ida co-founder Abdullah Azzam, bin Ladin stated that ‘We
                                    were all in one boat, as is known to you, including our brother,
                                    Wa’el Julaidan.’ Julaidan has established contacts with several
                                    known Arab Islamic extremists, including bin Ladin’s principal
                                    lieutenant, Ayman al-Zawahri. Another bin Ladin lieutenant, Abu
                                    Zubaida, claimed that he accompanied Julaidan from Pakistan to
                                    Kandahar, Afghanistan during the summer of 2000. Zubaida said
                                    that Julaidan met with bin Ladin and senior bin Ladin lieutenant
                                    Mohammed Atef soon after arriving in Kandahar. In February
                                    2000, Julaidan was appointed to the Board of Trustees of the
                                    Rabita Trust and served as its Director General. The Rabita Trust is
                                    an NGO designated under President Bush’s Executive Order as an
                                    organization that provided logistical and financial support to al-
                                    Qa’ida.”677 ARB records document that it provided Julaidan with
                                    accounts going back to 1988, in Pakistan with Bin Laden and other
                                    founders of al Qaeda, the very period in which he was working
                                    with MAK, and continued through at least 2000.678 ARB also
                                    provided Julaidan with a credit card.679 The Rabita Trust was
                                    jointly established by the MWL, which provided much of the
                                    funding for it from the outset.680 Thus, ARB provide services to
                                    Julaidan while Julaidan was helping to build al Qaeda for an
                                    organization founded by the MWL, the Rabita Trust, that was itself


677
    “Treasury Department Statement on the Designation of Wa’el Hamza Julidan,” September 6, 2002, id
678
    ARB-0001183-1216
679
    ARB-0001191-1192
680
    The founding document for the Rabita Trust, and MWL’s role in establishing “financial responsibility” for its
early activities, is set forth in “Background information about the Rabita Trust,” at
http://www.statelesspeopleinbangladesh.net/rabita_trust_deed.php

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                                  directly engaged in providing financial support and services to
                                  what became al Qaeda.

        11.8.7. Helping donors to al Qaeda hide their support of al Qaeda, through laundering it
                through the Da’Wah Organizations with minimal documentation regarding the
                uses of the funds, so that it would be very hard for anyone to prove that the donors
                had used ARB to fund al Qaeda, terrorism, and extremism. This included ARB
                enabling the use of cash couriers in particular cases and countries, making the
                actual uses of the cash in the field impossible to trace.681

        11.8.8. Providing accounts to MWL sponsored organizations, such as IIRO and SJRC,
                enabling these Da’Wah Organizations to collect, maintain, and transfer funds in
                support of terrorism, even as the MWL itself was being “apparently” used as a
                cover organization for bin Ladin associates.682

        11.8.9. Providing accounts to Al-Haramain for its operations in Europe and Africa,
                which the Stabilization Force in the former Yugoslavia concluded, based on
                documents found in raids on the Al-Haramain offices in Croatia, had employees
                in Albania, Bosnia, Croatia, and Kosovo supporting al Qaeda. The CIA also
                found that Al-Haramain had former personnel who helped coordinate involvement
                in the 1998 U.S. Embassy bombing in Tanzania, and which took steps in its
                Kosovo offices immediately after the 9/11 attacks to destroy all documents that
                could link Al-Haramain to extremist or terrorist activities.683 ARB maintained
                accounts for Da’Wah Organizations designated for funds for Kosovo.684 Here, I
                find it material that ARB officials directly coordinated with Al-Haramain officials
                to establish Al-Haramain’s activities relating to Kosovo in 1999, recommending
                that it be undertaken throughestablishing an office in Macedonia.685

11.9.   Prior to the 9/11 attacks, the CIA determined that Bin Laden and al Qaeda made
        “extensive use” of the Da’Wah Organizations. Those it listed as the organizations used by
        al Qaeda included Al-Haramain, IIRO, the SJRC, each demonstrated by the documents to
        be ARB customers, and the MAK, which the CIA found to be supported by ARB’s
        founder and head, SAAR. The CIA, in noting SAAR’s support for the MAK, a Da’Wah
        Organization it described as “closely associated with Usama Bin Ladin since the
        1980s,”686 and which the U.S. Treasury has characterized as a precursor of al Qaeda, 687
        and which the UN stated was absorbed by Bin Ladin into al Qaeda688 after the car



681
    CIA-SUB_0001 and _0004; CIA_000744
682
    CIA_000823
683
    CIA-SUB_0007-0019
684
    ARB-00037997-37816
685
    NL0010244-0245
686
    CIA_000325, CIA_000338
687
    “Treasury Designates Global Network, Senior Officials of IARA for Supporting bin Laden, Others,” October 13,
2004, https://home.treasury.gov/news/press-releases/js2025
688
    UN 1287 Sanctions Listing of Makhtab Al-Khidamat,
https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/makhtab-al-khidamat

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         bombing of its cofounder, Abdullah Azzam, in November 1989 following disagreements
         between Azzam and Bin Ladin.689

11.10. The CIA was also able to determine that funds were flowing from Saudi Arabia through
       the Da’Wah Organizations to that were then used to benefit terrorists, implicitly including
       al Qaeda:

         11.10.1. “We estimate since the mid-1990s several tens of millions of dollars a year has
                  flowed to terrorists from a variety of sources in the Kingdom. Most of the
                  money originates from welthy individuals, fundraisers who solicit smaller
                  donations, and diversions from non-governmental organizations (NGOs); a
                  portion of the funding is derived from legitimate religious contributions.”690

         11.10.2. Comment: This finding by the CIA identifies the period as of the mid-1990’s
                  when “several million a year” flowed to terrorists from wealthy individuals and
                  NGOs. The identities are specified in the section of the CIA report with the
                  caption “Major Donors.” The “Major Donors” include the Al Rajhi family,
                  customers of ARB, the Da’Wah Organizations, and those controlling the
                  Da’Wah Organizations including several individuals and two Da’Wah
                  Organizations whose offices were later placed on U.S. and UN sanctions lists.

         11.10.3. “Money that originates in the Kingdom is disersed to al-Qa’ida members
                  operating in Pakistan and Afghanistan, as well as Yemen, Iran, and other
                  countires where operatives have relocated following the loss of Afghanistan as
                  a safehaven.”691

         11.10.4. “Major Donors. We have identified several wealthy Saudi individuals and
                  families we suspect of supporting the al-Qa’ida network.” The CIA then listed
                  as the major ones Yasin al-Qadi, Wa’il Hamza Julaydan, Muhammed Jamal
                  Khalifa, Sheikh Adel Batterjee, the Bin Mahfouz Family, and the Al Rajhi
                  family.692 It then listed NGOs “on which Bin Ladin has exerted influence, and
                  which were implicated in providing support to terrorism to include Al-
                  Haramain, MWL, IIRO and WAMY, as well as the entity spawned from the
                  MWL, the SJRC in Kosovo and Chechnya, which it identified as run by Wa’il
                  Julaydan, as well as Lajnar al-Birr al-Islami, or the Islamic Charity
                  Committee,693 which the UN found raised funds for fighters in Afghanistan and
                  provided cover and immigration assistance to fighters traveling in and out of
                  Pakistan.694


689
    Ghost Wars, Steve Coll, Penguin Books, 2004, p. 204
690
    CIA_000144
691
    Id
692
    CIA_000148-149
693
    CIA_000150-151
694
    “Benevolence International Foundation,” UN 1267 Al Qaeda Sanctions Committee: “The Benevolence
International Foundation was listed on 21 November 2002 pursuant to paragraphs 1 and 2 of resolution 1390 (2002)
as being associated with Al-Qaida, Usama bin Laden or the Taliban for “participating in the financing, planning,
facilitating, preparing or perpetrating of acts or activities by, in conjunction with, under the name of, on behalf or in

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11.11. The evidence documents that many of these “major donors,” including both the
       individuals and the NGOs, banked at ARB and carried out transactions at ARB. The
       available documentation suggests that this was undertaken through mechanisms
       consistent with the findings of the CIA: taking out funds in cash or in poorly documented
       fashion, in some cases stating that it would be going overseas. ARB records provide
       evidence that those described as major donors by the CIA who relied on ARB as their
       bank included Yasin al-Qadi, Wa’il Hamza Julaydan, Adel Batterjee (for the charity he
       used to help bin Ladin and al Qaeda, Al Birr Islamic Committee), and the Al Rajhi family
       – who also controlled ARB since its inception and were its major shareholders, and all of
       the Da’Wah Organizations, each of which also had ongoing relationships and connections
       to the Al Rajhi’s, as I have described over the course of this Expert Report.695

11.12. The evidence documents that the support these ARB customers and al Qaeda donors
       provided included support by Batterjee for the first World Trade Center attack
       mastermind, Ramzi Yousef.696 Notably, ARB itself moved money to a person, Al-
       Bayoumi, who provided support to two of the suicide bombers in the 9/11 attacks.697

11.13. The evidence documents that the support provided to al Qaeda by the Da’Wah
       Organizations who were ARB’s customers and account holders, involving the substantial
       sums deposited, held, and withdrawn from ARB accounts which I have described,
       included such services as “providing terrorists with funding and cover employment,
       documentation, and training,” as the CIA described the work of the IIRO in the field,698
       as well as “funding and logistical support to [Ramzi] Yousef and his associates in 1995 as
       they plotted to bomb at least 12 US airlines in East Asia.”699

11.14. To sum up, ARB was the “Extremists Bank of Choice,” the description of the bank’s
       brand chosen by the CIA to describe its support for al Qaeda and other terrorist groups,
       because ARB provided them with essentially everything they could hope for in a bank.700
       It began this role early, when SAAR funded Bin Ladin’s initial NGO, MAK, in the late
       1980s. By the mid-1990s, extremists had concluded that it was the bank of choice, and
       directed their operatives to use it in Afghanistan, Indonesia, Pakistan, Saudi Arabia,
       Turkey, and Yemen,701 among other locations.



support of”, “supplying, selling or transferring arms and related materiel to” or “otherwise supporting acts or
activities of” Usama bin Laden and Al-Qaida (QDe.004).”
https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/benevolence-international-
foundation
695
    I note the concern expressed by SAMA about ARB’s handling of the accounts for the charity created by and
controlled by Batterjee - the Al Birr Islamic Committee, otherwise known as Lajnat al Birr al-Islamyi. As notes of a
meeting with SAMA and banks, including ARB, provided in the ARB discovery state: “We authorized Al Rajhi to
open one account; they opened many accounts.” ARB-00039583
696
    CIA_000198
697
    ARB-00013750/ARB-00013748, ARB-00013763/ARB-00013761, ARB-00013764/ARB-00013762, ARB-
00013769/ARB-00013767
698
    CIA_000213
699
    CIA_000216
700
    CIA-SUB_0003
701
    Id

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       11.14.1. According to the CIA, two factors that caused extremists to choose ARB were
                that ARB’s Islamic banking principles appealed to them and it was one of the
                few Saudi banks that had branches in outlying areas of the country, as well as
                correspondent connections to bank accounts in remote locations abroad.702 The
                CIA also assessed that security concerns and personal relationships were key
                factors in al Qaeda’s selection of banks. Additional reasons why al Qaeda and
                other extremists selected ARB as their bank identified by the CIA was that
                unlike most banks, ARB used couriers to move funds, in cash.703 Such
                payments appear to have been in some cases by giving checks to people such
                as Abdullah bin Ibrahim al Misfer, who was working for Al-Haramain,
                earmarked for people in countries in which ARB had no license to operate, or
                to officials at WAMY checks “to be cashed out at all our branches in Saudi
                Arabia,” earmarked for such donations outside of Saudi Arabia.704 This is an
                effective way to launder money and hide terrorist finance, which is why it is an
                important red flag of potential terrorist finance, as I have discussed earlier in
                this Expert Report. Thus, for terrorists, it is a preferable mechanism to transfer
                funds from a bank to activities that otherwise would risk drawing attention due
                to their possible connection to supporting terrorists.

       11.14.2. Also, as of the late 1980’s, members of the Al Rajhi family had funded
                jihadists and al Qaeda affiliated persons and entities.705

       11.14.3. Also, as reflected in the materials produced in discovery, despite the 1995
                SAMA Guidelines, which its formal policies incorporated, ARB did not carry
                out due diligence on the activities of the Da’Wah Orgnaizations, and facilitated
                transactions, including account openings, with minimal documentation, that at
                most consisted of asking Saudi authorities whether it was permissible to open
                an account, and then undertaking no further checks. (In some instances, ARB
                did not even carry out that step, based on the documents provided.) In at least
                one case, relating to a purported charity found to have engaged in support al
                Qaeda, Lajnat, the evidence suggests that ARB’s regulator, SAMA, complained
                that ARB had permission to open one account and then inappropriately used
                that permission to open “many.”706 This problem may have extended to Al-
                Haramain and IIRO as well.

       11.14.4. Also, ARB was handing hundreds of accounts for Da’Wah Organizations, and
                its staff did not ask questions about what they were doing around the world, or
                if they did, document that any questions were asked. Instead, ARB’s approach
                was to be helpful to a number of al Qaeda’s most important financiers, such as
                al-Aqil, and Yasin al-Qadi, as well as to their NGOs.



702
    Id
703
    CIA-SUB_0004 and 0009
704
    NL0010348, NL0010349, NL0010465
705
    CIA-SUB_0001-0006 and CIA000743-000744, CIA_000783, CIA_000830-831
706
    ARB-00039583

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        11.14.5. Also, ARB facilitated donations by the Al Rajhi family to the Da’Wah
                 organizations and organizations allied with them or created from them, such as
                 the SJRC.707

        11.14.6. Also, ARB recognized the principle that it was important to the donors that
                 their names not be shown on transactions, and it built that principle into its own
                 donations, as reflected in the evidence provided in the        documents.708

        11.14.7. Ideological alignment – convenience – services in cash – global reach –
                 generous with donations from its own senior officials – no questions asked –
                 willingness to hide transactions from prying foreign eyes. These are the
                 elements that would constitute a useful shopping list for a terrorist seeking a
                 bank. ARB and ARB’s senior management provided them all. And as
                 demonstrated in the evidence considered and detailed in this report, and
                 reflected in the CIA’s entitled its report on ARB “Conduit for Terrorist
                 Finance,” ARB welcomed providing an array of banking services to those who
                 were helping al Qaeda. And al Qaeda’s financial helpers were essential to
                 making it possible for the organization constructed by bin Ladin to undertake
                 the 9/11 attacks.

12. Has ARB produced evidence showing that individual transactions it carried out for Al-
    Haramain, MWL, IIRO, WAMY, and the SAAR Foundation before September 11, 2001
    were earmarked for “use in specific schemes or attacks not directed at the United
    States?”

12.1.   After the 9/11 attacks, the CIA concluded that ARB “has been a conduit for funds for
        Islamic extremists and for the September 11 hijackers,” and thus was used in specific
        schemes or attacks directed at the United States.709

12.2.   The CIA reports I have cited extensively within this Expert Report, and the other
        evidence I have reviewed, provide extensive evidence that ARB’s accounts for the
        Da’Wah Organizations were used to support terrorism, including terrorism carried out by
        Aal Qaeda against the United States and U.S. interests, as documented by the materials I
        have cited in footnotes throughout this Expert Report.

12.3.   However, I have not see evidence in the material produced by ARB showing that
        individual transactions it carried out for the Da’Wah Organizations before the 9/11
        attacks were earmarked for use in specific schemes or attacks not directed at the United
        States.

12.4.   I have seen evidence in the material that ARB knowingly conducted transactions intended
        for the support of those involved in the Palestinian 2nd Intifada in Israel, which involved
        ongoing attacks, including suicide bombings, targetting Israelis and foreigners in Israel,


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    ARB00037998-38015
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    NL 0015044-5047, NL 0009625
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    CIA_000149

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        including Americans.710 As discussed earlier in this Expert Report, these transactions
        totalled 12,364,332.45 SRs in withdrawals made for “Martyrs and Orphans” by the IIRO
        in its ARB account labeled as being for that purpose, over a two-year period at the time of
        the 2nd Intifada.

        12.4.1. For the purpose of answering this question, and in the absence of being provided
                any audit relating to this ARB account or other evidence on this point, I will
                assume that those funds actually went to Palestinian families of those engaged in
                the 2nd Intifada. Based on that assumption, the transactions would have supported
                families of some people, characterized as “martyrs” who participated in the
                violence and terrorism of the 2nd Intifada, which led to the murder of U.S. citizens
                as well as of Israelis and other non-U.S. persons.

        12.4.2. However, this evidence does not show that the funds in any individual
                transactions that ARB carried out to assist those engaged in the 2nd Intifada were
                earmarked for use in specific schemes or attacks such as those carried out by
                terrorists in Israel which killed Israelis and other non-U.S. persons in addition to
                the U.S. persons killed in some of the attacks which took place in the 2nd Intifada.

        12.4.3. Consistent with this view of the documents and testimony I have reviewed, I
                know of no evidence that individual transactions ARB carried out for the Da’Wah
                Organizations were earmarked for specific schemes or attacks not directed at the
                United States. To the contrary, individual transactions at ARB carried out for the
                Da’Wah Organizations were, as I have discussed, minimally documented with
                regards to their specific uses for any particular purpose other than generic ones
                such as “charity.” The evidence shows that when such transactions were in any
                way “earmarked” they were ordinarily earmarked in more general terms, such as
                being for “martyrs” in Palestine, or for “orphans”in Kosovo, or in a few cases, for
                projects detailed for such purposes as “Quran memorization” and “health clinics,”
                for funds to be spent in Asia; “book printing,” “animal sacrifices and vows,”
                “orphans’ sponsorship” for funds to be spent in Africa; and “book printing,”
                “Sharia Hijab; “”Albania,” “Bosnia,” “Kosovo” and “orphans’ sponsorship to be
                spent in Europe,” with no further information provided in the materials avaiable
                to me about the actual use of particular funds.711 The exceptions, which I have
                discussed elsewhere in this Expert Report, involved the identifiation of a
                particular beneficiary for the funds from the Da’Wah Organizations, such as a
                specific charity or religious propagator, with the purpose designated as being for

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    A few ARB documents reference payments for “jihad” or “jihadists” in another location (Afghanistan) or refer to
the term “jihad” in a payment with no specifics, such as where the funds would be used.
711
    I have not seen audits of any transaction of ARB, which might provide information on what level of detail is
contained in ARB documents involving the Da’Wah Organizations beyond those produced under the discovery
process that have been made available to me. The most specific of the ARB documents that I have been seen have
been documents which reference payments from ARB to agents of Al-Haramain such as al-Misfer, with payments
made to him that are characterized as being on behalf of “Brother Ahmed Taha,” NL0010327; or “propagator
Qassim Mohamed from Mali, NL0010348, or unidentified “propagators in Sierra Leone,” NL0010349. In the
absence of further evidence regarding such transactions, in practice the payments could have gone to anyone, for
anything, as documentation on their actual uses is absent, although the documentation does show that such payments
were issued in 1999 by the Al Rabwah Branch of ARB.

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                  “propagators,” in Africa, for example, or to take care of orphans, as in Kosovo,
                  for example.712

          12.4.4. I have taken into account the CIA’s findings about the Al Rajhi family having
                  “moved to conceal their activities from financial regulatory authorities.”713
                  Consistent with that finding by the CIA, which was based on the evidence that it
                  had from all of its sources, I would not expect ARB to produce evidence that
                  accounts it maintained for the Da’Wah Organizations were used in “specific
                  schemes or attacks” by terrorists, either for attacks directed at the United States,
                  or for attacks not directed at the United States. On the basis of the information
                  available to me to date and that I have reviewed, I have seen no evidence
                  produced by ARB documenting that ARB funds were earmarked for “particular
                  schemes or attacks.”


                                                   ***




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      ARB-00038116, NL 0010347-0348
713
      CIA-SUB_0002

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17.     Linked to Terror, Treasury Designates U.S. Branch, Director (September 9, 2004).

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19.     TREASURY00009-00011 – Al Haramayn Islamic Foundation – Bosnia-Herzegovina.

        TREASURY00012-00016 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
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        TREASURY00017-00029 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
        Control re: Designation of Al Haramain Foundation (AHF) branches in Afghanistan, Albania,
        Bangladesh, Ethiopia and the Netherlands and AHF’s leader Al-Aqil pursuant to the authorities of
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       Second Set of Jurisdictional Requests for Production of Documents (MDL ECF No. 9039) (April
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39.    Summary Spreadsheet of Al Haramain Islamic Foundation Accounts at Al Rajhi Bank.

       Exhibit 32 (ARB 32), September 27, 2023 Deposition of Abdullah bin Sulaiman al Rajhi, Plaintiffs’
40.    Summary Spreadsheet of International Islamic Relief Organization Accounts at Al Rajhi Bank.

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41.    Summary Spreadsheet of International Islamic Relief Organization Accounts at Al Rajhi Bank.

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       10348, 10349, 10350, 10384, 10423, 10447, 10455, 10456, 10457, 10458, 10460, 10462, 10463,
       10464, 10466, 10467, 10468, 10470, 10471, 10472, 10473, 10474, 10475, 10483, 10485, 10491,
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172.    report, which are incorporated herein by reference.




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                               Appendix II – Jonathan M. Winer
1.   Experience and Qualifications
2.   CV
3.   Publications
4.   Expert Witness 2019-2023
                                                ***
1       Experience and Qualifications

Currently I practice law in Washington, D.C. where I specialize in financial regulation, including
the regulation of financial institutions in the United States and around the world to combat
money laundering and terrorist finance, as well as in other areas of national security law. I am
also a non-resident scholar at the Middle East Institute. I also provide international consulting
services on matters within my expertise, which include areas of international law, sanctions,
trade, transborder criminal activity, counterterrorism, corruption, information security and data
protection, and related issues.

Service at State Department

I was Deputy U.S. Assistant Secretary of State for International Law Enforcement from 1994
through 1999. In that position, I served as the principal policy-maker focused on a daily basis on
international organized crime and financial crime for State, including money laundering and the
systems used for terrorist finance. I handled oversight of U.S. law enforcement relations with
many nations. At the request of the National Security Council (“NSC”) of the White House or
the Vice President’s office, I chaired numerous interagency working groups on trans-border law
enforcement and crime issues, as well as bilateral and multilateral groups working on these
issues with foreign counterparts. My work included developing responses by the government of
the United States to criminal conspiracies directed at our government or our people from
overseas; tracking such criminal activity; obtaining evidence regarding it; obtaining cooperation
from other countries on trans-border criminal activity; and initiating and overseeing overt and
covert operations to control and combat trans-border criminal activity emanating from overseas.
In this position, I represented our government in negotiations taking place in more than 40
countries on six continents, carried out direct bilateral negotiations and discussions with
representatives of some 80 countries in the U.S. and overseas and multilateral negotiations with
representatives of more than 100 countries. That work included development and oversight of
U.S. anti-money laundering policy internationally, including U.S. policy regarding the FATF,
based in Paris, the world’s premiere anti-money laundering body, which at the time was
undertaking ongoing assessments of the money laundering regulation of its member countries.
These included the Gulf Cooperation Council (“GCC”), whose members include Saudi Arabia.

I returned to the State Department in September 2013, and served in the Bureau of Near Eastern
Affairs as the Special Advisor for the Resettlement of the Mujahedin-e Khalq (“MEK”) and
Special Envoy for Libya until January 2017. In those roles, I served as the White House and
Secretary of State’s senior official to resettle an Iranian political group that had previously been
designated by the United States for terrorist sanctions, and which had since been delisted for no
longer posing a terrorist threat, out of Iraq and into Albania, thereby ending an ongoing source of

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instability and risk between Iraq and Iran. I also was the lead U.S. diplomat for efforts to end a
civil war in Libya through a negotiated settlement which was achieved in December 2015, and
continued in that role seeking to maintain that peace until my departure from the State
Department at the beginning of the Trump Administration. In these two roles, I worked directly
with senior officials of many countries, including Albania, Algeria, Canada, China, Egypt, the
EU, France, Germany, Italy, Jordan, Libya, Morocco, Qatar, Romania, Russia, Saudi Arabia,
Sudan, Tunisia, the United Arab Emirates, among others. During that time, I worked directly
with senior officials at the U.S. Department of Defense and AFRICOM, as well as with the CIA
and other U.S. intelligence agencies, to address terrorism issues involving the Islamic State and
U.S. sanctions programs and designations. I also participated in White House meetings of the
Deputies Committee (involving the Deputy Secretaries of cabinet agencies), at the Principals
Committee (involving the Secretaries of cabinet agencies), and at the National Security Council,
in meetings chaired by the National Security Advisor or the President. These meetings included
discussions of how to respond to terrorist threats in the Middle East, including how we would
address the terrorist threat through a mixture of diplomatic, military, and sanctions options.

Experience in U.S. Foreign Policy Sanctions, and Terrorist Finance Process

During my six-year service as Deputy Assistant Secretary of State, I met daily with other senior
policy makers at State to discuss foreign policy issues involving the response of the U.S.
government to foreign governments, officials, businesses, and persons involved in planning or
carrying out criminal activity directed at the United States and/or its people, including issues
relating to terrorism. I also worked on a daily basis with counterparts at the NSC, the U.S.
Department of Justice (“Justice”), Treasury, the U.S. Department of Commerce (“Commerce”),
Department of Defense (“Defense”), the Central Intelligence Agency (“CIA”) and other
components of the U.S. intelligence community. The work included daily contact with senior
officials from the major U.S. federal law enforcement agencies, which at the time included the
Federal Bureau of Investigation (“FBI”), DEA, Customs, Secret Service, the Bureau of Alcohol,
Tobacco and Firearms (“ATF”), the Coast Guard, and the Immigration and Naturalization
Service (“INS”). During this period, I was an active participant in many interagency agencies
involving these and other U.S. agencies, and led numerous interagency missions at home and
overseas dealing with responding to international criminal activity, including financial elements
of transborder terrorist activity (terrorist finance). This work included leading or participating in
delegations involving the United States and the UN, EU, Council of Europe, FATF, Organization
of American States (“OAS”), Group of Seven (“G-7”) and Group of Eight (“G-8”) and many
other modalities. I had ongoing contact with the Office of Foreign Assets Control (“OFAC”),
responsible for administering sanctions, and with the White House as well as the agencies
specified above, over questions about when and how to use targeted sanctions against individuals
and entities, including discussions over designating particular targets.

During my three-and-a-half year service in the State Department’s Bureau of Near Eastern
Affairs, I met daily with other senior policy makers at State to discuss foreign policy issues
involving the Middle East and terrorism, as both of my portfolios involved having to develop
appropriate policies and diplomatic activities to address issues involving terrorists or former
terrorists.



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In the case of the MEK, I had to address the problem of resettling people the U.S. had previously
found to have engaged in terrorism, once they renounced terrorism, in order to protect them from
the immediate and ongoing risk of being subject to terrorist attacks themselves by agents of the
government of Iran. To do this, I had to work closely with senior officials from such other U.S.
government agencies as Justice, Defense, CIA, FBI, and the Department of Homeland Security
(“DHS”), as well as with the State Department and the White House.

During this period, Libya faced many terrorist threats. These included the occupation of the
central coastal region of Libya by the Islamic State, which the U.S. responded to with airstrikes
against the Islamic State in Libya, undertaken with the permission of Libyan authorities that I
brokered. They also included attacks on civilian airports by militia leaders seeking to gain
military advantage over other militias or security forces. In the course of considering the
appropriate U.S. response to these threats, I met frequently with other senior policy makers at the
State Department and throughout the U.S. government to discuss the use of sanctions to combat
the risk of terrorism and civil war in Libya. I again participated in sanctions designation
processes, which were typically managed by senior officials at the National Security Council of
the White House.

Earlier Experience

I first became involved in international money laundering matters in 1980, while I was working
as an associate while still in law school for the U.S. Attorney in Denver, Colorado on a bank
fraud case involving the use of offshore banks in the Caribbean to launder funds and defraud
U.S. banks and investors. At that time, I received training from senior investigators from the FBI
and the Office of the Comptroller of the Currency (“OCC”), responsible for regulating U.S.
banks. In 1980 and 1981, while working as a journalist writing about legal affairs, I first
developed expertise in the application of U.S. sanctions laws arising out of the Iranian hostage
crisis and the use by the United States of the International Emergency Economic Powers Act
(“IEEPA”) to freeze Iranian assets prior to the resolution of the crisis in 1981 with the Algiers
Accords. From 1985 through 1994, I worked in the U.S. Senate as counsel to Senator John F.
Kerry. During that time, I handled financial regulatory, criminal justice and foreign policy issues
in connection with hearings and legislative matters before the Senate Committees on Foreign
Relations, Judiciary, and Banking. I drafted legislation to strengthen U.S. law against
international money laundering and financial crime. I also directed and/or staffed a series of
investigations into international money laundering and serious transnational criminal activity
affecting the United States and Americans. These international investigations included matters
pertaining to the Iran/Contra Affair, the drug trafficking of Panamanian dictator Manuel Noriega,
and the corrupt activities of the Bank of Credit and Commerce International (“BCCI”) in Asia,
Africa, Latin America, North America, Europe and the Middle East. This work substantially
focused on the intersection of foreign policy and law enforcement. For example, I drafted a
substantial portion of a report on this topic, published in 1988 by the Senate Committee on
Foreign Relations, with the title “Drugs, Law Enforcement and Foreign Policy.” The Senate
report analyzed cases in which U.S. foreign policy interests were preventing the U.S.
government from protecting U.S. citizens from injury by foreign drug traffickers, arms
traffickers, criminals, and terrorists. Later, I drafted the preponderance of the U.S. Senate report
on BCCI, “The BCCI Affair,” issued by Senators Kerry and Brown, which reported on how
BCCI was used, among other purposes, to facilitate terrorist finance.

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Non-Government Experience

Over more than two decades (from 1999 to the present, in reference to my work since I left the
State Department in November 1999), I have been involved in sanctions and terrorist finance
issues from a number of perspectives and roles.

One role has been as a lawyer. I have provided counselling to financial institutions; persons and
entities seeking to assess and address their risk of being designated for sanctions; persons and
entities who have been sanctioned and are seeking to be delisted and international organizations
dealing with sanctions issues, such as the IMF, World Bank, and UN, among others.

A second role has been as a policy analyst. I have written on sanctions and on money laundering
and on terrorist finance issues for many publications, as set forth in my CV. I was also retained
as an expert on financial crime by a U.S. government agency from 2000-2008 to assess the
vulnerabilities of countries throughout the world to money laundering, terrorist finance, and
corruption. During this time, I studied and provided assessments on financial crime and terrorist
finance risk on most of the countries in the world, including to the best of my recollection, every
country in the Middle East.

A third role has been as a teacher. For many years, I taught analysts at the CIA’s Kent School,
covering a number of topics, especially those relating to corruption and financial crime, as well
as lectured on those topics, terrorist finance, sanctions and many other foreign policy and
regulatory issues at many academic institutions, in the United States and internationally, again as
set forth in my CV.

A fourth role has been as a public commentator. After the 9/11 attacks, I was a consultant for
ABC News on terrorist finance issues. From the date of the 9/11 attacks to the present, I have
been frequently quoted on terrorism and sanctions issues by U.S. and international media.

A fifth role has been as a consultant on sanctions, anti-money laundering, and counter-terrorist
finance issues to domestic and foreign clients, as well as with government agencies, domestic
and foreign, and international organizations such as the United Nations and World Bank.

A sixth role has been as an expert witness on terrorist finance, financial crime and sanctions
issues.

2.     CV – Jonathan M Winer

Positions

Partner, Mosaiq Law Group, Sep 2021 - Present

We leverage multi-dimensional legal and policy expertise and high-level professional networks
around the world to offer a range of legal advisory services such as:




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   •   Quarterbacking complex cross-border matters, including investigative cases and
       investment-related projects.

   •   Targeted counsel related to specific law & policy issues such as sanctions, compliance,
       CFIUS, due diligence, FCPA, asset recovery, expropriation, and M&A.

   •   Strategic advice at the complex intersection of geopolitical, financial, legal, policy and
       political factors.

Principal, Law Offices of Jonathan M. Winer, January 2017-present

Represent and counsel domestic and multinational clients on cross-border compliance and
enforcement issues relating to national security law, international financial regulatory issues,
trade and e-commerce, foreign corrupt practices, public policy and legislative matters, including
matters relating to extradition, mutual legal assistance, money laundering and counterterrorism
(AML-CFT), sanctions (OFAC), inward investment (CFIUS), cybersecurity, cross-border
taxation, and data protection compliance.

Private practice of law and international consulting, focusing on the Middle East, former Soviet
Republics, and cross border issues relating to the U.S. and the European Union.

Non-Resident Scholar, Middle East Institute, May 1, 2017-present

Research, writing, and speaking on political, economic and security issues relating to Libya,
North Africa, and the Middle East at the Middle East Institute in Washington, D.C.

Senior Counsellor, APCO Worldwide, August 1, 2017-present

Provide strategic advice to international clients of global communications firm on matters
relating to national security law, financial regulatory issues, foreign corrupt practices, sanctions,
foreign investment/trade, and public policy.

Strategic Advisory Board Member, International Fraud Group (IFG) September 2020 – present

The International Fraud Group is a global network of highly skilled international lawyers who
specialize in tracing, freezing, seizing and recovering stolen assets. The IFG is based in London
and has developed a network of practitioners with expertise in identifying and recovering stolen
assets and investigating and developing enforcement action to respond to complex frauds. I
provide strategic advice to the organization, and participate in seminars on current topics relating
to financial crime.

Advisory Council Member, Keep Our Republic, June 2020- present

Keep Our Republic is a U.S. non-partisan civic action organization dedicated to protecting a
republic of laws and strengthening the checks and balances of our democratic electoral system. I
provide strategic advice to the organization, participate in civil events and seminars on current

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topics relating to U.S. elections, and work with others in the group to publish articles of
relevance to these issues.

Special Envoy for Libya, Senior Coordinator for Libya, Senior Advisor for MEK Resettlement,
Bureau of Near Eastern Affairs, US Department of State, September 2013-January 2017

Served as Secretary of State Kerry’s and the State Department's Special Envoy for Libya. Played
a central role in shaping and implementing US policies regarding Libya, working with U.S.
officials, other governments, Libyan officials, representatives of the private sector, NGOs, and
others interested in Libya and its future. Served as the Senior Advisor for MEK Resettlement,
responsible for securing the resettlement of more than 3000 members of an Iranian dissident
group of Iraq, which concluded with the successful resettlement of all of them out of Iraq as of
September 12, 2016.

Awarded the Secretary’s Distinguished Service Award, the highest award issuable by the
Secretary of State, “for extraordinary service to the U.S. government in solving one of the most
intractable issues in U.S. foreign policy, thereby avoiding the massacre of over 3,000 members
of the Mujahedin-e Khalq and averting a crisis between Iran and Iraq,” and for “leading U.S.
policy in Libya, tenaciously and brilliantly moving Libya from a major foreign policy
embarrassment to a fragile but democratic, internationally recognized government.” November
2016.

Senior Vice President./Senior Director/Head of Government Affairs Group,
APCO Worldwide, June 2008-September 2013

Strategic advice to corporate, non-governmental and governmental clients and international
organizations in U.S., Pacific Rim, Central Europe, Israel and Eurasia regarding cross-border
regulatory, legal and policy issues, primarily involving financial services regulation, foreign
investment and trade, corruption and corrupt practices, information security and data protection,
money laundering, asset recovery, sanctions, and cross-border law enforcement assistance.
Expert witness services on money laundering and terrorist finance. Public sector work included
assisting World Bank Stolen Assets Recovery Initiative, UN (ODC) Anti-Corruption Initiatives
(Vienna), Global Forum on Corruption (Doha), OECD Working Group on Mining
Transportation (Paris).

Partner 2004-2008; Counsel 1999-2003, Alston & Bird, LLP, November 1999-May 2008

Represented domestic and multinational clients on compliance and enforcement issues relating to
international financial regulatory issues, privacy, data protection and information security,
foreign corrupt practices, cross-border trade, foreign investment (CFIUS), public policy and
legislative matters. Provided counseling regarding AML-CFT compliance, terrorist finance,
international criminal enforcement, and sanctions issues. Written and lectured extensively on
cross-border financial regulation, national security law and intelligence issues, cross-border legal
issues relating to data protection and cyber-security, corruption. Provided expert witness services
on cross-border financial crime, narcotics, and corruption issues. Investigations and compliance
work relating to complex matters involving corruption, money laundering, and sanctions in

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multiple jurisdictions. Undertook initiatives for World Bank and UN International Peace Institute
on corruption and money laundering. Provided open source analysis of money laundering,
corruption, and sanctions vulnerabilities and capacities of 80+ countries over an eight-year
period as contractor for US government.

Deputy Assistant U.S. Secretary of State for International Law Enforcement, 1994-1999

Senior person at the U.S. Department of State responsible on a day-to-day basis for formulating
and overseeing U.S. policy and programs to deal with money laundering, high-tech crime,
intellectual property theft, corruption, small arms trafficking, trafficking in women, alien
smuggling and other cross-border crime. Led interagency U.S. negotiations with P-8, EU, OAS,
and managed bilateral modalities on law enforcement and financial regulatory issues with China,
Russia, Thailand, Mexico, Hungary, Nigeria, Ukraine, and various countries in Central America,
the Caribbean, and Southern Africa. Developed President Clinton’s Transnational Organized
Crime strategy, 1998. Conceptualized and negotiated Inter American Treaty on Illicit Arms
(1997) and scope and framework of UN Transnational Organized Crime Convention (2000).
Created and negotiated frameworks for international law enforcement academies for Southeast
Asia (ILEA-Bangkok) and Southern Africa (ILEA-Gaborone). Created and served as Executive
Secretary for 1st Global Forum Against Corruption (1999).

Awarded Distinguished Honor Award, U.S. Department of State, November 1999, which stated
that "he created the capacity of the Department and the U.S. government to deal with
international crime and criminal justice as important foreign policy functions," and that "the
scope and significance of his achievements are virtually unprecedented for any single official."

Counsel and Senior Legislative Assistant, U.S. Senator John F. Kerry (D-Mass.), 1985- 1994

Responsible for policy development and legislation for U.S. Senator in the areas of banking and
financial services, foreign relations, law enforcement. Conducted numerous Congressional
investigations of international money laundering, drug trafficking, corruption, and fraud,
including investigations of Iran/Contra affairs (1986-1988); drug trafficking and money
laundering in the Caribbean and Central America, including the Bahamas, Haiti, and Panama
(1988-1989); undertook key elements Senate investigation into the global activities of the Bank
of Credit and Commerce International (BCCI), 1990-1992; primary authorship of the Senate’s
final report on BCCI. Investigations included extensive inquiries into activities of U.S.
intelligence and law enforcement agencies in the period 1986-1994.

Counsel, Lieutenant Governor of Massachusetts, 1983-1984

Provided legal advice, policy development, and speech-writing for Massachusetts Lieutenant
Governor on law enforcement and federal-state relations issues. Staffed Governor’s Anti-Crime
Council; redrafted portions of Massachusetts general criminal laws; developed Massachusetts
high-tech crime legislation and draft state Racketeering Influenced and Corrupt Organizations
(RICO) law.




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Associate, Hale and Dorr L.L.P., Boston, Mass, 1981-1983

Handled civil and criminal litigation in state and federal courts.

Reporter, National Law Journal, New York, NY 1978-1981

Staff reporter, covering national and international legal affairs, including sanctions issues
(IEEPA) pertaining to Iranian assets litigation.

Education and Citizenship

J.D. New York University School of Law, 1981

B.A. Yale University, 1976 cum laude

United States. Born Boston, Massachusetts,             1954


3.     Publications and Testimony

2023

“As Libyan strongman explores deepened relationship with Russia, US has multiple sanctions
options,” Middle East Institute, October 2, 2023

“Despite pause in Tripoli violence, Libya’s future remains at an impasse,” Middle East Institute,
August 21, 2023

“Not the Donald, But the Don – Indicting a Career Racketeer,” Washington Spectator, August
15, 2023

“Rift with UN growing amid opposition to implementation of Libyan 6+6 election deal,” Middle
East Institute, June 26, 2023

“How Biden Ends the Phony Debt Crisis: The Law is Clear – Here’s The Speech,” Washington
Spectator, May 9, 2023

“Artificial Intelligence Poses a Huge Threat. It's Time to Put a Seatbelt on It,” Newsweek, April
17, 2023, with Senator Tim Wirth, Congressman Richard Gephardt, and Lt Gov Kerry Healey

“US on potential collision course with UAE and Turkey over sanctions busting,” Middle East
Institute, April 17, 2023

“Acute economic pressures and geopolitical posturing in North Africa,” Middle East Institute,
January 20, 2023



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2022

“Supreme Court case on state legislatures could have ‘devastating consequences,’” City & State
Pennsylvania, Government & Media Executive, December 5, 2022

“Lawyers Should Be Key Reporters in Anti-Money Laundering Efforts,” Bloomberg Law,
December 1, 2022

“Time to Go Local in Libya,” Middle East Institute, September 9, 2022

“Departure of UN Special Advisor Stephanie Williams leaves Libya facing intensified
instability,” Middle East Institute, August 1, 2022

“Out of power, out of patience, Libya faces risky summer of unrest,” Middle East Institute, July
5, 2022

“Divided Libya stands, with a long process ahead before elections,” May 23, 2022

“Amid shutdowns of oil production, Tripoli faces risk of post-Ramadan confrontation,” Middle
East Institute, April 25, 2022

“Struggle over legitimacy in Libya begins third period of dueling governments,“ Middle East
Institute, February 14, 2022

“Which Libyan-led process will lead to elections in 2022?,” Middle East Institute, January 18,
2022

“Prosecuting Trump and His Accomplices,” Washington Spectator, January 4, 2022

2021

“Libyan election processes under threat with resignation of UN special envoy,” Middle East
Institute, November 29, 2021

“Post Paris conference, realpolitik likely to govern next steps on Libya,” Middle East Institute,
November 15, 2021

“December elections advance, but many risks remain for Libya,” Middle East Institute, October
25, 2021

“Reopen the Obstruction of Justice Case Against Trump,”, Just Security, October 14, 2021, with
Mark Medish

“Road Map for a Constitutional Coup,” Washington Spectator · Oct 4, 2021




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“Political infighting goes into overdrive as Libya prepares for Dec. 24 elections,” Middle East
Institute, September 27, 2021

“Testing who’s serious in Libya,” Middle East Institute, August 23, 2021


“To succeed, Berlin II Libya Ministerial must build support not only for elections, but for the
departure of foreign military forces,” Middle East Institute, June 21, 2021

“To consolidate early Libyan successes, the Biden administration will need continued
engagement,” Middle East Institute, April 28, 2021

“The Biden Administration and the Middle East: Policy Recommendations for a Sustainable
Way Forward,” Chapter on Libya, Middle East Institute, March 10, 2021

“Amid bribery claims, eyes focus on upcoming Sirte meetings of Libya’s Parliament,” Middle
East Institute, March 1, 2021

“Libya’s challenge to prevent history from repeating itself,” February 22, 2021

“Planning for the day 10 years after the fall of Gadhafi,” Middle East Institute, February 17.
2021

“New year, new administration, new chance for Libya,” Middle East Institute, January 4, 2021

2020

“Libyans pulled back from conflict but still seek deals on leadership,” Middle East Institute,
December 14, 2020

“Direct Libyan-to-Libyan talks are giving Libyan peace a new chance,” Middle East Institute,
November 24, 2020

“Will nationwide cease-fire in Libya enable new political agreements?,” Middle East Institute,
October 26, 2020

“Election 2020: Challenges and Opportunities for US Policy in the Middle East,” Libya section,
Middle East Institute, September 8, 2020

“As Hifter rejects Libyan cease-fire, renewed diplomacy is essential,” Middle East Institute,
August 24, 2020

“Are the foreign patrons of the Libyan war ready to end it?,” Middle East Institute, May 27, 2020

“Keeping the UN political track in Libya alive,” Middle East Institute, March 16, 2020



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“Libya: Will Berlin peace plan take on the immovable object and his irresistible force?,” Middle
East Institute, January 21, 2020

“Big questions for Libya in 2020,” Middle East Institute, January 6, 2000

2019

“Libya’s descent into civil war,” Middle East Institute, December 23, 2019

“Seized Russian-printed dinars highlight an opportunity to reform Libya’s civil war economy,”
November 7, 2019

“Origins of the Libyan Conflict and Options for Its Resolution,” Libya chapter of book
“Escaping the Conflict Trap: Toward Ending Civil Wars in the Middle East,” published by
Middle East Institute, August 2, 2019, earlier version published by the Middle East Institute May
21, 2019

“Looking for Libyan ceasefires, but on what terms?,” Middle East Institute, May 13, 2019

“Foreign support a wildcard in Libya,” Middle East Institute, April 14, 2019

“Libya: Reawakening the spirit of change,” Middle East Institute, January 7, 2019

2018

“Libya: Maintaining a stable instability in 2018,” Middle East Institute, December 17, 2018

“Palermo talks need to spur Libyan actions,” Middle East Institute, November 5, 2018

“The UN’s “Plan B” for Libya needs a security solution, too,” Middle East Institute, October 29,
2018

“A turbulent trial for Tripoli,” Middle East Institute, September 17, 2018

“Putin’s Proposed Deal With Trump: An Offer America Can Only Refuse,” The Daily Beast,
July 19. 2018

“Libya's future is bigger than any one leader,” Middle East Institute, April 25, 2018

“Egypt continues efforts to unite Libyan military,” Middle East Institute, March 19. 2018

“Devin Nunes is investigating me. Here’s the truth,” Washington Post, February 8, 2018.

“Libya to receive UN aid,” Middle East Institute, January 22, 2018

“Libya: Reawakening the spirit of change,” Middle East Institute, January 7, 2018

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2017

“Libya Talks Continue,” Middle East Institute, October 10, 2017

“French FM in Libya to Push for Peace,” Middle East Institute, September 5, 2017

“Outsiders’ Bets on Libya Torpedo Peace,” Cipher Brief, August 31, 2017

“Libya Weighing Choices between Rescues and Standoffs,” August 14, 2017

“Libya Still Seeking Grand Bargains, But Facing Range of Spoilers,” Middle East Institute,
August 4, 2017

“Foreign Powers Should Push for Peace in Libya,” Middle East Institute, May 23, 2017

“Russia to Hold Navy Drill off Libyan Coast,” Middle East Institute, May 22, 2017

“Libya Talks Progress,” Middle East Institute, May 8, 2017

2016

Congressional Testimony, "US Policy in Libya," Senate Foreign Relations Committee, June 15,
2016

Congressional Testimony, “US Policy in Libya,” House Foreign Affairs Committee, November
30, 2016

2015

Op-Ed, “Time for Libyans to Seize the Moment,” Libya Herald, August 6, 2015

2012

Congressional Testimony, “The Case of George Wright and Beyond,” U.S. Commission on
Security and Cooperation in Europe (Helsinki Commission) July 11, 2012

2011

“Youth Unemployment in North Africa and Middle East Driving Political Change,” SitRep,
February 28, 2011

“Two Scenarios for Change in Egypt,” February 3, 2011; “Ozymandias in Egypt,” both in
Counterterrorism Blog, January 31, 2011

2010

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“Mexican Money Laundering: A Study in Cross-Border Currency Flows, a Permeable Financial
Services Sector,” Center for Strategic and International Studies, October 2010

“Illicit Finance in China,” a study for Centra Technology, September 2010

“Testing a Dangerous Yemen,” Counterterrorism Blog, January 1, 2010

2009

“An Initial International Cooperation Agenda on High Consequence Events for the Obama
Administration,” PACER National Center of Excellence on Homeland Security, Johns Hopkins
SAIS.

“Jakarta bombings highlight importance of splinter group analysis,” Counterterrorism Blog, July
17, 2009

“Bipartisan Experts Tell Congress to Let Guantanamo Detainees Come to US,” Counterterrorism
Blog, July 13, 2009

“U.S. Public Health System Needs To Accelerate Attention to Bioterror Threat,”
Counterterrorism Blog, February 1, 2009

2008

“Countering Terrorist Finance: A Work, Mostly in Progress,” article in The Annals of the
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Lectures and Presentations

Lecturer on foreign policy and national security issues at Kent Center for Intelligence Analysis,
Central Intelligence Agency 2002-2013.

Lectured on foreign relations, national security, and national security law issues and on
international financial regulation and enforcement, sanctions, money laundering, financial crime,
information and computer security, data protection and privacy, payments systems and the
regulation of payments systems, inward investment and trade, sanctions, corruption, terrorism,
terrorist finance, transnational organized crime, extradition and mutual legal assistance, and
intelligence issues: U.S.-China, US-Mexico, and U.S.-EU transborder investment and trade, and
related topics at American Academy of Arts and Science (MA); American Banker (DC);
American Bar Association International Section (New York); American Bar Association
Committee on Law and National Security US-UK (London); American Conference Institute
(New York); American Institute for Contemporary German Studies (DC); Asian Institute of
International Studies (Asia-ISIS) (Singapore); Atlantic Council (Washington DC and Vienna,
Austria); Argentine National School of Intelligence (Buenos Aires); Banking Institute (Charlotte,
North Carolina); Bilateral US-Arab Chamber of Commerce (DC); Boston University (MA);
Brookings Institute (DC); Bureau for National Affairs (BNA) (DC); Cambridge University,
Jesus College (Cambridge UK); Canadian Institute of International Affairs (Toronto); Canadian
Center for International Peace and Security (Ottawa); Carnegie Endowment (DC); Center for
American Progress (DC); Central Intelligence Agency Kent School (Virginia); Center for Peace
and Security Studies (CPSS); Center for Strategic and International Studies (CSIS)(DC); Cosmos
Club (DC); Council on Foreign Relations (NY) and (DC); Cybersecurity Industry Alliance (DC);
Dickinson College (Carlisle, PA) Duquesne University School of Law (Pittsburgh, PA)
European Council on Foreign Relations (Berlin); Georgetown University (DC); George
Washington University Homeland Security Institute (Washington DC); Harvard University
Kennedy School of Government (Cambridge, MA); Global Forum Against Corruption (Doha);
International Islamic Finance Forum (Geneva); International Monetary Fund (IMF) (DC); Jane’s
Defense Seminars (DC); Johns Hopkins University (DC); Middle East Institute (DC); NACHA
(Washington DC); Nanjing Business Forum (Nanjing); National Defense University (DC);
NATO (DC); New York University (NY); Offshore Alert Forum (Miami); Organization for
Cooperation and Development (Paris); PACER National Center of Excellence on Homeland
Security (DC); Princeton University (Princeton, NJ); Ripon Society (Rome, Italy); School of
Advanced International Studies (SAIS) (DC); Strategic Research Institute (SRI) (DC); The
Tahrir Institute for Middle East Policy (DC); Task Force on Financial Integrity & Economy
Development (Washington DC); Thomson Financial (NY); Tufts University (MA); University
Center for International Studies (University of Pittsburgh); University of London, School of
Advanced International Legal Studies (London); (DC); United Nations (IPA) (NY) (Oslo,
Norway and Bellagio, Italy); United Nations UNODC (Vienna Austria); University of
Pennsylvania Law School (Philadelphia, PA); US Institute of Peace (DC); Washington College
of Law (American University); US Special Forces Training Academy (Virginia Beach);
Villanova University (Villanova, PA); Wilton Park, UK (UK Foreign Office); World Bank (DC).




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Other

Outside Director, Global Witness Foundation (US), 2003-2013
Member, Council on Foreign Relations Task Force on Terrorist Finance, 2002-2004
Steering Committee, CSIS Transnational Threats Initiative, 2002-2013 and 2017-2021
Member, Atlantic Council Experts Group on Terrorism, 2005-2006
Contributing Expert, Counter-Terrorism Blog, 2006-2011
Commissioner, Council on Foreign Relations Andes 2020 Commission, 2003-2004
On-air Expert, Terrorist Finance, ABC World News, September-December 2001
Senior Advisor, Kerry-Edwards Presidential Campaign and Kerry Presidential Debate Team
(2004)
Obama for President Foreign Policy Task Force Member (Latin America) (2007-2008)
Biden for President Foreign Policy Task Force Member (Middle East) (2020)
US Institute of Peace Financial Sanctions Study Group on North Korea (2009)
OSI Burma Sanctions Study Group (2009)
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IV.     Expert Witness – 2019-2023

1. Served as Expert Witness since 2021 for the plaintiffs In Re: Terrorist Attacks on September
   11, 2001, 03-MDL-1570 (GBD) (SN), regarding terrorist finance and related issues
   concerning certain charities and banks.

2. Served as Expert Witness from 2018-2021 in Marcus Wide of Grant Thornton (British Virgin
   Islands) Limited, and Hugh Dickson, of Grant Thornton Specialist Services (Cayman) Ltd,
   acting together herein in their capacities as joint liquidators of Stanford International Bank
   Limited and the Toronto-Dominion Bank, Ontario Superior Court of Justice Commercial
   List, Court File No: CV-12-9780-00CL




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